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    EXHIBIT A
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

      FIRST MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
          ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
          FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
               DECEMBER 2, 2022 THROUGH DECEMBER 31, 2022

    Name of Applicant:             BlackBriar Advisors, LLC
    Applicant’s Role in Case:      Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                       Beginning of Period            End of Period
    Time Period Covered in         12/02/2022                 12/31/22
    Statement:
                         Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $56,544.001
                                                              (80% of $70,680.00)
    Total Reimbursable Expenses Requested in this Statement: $3,453.452
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $70,680.00
    Total Actual Professional Hours Covered by this 157.20
    Statement:
    Average Hourly Rate for Professionals:                    $449.62
            Summary Paraprofessional Fees for the Period Covered by this Statement
    Paraprofessional Fees Requested in this Statement:        $0.00
    Total Actual Paraprofessional Hours Covered by this 0.00
    Statement:
    Average Hourly Rate for Paraprofessionals:                $0.00




1
  BlackBriar is holding $200,000.00 as a retainer in its IOLTA Account which is included in this fee/expense request.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.

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            In accordance with the Order Granting Motion for Entry of an Order
            Establishing Procedures for Interim Compensation and Reimbursement
            of Expenses for Chapter 11 Professionals [Docket No. #106], each party
            receiving notice of the monthly fee statement will have 14 days after
            service of the monthly fee statement to object to the requested fees and
            expenses. Upon the expiration of such 14 day period, the Debtor is
            authorized to pay the Professional an amount of 80% of the fees and
            100% of the expenses requested in the applicable monthly fee
            statement.

       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy

Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule

2016-1 of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local

Rules”), and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its First Monthly Fee Statement of BlackBriar Advisors, LLC.

for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for the

Period from December 2, 2022 through December 31, 2022 (the “Monthly Fee Statement”).

                                   RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $56,544.00 (80% of 70,680.00) as compensation for

professional services rendered to the Debtor during the period from December 2, 2022 through

December 31, 2022 (the “Fee Period”); and reimbursement of actual and necessary expenses in

the amount of $3,453.45, for a total amount of $59,997.45 to be paid upon expiration of the

objection deadline barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Legal Fees by Category


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as Counsel for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as Financial

Advisor for the Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),

and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.



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In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

           4.       Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included

herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

           5.       Therefore, BlackBriar respectfully submits support for its fees in the amount of

$70,680.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $3,453.45 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $56,544.003

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.




3
    Such payment to be made first from any existing retainer funds held by BlackBriar for the Debtor.

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Houston, TX
Dated: January 27, 2023

                                           BLACKBRIAR ADVISORS, LLC

                                           By: /s/ Bob Schleizer
                                           Bob Schleizer
                                           2626 Cole Ave., Suite 300
                                           Dallas, TX 75201
                                           Telephone: 214-599-8600
                                           Email: bschleizer@blackbriaradvisors.com


                                           FINANCIAL ADVISORS FOR DEBTOR
                                           ALEXANDER E. JONES




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                               CERTIFICATE OF SERVICE

I certify that on January 27, 2023, a true and correct copy of the foregoing pleading was served
upon the parties listed on the attached service list via the Court’s ECF system and pursuant to
Local Rule 9003-1, via e mail or U.S. mail as follows:

              a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

              b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

              c.      Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

              d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

              e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

              f.      Any other parties that the Court may designate.


                                            /s/ Christina W. Stephenson
                                                Christina W. Stephenson




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                                EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                        EXPENSE                                   TOTAL
Airfare/Train                                                      $929.60
Mileage                                                              28.19
Meals                                                                46.79
Auto                                                                529.73
Hotel                                                              1,730.85
Other                                                               188.29




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                                     EXHIBIT “B”
              SUMMARY OF FEES AND EXPENSES BY CATEGORY
                         FOR THE FEE PERIOD

CATEGORIES                               PROFESSIONAL     PARAPROFESSIONAL
                                             TIME               TIME
B110 Case Administration                     38.50               0.00
B120 Asset Analysis and Recovery             64.10               0.00
B130 Asset Disposition                        0.00               0.00
B140 Relief from Stay/Adequate
Protection                                    0.00                 0.00
B150 Meetings of & Communications
with Creditors                                 2.0                 0.00
B160 Fee/Employment Applications              1.30                 0.00
B170 Fee/Employment Objections                0.00                 0.00
B180 Avoidance Action Analysis                0.00                 0.00
B185 Assumption/Rejection of
Executory Contracts                           0.00                 0.00
B190 Other Contested Matters                  0.00                 0.00
B195 Non-Working Travel                       0.00                 0.00
B210 Business Operations                     51.30                 0.00
B220 Employee Benefits/Pensions               0.00                 0.00
B230 Financing/Cash Collections               0.00                 0.00
B240 Tax Issues                               0.00                 0.00
B250 Real Estate                              0.00
B260 Board of Directors Matters               0.00
B310 Claims Administration and
Objections                                    0.00                 0.00
B320 Plan and Disclosure Statement            0.00                 0.00
B410 General Bankruptcy
Advice/Opinions                               0.00                 0.00
B420 Restructurings                           0.00                 0.00
TOTALS:                                      157.20                0.00




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                               EXHIBIT “C”

        DETAILED RECORD OF FEES FOR THE FEE PERIOD




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January27,2023

AlexE.Jones
c/oShelbyA.Jordan
Jordan&Ortiz,P.C.
6207BeeCaveRoad,Suite120
Austin,TX78746

                          Re:            AlexanderE.Jones,DebtorInPossessionCaseNo.22Ͳ33553

BillingPeriod:                          December1throughDecember31,2022                                                                          
InvoiceNo.                             AJ1201Ͳ22
ProfessionalServices
Rendered:
            Date           Professional                                                Description                                                          Hours         Amount           TaskCode
         12/5/2022             HK       Travelandmeetwithcounselenrouteregardingcasemattersandscope                                              3.00 $1,500.00          B110
         12/5/2022              BS      Travelandmeetwithcounselenrouteregardingcasemattersandscope                                              3.00 1,500.00        B110
                                        KickoffintroductoryindividualmeetingsatShelbyJordan'sofficeͲB.Schleizer,V.Driver,A.Gerard
                                        &H.Kessler;metwithShelbyJordan&DavidJones(2.5);documentaccumulationandreviewfor
        12/5/2022               BS      case(.9)                                                                                                           4.70 2,350.00        B110
                                        KickoffintroductoryindividualmeetingsatShelbyJordan'sofficeͲB.Schleizer,V.Driver,A.Gerard
                                        &H.Kessler;metwithShelbyJordan&DavidJones(2.5);prepareassetschedulefromcounsel
        12/5/2022              HK       records(2.2)                                                                                                      3.40 1,700.00        B110
                                        MeetingsatShelbyJordan'soffice;B.Schleizer,V.Driver,A.Gerard&H.KesslermetwithA.Jones
        12/6/2022              HK       (.7)&B.RoeͲdistributionandaccountinganalysisͲFSSandPQPR(3.5);                                          4.20 2,100.00        B120
        12/6/2022              HK       Assetschedulepreparation(2.0);analysisofattorneydocumentation(1.0)                                           4.00 2,000.00        B120
                                        MeetingsatShelbyJordan'soffice;B.Schleizer,V.Driver,A.Gerard&H.KesslermetwithA.Jones
        12/6/2022               BS      (.7)&B.RoeͲdistributionandaccountinganalysisͲFSSandPQPR(2.5);recapwithcounsel(1.0)                  4.20 2,100.00        B120
                                        Bankaccountrecapandanalysis(1.3);Documentationreview;dropboxsetup(2.4);recapwith
        12/6/2022               BS      counsel(1.0)                                                                                                      4.70   2,350.00      B120
        12/6/2022              HK       B.Schleizer&H.KesslermetwithM.FloresͲPQPRaccounting,ownership,distributrions                         0.90   450.00     B210
        12/6/2022               BS      B.Schleizer&H.KesslermetwithM.FloresͲPQPRaccounting,ownership,distributrions                         0.90   450.00     B210
        12/7/2022              HK       B.Schleizer&H.KesslermetwithS.MansfieldͲpersonalexpensesandbanking                                    2.50   1,250.00      B210
                                        B.Schleizer&H.KesslermetwithS.MansfieldͲpersonalexpensesandbanking(2.5);moveclient
        12/7/2022               BS      documentstodropbox(1.6)                                                                                          4.10   2,050.00      B210
        12/8/2022              HK       B.Schleizer&H.KesslercallwithL.MunizͲJonesassistant;expensesadminforclient                            0.60   300.00     B210
        12/8/2022               BS      B.Schleizer&H.KesslercallwithL.MunizͲJonesassistant;expensesadminforclient                            0.60   300.00     B210
        12/8/2022              HK       ReviewinformationsenttousbyL.Muniz;reviewinformationsentbyS.Mansfield;                               1.60   800.00     B110
        12/8/2022              HK       updatecallwithV.Driver&B.Schleizerbankruptcyissues;caseadmin                                           0.50   250.00     B110
        12/8/2022               BS      updatecallwithV.Driver&B.Schleizerbankruptcyissues;caseadmin                                           0.50   250.00     B110
        12/8/2022               BS      CallwithDavidJonesͲbanking                                                                                    0.40   200.00     B120
                                        TeamMeetingcallwithV.Driver,P.McGill,R.Battaglia,B.Schleizer&H.KesslerreFreeSpeech
        12/9/2022              HK       issues                                                                                                             0.80 400.00       B110
                                        TeamMeetingcallwithV.Driver,P.McGill,R.Battaglia,B.Schleizer&H.KesslerreFreeSpeech
        12/9/2022               BS      issues                                                                                                             0.80 400.00       B210
        12/9/2022              HK       Documentinsurancecoverage.                                                                                       1.70 850.00       B210
       12/12/2022              HK       ConferencecallStephenLemmon,V.Driver&B.SchleizerRe:informationaccessDavidJones                        0.80 400.00       B120
       12/12/2022               HK       ConferencecallStephenLemmon,V.Driver&B.SchleizerRe:informationaccessDavidJones                       0.80 400.00       B120
       12/13/2022               HK       ReviewS.Mansfield'semails,updatedhouseholdexpenses&insurancematters                                     2.30 1,150.00        B210
                                         MeetingswithA.Jones;P.McGill,T.Enlow;callwithM.BoydofAxiosBankregardingDIPaccount;
       12/14/2022               HK       emailswithS.Mansfield;viewedgunsafesinofficewithT.Enlow                                                8.00 4,000.00        B120
                                         OnsiteMeetingwithAlexandDavidJones(3.5)s;obtainbankaccountinfo;extractcurrentbank
       12/14/2022               KN       activity(4.5)                                                                                                    8.00 3,200.00        B120
                                         OnsiteMeetingwithAlexandDavidJones(2.5);callwithAmexandA.Jones(.3);Document
       12/14/2022               BS       accumulationandsetupforInitialdebtorinterview(2.1)                                                        4.90 2,450.00        B210
                                         MeetingwithA.Jonesathishouse,viewedonegunsafe/locker,MeetingwithJ.Dalessio&V.
       12/15/2022               HK       Driver                                                                                                            3.00 1,500.00        B120
       12/15/2022               KN       Downloadandsortbanktransactions                                                                               6.00 2,400.00        B120
                                         CallswithB.Marchand&B.SchleizerDIPaccountrequirements(.4);emailswithS.MansfieldͲ
       12/16/2022               HK       insurance,expenses(.3);ReviewedInitialReportChecklistmissingitems(1.0)                                    1.70 850.00       B210
       12/16/2022               KN       Downloadandsortbanktransactions(10accounts)                                                                 4.00 1,600.00        B120
                                         CallwithcounselͲV.DriverͲInitialDebtorInterview(.4);preparationforinteview(.8);callwithA.
       12/16/2022               BS       JonesreInitialInterview(.2)                                                                                   1.40 700.00       B110
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                      Re:        AlexanderE.Jones,DebtorInPossessionCaseNo.22Ͳ33553

BillingPeriod:                  December1throughDecember31,2022                                                                     
InvoiceNo.                     AJ1201Ͳ22
                                 TeamcallͲInitialReportChecklistforDeborinterviewͲinformationrequirements/missing
        12/17/2022          HK   documentation                                                                                                1.20 600.00     B110
                                 TeamcallͲInitialReportChecklistforDeborinterviewͲinformationrequirements/missing
        12/17/2022          BS   documentation                                                                                                1.20 600.00     B110
                                 TeamcallͲInitialReportChecklistforDeborinterviewͲinformationrequirements/missing
        12/17/2022          KN   documentation                                                                                                1.20   480.00   B110
        12/17/2022          KN   Downloadbankstatementsandactivity                                                                        6.80   2,720.00    B120
        12/18/2022          HK   Review/finalizeInitialReportChecklist;callwithC.Stephenson                                            1.10   550.00   B110
        12/18/2022          BS   Review/finalizeInitialReportChecklist;callwithC.Stephenson                                            0.50   250.00   B110
        12/18/2022          KN   Downloadbankstatementsandactivity                                                                        1.50   600.00   B110
                                 Variouscallsupdatinginsurancecoverages(1.0);bankbalancesforInitialReportChecklist(.7);call
        12/19/2022          HK   withDr.Jones(.4);callwithProsperityBankregardingsettingupDIPbankaccount(.3)                     2.40   1,200.00    B210
        12/19/2022          HK   InitialDebtorInterview(1.0)                                                                                1.00   500.00   B150
        12/19/2022          BS   InitialDebtorInterview                                                                                     1.00   500.00   B150
        12/19/2022          KN   Download/analyzebankstatements                                                                             3.50   1,400.00    B120
                                 Calls/textswithDr.Jones(bankcontacts)reDIPaccount.6;callswithChaseBanktosetͲupDIP
                                 Depositaccount.5;callwithK.Norderhaug&B.Schleizertodiscussrevenuesources(.9);
        12/20/2022          HK   documentreview1.8                                                                                          3.80 1,900.00      B210
        12/20/2022          HK   TeamcallͲrevenueanalysis(.9)                                                                             0.90 450.00     B210
        12/20/2022          KN   Downloadbankstatements/anaylsis                                                                            5.00 2,000.00      B120
                                 CallwithC.Stephenson&V.DriverRe:bankaccounts&utilities(.6);callswithPNCtosetͲupDIP
        12/21/2022          HK   Depositaccount(.3);modeledforecasttemplate(5.7)                                                          6.60 3,300.00      B110
        12/21/2022          BS   EmailtrusteereMOR;(.1);followupͲRoedistributionanalysis(.1);ExcelMORtemplate(.6)               0.80 400.00     B110
                                 CallswithPNCReDIPDepositaccount(.4);setͲupmastercontrolrequestlistfromallpartiesto
        12/22/2022          HK   trackinformationflow(3.1)                                                                                 3.50 1,750.00      B210
        12/22/2022          BS   FSS/PQPRSalesreconciliation;forwardtoteamre:incomeforclient                                         0.40 200.00     B210
                                 CallwithA.Jones,V.Driver&PNCBankRe:DIPdepositoryaccount;CallwithV.Driver&R.
        12/23/2022          HK   BattagliaRe:Supplementsalesreconciliation                                                                0.70 350.00     B120
        12/23/2022          BS   Reviewemploymentapplication.6;updatemasterspreadsheetredocumentstatus(.7)                            1.30 650.00     B160
                                 Createdexceltrendanalysisofsettlementreconciliation(1.9);updatecallswithV.Driver,C.
        12/28/2022          HK   Stephenson&B.Schleizer(1.8)                                                                               3.70 1,850.00      B110
        12/28/2022          BS   callswithcounsel;keyopenissuesanddocumentneeds                                                     1.80 900.00     B110
                                 CallwithS.Mansfield,K.Norderhaug&B.SchleizerRe:upcomingbills&expenses(.8);workedon
        12/29/2022          HK   expenseforecast(2.7)                                                                                        3.50 1,750.00      B210
        12/29/2022          BS   Teamcallre:cashbalancesandexpenses                                                                     0.80 400.00     B210
                                 Reviewactualexpensesfrombankactivityandclientschedules;setupQB;discussionw/BS,HK,
        12/29/2022          KN   SM(.8)                                                                                                      7.00 2,800.00      B210
        12/30/2022          KN   SetUpQBaccounting                                                                                         2.50 1,000.00      B210
                                 Updatedsettlementreconciliation,emailedagendaouttoparticipantsfornextweeksmeetingat
        12/31/2022          HK   FSS                                                                                                          1.80 900.00     B210
        12/31/2022          KN   SetUpQBaccounting                                                                                         3.70 1,480.00      B210
                                                                                                                                              151.20 $70,680.00

                                 TotalhoursforRobertSchleizer(BS)                                               35.00    $17,500.00
                                 TotalhoursforHaroldKessler(HK)                                                 67.00    33,500.00
                                 TotalhoursforKathyNorderhaug(KN)                                               49.20    19,680.00
                                                                                                                                              151.20     $70,680.00
                                 Expenses
                                 Fromattachedexpensebreakdown                                                                                $3,453.45
                                TotalInvoiceAmount                                                                              $74,133.45



                                 BlackBriarAdvisorsLLC
                                 2626ColeAve.,Suite300
                                 Dallas,TX75204
               Case
                Case22-33553
                     22-33553 Document
                               Document743-1
                                        131 Filed
                                             Filed in
                                                    in TXSB
                                                       TXSB on
                                                            on 01/27/23
                                                               06/28/24 Page
                                                                        Page 12
                                                                             13 of
                                                                                of 12
                                                                                   299


AlexE.Jones
BillingPeriod:                      December1throughDecember31,2022
Invoice:                             AJ1201Ͳ22

   Date         Airfare/Train             Mileage                    Meals                     Auto                     Hotel                     Other                       Total

    1ͲDec Ͳ   Ͳ   Ͳ   Ͳ   Ͳ   Ͳ   Ͳ
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   13ͲDec 576.60    14.09   46.79    514.29     1,085.93     24.00    2,261.70
   14ͲDec Ͳ   Ͳ   Ͳ   Ͳ   Ͳ   Ͳ   Ͳ
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   16ͲDec Ͳ   Ͳ   Ͳ   Ͳ   Ͳ   Ͳ   Ͳ
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   23ͲDec Ͳ   Ͳ   Ͳ   Ͳ   Ͳ   Ͳ   Ͳ
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Total     $929.60     $28.19    $46.79     $529.73      $1,730.85       $188.29      $3,453.45
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

    SECOND MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
        ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
         FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
                JANUARY 1, 2023 THROUGH JANUARY 31, 2022

    Name of Applicant:             BlackBriar Advisors, LLC
    Applicant’s Role in Case:      Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                       Beginning of Period            End of Period
    Time Period Covered in         01/01/2023                 01/31/2023
    Statement:
                         Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $123,256.001
                                                              (80% of $154,070.00)
    Total Reimbursable Expenses Requested in this Statement: $6,422.002
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $154,070.00
    Total Actual Professional Hours Covered by this 363.00
    Statement:
    Average Hourly Rate for Professionals:                    $424.00

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.

1
  BlackBriar was provided a retainer of $200,000 prior to the bankruptcy filing. $59,997.45 was applied to the
December, 2022 fees and expenses, leaving a balance of $140,000.55.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Second Monthly Fee Statement of BlackBriar Advisors,

LLC. for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor

for the Period from January 1, 2023 through January 31, 2023 (the “Monthly Fee Statement”).

                                    RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $123,256.00 (80% of 154,070.00) as compensation for

professional services rendered to the Debtor during the period from January 1, 2023 through

January 31, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in the

amount of $6,422.00, for a total amount of $129,678.00 to be paid upon expiration of the objection

deadline barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Legal Fees by Category

as Counsel for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as Financial

Advisor for the Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),



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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

        5.       Therefore, BlackBriar respectfully submits support for its fees in the amount of

$154,070.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $6,422.00 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $123,256.003

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: March 2, 2023

                                                             BLACKBRIAR ADVISORS, LLC

                                                             By: /s/ Robert Schleizer
                                                             Robert Schleizer
                                                             2626 Cole Ave., Suite 300
                                                             Dallas, TX 75201
                                                             Telephone: 214-599-8600
                                                             Email: bschleizer@blackbriaradvisors.com


                                                             FINANCIAL ADVISORS FOR DEBTOR
                                                             ALEXANDER E. JONES




3
 Such payment to be made first from any existing retainer funds held by BlackBriar for the Debtor.
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                                CERTIFICATE OF SERVICE

I certify that on March 2, 2023, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                             /s/ Christina W. Stephenson
                                                 Christina W. Stephenson




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                               EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                        EXPENSE                                     TOTAL
Airfare/Train                                                       $1,835.20
Mileage                                                                28.19
Meals                                                                 480.00
Auto                                                                  714.41
Hotel                                                                3,119.30
Other                                                                 245.22




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                                  EXHIBIT “B”
             SUMMARY OF FEES AND EXPENSES BY CATEGORY
                        FOR THE FEE PERIOD
           CATEGORIES                            PROFESSIONAL
                                                     TIME
           B110 Case Administration                  122.70
           B120 Asset Analysis and Recovery           0.00
           B130 Asset Disposition                     0.00
           B140 Relief from Stay/Adequate
           Protection                                  0.00
           B150 Meetings of & Communications
           with Creditors                              0.00
           B160 Fee/Employment Applications            1.80
           B170 Fee/Employment Objections              0.00
           B180 Avoidance Action Analysis              0.00
           B185 Assumption/Rejection of
           Executory Contracts                          0.00
           B190 Other Contested Matters                 0.00
           B195 Non-Working Travel                     39.00
           B210 Business Operations                   194.50
           B220 Employee Benefits/Pensions              0.00
           B230 Financing/Cash Collections              0.00
           B240 Tax Issues                               5.0
           B250 Real Estate                             0.00
           B260 Board of Directors Matters              0.00
           B310 Claims Administration and
           Objections                                  0.00
           B320 Plan and Disclosure Statement          0.00
           B410 General Bankruptcy
           Advice/Opinions                             0.00
           B420 Restructurings                         0.00
           TOTALS:                                    363.00




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                               EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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January 31, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                     Re:          Alexander E. Jones, Debtor In Possession                 Case No. 22-33553

Billing Period:                 January 1 through January 31, 2023
Invoice No.                     AJ0101-23
Professional
Services Rendered:
         Date      Professional                                                 Description                                               Hours   Amount       Task Code
       1/2/2023        KN       Enter transactions to Accounting                                                                            4.50 $ 1,800.00      B210
                                Review of new Accounting chart of accounts & initial P&L; call with K. Norderhaug & B. Schleizer to
       1/3/2023        HK       discuss P&L, chart of accounts, forecast & BS                                                              3.30     1,650.00     B210
       1/3/2023         BS      Call with K. Norderhaug & H. Kessler - accounting set up and processes                                     1.80       900.00     B210
       1/3/2023        KN       Enter transactions to Accounting                                                                           7.00     2,800.00     B210
       1/4/2023        HK       Prepared for Thursday's meeting at FSS; framed in forecast                                                 2.20     1,100.00     B210
       1/4/2023        HK       Travel - non - working                                                                                     1.50       375.00     B195
       1/4/2023         BS      Travel - non - working                                                                                     1.50       375.00     B195
                                Calls emails w. R. Kennerly, Tax CPA - 2021 tax return (.6); Emails/calls re household expenses,
       1/4/2023         BS      deposits(.8)                                                                                               1.40     1,100.00     B240
       1/4/2023        KN       Accounting and Forecast                                                                                    7.50     3,000.00     B210
                                At FSS for meetings with P. Magill, R. Battaglia, C. Stephenson & B. Schleizer (sales process,
                                accounting & forecasts & strategy); Meeting with B. Roddy (sales & fulfillment) & D. Karpova
       1/5/2023        HK       (production & supplement sales)                                                                            7.50     3,750.00     B210
                                At FSS for meetings with P. Magill, R. Battaglia, C. Stephenson & H. Kessler (sales process, accounting
                                & forecasts & strategy); Meeting with B. Roddy (sales & fulfillment) & D. Karpova (production &
       1/5/2023         BS      supplement sales); calls w D. Jones re bank accounts; Move payroll to DIP                                  6.30     3,150.00     B210
       1/5/2023        KN       Entries to Accounting and Forecast for A. Jones                                                            4.00     1,600.00     B210
       1/6/2023        HK       FSS telephonic status conference call                                                                      0.20       100.00     B110
       1/6/2023        HK       Summarize meeting and action items                                                                         0.70       350.00     B210
                                Summarize meeting and action items (.5); Insurance research, discussions/emails - SM; J. Dietz(.6)
       1/6/2023        HK       (Allstate); calls - C. Stephenson (.2); Accounting issues (2.5)                                            3.70     1,850.00     B210
       1/6/2023        HK       Travel - non - working                                                                                     3.00       750.00     B195
       1/6/2023         BS      Travel - non - working                                                                                     3.00       750.00     B195
       1/7/2023         BS      Update call with A. Jones                                                                                  0.70       350.00     B210
       1/7/2023        HK       Update call with A. Jones & B. Schleizer                                                                   0.70       350.00     B210
                                Prepare action items and agenda for meeting w A. Jones(1.0); emails - J. Haarman - Mountain Way
       1/8/2023         BS      re: receivable due A. Jones (.1)                                                                           1.10       550.00     B210
       1/8/2023        HK       Review/revise agenda for Tuesday's meeting with A. Jones & B. Schleizer;                                   0.40       200.00     B210
       1/9/2023        HK       Prepared for Tuesday's meeting at FSS with A. Jones                                                        1.00       500.00     B210
       1/9/2023        HK       Call with K. Norderhaug & B. Schleizer Draft forecast                                                      0.50       250.00     B210
       1/9/2023         BS      Cash flow forecast and accounting issues; payroll; reimbursable expenses                                   2.60     1,300.00     B210
       1/9/2023        HK       Travel - non - working                                                                                     3.00       750.00     B195
       1/9/2023        KN       Accounting; cash flow; download bank transactions                                                          4.50     1,800.00     B210
       1/9/2023         BS      Travel - non - working                                                                                     3.00       750.00     B195
                                Meeting with A. Jones & B. Schleizer to give him an update, go through list of questions for
      1/10/2023        HK       schedules, sources of income                                                                               2.50     1,250.00     B110
                                On site meeting with A. Jones- case update to give him an update, go through list of questions for
                                schedules, sources of income (2.5); follow up w FSS re: motorhome note status - A. Jones guarantee
      1/10/2023         BS      (.3);                                                                                                      2.80     1,400.00     B110
      1/10/2023        HK       Call with attorney's Re: debtor interview tomorrow                                                         0.40       200.00     B110
      1/10/2023         BS      Preparation - 341 hearing (.5); call with counsel (.4)                                                     0.90       450.00     B110
      1/10/2023        HK       Call with J. Dalessio, A. Jones & B. Schleizer                                                             0.30       150.00     B210
                                Call with J. Dalessio, A. Jones(.3); meeting B. Stedham (FSS) & calls emails R. Kennerly re bitcoin
      1/10/2023         BS      transactions (.6)                                                                                          0.90      450.00      B210
      1/10/2023        HK       Meeting with T. Bennett, A. Jones & B. Schleizer Re: sale of Bitcoin                                       0.30      150.00      B240
      1/10/2023         BS      Meeting with T. Bennett, A. Jones & B. Schleizer Re: sale of Bitcoin                                       0.30      150.00      B240
      1/10/2023         BS      Meet PNC bank rep; deposit trust check to PNC DIP                                                          0.80      400.00      B210
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                  Re:        Alexander E. Jones, Debtor In Possession                  Case No. 22-33553

Billing Period:              January 1 through January 31, 2023
Invoice No.                  AJ0101-23
                             Review non-DIP accounts online (.5); Meeting -D. Jones to transfer money from bank accounts to
     1/10/2023          HK   PNC DIP account (.5)                                                                                      1.00    500.00    B210
     1/10/2023          BS   Meeting -D. Jones to transfer money from bank accounts to PNC DIP account                                 0.50    250.00    B210
     1/10/2023          HK   Travel - non - working                                                                                    3.00    750.00    B195
                             Accounting and expense research; discussions with Sarah- AJ Asst; initiate transfers to A. Jones name
     1/10/2023          KN   for certain accounts/services                                                                             4.00   1,600.00   B210
     1/11/2023          HK   Prep for Telephonic UCC call                                                                              0.30     150.00   B110
     1/11/2023          HK   Telephonic Creditors call with US Trustee                                                                 0.50     250.00   B110
     1/11/2023          BS   Prep for Telephonic UCC call                                                                              0.30     150.00   B110
     1/11/2023          BS   Telephonic Creditors call with US Trustee                                                                 0.50     250.00   B110
     1/11/2023          HK   Updated PQPR weekly Sales Reconciliation                                                                  0.20     100.00   B210
     1/11/2023          HK   Reviewed business entity PowerPoint                                                                       0.20     100.00   B110
     1/11/2023          HK   Update call with B. Schleizer Re: meeting with J. Dalessio (ESG) and J. Shulse - FSS                      0.20     100.00   B210
     1/11/2023          BS   Meeting J. Shulse FSS in Houston re accounting and cash flow issues                                       2.00   1,000.00   B210
     1/11/2023          BS   Update call - HK Re: meeting with J. Dalessio (ESG) and J. Shulse - FSS                                   0.20     100.00   B210
     1/11/2023          KN   Accounting: cash flow                                                                                     4.50   1,800.00   B210
     1/11/2023          BS   Travel - non - working                                                                                    3.00     750.00   B195
     1/12/2023          HK   Created ESG settlement weekly spreadsheet                                                                 0.90     450.00   B210
                             ESG reconciliation; contract review(.5); follow up J. J. Shulse - expense reimbursements; FSS
     1/12/2023          BS   accounting(.3)                                                                                            0.80    400.00    B210
                             Bank issues: Accounting; cash flow (6); MOR setup; review Call re: Actions items and accounting
     1/12/2023          KN   issues with B. Schleizer (2.0)                                                                            8.00   3,200.00   B210
     1/12/2023          BS   Teams - KN - accounting and cash flow                                                                     2.00   1,000.00   B210
     1/13/2023          HK   Call with C. Stephenson, V. Driver & B. Schleizer - case admin                                            0.60     300.00   B110
     1/13/2023          BS   Call with C. Stephenson, V. Driver - case issues                                                          0.60     300.00   B110
     1/13/2023          HK   Call with K. Norderhaug & B. Schleizer - accounting/budget                                                1.00     500.00   B210
     1/13/2023          BS   MOR - accounting issues                                                                                   0.80     400.00   B110
     1/13/2023          KN   MOR set up; call with B. Schleizer, H. Kessler                                                            0.40     160.00   B210
     1/13/2023          KN   Call with B. Schleizer, H. Kessler - accounting deficiencies                                              4.60   1,840.00   B210
     1/16/2023          HK   Call with B. Schleizer - case issues                                                                      0.40     200.00   B110
     1/16/2023          HK   Call with V. Driver & B. Schleizer - case issues                                                          0.50     250.00   B110
     1/16/2023          HK   Reviewed J. Dalessio's response to B. Schleizer's email Re: ESG forecast                                  1.00     500.00   B210
     1/16/2023          HK   Worked on ESG forecast                                                                                    1.50     750.00   B210
     1/16/2023          KN   Accounting ; cash flow;                                                                                   3.00   1,200.00   B210
     1/16/2023          KN   MOR                                                                                                       2.00     800.00   B110
                             Reviewed J. Dalessio's discussion points regarding ESG's supplement sales & new product
     1/17/2023          HK   discussions, current inventory on hand to meet sales                                                      3.50   1,750.00   B210
     1/17/2023          BS   ESG receivable (.7); review 1st draft of financials; email follow up(.6)                                  1.30     650.00   B210
     1/17/2023          HK   Non-working travel                                                                                        3.00     750.00   B110
     1/17/2023          KN   Accounting; expense; discussions David Jones                                                              4.00   1,600.00   B210
     1/17/2023          KN   Accounting; expense; discussions David Jones, MOR                                                         5.50   2,200.00   B110
                             At FSS - meeting with B. Roddy, meeting with J. Dalessio, call with J. Dalessio & R. Schleizer; meeting
     1/18/2023          HK   with T. Enlow                                                                                             8.00   4,000.00   B210
     1/18/2023          BS   Call w J. Dallesio; receivable; contract terms                                                            0.60     300.00   B210
     1/18/2023          BS   MOR review                                                                                                0.30     150.00   B210
     1/18/2023          BS   Call w PNC - bounced checks; (.3)                                                                         0.30     150.00   B210
     1/18/2023          BS   Tax issues; bitcoin; open items on 2021 - AJ, FSS & PQPR                                                  0.50     250.00   B240
     1/18/2023          KN   MOR, Accounting                                                                                           7.00   2,800.00   B110
     1/19/2023          HK   At FSS - Meeting with B. Roddy to discuss 3 supplement forecast                                           1.60     800.00   B210
     1/19/2023          HK   Call with A. Jones & B. Schleizer re case issues; upcoming hearings                                       0.40     200.00   B110
     1/19/2023          HK   Travel - non - working                                                                                    3.00    750.00    B195
     1/19/2023          BS   Travel - non - working                                                                                    3.00     750.00   B195
     1/19/2023          KN   Accounting                                                                                                8.00   3,200.00   B210
     1/20/2023          HK   Call with V. Driver, B. Schleizer Re: MOR                                                                 0.10      50.00   B110
     1/20/2023          HK   Teams call K. Norderhaug & B. Schleizer to discuss go through MOR                                         2.90   1,450.00   B110
     1/20/2023          BS   Teams call MOR                                                                                            2.90   1,450.00   B110
     1/20/2023          BS   Hearing - utilities, etc.                                                                                 0.50     250.00   B110
     1/20/2023          BS   Tax discussion T. Bennett- bitcoin                                                                        0.60     300.00   B240
     1/20/2023          HK   Updated settlement reconciliation & then revised as FSS revised amounts                                   0.60     300.00   B210
     1/20/2023          KN   MOR                                                                                                       6.50   2,600.00   B110
     1/21/2023          KN   Accounting                                                                                                5.00   2,000.00   B210
     1/21/2023          KN   MOR                                                                                                       2.00     800.00   B110
     1/21/2023          KN   MOR                                                                                                       0.80     320.00   B110
     1/22/2023          HK   Review DRAFT MOR as of 12/31/22 & schedules                                                               1.00     500.00   B110
     1/22/2023          BS   Review DRAFT MOR as of 12/31/22 & schedules                                                               0.70     350.00   B110
     1/22/2023          HK   Call with BlackBriar to finalize MOR & schedules                                                          1.30     650.00   B110
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                  Re:        Alexander E. Jones, Debtor In Possession              Case No. 22-33553

Billing Period:              January 1 through January 31, 2023
Invoice No.                  AJ0101-23
      1/22/2023         HK   Call with BlackBriar to finalize MOR & schedules                                       1.30        650.00    B110
      1/22/2023         HK   Final reviews                                                                          1.00        500.00    B110
      1/22/2023         KN   MOR                                                                                    4.00      1,600.00    B110
      1/22/2023         KN   Accounting                                                                             2.50      1,000.00    B210
      1/22/2023         BS   MOR - review and send to attorney for prep                                             0.90        450.00    B110
      1/23/2023         HK   Calls with BlackBriar and Crowe & Dunlevy Re: MOR & schedules                          0.80        400.00    B110
      1/23/2023         BS   Discussion, emails N. Collins,- tax attorney; R. Kennerly                              0.60        300.00    B240
      1/23/2023         BS   Calls with BlackBriar and Crowe & Dunlevy Re: MOR & schedules                          0.80        400.00    B110
      1/23/2023         HK   Worked on A. Jones revenue forecast                                                    2.10      1,050.00    B210
      1/23/2023         KN   Accounting; Monthly Forecast; Property values                                          7.00      2,800.00    B210
      1/24/2023         HK   Non working travel                                                                     3.00        750.00    B195
      1/24/2023         BS   Non working travel                                                                     3.00        750.00    B195
      1/24/2023         BS   Banking issues                                                                         0.50        250.00    B110
      1/24/2023         HK   Onsite final MOR & all schedules with BlackBriar and Crowe & Dunlevy                   2.60      1,300.00    B110
      1/24/2023         BS   Onsite final MOR & all schedules with BlackBriar and Crowe & Dunlevy                   2.60      1,300.00    B110
      1/24/2023         BS   Real Estate Analysis                                                                   1.50        750.00    B110
      1/24/2023         HK   Created notes of documents needed from D. Jones for tomorrow's meeting                 0.90        450.00    B210
      1/24/2023         KN   Monthly Forecast; property values; discussions with Leslie and Sarah                   7.00      2,800.00    B210
      1/25/2023         HK   Team meeting to set agenda for D. Jones meeting                                        1.00        500.00    B210
      1/25/2023         BS   Team meeting to set agenda for D. Jones meeting                                        1.00        500.00    B210
      1/25/2023         BS   DIP account issues                                                                     0.40        200.00    B210
      1/25/2023         HK   Meeting with D. Jones - trusts; property ownership; banking                            3.50      1,750.00    B210
      1/25/2023         HK   Meeting with D. Jones - trusts; property ownership; banking                            3.50      1,750.00    B210
      1/25/2023         HK   Calls/meeting with BlackBriar & Crowe Dunlevy; UCC                                     1.80        900.00    B110
      1/25/2023         HK   Calls/meeting with BlackBriar & Crowe Dunlevy; UCC                                     1.80        900.00    B110
      1/25/2023         HK   Meeting A. Jones                                                                       0.80        400.00    B110
      1/25/2023         BS   Meeting A. Jones                                                                       0.80        400.00    B110
      1/25/2023         BS   Meeting with FSS                                                                       0.90        450.00    B210
      1/25/2023         HK   Meeting with FSS                                                                       0.90        450.00    B210
      1/25/2023         KN   Forecast, banking, discussions with D. Jones                                           7.00      2,800.00    B210
      1/26/2023         HK   Reviewed P&L Forecast received                                                         1.50        750.00    B210
      1/26/2023         HK   Meeting with BlackBriar and Crowe & Dunlevy to set agenda for FSS forecast meeting     1.00        500.00    B210
      1/26/2023         BS   Emails & calls re tax information                                                      0.30        150.00    B240
      1/26/2023         BS   Meeting with BlackBriar and Crowe & Dunlevy to set agenda for FSS forecast meeting     1.00        500.00    B210
      1/26/2023         HK   FSS P&L Forecast meeting                                                               3.50      1,750.00    B210
      1/26/2023         BS   FSS P&L Forecast meeting                                                               3.50      1,750.00    B210
      1/26/2023         BS   Meeting A. Jones                                                                       1.80        900.00    B210
      1/26/2023         HK   Meeting A. Jones                                                                       1.80        900.00    B210
      1/26/2023         HK   Non working travel                                                                     3.00        750.00    B195
      1/26/2023         BS   PQPR distribution analysis(.8); Bitcoin basis follow up (.2)                           1.00        250.00    B240
      1/26/2023         BS   Non working travel                                                                     3.00        750.00    B195
      1/26/2023         KN   Monthly forecast; Transactions                                                         3.00      1,200.00    B210
      1/26/2023         KN    SOFA                                                                                  1.00        400.00    B110
      1/27/2023         BS   Fee app review                                                                         1.80        900.00    B160
      1/27/2023         HK   Updated master spreadsheet supplement reconciliation & calls with J. Dalessio          2.00      1,000.00    B210
      1/27/2023         HK   Review updated FSS forecasted P&L                                                      2.20      1,100.00    B210
      1/27/2023         KN    Transactions; Budget; discussions with Sarah                                          3.00      1,200.00    B210
      1/27/2023         KN   SOFA                                                                                   4.00      1,600.00    B110
      1/29/2023         BS   Calls - A. Jones; C. Cicack                                                            0.50        250.00    B210
      1/29/2023         KN   SOFA                                                                                   7.50      3,000.00    B110
      1/30/2023         KN   SOFA; transfers; Accounting; discussions with David and Sarah                          8.00      3,200.00    B110
      1/30/2023         BS   DIP account issues; bounced checks and wires                                           0.50        250.00    B210
      1/31/2023         KN   Accounting Research- Transfers, SOFA                                                   8.00      3,200.00    B110
      1/30/2023         HK   Calls with BlackBriar & attorney's regarding SOFA's                                    3.50      1,750.00    B110
      1/30/2023         KN   SOFA; transfers; QB; discussions with David and Sarah                                  8.00      3,200.00    B110
      1/31/2023         HK   UCC FA introduction call                                                               0.30        150.00    B110
      1/31/2023         BS   UCC FA introduction call                                                               0.30        150.00    B110
      1/31/2023         HK   Calls with BlackBriar & attorneys regarding transfer analysis                          0.50        250.00    B110
      1/31/2023         BS   Calls with BlackBriar & attorneys regarding transfer analysis                          0.50        250.00    B110
      1/31/2023         HK   FSS forecast                                                                           0.50        250.00    B210
      1/31/2023         HK   worked on SOFA & schedules                                                             3.80      1,900.00    B110
      1/31/2023         KN   Accounting Transfers, SOFA                                                             8.00      3,200.00    B110




                                                                                                                  363.00   $ 154,070.00
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                  Re:       Alexander E. Jones, Debtor In Possession              Case No. 22-33553

Billing Period:             January 1 through January 31, 2023
Invoice No.                 AJ0101-23
                                          Total hours for Robert Schleizer (BS)                        75.70      33,125.00
                                          Total hours for Harold Kessler (HK)                         116.50      52,625.00
                                          Total hours for Kathy Norderhaug (KN)                       170.80      68,320.00
                                                                                                      363.00   $ 154,070.00   $   -
                             Expenses
                                From attached expense breakdown                                                $ 6,422.40
                                       Total Invoice Amount                                                    $ 160,492.40



                            BlackBriar Advisors LLC
                            2626 Cole Ave., Suite 300
                            Dallas, TX 75204
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Alex E. Jones
Billing Period:                 January 1 through January 31, 2023
Invoice:                        AJ1201-22

   Date         Airfare/Train       Mileage          Meals           Auto         Hotel         Other          Total

      1-Jan               -                 -              -              -             -            -                -
      2-Jan               -                 -              -              -             -            -                -
      3-Jan               -                 -              -              -             -            -                -
      4-Jan               -                 -              -              -             -            -                -
      5-Jan               -                 -              -              -             -          19.98            19.98
      6-Jan            224.00               -              -              -             -         114.31           338.31
      7-Jan               -                 -              -              -             -            -                -
      8-Jan               -                 -              -              -             -            -                -
      9-Jan               -                 -              -              -             -            -                -
    10-Jan                -                 -              -              -             -            -                -
    11-Jan                -                 -              -              -             -            -                -
    12-Jan                -                 -              -              -             -            -                -
    13-Jan             576.60             14.09          46.79         514.29      1,085.93        24.00         2,261.70
    14-Jan                -                 -              -              -             -            -                -
    15-Jan             129.00             14.10            -            15.44        644.92        30.00           833.46
    16-Jan                -                 -              -              -             -            -                -
    17-Jan                -                 -              -              -             -            -                -
    18-Jan             458.00               -              -              -             -          16.00           474.00
    19-Jan                -                 -              -              -             -            -                -
    20-Jan                -                 -              -              -             -            -                -
    21-Jan                -                 -              -              -             -            -                -
    22-Jan                -                 -              -              -             -            -                -
    23-Jan                -                 -              -              -             -            -                -
    24-Jan             447.60               -           186.83            -          727.40          -           1,361.83
    25-Jan                -                 -           218.79            -             -          24.00           242.79
    26-Jan                -                 -            27.67            -          661.05          -             688.72
    27-Jan                -                 -              -           184.68           -          16.93           201.61
    28-Jan                -                 -              -              -             -            -                -
    29-Jan                -                 -              -              -             -            -                -
    30-Jan                -                 -              -              -             -            -                -
    31-Jan                -                 -              -              -             -            -                -
Total       $        1,835.20 $           28.19 $       480.08 $       714.41 $    3,119.30 $     245.22   $     6,422.40
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

     THIRD MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
         ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
         FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
               FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023

    Name of Applicant:             BlackBriar Advisors, LLC
    Applicant’s Role in Case:      Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                       Beginning of Period            End of Period
    Time Period Covered in         02/01/2023                 02/28/2023
    Statement:
                         Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $102,740.001
                                                              (80% of $128,425.00)
    Total Reimbursable Expenses Requested in this Statement: $6,114.962
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $128,425.00
    Total Actual Professional Hours Covered by this 281.50
    Statement:
    Average Hourly Rate for Professionals:                    $456.22

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.


1
  BlackBriar is holding $10,322.55 as a retainer in its IOLTA Account which is included in this fee/expense request.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Third Monthly Fee Statement of BlackBriar Advisors, LLC.

for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for the

Period from February 1, 2023 through February 28, 2023 (the “Monthly Fee Statement”).

                                    RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $102,740.00 (80% of 128,425.00) as compensation for

professional services rendered to the Debtor during the period from February 1, 2023 through

February 28, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in the

amount of $6,114.96, for a total amount of $108,854.96 to be paid upon expiration of the objection

deadline barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Legal Fees by Category

as Counsel for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as Financial

Advisor for the Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),




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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

        5.       Therefore, BlackBriar respectfully submits support for its fees in the amount of

$128,425.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $6,114.96.00 for reasonable, actual and necessary expenses incurred

during the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation

Order, and pending the expiration of the objection deadline, if no objections to the Fee Statement

are received, that the Debtor shall be authorized to immediately pay to BlackBriar the amount of

$108,7854.963 which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s

expenses incurred during the Fee Period.

Houston, TX
Dated: March 31, 2023

                                                             BLACKBRIAR ADVISORS, LLC

                                                             By: /s/ Robert Schleizer
                                                             Robert Schleizer
                                                             2626 Cole Ave., Suite 300
                                                             Dallas, TX 75201
                                                             Telephone: 214-599-8600
                                                             Email: bschleizer@blackbriaradvisors.com


                                                             FINANCIAL ADVISORS FOR DEBTOR
                                                             ALEXANDER E. JONES




3
 Such payment to be made first from any existing retainer funds held by BlackBriar for the Debtor.
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                                CERTIFICATE OF SERVICE

I certify that on March 31, 2023, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                              /s/ Christina W. Stephenson
                                                  Christina W. Stephenson




THIRD MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC – Page 5
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                                EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                        EXPENSE                                    TOTAL
Airfare/Train                                                      $1,727.60
Mileage                                                               35.40
Meals                                                                462.56
Auto                                                                 634.60
Hotel                                                               3,022.25
Other                                                                294.99




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                                  EXHIBIT “B”
             SUMMARY OF FEES AND EXPENSES BY CATEGORY
                        FOR THE FEE PERIOD
           CATEGORIES                            PROFESSIONAL
                                                     TIME
           B110 Case Administration                  190.8
           B120 Asset Analysis and Recovery           25.8
           B130 Asset Disposition                     0.00
           B140 Relief from Stay/Adequate
           Protection                                  0.00
           B150 Meetings of & Communications
           with Creditors                              0.00
           B160 Fee/Employment Applications            0.00
           B170 Fee/Employment Objections              0.00
           B180 Avoidance Action Analysis              0.00
           B185 Assumption/Rejection of
           Executory Contracts                         0.00
           B190 Other Contested Matters                0.00
           B195 Non-Working Travel                    30.00
           B210 Business Operations                   29.10
           B220 Employee Benefits/Pensions             0.00
           B230 Financing/Cash Collections             0.00
           B240 Tax Issues                              5.8
           B250 Real Estate                            0.00
           B260 Board of Directors Matters             0.00
           B310 Claims Administration and
           Objections                                  0.00
           B320 Plan and Disclosure Statement          0.00
           B410 General Bankruptcy
           Advice/Opinions                             0.00
           B420 Restructurings                         0.00
           TOTALS:                                    281.5




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                                EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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February 28, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                          Re:           Alexander E. Jones, Debtor In Possession                   Case No. 22-33553

Billing Period:                         February 1 through February 28, 2023
Invoice No.                             AJ0201-23
Professional Services
Rendered:
            Date           Professional                                               Description                                          Hours   Amount       Task Code
          2/1/2023             HK       Worked on Sofa & schedules                                                                           4.70 $ 2,350.00      B110
          2/1/2023             KN       Closing issues month end- discussions with Sarah                                                     2.00     800.00      B210
          2/1/2023             KN       Prepare/revise transfers, Sofa                                                                       8.50   3,400.00      B110
          2/1/2023              BS      Emails/calls tax issues 2021 snd 2022                                                                0.40     200.00      B240
          2/1/2023              BS      Document requests FSS from counsel and CRO                                                           0.30     150.00      B110
          2/1/2023              BS      Expense approval procedures                                                                          0.20     100.00      B210
          2/2/2023             HK       Calls BlackBriar & Attorney's transfers (1.2)                                                        1.20     600.00      B110
          2/2/2023              BS      Calls insider transfers, review schedule                                                             0.50     250.00      B110
          2/2/2023             HK       Review of transfer spreadsheet                                                                       2.10   1,050.00      B110
          2/2/2023             HK       Reviewed & updated supplement settlement from FSS                                                    0.70     350.00      B210
          2/2/2023             KN       MOR, SOFA, discussions with Leslie, Sarah, bank recon, Quick Books                                   8.00   3,200.00      B110
          2/3/2023             HK       Reviewed & updated ESG settlement from ESG                                                           0.70     350.00      B210
          2/3/2023             HK       Went back & updated all weeks for revised calculation                                                1.00     500.00      B210
          2/3/2023             HK       PNC Debit card issues - DIP account                                                                  0.20     100.00      B210
          2/3/2023             KN       MOR, Reconcile bank accounts; transfers                                                              8.00   3,200.00      B110
          2/4/2023             KN       MOR, Q Books, Transfers, SOFA                                                                        7.50   3,000.00      B110
          2/6/2023             HK       Working meeting BlackBriar & attorney's to work on SOFA's & forecast                                 5.00   2,500.00      B110
          2/6/2023             HK       Non working travel                                                                                   3.00     750.00      B195
          2/6/2023              BS      Budget preparation/ SOFA research                                                                    5.00   1,250.00      B110
          2/6/2023              BS      Non working travel                                                                                   3.00     750.00      B195
          2/7/2023             HK       BlackBriar FSS to work on SOFA's & forecast/review with A. Jones                                    10.00   5,000.00      B110
          2/7/2023              BS      BlackBriar FSS to work on SOFA's & forecast/review with A. Jones                                     7.50   3,750.00      B110
          2/7/2023              BS      Banking - access to Security bank accounts                                                           0.60     300.00      B210
          2/7/2023              BS      Asset research - helicopter access; FSS advertising contracts; research asset values                 0.50     250.00      B120
          2/7/2023              BS      Asset research - Haarman - Mountain Way, ESG contract                                                0.80     400.00      B120
          2/8/2023             HK       BlackBriar FSS to work on SOFA's & forecast/review with A. Jones                                     5.30   2,650.00      B110
         2/8/2023               BS      BlackBriar FSS to work on SOFA's & forecast/reiew with A. Jones; research real estate deeds, etc    4.00     2,000.00     B110
                                        Meeting at PNC w A. Jones and I. Nowkeafor -PNC. Issues with checks and wires not clearing DIP
        2/8/2023                BS      account                                                                                             0.90       450.00     B210
        2/8/2023                HK      Non working travel                                                                                  3.00       750.00     B195
        2/8/2023                BS      Non working travel                                                                                  3.00       750.00     B195
        2/9/2023                HK      Calls BlackBriar & Attorney's Re SOFA's                                                             1.00       500.00     B110
        2/9/2023                HK      Worked on forecast & assumptions                                                                    3.00     1,500.00     B210
        2/9/2023                HK      Updated supplement reconciliation for forecast                                                      0.50       250.00     B210
        2/9/2023                HK      Updated ESG supplement reconciliation for forecast                                                  0.50       250.00     B210
        2/9/2023                BS      Tax research; call with tax accountant re engagement; bitcoin, fixed assets                         0.90       450.00     B240
        2/9/2023                BS      Banking issues - DIP account;                                                                       0.20       100.00     B210
        2/9/2023                BS      Research real estate ownership; title transfers;                                                    0.50       250.00     B110
        2/9/2023                BS      Review/finalize draft of budget                                                                     1.10       550.00     B210
        2/10/2023               HK      Calls BlackBriar & Attorney's Re SOFA's                                                             1.00       500.00     B110
        2/10/2023               HK      Calls BlackBriar & Attorney's Re forecast                                                           3.50     1,750.00     B210
        2/10/2023               BS      follow up- dishonored DIP checks; access to account                                                 0.80       400.00     B210
        2/10/2023               BS      Calls BlackBriar & Attorney's Re SOFA's; final draft of schedules to attorney for input             1.60       800.00     B110
        2/10/2023               BS      Calls BlackBriar & Attorney's Re forecast; teams call - Sarah re monthly expenses                   4.20     2,100.00     B210
        2/11/2023               HK      Reviewed final forecast                                                                             1.50       750.00     B110
        2/11/2023               BS      SOFA - preparation of supporting schedules                                                          1.20       600.00     B110
        2/13/2023               HK      At FSS to work on SOFA & schedules                                                                  8.30     4,150.00     B110
        2/13/2023               HK      Worked on 90 transfer schedule for SOFA                                                             2.10     1,050.00     B110
        2/13/2023               HK      Non working travel                                                                                  3.00       750.00     B195
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                     Re:        Alexander E. Jones, Debtor In Possession               Case No. 22-33553

Billing Period:                 February 1 through February 28, 2023
Invoice No.                     AJ0201-23
         2/13/2023         BS   SOFA - preparation of supporting schedules; priority claims and tranfers                             2.50       1,250.00   B110
         2/13/2023         BS   Identified Prosperity safe deposit box; research location and access; calls to bank; AJ              0.90         450.00   B120
         2/13/2023         BS   Tax research; calls/emails with tax accountant and IT at FSS re bitcoin, fixed assets                0.70         175.00   B240
         2/14/2023         HK   At FSS, reviewed & revised 90 day transfers for SOFA                                                 1.10         550.00   B110
         2/14/2023         HK   Worked on & Finalized SOFA                                                                          13.00       6,500.00   B110
         2/14/2023         BS   Research priority claims; prepare schedule for Form 106                                              1.00         500.00   B110
                                Research historical payroll, distributions; request past bank statements -Security Bank; calls
        2/14/2023          BS   Mountain Way A/R                                                                                     1.40         700.00   B210
        2/14/2023          BS   Review/revise global notes; update 106I & J supporting schedules                                     1.50         750.00   B110
        2/15/2023          HK   Conversations regarding ESG & review of ESG contracts                                                1.70         850.00   B110
        2/15/2023          HK   Worked on SOFA & schedules                                                                          13.50       6,750.00   B110
                                Review ESG contracts, settlements and outstanding ammounts due. Send wire instructionns to ESG;
        2/15/2023          BS   calls re outstanding payables                                                                        0.90         450.00   B210
        2/16/2023          HK   Call BlackBriar & attorney's document production call                                                0.50         250.00   B110
        2/16/2023          HK   Worked on unknowns on SOFA and schedules                                                             1.00         500.00   B110
        2/16/2023          HK   Updated supplement reconciliation for forecast                                                       0.50         250.00   B210
        2/16/2023          HK   Updated ESG supplement reconciliation for forecast                                                   0.50         250.00   B210
        2/16/2023          HK   Worked on SOFA updates                                                                               3.50       1,750.00   B110
        2/16/2023          BS   Call BlackBriar & attorney's document production call                                                0.50         250.00   B110
        2/16/2023          BS   Reconcile a/r for ESG and wire                                                                       0.30         150.00   B210
        2/16/2023          BS   Research prepaid helicopter payment and usage. Discussion with AJ                                    0.60         300.00   B120
        2/17/2023          HK   Calls into estate sales & appraisal companies                                                        0.70         350.00   B120
        2/17/2023          HK   Worked on updating SOFA & schedules                                                                  5.80       2,900.00   B110
        2/20/2023          HK   Worked on January MOR                                                                                1.70         850.00   B110
        2/20/2023          HK   Call with BlackBriar & attorney update                                                               0.30         150.00   B110
        2/20/2023          BS   Call - Haarman wire; update dropbox;                                                                 0.20         100.00   B210
        2/20/2023          BS   Call with BlackBriar & attorney update                                                               0.30         150.00   B110
        2/21/2023          HK   Worked on reconciling December MOR to SOFA                                                           2.00       1,000.00   B110
        2/21/2023          HK   At FSS meeting with A. Jones & worked on MOR                                                         6.00       3,000.00   B110
        2/21/2023          HK   Non working travel                                                                                   3.00         750.00   B195
        2/21/2023          HK   Amend Dec MOR; review/revise Jan 2023 MOR                                                            3.10       1,550.00   B110
        2/21/2023          BS   Non working travel                                                                                   3.00         750.00   B195
        2/21/2023          BS   Meeting with A. Jones, BlackBriar                                                                    2.00       1,000.00   B110
                                Banking issues; review disbursements comparing to forecast; accounting issues- classification of
        2/21/2023          BS   assets, liabilities and expenses; calls - Mountain Way re billings and amounts due Jones             1.10         550.00   B210
        2/21/2023          BS   Tax issues - bitcoin sales; call with tax attorney; tracing contributions to FSS                     1.80         900.00   B240
        2/22/2023          HK   At FSS working on updating SOFA & schedules                                                         12.70       6,350.00   B110
        2/22/2023          BS   Tax issues - bitcoin sales; call with tax accountant; tracing contributions to FSS                   2.00       1,000.00   B240
        2/22/2023          BS   Research asset values for SOFA and MOR; meet with D. Jones                                           1.30         650.00   B120
        2/22/2023          BS   Work on SOFA schedules; asset identification and valuations                                          4.00       2,000.00   B110
        2/23/2023          HK   At FSS - prep with A. Jones for telephonic Meeting of Creditors                                      1.00         500.00   B110
        2/23/2023          HK   Telephonic Meeting of Creditors                                                                      2.60       1,300.00   B110
        2/23/2023          HK   Meeting P. MaGill - FSS CRO                                                                          0.50         250.00   B210
        2/23/2023          HK   Worked revising SOFA & schedules                                                                     4.00       2,000.00   B110
        2/23/2023          HK   Non working travel                                                                                   3.00         750.00   B195
        2/23/2023          BS   Meeting P. MaGill - FSS CRO                                                                          0.50         250.00   B110
        2/23/2023          BS   At FSS - prep with A. Jones for telephonic Meeting of Creditors                                      1.00         500.00   B110
        2/23/2023          BS   Telephonic Meeting of Creditors                                                                      2.60       1,300.00   B210
        2/23/2023          BS   Non working travel                                                                                   3.00         750.00   B195
        2/24/2023          HK   Call with Jayson B. Ruff, USTP & follow-up call with BlackBriar & attorney's                         1.50         750.00   B110
        2/24/2023          HK   Call with J. Dalessio & V. Driver                                                                    1.00         500.00   B210
        2/24/2023          HK   Reviewed & started tracing crypto funds                                                              3.00       1,500.00   B120
        2/24/2023          BS   Call with Jayson B. Ruff, USTP & follow-up call with BlackBriar & attorney's                         1.50         750.00   B110
        2/25/2023          HK   Reviewed FSS final forecast & sent questions                                                         2.00       1,000.00   B110
        2/27/2023          HK   Worked on SOFA & schedules                                                                           4.20       2,100.00   B110
        2/28/2023          HK   At FSS; visited Ranch & storage units                                                                9.00       4,500.00   B120
        2/28/2023          HK   Non working travel                                                                                   3.00         750.00   B195
        2/28/2023          BS   At FSS; visited Ranch & storage units                                                                9.00       4,500.00   B120
                                                                                                                                   281.50   $ 128,425.00

                                             Total hours for Robert Schleizer (BS)                                                  80.80   $ 35,975.00
                                             Total hours for Harold Kessler (HK)                                                   166.70      78,850.00
                                             Total hours for Kathy Norderhaug (KN)                                                  34.00      13,600.00
                                                                                                                                   281.50   $ 128,425.00
                                 Expenses
                                    From attached expense breakdown                                                                         $ 6,114.96
                                           Total Invoice Amount                                                                             $ 134,539.96
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                  Re:   Alexander E. Jones, Debtor In Possession    Case No. 22-33553

Billing Period:         February 1 through February 28, 2023
Invoice No.             AJ0201-23


                        BlackBriar Advisors LLC
                        2626 Cole Ave., Suite 300
                        Dallas, TX 75204
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

    FOURTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
        ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
         FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
                  MARCH 1, 2023 THROUGH MARCH 31, 2023

    Name of Applicant:             BlackBriar Advisors, LLC
    Applicant’s Role in Case:      Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                       Beginning of Period            End of Period
    Time Period Covered in         03/01/2023                 03/31/2023
    Statement:
                         Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $169,340.001
                                                              (80% of $211,675.00)
    Total Reimbursable Expenses Requested in this Statement: $8,307.852
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $211,675.00
    Total Actual Professional Hours Covered by this 473.0
    Statement:
    Average Hourly Rate for Professionals:                    $447.50

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.


1
  BlackBriar is holding $-0- funds as a retainer in its trust account..
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Fourth Monthly Fee Statement of BlackBriar Advisors, LLC.

for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for the

Period from March 1, 2023 through March 31, 2023 (the “Monthly Fee Statement”).

                                     RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $169,340.00 (80% of 211,675.00) as compensation for

professional services rendered to the Debtor during the period from March 1, 2023 through March

31, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in the amount

of $8,307.85, for a total amount of $177,647.85 to be paid upon expiration of the objection deadline

barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Legal Fees by Category

as Counsel for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as Financial

Advisor for the Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),




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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

        5.       Therefore, BlackBriar respectfully submits support for its fees in the amount of

$211,675.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $8,307.85 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $177,647.003

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: April 30, 2023

                                                             BLACKBRIAR ADVISORS, LLC

                                                             By: /s/ Robert Schleizer
                                                             Robert Schleizer
                                                             2626 Cole Ave., Suite 300
                                                             Dallas, TX 75201
                                                             Telephone: 214-599-8600
                                                             Email: bschleizer@blackbriaradvisors.com


                                                             FINANCIAL ADVISORS FOR DEBTOR
                                                             ALEXANDER E. JONES




3
 Such payment to be made first from any existing retainer funds held by BlackBriar for the Debtor.
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                                CERTIFICATE OF SERVICE

I certify that on April 30, 2023, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                              /s/ Christina W. Stephenson
                                                  Christina W. Stephenson




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                               EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                        EXPENSE                                     TOTAL
Airfare/Train                                                       $1,488.66
Mileage                                                                23.60
Meals                                                                 918.48
Auto                                                                 1,227.75
Hotel                                                                5,128.22
Other                                                                  48.00




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                                  EXHIBIT “B”
             SUMMARY OF FEES AND EXPENSES BY CATEGORY
                        FOR THE FEE PERIOD
           CATEGORIES                            PROFESSIONAL
                                                     TIME
           B110 Case Administration                  308.58
           B120 Asset Analysis and Recovery           28.50
           B130 Asset Disposition                      0.00
           B140 Relief from Stay/Adequate
           Protection                                  .70
           B150 Meetings of & Communications
           with Creditors                              2.90
           B160 Fee/Employment Applications            3.60
           B170 Fee/Employment Objections              0.00
           B180 Avoidance Action Analysis              0.00
           B185 Assumption/Rejection of
           Executory Contracts                         0.00
           B190 Other Contested Matters                0.00
           B195 Non-Working Travel                    44.80
           B210 Business Operations                   71.52
           B220 Employee Benefits/Pensions             0.00
           B230 Financing/Cash Collections             3.30
           B240 Tax Issues                             9.10
           B250 Real Estate                            0.00
           B260 Board of Directors Matters             0.00
           B310 Claims Administration and
           Objections                                  0.00
           B320 Plan and Disclosure Statement          0.00
           B410 General Bankruptcy
           Advice/Opinions                             0.00
           B420 Restructurings                         0.00
           TOTALS:                                    473.0




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                               EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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March 31, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                          Re:         Alexander E. Jones, Debtor In Possession                Case No. 22‐33553

Billing Period:                       March 1 through March 31, 2023
Invoice No.                           AJ0301‐23
Professional Services
Rendered:
            Date          Professional                                             Description                                         Hours    Amount    Task Code
          3/1/2023             BS      BlackBriar & attorneys all day meeting to go over SOFA & schedules                                5.00    2,500.00   B110
          3/1/2023             BS      Fee App Preparation and Review                                                                    1.20      600.00   B160
          3/1/2023             BS      Call J.Haarman Mountain Way                                                                       0.20      100.00   B210
          3/1/2023             BS      Call R. Kennerley re: IRS claim ; correspondence IRS claim                                        0.30      150.00   B240
          3/1/2023             BS      Non‐working travel                                                                                3.00      750.00   B195
          3/1/2023             HK      BlackBriar & attorneys all day meeting to go over SOFA & schedules                                6.50    3,250.00   B110
          3/1/2023            KN       Meet with V Driver, B Schleizer, H Kessler;                                                       2.50    1,000.00   B110
          3/1/2023            KN       update QB financials                                                                              2.00      800.00   B210
          3/2/2023             BS      Fee App Preparation and Review                                                                    0.40      200.00   B160
          3/2/2023             HK      Worked on FSS settlement reconciliation & ESG settlement reconciliation and updated forecast      1.50      750.00   B230
          3/2/2023             HK      Worked on SOFA & schedules                                                                        3.08    1,540.00   B110
          3/3/2023             BS      Calls with BlackBriar & attorneys & S. Lemmon                                                     0.50      250.00   B110
          3/3/2023             BS      BlackBriar conference call with Teneo & Nardello                                                  1.00      500.00   B110
          3/3/2023             BS      Update call with BlackBriar & attorney                                                            0.50      250.00   B110
          3/3/2023             BS      Internal update call regarding C. Cicack                                                          0.30      150.00   B210
          3/3/2023             BS      Review FSS Bankruptcy plan                                                                        2.10    1,050.00   B110
          3/3/2023             BS      Personal Asset appraiser‐ Engage and pay                                                          0.80      400.00   B120
          3/3/2023             HK      Calls with BlackBriar & attorneys & S. Lemmon                                                     0.50      250.00   B110
          3/3/2023             HK      BlackBriar conference call with Teneo & Nardello                                                  1.00      500.00   B110
          3/3/2023             HK      Update call with BlackBriar & attorney                                                            0.50      250.00   B110
          3/3/2023             HK      Internal update call regarding C. Cicack                                                          0.30      150.00   B210
          3/3/2023             HK      Updated Task List                                                                                 0.70      350.00   B110
                                       Reviewed Akin Gump's Notice of The Official Committee of Unsecured Creditors Bankruptcy Rule
        3/3/2023               HK      2004 Examination of Alex Jones Re: Alex‐Jones‐Live, 1776coin or Patriot Collectibles              1.00      500.00   B110
        3/3/2023               HK      Worked on SOFA & schedules                                                                        1.70      850.00   B110
        3/3/2023              KN       Consult with QB regarding QB reconciliations; update QB                                           5.00    2,000.00   B210
        3/4/2023              KN       Update QB, reconcile bank account                                                                 6.50    2,600.00   B210
        3/5/2023              KN       Reconcile bank accounts                                                                           5.00    2,000.00   B210
        3/6/2023               BS      Accounts payable; custody attorney                                                                0.40      200.00   B210
        3/6/2023               HK      Updated ESG sales reconciliation                                                                  0.30      150.00   B230
        3/6/2023               HK      Worked on SOFA & schedules                                                                        6.00    3,000.00   B110
        3/6/2023              KN       Reconcile bank account; found bank error; updated QB                                              6.00    2,400.00   B210
        3/7/2023               BS      At FSS; meeting with A. Jones discuss ESG, operations of FSS; J. Haarman ; custody issues and     1.00      500.00   B210
        3/7/2023               BS      Storage unit inspections                                                                          3.00    1,500.00   B120
        3/7/2023               BS      Banking issues ‐ denied transactions DIP account; trip to PNC                                     0.50      250.00   B210
        3/7/2023               BS      Meeting with R. Reeves Re: Youngivity                                                             0.50      250.00   B210
        3/7/2023               BS      Bitcoin reconciliation and research                                                               1.50      750.00   B210
        3/7/2023               BS      Worked on SOFA & schedules                                                                        2.00    1,000.00   B110
        3/7/2023               BS      IRS Bk claim; call with R. Kennerly                                                               0.20      100.00   B240
        3/7/2023               BS      Information to UCC FA; update notes from meeting                                                  0.90      450.00   B150
        3/7/2023               BS      Non‐working travel                                                                                3.00      750.00   B195
        3/7/2023               HK      At FSS; meeting with A. Jones                                                                     1.00      500.00   B210
        3/7/2023               HK      Meeting with R. Reeves Re: Youngivity                                                             0.50      250.00   B120
        3/7/2023               HK      Worked on SOFA & schedules                                                                        6.00    3,000.00   B110
        3/7/2023               HK      Non‐working travel                                                                                3.00      750.00   B195
        3/7/2023              KN       QB; update transactions                                                                           3.50    1,400.00   B210
        3/8/2023               BS      Meeting with PQPR attorney                                                                        0.80      400.00   B120
        3/8/2023               BS      Banking issues ‐ denied transactions DIP account; research Tahoe ownership                        0.60      300.00   B210
        3/8/2023               BS      Calls/Email w R. Kennerly various tax issues                                                      0.90      450.00   B240
        3/8/2023               BS      Follow up ‐ Cicak re contracts                                                                    0.30      150.00   B120
        3/8/2023               BS      Calls/Email wt. Bennett re bitcoin basis                                                          0.30      150.00   B240
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                      Re:        Alexander E. Jones, Debtor In Possession                  Case No. 22‐33553

Billing Period:                  March 1 through March 31, 2023
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          3/8/2023          BS   Non‐working travel                                                                                3.00     750.00   B195
          3/8/2023          HK   At FSS ‐ worked on updating SOFA & schedules; research payments ‐ call w D. Jones                 5.50   2,750.00   B110
          3/8/2023          HK   Meeting with PQPR attorney                                                                        0.80     400.00   B120
          3/8/2023          HK   Call with Tyler Wolfe                                                                             0.30     150.00   B120
          3/8/2023          KN   QB; Banking issues                                                                                3.00   1,200.00   B210
          3/9/2023          HK   At FSS ‐ worked on updating SOFA & schedules                                                      4.00   2,000.00   B110
          3/9/2023          HK   Visited storage units with company appraising household goods                                     2.50   1,250.00   B120
          3/9/2023          HK   Meeting with Sub‐chapter 5 trustee and attorney                                                   2.10   1,050.00   B110
        3/9/2023            HK   Meeting with P. Magill of FSS                                                                     1.02     510.00   B210
        3/10/2023           BS   Engagement planning                                                                               0.50     250.00   B110
        3/10/2023           HK   Schedule agenda next week                                                                         0.50     250.00   B110
        3/10/2023           HK   Worked on SOFA & schedules                                                                        4.50   2,250.00   B110
        3/10/2023           HK   Non‐working travel                                                                                3.00     750.00   B195
                                 Worked on financial reconciliations from exhibit's 7 & 8 answer to Interrogatory Regarding Net
        3/12/2023           HK   Worth for AJ & FSS                                                                                1.50     750.00   B110
        3/13/2023           BS   Accounting issues; bitcoin research; accounts payable                                             3.50   1,750.00   B210
        3/13/2023           HK   Non‐working travel                                                                                3.00     750.00   B195
        3/13/2023           HK   At FSS working on SOFA and schedules                                                              8.50   4,250.00   B110
        3/13/2023           KN   QB bank reconciliations                                                                           5.00   2,000.00   B210
        3/14/2023           BS   Work with personal asset appraisal issues                                                         0.70     350.00   B120
        3/14/2023           BS   Calls/Email w T. Bennett re bitcoin basis; correspondence with R. Kennerly ‐ tax return status    0.50     250.00   B240
        3/14/2023           BS   Non‐working travel                                                                                3.00     750.00   B195
        3/14/2023           BS   At FSS working on SOFA and schedules                                                              5.00   2,500.00   B110
        3/14/2023           BS   Research and interview multiple asset search firms                                                2.60   1,300.00   B120
        3/14/2023           HK   At FSS working on SOFA and schedules                                                             10.00   5,000.00   B110
        3/14/2023           KN   QB‐ MOR reconciliation                                                                            4.00   1,600.00   B210
        3/15/2023           BS   Work with personal asset appraisal issues                                                         0.40     200.00   B120
        3/15/2023           BS   Communications with Asset Search firms; engage JSG. Provide information to initiate search        3.00   1,500.00   B120
        3/15/2023           BS   Inspect/research values ‐ personal assets located at FSS office; send information to appraiser    2.50   1,250.00   B120
        3/15/2023           BS   Non‐working travel                                                                                3.00     750.00   B195
        3/15/2023           BS   At FSS working on SOFA and schedules                                                              7.20   3,600.00   B110
        3/15/2023           HK   At FSS working on SOFA and schedules                                                             14.50   7,250.00   B110
        3/15/2023           KN   SOFA instructions with Elisa; QB entries                                                          4.00   1,600.00   B110
        3/16/2023           BS   Meet with A. Jones‐ operations and asset identification issues; discuss contracts/revenue         0.90     450.00   B210
        3/16/2023           BS   Cash flow management; accounting' accounts payable                                                2.30   1,150.00   B210
        3/16/2023           BS   call re: cryogenic valuation w manufacturer; information to appraiser                             1.50     750.00   B120
        3/16/2023           BS    SOFA and schedules                                                                               1.40     700.00   B110
        3/16/2023           BS   Non‐working travel                                                                                3.00     750.00   B195
        3/16/2023           HK   At FSS working on SOFA and schedules                                                              7.00   3,500.00   B110
        3/16/2023           HK   Non‐working travel                                                                                3.00     750.00   B195
        3/16/2023           KN   Discussions with QB regarding pre petition entries; bank recon; MOR                               4.50   1,800.00   B210
        3/17/2023           BS    SOFA and schedules; calls/emails research follow‐up                                              2.20   1,100.00   B110
        3/17/2023           BS   Calls/emails ‐ JSG Asset search information                                                       0.90     450.00   B120
        3/17/2023           BS    SOFA and schedules;                                                                              1.40     700.00   B110
        3/17/2023           BS    SOFA and schedules;                                                                              1.40     700.00   B110
        3/17/2023           HK   Conference ‐ attorney's office working on SOFA and schedules                                      6.50   3,250.00   B110
        3/17/2023           KN   MOR                                                                                               2.00     800.00   B110
        3/19/2023           BS   Follow up ‐ bitcoin/tax return status                                                             0.70     350.00   B140
        3/19/2023           BS   Review Feb financials                                                                             0.80     400.00   B210
        3/19/2023           BS   Emails/research assets for SOFA meeting                                                           1.50     750.00   B110
        3/20/2023           BS   Worked on SOFA schedules with attorney & BlackBriar                                               6.50   3,250.00   B110
        3/20/2023           BS   Research Mountain Way billings; reconcile to bank deposits                                        1.30     650.00   B120
        3/20/2023           BS   Calls/emails ‐ JSG Asset search information                                                       0.50     250.00   B120
        3/20/2023           HK   Worked on SOFA schedules with attorney & BlackBriar                                               8.00   4,000.00   B110
        3/20/2023           HK   FSS & ESG sales reconciliation                                                                    1.00     500.00   B230
        3/20/2023           KN   Meet with Bob, Harold, Vickie re SOFA                                                             7.50   3,000.00   B110
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                      Re:        Alexander E. Jones, Debtor In Possession                 Case No. 22‐33553

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         3/21/2023          BS   Worked on SOFA schedules with attorney & BlackBriar                                           7.70       3,850.00   B110
         3/21/2023          BS   Conversation FSS, BlackBriar and attorneys                                                    0.50         250.00   B110
         3/21/2023          BS   Work with personal asset appraisal issues                                                     0.30         150.00   B120
         3/21/2023          BS   Research/Information to JSG‐ asset search firm                                                0.40         200.00   B120
         3/21/2023          HK   Worked on SOFA schedules with attorneys & BlackBriar                                         10.50       5,250.00   B110
         3/21/2023          HK   Conversation FSS, BlackBriar and attorneys                                                    0.50         250.00   B110
         3/21/2023          KN   Meet with Bob, Harold, Vickie re SOFA                                                         7.50       3,000.00   B110
         3/22/2023          BS   Non‐working travel ‐ drive to Lufkin                                                          2.80         700.00   B195
         3/22/2023          BS   Meeting with R. Kennerly ‐ AEJ 2021 taxes; calls w D. Jones; M Flores ‐ PQPR; M. Schwarz;     3.10         775.00   B240
         3/22/2023          HK   Worked on SOFA schedules                                                                      7.50       3,750.00   B110
         3/22/2023          HK   Worked on SOFA schedules                                                                      7.50       3,750.00   B110
         3/22/2023          KN   Update Feb MOR‐ QB entries; unclaimed property                                                5.00       2,000.00   B110
         3/23/2023          BS   Tax issue follow up; calls emails, research; review return draft                              2.00         500.00   B240
         3/23/2023          BS   Worked on SOFA schedules with attorneys & BlackBriar                                          5.50       2,750.00   B110
         3/23/2023          HK   Worked on FSS settlement reconciliation                                                       0.50         250.00   B230
         3/23/2023          HK   Worked on SOFA schedules with attorneys & BlackBriar                                          7.50       3,750.00   B110
         3/23/2023          KN   Update Feb accounting and MOR; Discussions with David regarding transfers                     3.50       1,400.00   B210
         3/24/2023          BS   Non‐working travel                                                                            6.00       1,500.00   B195
         3/24/2023          BS   Inspect Prosperity safe deposit box                                                           0.90         225.00   B120
         3/24/2023          BS   On‐site ‐ operations/accounting/cash management/pnc ‐ trip to PNC bank w AEJ                  2.00         500.00   B210
         3/24/2023          BS   Tax return information to R. Kennerly                                                         0.50         125.00   B240
         3/24/2023          BS   Worked on SOFA schedules with attorneys & BlackBriar                                          1.60         800.00   B110
         3/24/2023          HK   Worked on SOFA schedules with attorneys & BlackBriar                                         10.00       5,000.00   B110
         3/24/2023          HK   Call with UCC attorney                                                                        0.80         400.00   B150
         3/24/2023          KN   Discussions with David, Leslie, Sarah, update financials                                      5.50       2,200.00   B210
         3/25/2023          HK   Separated out household goods appraisal from Home & Lakehouse                                 0.70         350.00   B120
         3/25/2023          HK   Worked on SOFA schedules                                                                      1.40         700.00   B110
         3/27/2023          BS   Tax return information to R. Kennerly; Youngevity; emails/calls                               0.80         200.00   B240
         3/27/2023          BS   Calls/emails ‐ JSG Asset search information                                                   0.20          50.00   B120
         3/27/2023          BS   Work on Mountain Way payment to FSS; calls emails w J. Shulse‐FSS                             1.50         375.00   B120
         3/27/2023          BS   At attorney's office working on SOFA and schedules                                            7.00       3,500.00   B110
         3/27/2023          HK   At attorney's office working on SOFA and schedules                                           10.50       5,250.00   B110
         3/27/2023          KN   SOFA; meeting with Bob, Harold, Vickie                                                        7.00       2,800.00   B110
         3/28/2023          BS   At attorney's office working on SOFA and schedules                                            4.00       2,000.00   B110
         3/28/2023          BS   Tax return information to R. Kennerly; Youngevity; emails/calls                               0.50         125.00   B240
         3/28/2023          BS   Fee App and billing review                                                                    1.50         750.00   B160
         3/28/2023          BS   Calls/emails ‐ JSG Asset search information                                                   0.40         100.00   B120
         3/28/2023          HK   At attorney's office working on SOFA and schedules                                           11.00       5,500.00   B110
         3/28/2023          KN   MOR update; SOFA update                                                                       6.00       2,400.00   B110
         3/29/2023          BS   Non‐working travel                                                                            3.00         750.00   B195
         3/29/2023          BS   At attorney's office working on SOFA and schedules                                            3.00       1,500.00   B110
         3/29/2023          BS   Tax return to UST                                                                             0.20         100.00   B110
         3/29/2023          BS   Research assets on JSG report                                                                 1.50         750.00   B120
         3/29/2023          HK   At attorney's office working on SOFA and schedules                                            7.00       3,500.00   B110
         3/29/2023          KN   SOFA budget update; Feb MOR update                                                            7.50       3,000.00   B110
         3/30/2023          BS   At FSS‐ banking ‐ trip to pnc w A Jones; accounting/cash management                           1.20         600.00   B210
         3/30/2023          BS   FSS hearing                                                                                   1.10         550.00   B110
         3/30/2023          BS   Fee App and billing review                                                                    0.50         250.00   B160
         3/30/2023          BS   Research assets on JSG report                                                                 0.20         100.00   B120
         3/30/2023          BS   Review global notes ‐ SOFA                                                                    0.60         300.00   B110
         3/30/2023          BS   SOFA budget update; Feb MOR update                                                            1.00         500.00   B110
         3/30/2023          BS   Continued Telephonic Meeting of the Creditors                                                 0.60         300.00   B150
         3/30/2023          BS   Non‐working travel                                                                            3.00         750.00   B195
         3/30/2023          HK   Working on finalizing SOFA & schedules                                                        8.00       4,000.00   B110
         3/30/2023          HK   Continued Telephonic Meeting of the Creditors                                                 0.60         300.00   B150
         3/30/2023          KN   Compare SOFA/MOR; update March MOR; listen to hearing                                         4.00       1,600.00   B110
         3/31/2023          HK   Working on finalizing SOFA & schedules                                                        4.20       2,100.00   B110
                                                                                                                             473.00   $ 211,675.00
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                   Re:   Alexander E. Jones, Debtor In Possession             Case No. 22‐33553

Billing Period:          March 1 through March 31, 2023
Invoice No.              AJ0301‐23

                                      Total hours for Robert Schleizer (BS)                       157.50   $ 67,575.00
                                      Total hours for Harold Kessler (HK)                         209.00     101,500.00
                                      Total hours for Kathy Norderhaug (KN)                       106.50      42,600.00
                                                                                                  473.00   $ 211,675.00
                          Expenses
                             From attached expense breakdown                                               $   8,307.85
                          Total Expenses                                                                   $   8,307.85


                                      Total Invoice Amount                                                 $ 219,982.85


                         BlackBriar Advisors LLC
                         2626 Cole Ave., Suite 300
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Alex E. Jones
Billing Period:               March 1 through March 31, 2023
Invoice:                      AJ0301‐23

   Date       Airfare/Train      Mileage          Meals         Auto         Hotel         Other          Total

    1‐Mar               ‐                ‐              ‐         369.79        226.98          ‐             596.77
    2‐Mar            337.80              ‐              ‐            ‐             ‐          24.00           361.80
    3‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
    4‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
    5‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
    6‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
    7‐Mar            129.00             5.90         146.43          ‐          347.49          ‐             628.82
    8‐Mar               ‐                ‐           222.63          ‐             ‐            ‐             222.63
    9‐Mar            129.00             5.90          19.11        18.89      1,114.76          ‐           1,287.66
   10‐Mar               ‐                ‐              ‐         443.46           ‐            ‐             443.46
   11‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   12‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   13‐Mar            466.80             5.90         156.06        14.63           ‐            ‐             643.39
   14‐Mar               ‐                ‐            34.42          ‐             ‐            ‐              34.42
   15‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   16‐Mar            129.00             5.90          43.41          ‐        2,060.66          ‐           1,712.11
   17‐Mar               ‐                ‐              ‐            ‐        1,378.33        24.00         1,402.33
   18‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   19‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   20‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   21‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   22‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   23‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   24‐Mar               ‐                ‐              ‐         355.98           ‐            ‐             355.98
   25‐Mar               ‐                ‐            63.00          ‐             ‐            ‐              63.00
   26‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   27‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   28‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   29‐Mar            297.06              ‐           233.42          ‐             ‐            ‐             530.48
   30‐Mar               ‐                ‐              ‐          25.00           ‐            ‐              25.00
   31‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
Total     $        1,488.66 $          23.60 $       918.48 $   1,227.75 $    5,128.22 $      48.00   $     8,307.85
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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

IN RE                                          )
                                               )
ALEXANDER E. JONES                             )    CASE NO. 22-33553
                                               )
               DEBTOR.                         )    (CHAPTER 11)
                                               )
                                               )    JUDGE CHRISTOPHER M. LOPEZ

   SUMMARY COVER SHEET TO THE FIRST INTERIM FEE APPLICATION OF
 BLACKBRIAR ADVISORS, LLC AS FINANCIAL ADVISOR TO THE DEBTOR FOR
     THE FEE PERIOD FROM DECEMBER 2, 2022 THROUGH MAY 15, 2023

Name of Applicant:                                  BlackBriar Advisors, LLC
Applicant’s Role in Case:           Financial Advisor to Debtor
Docket No. of Employment Docket No. 112
Order(s):
Interim Application (X) No. 1st First Interim
Final Application ( )
                                       Beginning of Period               End of Period
Time period covered by this         12/02/2022                   05/15/2023
Interim Fee Application for
which interim compensation has
not previously been awarded:
Were the services provided necessary to the administration of or beneficial at the time rendered
toward the completion of the case? Yes
Were the services performed in a reasonable amount of time commensurate with the complexity,
importance and nature of the issues addressed? Yes
Is the requested compensation reasonable based on the customary compensation charged by
comparably skilled practitioners in other non-bankruptcy cases? Yes
Do expense reimbursements represent actual and necessary expenses incurred? Yes
Total fees requested in this Application: $754,350.00
Total expense reimbursements requested in this Application: $59,443.86
Total professional hours covered by this Application: 1,713.00
Average hourly rate for professionals: $441.79
Total fees and expenses requested in this Application: $813,793.87
Total fees and expenses awarded in all prior Application: $589,147.81




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Plan Status: Debtor has not yet filed a chapter 11 plan of reorganization. Debtor is preparing a
plan of reorganization and simultaneously participating in mediation discussions while also
defending against two dischargeability adversary proceedings that would substantially impact
the outcome of the case.
Primary Benefits: During the Fee Period, Blackbriar advised the client on various financial
matters, assisting with the drafting and filing of schedules and statements of financial affairs, as
well as monthly operating reports. Blackbriar also assisted Debtor in creating budgets and
reviewing expenses and business operations. Blackbriar has developed projections and provided
financial analysis for plan preparation. Blackbriar has provided financial analysis and advice to
Debtor throughout the case.




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           If you object to the relief requested, you must respond in writing.
           Unless otherwise directed by the Court, you must file your response
           electronically at https://ecf.txsb.uscourts.gov/ within twenty-one days
           from the date this motion was filed. If you do not have electronic filing
           privileges, you must file a written objection that is actually received
           by the clerk within twenty-one days from the date this application was
           filed. Otherwise, the Court may treat the pleading as unopposed and
           grant the relief requested.

       BlackBriar Advisors, LLC (“BlackBriar”), financial advisor to the debtor and debtor-in-

possession Alexander E. Jones (“Jones” or “Debtor”), hereby submits its First Interim Fee

Application for Allowance and Payment of Fees and Expenses as Financial Advisor to the Debtor

for the Period From December 2, 2022 Through May 15, 2023 (the “Application”) for interim

allowance of (a) compensation in the amount of $754,350.00 for professional services C&D

rendered to the Debtor from December 2, 2022 through May 15, 2023 (the “Fee Period”) and (b)

reimbursement of actual and necessary expenses in the amount of $59,443.86 that BlackBriar

incurred during the Fee Period.

                  Itemization of Services Rendered and Expenses Incurred

   1. In support of this Application, BlackBriar attaches the following exhibits:

      EXHIBIT                                      DESCRIPTION

          A.            Notice of BlackBriar Advisors LLC’s First Monthly Fee Statement for
                        Compensation of Services Rendered and Reimbursement of Expenses
                        as Financial Advisor to the Debtor for the Period from December 2,
                        2022 Through December 31, 2022 [Docket No. 131]
          B.            Notice of BlackBriar Advisors LLC’s Second Monthly Fee Statement
                        for Compensation of Services Rendered and Reimbursement of
                        Expenses as Financial Advisor to the Debtor for the Period from
                        January 1, 2023 Through January 31, 2023 [Docket No. 194]
          C.            Notice of BlackBriar Advisors LLC’s Third Monthly Fee Statement
                        for Compensation of Services Rendered and Reimbursement of
                        Expenses as Financial Advisor to the Debtor for the Period from
                        February 1, 2023 Through February 28, 2023 [Docket No. 237]
          D.            Notice of BlackBriar Advisors, LLC’s Fourth Monthly Fee Statement
                        for Compensation of Services Rendered and Reimbursement of


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                         Expenses as Financial Advisor to the Debtor for the Period from March
                         1, 2023 Through March 31, 2023 [Docket No. 259]

   2. Although every effort has been made to include all fees and expenses incurred during the

Fee Period, some fees and expenses might not be included in this Application due to delays caused

by accounting and processing during the Fee Period. BlackBriar reserves the right to make further

application to this Court for allowance of such fees and expenses not included herein. Subsequent

fee applications will be filed in accordance with title 11 of the United States Code, the Federal

Rules of Bankruptcy Procedure, the Bankruptcy Local Rules for the Southern District of Texas,

and the Interim Compensation Order.

   3. BlackBriar requests that this Court enter an order (a) granting interim allowance of

compensation for professional services rendered by BlackBriar during the Fee Period in the

amount of $754,350.00, (b) granting reimbursement of actual and necessary expenses incurred by

BlackBriar during the Fee Period in the amount of $59,443.86, (c) authorizing and directing the

Debtor to pay the fees and expenses to BlackBriar as requested, less any fees and expenses

previously paid pursuant to the Interim Compensation Order, for the Fee Period, and (d) granting

such other and further relief as is just and proper.




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Houston, TX
Dated: May 30, 2023

                                           BLACKBRIAR ADVISORS, LLC

                                           By: /s/ Bob Schleizer
                                           Bob Schleizer
                                           2626 Cole Ave., Suite 300
                                           Dallas, TX 75201
                                           Telephone: 214-599-8600
                                           Email: bschleizer@blackbriaradvisors.com


                                           FINANCIAL ADVISORS FOR DEBTOR
                                           ALEXANDER E. JONES




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                               CERTIFICATE OF SERVICE

I certify that on May 30, 2023, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

              a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

              b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

              c.      Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

              d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

              e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

              f.      Any other parties that the Court may designate.


                                             /s/ Christina W. Stephenson
                                                 Christina W. Stephenson




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                               EXHIBIT “A”
                          First Monthly Fee Statement




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

      FIRST MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
          ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
          FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
               DECEMBER 2, 2022 THROUGH DECEMBER 31, 2022

    Name of Applicant:             BlackBriar Advisors, LLC
    Applicant’s Role in Case:      Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                       Beginning of Period            End of Period
    Time Period Covered in         12/02/2022                 12/31/22
    Statement:
                         Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $56,544.001
                                                              (80% of $70,680.00)
    Total Reimbursable Expenses Requested in this Statement: $3,453.452
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $70,680.00
    Total Actual Professional Hours Covered by this 157.20
    Statement:
    Average Hourly Rate for Professionals:                    $449.62
            Summary Paraprofessional Fees for the Period Covered by this Statement
    Paraprofessional Fees Requested in this Statement:        $0.00
    Total Actual Paraprofessional Hours Covered by this 0.00
    Statement:
    Average Hourly Rate for Paraprofessionals:                $0.00




1
  BlackBriar is holding $200,000.00 as a retainer in its IOLTA Account which is included in this fee/expense request.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.

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            In accordance with the Order Granting Motion for Entry of an Order
            Establishing Procedures for Interim Compensation and Reimbursement
            of Expenses for Chapter 11 Professionals [Docket No. #106], each party
            receiving notice of the monthly fee statement will have 14 days after
            service of the monthly fee statement to object to the requested fees and
            expenses. Upon the expiration of such 14 day period, the Debtor is
            authorized to pay the Professional an amount of 80% of the fees and
            100% of the expenses requested in the applicable monthly fee
            statement.

       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy

Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule

2016-1 of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local

Rules”), and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its First Monthly Fee Statement of BlackBriar Advisors, LLC.

for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for the

Period from December 2, 2022 through December 31, 2022 (the “Monthly Fee Statement”).

                                   RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $56,544.00 (80% of 70,680.00) as compensation for

professional services rendered to the Debtor during the period from December 2, 2022 through

December 31, 2022 (the “Fee Period”); and reimbursement of actual and necessary expenses in

the amount of $3,453.45, for a total amount of $59,997.45 to be paid upon expiration of the

objection deadline barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Legal Fees by Category


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as Counsel for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as Financial

Advisor for the Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),

and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.



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In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

           4.       Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included

herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

           5.       Therefore, BlackBriar respectfully submits support for its fees in the amount of

$70,680.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $3,453.45 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $56,544.003

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.




3
    Such payment to be made first from any existing retainer funds held by BlackBriar for the Debtor.

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Houston, TX
Dated: January 27, 2023

                                         BLACKBRIAR ADVISORS, LLC

                                         By: /s/ Bob Schleizer
                                         Bob Schleizer
                                         2626 Cole Ave., Suite 300
                                         Dallas, TX 75201
                                         Telephone: 214-599-8600
                                         Email: bschleizer@blackbriaradvisors.com


                                         FINANCIAL ADVISORS FOR DEBTOR
                                         ALEXANDER E. JONES




FIRST MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC – Page 5
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                               CERTIFICATE OF SERVICE

I certify that on January 27, 2023, a true and correct copy of the foregoing pleading was served
upon the parties listed on the attached service list via the Court’s ECF system and pursuant to
Local Rule 9003-1, via e mail or U.S. mail as follows:

              a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

              b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

              c.      Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

              d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

              e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

              f.      Any other parties that the Court may designate.


                                            /s/ Christina W. Stephenson
                                                Christina W. Stephenson




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                              EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                       EXPENSE                                  TOTAL
Airfare/Train                                                   $929.60
Mileage                                                           28.19
Meals                                                             46.79
Auto                                                             529.73
Hotel                                                           1,730.85
Other                                                            188.29




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                                     EXHIBIT “B”
              SUMMARY OF FEES AND EXPENSES BY CATEGORY
                         FOR THE FEE PERIOD

CATEGORIES                               PROFESSIONAL   PARAPROFESSIONAL
                                             TIME             TIME
B110 Case Administration                     38.50             0.00
B120 Asset Analysis and Recovery             64.10             0.00
B130 Asset Disposition                        0.00             0.00
B140 Relief from Stay/Adequate
Protection                                    0.00               0.00
B150 Meetings of & Communications
with Creditors                                 2.0              0.00
B160 Fee/Employment Applications              1.30              0.00
B170 Fee/Employment Objections                0.00              0.00
B180 Avoidance Action Analysis                0.00              0.00
B185 Assumption/Rejection of
Executory Contracts                           0.00              0.00
B190 Other Contested Matters                  0.00              0.00
B195 Non-Working Travel                       0.00              0.00
B210 Business Operations                     51.30              0.00
B220 Employee Benefits/Pensions               0.00              0.00
B230 Financing/Cash Collections               0.00              0.00
B240 Tax Issues                               0.00              0.00
B250 Real Estate                              0.00
B260 Board of Directors Matters               0.00
B310 Claims Administration and
Objections                                    0.00              0.00
B320 Plan and Disclosure Statement            0.00              0.00
B410 General Bankruptcy
Advice/Opinions                               0.00              0.00
B420 Restructurings                           0.00              0.00
TOTALS:                                      157.20             0.00




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                              EXHIBIT “C”

        DETAILED RECORD OF FEES FOR THE FEE PERIOD




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January27,2023

AlexE.Jones
c/oShelbyA.Jordan
Jordan&Ortiz,P.C.
6207BeeCaveRoad,Suite120
Austin,TX78746

                          Re:            AlexanderE.Jones,DebtorInPossessionCaseNo.22Ͳ33553

BillingPeriod:                          December1throughDecember31,2022                                                                          
InvoiceNo.                             AJ1201Ͳ22
ProfessionalServices
Rendered:
            Date           Professional                                                Description                                                          Hours         Amount           TaskCode
         12/5/2022             HK       Travelandmeetwithcounselenrouteregardingcasemattersandscope                                              3.00 $1,500.00          B110
         12/5/2022              BS      Travelandmeetwithcounselenrouteregardingcasemattersandscope                                              3.00 1,500.00        B110
                                        KickoffintroductoryindividualmeetingsatShelbyJordan'sofficeͲB.Schleizer,V.Driver,A.Gerard
                                        &H.Kessler;metwithShelbyJordan&DavidJones(2.5);documentaccumulationandreviewfor
        12/5/2022               BS      case(.9)                                                                                                           4.70 2,350.00        B110
                                        KickoffintroductoryindividualmeetingsatShelbyJordan'sofficeͲB.Schleizer,V.Driver,A.Gerard
                                        &H.Kessler;metwithShelbyJordan&DavidJones(2.5);prepareassetschedulefromcounsel
        12/5/2022              HK       records(2.2)                                                                                                      3.40 1,700.00        B110
                                        MeetingsatShelbyJordan'soffice;B.Schleizer,V.Driver,A.Gerard&H.KesslermetwithA.Jones
        12/6/2022              HK       (.7)&B.RoeͲdistributionandaccountinganalysisͲFSSandPQPR(3.5);                                          4.20 2,100.00        B120
        12/6/2022              HK       Assetschedulepreparation(2.0);analysisofattorneydocumentation(1.0)                                           4.00 2,000.00        B120
                                        MeetingsatShelbyJordan'soffice;B.Schleizer,V.Driver,A.Gerard&H.KesslermetwithA.Jones
        12/6/2022               BS      (.7)&B.RoeͲdistributionandaccountinganalysisͲFSSandPQPR(2.5);recapwithcounsel(1.0)                  4.20 2,100.00        B120
                                        Bankaccountrecapandanalysis(1.3);Documentationreview;dropboxsetup(2.4);recapwith
        12/6/2022               BS      counsel(1.0)                                                                                                      4.70   2,350.00      B120
        12/6/2022              HK       B.Schleizer&H.KesslermetwithM.FloresͲPQPRaccounting,ownership,distributrions                         0.90   450.00     B210
        12/6/2022               BS      B.Schleizer&H.KesslermetwithM.FloresͲPQPRaccounting,ownership,distributrions                         0.90   450.00     B210
        12/7/2022              HK       B.Schleizer&H.KesslermetwithS.MansfieldͲpersonalexpensesandbanking                                    2.50   1,250.00      B210
                                        B.Schleizer&H.KesslermetwithS.MansfieldͲpersonalexpensesandbanking(2.5);moveclient
        12/7/2022               BS      documentstodropbox(1.6)                                                                                          4.10   2,050.00      B210
        12/8/2022              HK       B.Schleizer&H.KesslercallwithL.MunizͲJonesassistant;expensesadminforclient                            0.60   300.00     B210
        12/8/2022               BS      B.Schleizer&H.KesslercallwithL.MunizͲJonesassistant;expensesadminforclient                            0.60   300.00     B210
        12/8/2022              HK       ReviewinformationsenttousbyL.Muniz;reviewinformationsentbyS.Mansfield;                               1.60   800.00     B110
        12/8/2022              HK       updatecallwithV.Driver&B.Schleizerbankruptcyissues;caseadmin                                           0.50   250.00     B110
        12/8/2022               BS      updatecallwithV.Driver&B.Schleizerbankruptcyissues;caseadmin                                           0.50   250.00     B110
        12/8/2022               BS      CallwithDavidJonesͲbanking                                                                                    0.40   200.00     B120
                                        TeamMeetingcallwithV.Driver,P.McGill,R.Battaglia,B.Schleizer&H.KesslerreFreeSpeech
        12/9/2022              HK       issues                                                                                                             0.80 400.00       B110
                                        TeamMeetingcallwithV.Driver,P.McGill,R.Battaglia,B.Schleizer&H.KesslerreFreeSpeech
        12/9/2022               BS      issues                                                                                                             0.80 400.00       B210
        12/9/2022              HK       Documentinsurancecoverage.                                                                                       1.70 850.00       B210
       12/12/2022              HK       ConferencecallStephenLemmon,V.Driver&B.SchleizerRe:informationaccessDavidJones                        0.80 400.00       B120
       12/12/2022               HK       ConferencecallStephenLemmon,V.Driver&B.SchleizerRe:informationaccessDavidJones                       0.80 400.00       B120
       12/13/2022               HK       ReviewS.Mansfield'semails,updatedhouseholdexpenses&insurancematters                                     2.30 1,150.00        B210
                                         MeetingswithA.Jones;P.McGill,T.Enlow;callwithM.BoydofAxiosBankregardingDIPaccount;
       12/14/2022               HK       emailswithS.Mansfield;viewedgunsafesinofficewithT.Enlow                                                8.00 4,000.00        B120
                                         OnsiteMeetingwithAlexandDavidJones(3.5)s;obtainbankaccountinfo;extractcurrentbank
       12/14/2022               KN       activity(4.5)                                                                                                    8.00 3,200.00        B120
                                         OnsiteMeetingwithAlexandDavidJones(2.5);callwithAmexandA.Jones(.3);Document
       12/14/2022               BS       accumulationandsetupforInitialdebtorinterview(2.1)                                                        4.90 2,450.00        B210
                                         MeetingwithA.Jonesathishouse,viewedonegunsafe/locker,MeetingwithJ.Dalessio&V.
       12/15/2022               HK       Driver                                                                                                            3.00 1,500.00        B120
       12/15/2022               KN       Downloadandsortbanktransactions                                                                               6.00 2,400.00        B120
                                         CallswithB.Marchand&B.SchleizerDIPaccountrequirements(.4);emailswithS.MansfieldͲ
       12/16/2022               HK       insurance,expenses(.3);ReviewedInitialReportChecklistmissingitems(1.0)                                    1.70 850.00       B210
       12/16/2022               KN       Downloadandsortbanktransactions(10accounts)                                                                 4.00 1,600.00        B120
                                         CallwithcounselͲV.DriverͲInitialDebtorInterview(.4);preparationforinteview(.8);callwithA.
       12/16/2022               BS       JonesreInitialInterview(.2)                                                                                   1.40 700.00       B110
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                      Re:        AlexanderE.Jones,DebtorInPossessionCaseNo.22Ͳ33553

BillingPeriod:                  December1throughDecember31,2022                                                                     
InvoiceNo.                     AJ1201Ͳ22
                                 TeamcallͲInitialReportChecklistforDeborinterviewͲinformationrequirements/missing
        12/17/2022          HK   documentation                                                                                                1.20 600.00     B110
                                 TeamcallͲInitialReportChecklistforDeborinterviewͲinformationrequirements/missing
        12/17/2022          BS   documentation                                                                                                1.20 600.00     B110
                                 TeamcallͲInitialReportChecklistforDeborinterviewͲinformationrequirements/missing
        12/17/2022          KN   documentation                                                                                                1.20   480.00   B110
        12/17/2022          KN   Downloadbankstatementsandactivity                                                                        6.80   2,720.00    B120
        12/18/2022          HK   Review/finalizeInitialReportChecklist;callwithC.Stephenson                                            1.10   550.00   B110
        12/18/2022          BS   Review/finalizeInitialReportChecklist;callwithC.Stephenson                                            0.50   250.00   B110
        12/18/2022          KN   Downloadbankstatementsandactivity                                                                        1.50   600.00   B110
                                 Variouscallsupdatinginsurancecoverages(1.0);bankbalancesforInitialReportChecklist(.7);call
        12/19/2022          HK   withDr.Jones(.4);callwithProsperityBankregardingsettingupDIPbankaccount(.3)                     2.40   1,200.00    B210
        12/19/2022          HK   InitialDebtorInterview(1.0)                                                                                1.00   500.00   B150
        12/19/2022          BS   InitialDebtorInterview                                                                                     1.00   500.00   B150
        12/19/2022          KN   Download/analyzebankstatements                                                                             3.50   1,400.00    B120
                                 Calls/textswithDr.Jones(bankcontacts)reDIPaccount.6;callswithChaseBanktosetͲupDIP
                                 Depositaccount.5;callwithK.Norderhaug&B.Schleizertodiscussrevenuesources(.9);
        12/20/2022          HK   documentreview1.8                                                                                          3.80 1,900.00      B210
        12/20/2022          HK   TeamcallͲrevenueanalysis(.9)                                                                             0.90 450.00     B210
        12/20/2022          KN   Downloadbankstatements/anaylsis                                                                            5.00 2,000.00      B120
                                 CallwithC.Stephenson&V.DriverRe:bankaccounts&utilities(.6);callswithPNCtosetͲupDIP
        12/21/2022          HK   Depositaccount(.3);modeledforecasttemplate(5.7)                                                          6.60 3,300.00      B110
        12/21/2022          BS   EmailtrusteereMOR;(.1);followupͲRoedistributionanalysis(.1);ExcelMORtemplate(.6)               0.80 400.00     B110
                                 CallswithPNCReDIPDepositaccount(.4);setͲupmastercontrolrequestlistfromallpartiesto
        12/22/2022          HK   trackinformationflow(3.1)                                                                                 3.50 1,750.00      B210
        12/22/2022          BS   FSS/PQPRSalesreconciliation;forwardtoteamre:incomeforclient                                         0.40 200.00     B210
                                 CallwithA.Jones,V.Driver&PNCBankRe:DIPdepositoryaccount;CallwithV.Driver&R.
        12/23/2022          HK   BattagliaRe:Supplementsalesreconciliation                                                                0.70 350.00     B120
        12/23/2022          BS   Reviewemploymentapplication.6;updatemasterspreadsheetredocumentstatus(.7)                            1.30 650.00     B160
                                 Createdexceltrendanalysisofsettlementreconciliation(1.9);updatecallswithV.Driver,C.
        12/28/2022          HK   Stephenson&B.Schleizer(1.8)                                                                               3.70 1,850.00      B110
        12/28/2022          BS   callswithcounsel;keyopenissuesanddocumentneeds                                                     1.80 900.00     B110
                                 CallwithS.Mansfield,K.Norderhaug&B.SchleizerRe:upcomingbills&expenses(.8);workedon
        12/29/2022          HK   expenseforecast(2.7)                                                                                        3.50 1,750.00      B210
        12/29/2022          BS   Teamcallre:cashbalancesandexpenses                                                                     0.80 400.00     B210
                                 Reviewactualexpensesfrombankactivityandclientschedules;setupQB;discussionw/BS,HK,
        12/29/2022          KN   SM(.8)                                                                                                      7.00 2,800.00      B210
        12/30/2022          KN   SetUpQBaccounting                                                                                         2.50 1,000.00      B210
                                 Updatedsettlementreconciliation,emailedagendaouttoparticipantsfornextweeksmeetingat
        12/31/2022          HK   FSS                                                                                                          1.80 900.00     B210
        12/31/2022          KN   SetUpQBaccounting                                                                                         3.70 1,480.00      B210
                                                                                                                                              151.20 $70,680.00

                                 TotalhoursforRobertSchleizer(BS)                                               35.00    $17,500.00
                                 TotalhoursforHaroldKessler(HK)                                                 67.00    33,500.00
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                                 BlackBriarAdvisorsLLC
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AlexE.Jones
BillingPeriod:                      December1throughDecember31,2022
Invoice:                             AJ1201Ͳ22

   Date         Airfare/Train             Mileage                    Meals                     Auto                     Hotel                     Other                       Total

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                               EXHIBIT “B”
                         Second Monthly Fee Statement




FIRST INTERIM FEE APPLICATION OF BLACKBRIAR ADVISORS, LLC. – Page 8
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

    SECOND MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
        ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
         FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
                JANUARY 1, 2023 THROUGH JANUARY 31, 2022

    Name of Applicant:             BlackBriar Advisors, LLC
    Applicant’s Role in Case:      Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                       Beginning of Period            End of Period
    Time Period Covered in         01/01/2023                 01/31/2023
    Statement:
                         Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $123,256.001
                                                              (80% of $154,070.00)
    Total Reimbursable Expenses Requested in this Statement: $6,422.002
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $154,070.00
    Total Actual Professional Hours Covered by this 363.00
    Statement:
    Average Hourly Rate for Professionals:                    $424.00

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.

1
  BlackBriar was provided a retainer of $200,000 prior to the bankruptcy filing. $59,997.45 was applied to the
December, 2022 fees and expenses, leaving a balance of $140,000.55.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
SECOND MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC – Page 1
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Second Monthly Fee Statement of BlackBriar Advisors,

LLC. for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor

for the Period from January 1, 2023 through January 31, 2023 (the “Monthly Fee Statement”).

                                    RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $123,256.00 (80% of 154,070.00) as compensation for

professional services rendered to the Debtor during the period from January 1, 2023 through

January 31, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in the

amount of $6,422.00, for a total amount of $129,678.00 to be paid upon expiration of the objection

deadline barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Legal Fees by Category

as Counsel for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as Financial

Advisor for the Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),



SECOND MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC – Page 2
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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

        5.       Therefore, BlackBriar respectfully submits support for its fees in the amount of

$154,070.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $6,422.00 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $123,256.003

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: March 2, 2023

                                                             BLACKBRIAR ADVISORS, LLC

                                                             By: /s/ Robert Schleizer
                                                             Robert Schleizer
                                                             2626 Cole Ave., Suite 300
                                                             Dallas, TX 75201
                                                             Telephone: 214-599-8600
                                                             Email: bschleizer@blackbriaradvisors.com


                                                             FINANCIAL ADVISORS FOR DEBTOR
                                                             ALEXANDER E. JONES




3
 Such payment to be made first from any existing retainer funds held by BlackBriar for the Debtor.
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                                CERTIFICATE OF SERVICE

I certify that on March 2, 2023, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                             /s/ Christina W. Stephenson
                                                 Christina W. Stephenson




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                               EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                        EXPENSE                                     TOTAL
Airfare/Train                                                       $1,835.20
Mileage                                                                28.19
Meals                                                                 480.00
Auto                                                                  714.41
Hotel                                                                3,119.30
Other                                                                 245.22




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                                  EXHIBIT “B”
             SUMMARY OF FEES AND EXPENSES BY CATEGORY
                        FOR THE FEE PERIOD
           CATEGORIES                           PROFESSIONAL
                                                    TIME
           B110 Case Administration                 122.70
           B120 Asset Analysis and Recovery          0.00
           B130 Asset Disposition                    0.00
           B140 Relief from Stay/Adequate
           Protection                                  0.00
           B150 Meetings of & Communications
           with Creditors                              0.00
           B160 Fee/Employment Applications            1.80
           B170 Fee/Employment Objections              0.00
           B180 Avoidance Action Analysis              0.00
           B185 Assumption/Rejection of
           Executory Contracts                          0.00
           B190 Other Contested Matters                 0.00
           B195 Non-Working Travel                     39.00
           B210 Business Operations                   194.50
           B220 Employee Benefits/Pensions              0.00
           B230 Financing/Cash Collections              0.00
           B240 Tax Issues                               5.0
           B250 Real Estate                             0.00
           B260 Board of Directors Matters              0.00
           B310 Claims Administration and
           Objections                                  0.00
           B320 Plan and Disclosure Statement          0.00
           B410 General Bankruptcy
           Advice/Opinions                             0.00
           B420 Restructurings                         0.00
           TOTALS:                                    363.00




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                               EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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January 31, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                     Re:          Alexander E. Jones, Debtor In Possession                 Case No. 22-33553

Billing Period:                 January 1 through January 31, 2023
Invoice No.                     AJ0101-23
Professional
Services Rendered:
         Date      Professional                                                 Description                                               Hours   Amount       Task Code
       1/2/2023        KN       Enter transactions to Accounting                                                                            4.50 $ 1,800.00      B210
                                Review of new Accounting chart of accounts & initial P&L; call with K. Norderhaug & B. Schleizer to
       1/3/2023        HK       discuss P&L, chart of accounts, forecast & BS                                                              3.30     1,650.00     B210
       1/3/2023         BS      Call with K. Norderhaug & H. Kessler - accounting set up and processes                                     1.80       900.00     B210
       1/3/2023        KN       Enter transactions to Accounting                                                                           7.00     2,800.00     B210
       1/4/2023        HK       Prepared for Thursday's meeting at FSS; framed in forecast                                                 2.20     1,100.00     B210
       1/4/2023        HK       Travel - non - working                                                                                     1.50       375.00     B195
       1/4/2023         BS      Travel - non - working                                                                                     1.50       375.00     B195
                                Calls emails w. R. Kennerly, Tax CPA - 2021 tax return (.6); Emails/calls re household expenses,
       1/4/2023         BS      deposits(.8)                                                                                               1.40     1,100.00     B240
       1/4/2023        KN       Accounting and Forecast                                                                                    7.50     3,000.00     B210
                                At FSS for meetings with P. Magill, R. Battaglia, C. Stephenson & B. Schleizer (sales process,
                                accounting & forecasts & strategy); Meeting with B. Roddy (sales & fulfillment) & D. Karpova
       1/5/2023        HK       (production & supplement sales)                                                                            7.50     3,750.00     B210
                                At FSS for meetings with P. Magill, R. Battaglia, C. Stephenson & H. Kessler (sales process, accounting
                                & forecasts & strategy); Meeting with B. Roddy (sales & fulfillment) & D. Karpova (production &
       1/5/2023         BS      supplement sales); calls w D. Jones re bank accounts; Move payroll to DIP                                  6.30     3,150.00     B210
       1/5/2023        KN       Entries to Accounting and Forecast for A. Jones                                                            4.00     1,600.00     B210
       1/6/2023        HK       FSS telephonic status conference call                                                                      0.20       100.00     B110
       1/6/2023        HK       Summarize meeting and action items                                                                         0.70       350.00     B210
                                Summarize meeting and action items (.5); Insurance research, discussions/emails - SM; J. Dietz(.6)
       1/6/2023        HK       (Allstate); calls - C. Stephenson (.2); Accounting issues (2.5)                                            3.70     1,850.00     B210
       1/6/2023        HK       Travel - non - working                                                                                     3.00       750.00     B195
       1/6/2023         BS      Travel - non - working                                                                                     3.00       750.00     B195
       1/7/2023         BS      Update call with A. Jones                                                                                  0.70       350.00     B210
       1/7/2023        HK       Update call with A. Jones & B. Schleizer                                                                   0.70       350.00     B210
                                Prepare action items and agenda for meeting w A. Jones(1.0); emails - J. Haarman - Mountain Way
       1/8/2023         BS      re: receivable due A. Jones (.1)                                                                           1.10       550.00     B210
       1/8/2023        HK       Review/revise agenda for Tuesday's meeting with A. Jones & B. Schleizer;                                   0.40       200.00     B210
       1/9/2023        HK       Prepared for Tuesday's meeting at FSS with A. Jones                                                        1.00       500.00     B210
       1/9/2023        HK       Call with K. Norderhaug & B. Schleizer Draft forecast                                                      0.50       250.00     B210
       1/9/2023         BS      Cash flow forecast and accounting issues; payroll; reimbursable expenses                                   2.60     1,300.00     B210
       1/9/2023        HK       Travel - non - working                                                                                     3.00       750.00     B195
       1/9/2023        KN       Accounting; cash flow; download bank transactions                                                          4.50     1,800.00     B210
       1/9/2023         BS      Travel - non - working                                                                                     3.00       750.00     B195
                                Meeting with A. Jones & B. Schleizer to give him an update, go through list of questions for
      1/10/2023        HK       schedules, sources of income                                                                               2.50     1,250.00     B110
                                On site meeting with A. Jones- case update to give him an update, go through list of questions for
                                schedules, sources of income (2.5); follow up w FSS re: motorhome note status - A. Jones guarantee
      1/10/2023         BS      (.3);                                                                                                      2.80     1,400.00     B110
      1/10/2023        HK       Call with attorney's Re: debtor interview tomorrow                                                         0.40       200.00     B110
      1/10/2023         BS      Preparation - 341 hearing (.5); call with counsel (.4)                                                     0.90       450.00     B110
      1/10/2023        HK       Call with J. Dalessio, A. Jones & B. Schleizer                                                             0.30       150.00     B210
                                Call with J. Dalessio, A. Jones(.3); meeting B. Stedham (FSS) & calls emails R. Kennerly re bitcoin
      1/10/2023         BS      transactions (.6)                                                                                          0.90      450.00      B210
      1/10/2023        HK       Meeting with T. Bennett, A. Jones & B. Schleizer Re: sale of Bitcoin                                       0.30      150.00      B240
      1/10/2023         BS      Meeting with T. Bennett, A. Jones & B. Schleizer Re: sale of Bitcoin                                       0.30      150.00      B240
      1/10/2023         BS      Meet PNC bank rep; deposit trust check to PNC DIP                                                          0.80      400.00      B210
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                  Re:        Alexander E. Jones, Debtor In Possession                  Case No. 22-33553

Billing Period:              January 1 through January 31, 2023
Invoice No.                  AJ0101-23
                             Review non-DIP accounts online (.5); Meeting -D. Jones to transfer money from bank accounts to
     1/10/2023          HK   PNC DIP account (.5)                                                                                      1.00    500.00    B210
     1/10/2023          BS   Meeting -D. Jones to transfer money from bank accounts to PNC DIP account                                 0.50    250.00    B210
     1/10/2023          HK   Travel - non - working                                                                                    3.00    750.00    B195
                             Accounting and expense research; discussions with Sarah- AJ Asst; initiate transfers to A. Jones name
     1/10/2023          KN   for certain accounts/services                                                                             4.00   1,600.00   B210
     1/11/2023          HK   Prep for Telephonic UCC call                                                                              0.30     150.00   B110
     1/11/2023          HK   Telephonic Creditors call with US Trustee                                                                 0.50     250.00   B110
     1/11/2023          BS   Prep for Telephonic UCC call                                                                              0.30     150.00   B110
     1/11/2023          BS   Telephonic Creditors call with US Trustee                                                                 0.50     250.00   B110
     1/11/2023          HK   Updated PQPR weekly Sales Reconciliation                                                                  0.20     100.00   B210
     1/11/2023          HK   Reviewed business entity PowerPoint                                                                       0.20     100.00   B110
     1/11/2023          HK   Update call with B. Schleizer Re: meeting with J. Dalessio (ESG) and J. Shulse - FSS                      0.20     100.00   B210
     1/11/2023          BS   Meeting J. Shulse FSS in Houston re accounting and cash flow issues                                       2.00   1,000.00   B210
     1/11/2023          BS   Update call - HK Re: meeting with J. Dalessio (ESG) and J. Shulse - FSS                                   0.20     100.00   B210
     1/11/2023          KN   Accounting: cash flow                                                                                     4.50   1,800.00   B210
     1/11/2023          BS   Travel - non - working                                                                                    3.00     750.00   B195
     1/12/2023          HK   Created ESG settlement weekly spreadsheet                                                                 0.90     450.00   B210
                             ESG reconciliation; contract review(.5); follow up J. J. Shulse - expense reimbursements; FSS
     1/12/2023          BS   accounting(.3)                                                                                            0.80    400.00    B210
                             Bank issues: Accounting; cash flow (6); MOR setup; review Call re: Actions items and accounting
     1/12/2023          KN   issues with B. Schleizer (2.0)                                                                            8.00   3,200.00   B210
     1/12/2023          BS   Teams - KN - accounting and cash flow                                                                     2.00   1,000.00   B210
     1/13/2023          HK   Call with C. Stephenson, V. Driver & B. Schleizer - case admin                                            0.60     300.00   B110
     1/13/2023          BS   Call with C. Stephenson, V. Driver - case issues                                                          0.60     300.00   B110
     1/13/2023          HK   Call with K. Norderhaug & B. Schleizer - accounting/budget                                                1.00     500.00   B210
     1/13/2023          BS   MOR - accounting issues                                                                                   0.80     400.00   B110
     1/13/2023          KN   MOR set up; call with B. Schleizer, H. Kessler                                                            0.40     160.00   B210
     1/13/2023          KN   Call with B. Schleizer, H. Kessler - accounting deficiencies                                              4.60   1,840.00   B210
     1/16/2023          HK   Call with B. Schleizer - case issues                                                                      0.40     200.00   B110
     1/16/2023          HK   Call with V. Driver & B. Schleizer - case issues                                                          0.50     250.00   B110
     1/16/2023          HK   Reviewed J. Dalessio's response to B. Schleizer's email Re: ESG forecast                                  1.00     500.00   B210
     1/16/2023          HK   Worked on ESG forecast                                                                                    1.50     750.00   B210
     1/16/2023          KN   Accounting ; cash flow;                                                                                   3.00   1,200.00   B210
     1/16/2023          KN   MOR                                                                                                       2.00     800.00   B110
                             Reviewed J. Dalessio's discussion points regarding ESG's supplement sales & new product
     1/17/2023          HK   discussions, current inventory on hand to meet sales                                                      3.50   1,750.00   B210
     1/17/2023          BS   ESG receivable (.7); review 1st draft of financials; email follow up(.6)                                  1.30     650.00   B210
     1/17/2023          HK   Non-working travel                                                                                        3.00     750.00   B110
     1/17/2023          KN   Accounting; expense; discussions David Jones                                                              4.00   1,600.00   B210
     1/17/2023          KN   Accounting; expense; discussions David Jones, MOR                                                         5.50   2,200.00   B110
                             At FSS - meeting with B. Roddy, meeting with J. Dalessio, call with J. Dalessio & R. Schleizer; meeting
     1/18/2023          HK   with T. Enlow                                                                                             8.00   4,000.00   B210
     1/18/2023          BS   Call w J. Dallesio; receivable; contract terms                                                            0.60     300.00   B210
     1/18/2023          BS   MOR review                                                                                                0.30     150.00   B210
     1/18/2023          BS   Call w PNC - bounced checks; (.3)                                                                         0.30     150.00   B210
     1/18/2023          BS   Tax issues; bitcoin; open items on 2021 - AJ, FSS & PQPR                                                  0.50     250.00   B240
     1/18/2023          KN   MOR, Accounting                                                                                           7.00   2,800.00   B110
     1/19/2023          HK   At FSS - Meeting with B. Roddy to discuss 3 supplement forecast                                           1.60     800.00   B210
     1/19/2023          HK   Call with A. Jones & B. Schleizer re case issues; upcoming hearings                                       0.40     200.00   B110
     1/19/2023          HK   Travel - non - working                                                                                    3.00    750.00    B195
     1/19/2023          BS   Travel - non - working                                                                                    3.00     750.00   B195
     1/19/2023          KN   Accounting                                                                                                8.00   3,200.00   B210
     1/20/2023          HK   Call with V. Driver, B. Schleizer Re: MOR                                                                 0.10      50.00   B110
     1/20/2023          HK   Teams call K. Norderhaug & B. Schleizer to discuss go through MOR                                         2.90   1,450.00   B110
     1/20/2023          BS   Teams call MOR                                                                                            2.90   1,450.00   B110
     1/20/2023          BS   Hearing - utilities, etc.                                                                                 0.50     250.00   B110
     1/20/2023          BS   Tax discussion T. Bennett- bitcoin                                                                        0.60     300.00   B240
     1/20/2023          HK   Updated settlement reconciliation & then revised as FSS revised amounts                                   0.60     300.00   B210
     1/20/2023          KN   MOR                                                                                                       6.50   2,600.00   B110
     1/21/2023          KN   Accounting                                                                                                5.00   2,000.00   B210
     1/21/2023          KN   MOR                                                                                                       2.00     800.00   B110
     1/21/2023          KN   MOR                                                                                                       0.80     320.00   B110
     1/22/2023          HK   Review DRAFT MOR as of 12/31/22 & schedules                                                               1.00     500.00   B110
     1/22/2023          BS   Review DRAFT MOR as of 12/31/22 & schedules                                                               0.70     350.00   B110
     1/22/2023          HK   Call with BlackBriar to finalize MOR & schedules                                                          1.30     650.00   B110
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                  Re:        Alexander E. Jones, Debtor In Possession              Case No. 22-33553

Billing Period:              January 1 through January 31, 2023
Invoice No.                  AJ0101-23
      1/22/2023         HK   Call with BlackBriar to finalize MOR & schedules                                       1.30        650.00    B110
      1/22/2023         HK   Final reviews                                                                          1.00        500.00    B110
      1/22/2023         KN   MOR                                                                                    4.00      1,600.00    B110
      1/22/2023         KN   Accounting                                                                             2.50      1,000.00    B210
      1/22/2023         BS   MOR - review and send to attorney for prep                                             0.90        450.00    B110
      1/23/2023         HK   Calls with BlackBriar and Crowe & Dunlevy Re: MOR & schedules                          0.80        400.00    B110
      1/23/2023         BS   Discussion, emails N. Collins,- tax attorney; R. Kennerly                              0.60        300.00    B240
      1/23/2023         BS   Calls with BlackBriar and Crowe & Dunlevy Re: MOR & schedules                          0.80        400.00    B110
      1/23/2023         HK   Worked on A. Jones revenue forecast                                                    2.10      1,050.00    B210
      1/23/2023         KN   Accounting; Monthly Forecast; Property values                                          7.00      2,800.00    B210
      1/24/2023         HK   Non working travel                                                                     3.00        750.00    B195
      1/24/2023         BS   Non working travel                                                                     3.00        750.00    B195
      1/24/2023         BS   Banking issues                                                                         0.50        250.00    B110
      1/24/2023         HK   Onsite final MOR & all schedules with BlackBriar and Crowe & Dunlevy                   2.60      1,300.00    B110
      1/24/2023         BS   Onsite final MOR & all schedules with BlackBriar and Crowe & Dunlevy                   2.60      1,300.00    B110
      1/24/2023         BS   Real Estate Analysis                                                                   1.50        750.00    B110
      1/24/2023         HK   Created notes of documents needed from D. Jones for tomorrow's meeting                 0.90        450.00    B210
      1/24/2023         KN   Monthly Forecast; property values; discussions with Leslie and Sarah                   7.00      2,800.00    B210
      1/25/2023         HK   Team meeting to set agenda for D. Jones meeting                                        1.00        500.00    B210
      1/25/2023         BS   Team meeting to set agenda for D. Jones meeting                                        1.00        500.00    B210
      1/25/2023         BS   DIP account issues                                                                     0.40        200.00    B210
      1/25/2023         HK   Meeting with D. Jones - trusts; property ownership; banking                            3.50      1,750.00    B210
      1/25/2023         HK   Meeting with D. Jones - trusts; property ownership; banking                            3.50      1,750.00    B210
      1/25/2023         HK   Calls/meeting with BlackBriar & Crowe Dunlevy; UCC                                     1.80        900.00    B110
      1/25/2023         HK   Calls/meeting with BlackBriar & Crowe Dunlevy; UCC                                     1.80        900.00    B110
      1/25/2023         HK   Meeting A. Jones                                                                       0.80        400.00    B110
      1/25/2023         BS   Meeting A. Jones                                                                       0.80        400.00    B110
      1/25/2023         BS   Meeting with FSS                                                                       0.90        450.00    B210
      1/25/2023         HK   Meeting with FSS                                                                       0.90        450.00    B210
      1/25/2023         KN   Forecast, banking, discussions with D. Jones                                           7.00      2,800.00    B210
      1/26/2023         HK   Reviewed P&L Forecast received                                                         1.50        750.00    B210
      1/26/2023         HK   Meeting with BlackBriar and Crowe & Dunlevy to set agenda for FSS forecast meeting     1.00        500.00    B210
      1/26/2023         BS   Emails & calls re tax information                                                      0.30        150.00    B240
      1/26/2023         BS   Meeting with BlackBriar and Crowe & Dunlevy to set agenda for FSS forecast meeting     1.00        500.00    B210
      1/26/2023         HK   FSS P&L Forecast meeting                                                               3.50      1,750.00    B210
      1/26/2023         BS   FSS P&L Forecast meeting                                                               3.50      1,750.00    B210
      1/26/2023         BS   Meeting A. Jones                                                                       1.80        900.00    B210
      1/26/2023         HK   Meeting A. Jones                                                                       1.80        900.00    B210
      1/26/2023         HK   Non working travel                                                                     3.00        750.00    B195
      1/26/2023         BS   PQPR distribution analysis(.8); Bitcoin basis follow up (.2)                           1.00        250.00    B240
      1/26/2023         BS   Non working travel                                                                     3.00        750.00    B195
      1/26/2023         KN   Monthly forecast; Transactions                                                         3.00      1,200.00    B210
      1/26/2023         KN    SOFA                                                                                  1.00        400.00    B110
      1/27/2023         BS   Fee app review                                                                         1.80        900.00    B160
      1/27/2023         HK   Updated master spreadsheet supplement reconciliation & calls with J. Dalessio          2.00      1,000.00    B210
      1/27/2023         HK   Review updated FSS forecasted P&L                                                      2.20      1,100.00    B210
      1/27/2023         KN    Transactions; Budget; discussions with Sarah                                          3.00      1,200.00    B210
      1/27/2023         KN   SOFA                                                                                   4.00      1,600.00    B110
      1/29/2023         BS   Calls - A. Jones; C. Cicack                                                            0.50        250.00    B210
      1/29/2023         KN   SOFA                                                                                   7.50      3,000.00    B110
      1/30/2023         KN   SOFA; transfers; Accounting; discussions with David and Sarah                          8.00      3,200.00    B110
      1/30/2023         BS   DIP account issues; bounced checks and wires                                           0.50        250.00    B210
      1/31/2023         KN   Accounting Research- Transfers, SOFA                                                   8.00      3,200.00    B110
      1/30/2023         HK   Calls with BlackBriar & attorney's regarding SOFA's                                    3.50      1,750.00    B110
      1/30/2023         KN   SOFA; transfers; QB; discussions with David and Sarah                                  8.00      3,200.00    B110
      1/31/2023         HK   UCC FA introduction call                                                               0.30        150.00    B110
      1/31/2023         BS   UCC FA introduction call                                                               0.30        150.00    B110
      1/31/2023         HK   Calls with BlackBriar & attorneys regarding transfer analysis                          0.50        250.00    B110
      1/31/2023         BS   Calls with BlackBriar & attorneys regarding transfer analysis                          0.50        250.00    B110
      1/31/2023         HK   FSS forecast                                                                           0.50        250.00    B210
      1/31/2023         HK   worked on SOFA & schedules                                                             3.80      1,900.00    B110
      1/31/2023         KN   Accounting Transfers, SOFA                                                             8.00      3,200.00    B110




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                  Re:       Alexander E. Jones, Debtor In Possession              Case No. 22-33553

Billing Period:             January 1 through January 31, 2023
Invoice No.                 AJ0101-23
                                          Total hours for Robert Schleizer (BS)                        75.70      33,125.00
                                          Total hours for Harold Kessler (HK)                         116.50      52,625.00
                                          Total hours for Kathy Norderhaug (KN)                       170.80      68,320.00
                                                                                                      363.00   $ 154,070.00   $   -
                             Expenses
                                From attached expense breakdown                                                $ 6,422.40
                                       Total Invoice Amount                                                    $ 160,492.40



                            BlackBriar Advisors LLC
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                            Dallas, TX 75204
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Alex E. Jones
Billing Period:                 January 1 through January 31, 2023
Invoice:                        AJ1201-22

   Date         Airfare/Train       Mileage          Meals           Auto         Hotel         Other          Total

      1-Jan               -                 -              -              -             -            -                -
      2-Jan               -                 -              -              -             -            -                -
      3-Jan               -                 -              -              -             -            -                -
      4-Jan               -                 -              -              -             -            -                -
      5-Jan               -                 -              -              -             -          19.98            19.98
      6-Jan            224.00               -              -              -             -         114.31           338.31
      7-Jan               -                 -              -              -             -            -                -
      8-Jan               -                 -              -              -             -            -                -
      9-Jan               -                 -              -              -             -            -                -
    10-Jan                -                 -              -              -             -            -                -
    11-Jan                -                 -              -              -             -            -                -
    12-Jan                -                 -              -              -             -            -                -
    13-Jan             576.60             14.09          46.79         514.29      1,085.93        24.00         2,261.70
    14-Jan                -                 -              -              -             -            -                -
    15-Jan             129.00             14.10            -            15.44        644.92        30.00           833.46
    16-Jan                -                 -              -              -             -            -                -
    17-Jan                -                 -              -              -             -            -                -
    18-Jan             458.00               -              -              -             -          16.00           474.00
    19-Jan                -                 -              -              -             -            -                -
    20-Jan                -                 -              -              -             -            -                -
    21-Jan                -                 -              -              -             -            -                -
    22-Jan                -                 -              -              -             -            -                -
    23-Jan                -                 -              -              -             -            -                -
    24-Jan             447.60               -           186.83            -          727.40          -           1,361.83
    25-Jan                -                 -           218.79            -             -          24.00           242.79
    26-Jan                -                 -            27.67            -          661.05          -             688.72
    27-Jan                -                 -              -           184.68           -          16.93           201.61
    28-Jan                -                 -              -              -             -            -                -
    29-Jan                -                 -              -              -             -            -                -
    30-Jan                -                 -              -              -             -            -                -
    31-Jan                -                 -              -              -             -            -                -
Total       $        1,835.20 $           28.19 $       480.08 $       714.41 $    3,119.30 $     245.22   $     6,422.40
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                               EXHIBIT “C”

                         Third Monthly Fee Statement




FIRST INTERIM FEE APPLICATION OF BLACKBRIAR ADVISORS, LLC. – Page 9
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

     THIRD MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
         ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
         FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
               FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023

    Name of Applicant:             BlackBriar Advisors, LLC
    Applicant’s Role in Case:      Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                       Beginning of Period            End of Period
    Time Period Covered in         02/01/2023                 02/28/2023
    Statement:
                         Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $102,740.001
                                                              (80% of $128,425.00)
    Total Reimbursable Expenses Requested in this Statement: $6,114.962
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $128,425.00
    Total Actual Professional Hours Covered by this 281.50
    Statement:
    Average Hourly Rate for Professionals:                    $456.22

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.


1
  BlackBriar is holding $10,322.55 as a retainer in its IOLTA Account which is included in this fee/expense request.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Third Monthly Fee Statement of BlackBriar Advisors, LLC.

for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for the

Period from February 1, 2023 through February 28, 2023 (the “Monthly Fee Statement”).

                                    RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $102,740.00 (80% of 128,425.00) as compensation for

professional services rendered to the Debtor during the period from February 1, 2023 through

February 28, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in the

amount of $6,114.96, for a total amount of $108,854.96 to be paid upon expiration of the objection

deadline barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Legal Fees by Category

as Counsel for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as Financial

Advisor for the Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),




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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

        5.       Therefore, BlackBriar respectfully submits support for its fees in the amount of

$128,425.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $6,114.96.00 for reasonable, actual and necessary expenses incurred

during the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation

Order, and pending the expiration of the objection deadline, if no objections to the Fee Statement

are received, that the Debtor shall be authorized to immediately pay to BlackBriar the amount of

$108,7854.963 which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s

expenses incurred during the Fee Period.

Houston, TX
Dated: March 31, 2023

                                                             BLACKBRIAR ADVISORS, LLC

                                                             By: /s/ Robert Schleizer
                                                             Robert Schleizer
                                                             2626 Cole Ave., Suite 300
                                                             Dallas, TX 75201
                                                             Telephone: 214-599-8600
                                                             Email: bschleizer@blackbriaradvisors.com


                                                             FINANCIAL ADVISORS FOR DEBTOR
                                                             ALEXANDER E. JONES




3
 Such payment to be made first from any existing retainer funds held by BlackBriar for the Debtor.
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                                CERTIFICATE OF SERVICE

I certify that on March 31, 2023, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                              /s/ Christina W. Stephenson
                                                  Christina W. Stephenson




THIRD MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC – Page 5
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                                EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                        EXPENSE                                    TOTAL
Airfare/Train                                                      $1,727.60
Mileage                                                               35.40
Meals                                                                462.56
Auto                                                                 634.60
Hotel                                                               3,022.25
Other                                                                294.99




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                                  EXHIBIT “B”
             SUMMARY OF FEES AND EXPENSES BY CATEGORY
                        FOR THE FEE PERIOD
           CATEGORIES                            PROFESSIONAL
                                                     TIME
           B110 Case Administration                  190.8
           B120 Asset Analysis and Recovery           25.8
           B130 Asset Disposition                     0.00
           B140 Relief from Stay/Adequate
           Protection                                  0.00
           B150 Meetings of & Communications
           with Creditors                              0.00
           B160 Fee/Employment Applications            0.00
           B170 Fee/Employment Objections              0.00
           B180 Avoidance Action Analysis              0.00
           B185 Assumption/Rejection of
           Executory Contracts                         0.00
           B190 Other Contested Matters                0.00
           B195 Non-Working Travel                    30.00
           B210 Business Operations                   29.10
           B220 Employee Benefits/Pensions             0.00
           B230 Financing/Cash Collections             0.00
           B240 Tax Issues                              5.8
           B250 Real Estate                            0.00
           B260 Board of Directors Matters             0.00
           B310 Claims Administration and
           Objections                                  0.00
           B320 Plan and Disclosure Statement          0.00
           B410 General Bankruptcy
           Advice/Opinions                             0.00
           B420 Restructurings                         0.00
           TOTALS:                                    281.5




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                                EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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February 28, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                          Re:           Alexander E. Jones, Debtor In Possession                   Case No. 22-33553

Billing Period:                         February 1 through February 28, 2023
Invoice No.                             AJ0201-23
Professional Services
Rendered:
            Date           Professional                                               Description                                          Hours   Amount       Task Code
          2/1/2023             HK       Worked on Sofa & schedules                                                                           4.70 $ 2,350.00      B110
          2/1/2023             KN       Closing issues month end- discussions with Sarah                                                     2.00     800.00      B210
          2/1/2023             KN       Prepare/revise transfers, Sofa                                                                       8.50   3,400.00      B110
          2/1/2023              BS      Emails/calls tax issues 2021 snd 2022                                                                0.40     200.00      B240
          2/1/2023              BS      Document requests FSS from counsel and CRO                                                           0.30     150.00      B110
          2/1/2023              BS      Expense approval procedures                                                                          0.20     100.00      B210
          2/2/2023             HK       Calls BlackBriar & Attorney's transfers (1.2)                                                        1.20     600.00      B110
          2/2/2023              BS      Calls insider transfers, review schedule                                                             0.50     250.00      B110
          2/2/2023             HK       Review of transfer spreadsheet                                                                       2.10   1,050.00      B110
          2/2/2023             HK       Reviewed & updated supplement settlement from FSS                                                    0.70     350.00      B210
          2/2/2023             KN       MOR, SOFA, discussions with Leslie, Sarah, bank recon, Quick Books                                   8.00   3,200.00      B110
          2/3/2023             HK       Reviewed & updated ESG settlement from ESG                                                           0.70     350.00      B210
          2/3/2023             HK       Went back & updated all weeks for revised calculation                                                1.00     500.00      B210
          2/3/2023             HK       PNC Debit card issues - DIP account                                                                  0.20     100.00      B210
          2/3/2023             KN       MOR, Reconcile bank accounts; transfers                                                              8.00   3,200.00      B110
          2/4/2023             KN       MOR, Q Books, Transfers, SOFA                                                                        7.50   3,000.00      B110
          2/6/2023             HK       Working meeting BlackBriar & attorney's to work on SOFA's & forecast                                 5.00   2,500.00      B110
          2/6/2023             HK       Non working travel                                                                                   3.00     750.00      B195
          2/6/2023              BS      Budget preparation/ SOFA research                                                                    5.00   1,250.00      B110
          2/6/2023              BS      Non working travel                                                                                   3.00     750.00      B195
          2/7/2023             HK       BlackBriar FSS to work on SOFA's & forecast/review with A. Jones                                    10.00   5,000.00      B110
          2/7/2023              BS      BlackBriar FSS to work on SOFA's & forecast/review with A. Jones                                     7.50   3,750.00      B110
          2/7/2023              BS      Banking - access to Security bank accounts                                                           0.60     300.00      B210
          2/7/2023              BS      Asset research - helicopter access; FSS advertising contracts; research asset values                 0.50     250.00      B120
          2/7/2023              BS      Asset research - Haarman - Mountain Way, ESG contract                                                0.80     400.00      B120
          2/8/2023             HK       BlackBriar FSS to work on SOFA's & forecast/review with A. Jones                                     5.30   2,650.00      B110
         2/8/2023               BS      BlackBriar FSS to work on SOFA's & forecast/reiew with A. Jones; research real estate deeds, etc    4.00     2,000.00     B110
                                        Meeting at PNC w A. Jones and I. Nowkeafor -PNC. Issues with checks and wires not clearing DIP
        2/8/2023                BS      account                                                                                             0.90       450.00     B210
        2/8/2023                HK      Non working travel                                                                                  3.00       750.00     B195
        2/8/2023                BS      Non working travel                                                                                  3.00       750.00     B195
        2/9/2023                HK      Calls BlackBriar & Attorney's Re SOFA's                                                             1.00       500.00     B110
        2/9/2023                HK      Worked on forecast & assumptions                                                                    3.00     1,500.00     B210
        2/9/2023                HK      Updated supplement reconciliation for forecast                                                      0.50       250.00     B210
        2/9/2023                HK      Updated ESG supplement reconciliation for forecast                                                  0.50       250.00     B210
        2/9/2023                BS      Tax research; call with tax accountant re engagement; bitcoin, fixed assets                         0.90       450.00     B240
        2/9/2023                BS      Banking issues - DIP account;                                                                       0.20       100.00     B210
        2/9/2023                BS      Research real estate ownership; title transfers;                                                    0.50       250.00     B110
        2/9/2023                BS      Review/finalize draft of budget                                                                     1.10       550.00     B210
        2/10/2023               HK      Calls BlackBriar & Attorney's Re SOFA's                                                             1.00       500.00     B110
        2/10/2023               HK      Calls BlackBriar & Attorney's Re forecast                                                           3.50     1,750.00     B210
        2/10/2023               BS      follow up- dishonored DIP checks; access to account                                                 0.80       400.00     B210
        2/10/2023               BS      Calls BlackBriar & Attorney's Re SOFA's; final draft of schedules to attorney for input             1.60       800.00     B110
        2/10/2023               BS      Calls BlackBriar & Attorney's Re forecast; teams call - Sarah re monthly expenses                   4.20     2,100.00     B210
        2/11/2023               HK      Reviewed final forecast                                                                             1.50       750.00     B110
        2/11/2023               BS      SOFA - preparation of supporting schedules                                                          1.20       600.00     B110
        2/13/2023               HK      At FSS to work on SOFA & schedules                                                                  8.30     4,150.00     B110
        2/13/2023               HK      Worked on 90 transfer schedule for SOFA                                                             2.10     1,050.00     B110
        2/13/2023               HK      Non working travel                                                                                  3.00       750.00     B195
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                     Re:        Alexander E. Jones, Debtor In Possession               Case No. 22-33553

Billing Period:                 February 1 through February 28, 2023
Invoice No.                     AJ0201-23
         2/13/2023         BS   SOFA - preparation of supporting schedules; priority claims and tranfers                             2.50       1,250.00   B110
         2/13/2023         BS   Identified Prosperity safe deposit box; research location and access; calls to bank; AJ              0.90         450.00   B120
         2/13/2023         BS   Tax research; calls/emails with tax accountant and IT at FSS re bitcoin, fixed assets                0.70         175.00   B240
         2/14/2023         HK   At FSS, reviewed & revised 90 day transfers for SOFA                                                 1.10         550.00   B110
         2/14/2023         HK   Worked on & Finalized SOFA                                                                          13.00       6,500.00   B110
         2/14/2023         BS   Research priority claims; prepare schedule for Form 106                                              1.00         500.00   B110
                                Research historical payroll, distributions; request past bank statements -Security Bank; calls
        2/14/2023          BS   Mountain Way A/R                                                                                     1.40         700.00   B210
        2/14/2023          BS   Review/revise global notes; update 106I & J supporting schedules                                     1.50         750.00   B110
        2/15/2023          HK   Conversations regarding ESG & review of ESG contracts                                                1.70         850.00   B110
        2/15/2023          HK   Worked on SOFA & schedules                                                                          13.50       6,750.00   B110
                                Review ESG contracts, settlements and outstanding ammounts due. Send wire instructionns to ESG;
        2/15/2023          BS   calls re outstanding payables                                                                        0.90         450.00   B210
        2/16/2023          HK   Call BlackBriar & attorney's document production call                                                0.50         250.00   B110
        2/16/2023          HK   Worked on unknowns on SOFA and schedules                                                             1.00         500.00   B110
        2/16/2023          HK   Updated supplement reconciliation for forecast                                                       0.50         250.00   B210
        2/16/2023          HK   Updated ESG supplement reconciliation for forecast                                                   0.50         250.00   B210
        2/16/2023          HK   Worked on SOFA updates                                                                               3.50       1,750.00   B110
        2/16/2023          BS   Call BlackBriar & attorney's document production call                                                0.50         250.00   B110
        2/16/2023          BS   Reconcile a/r for ESG and wire                                                                       0.30         150.00   B210
        2/16/2023          BS   Research prepaid helicopter payment and usage. Discussion with AJ                                    0.60         300.00   B120
        2/17/2023          HK   Calls into estate sales & appraisal companies                                                        0.70         350.00   B120
        2/17/2023          HK   Worked on updating SOFA & schedules                                                                  5.80       2,900.00   B110
        2/20/2023          HK   Worked on January MOR                                                                                1.70         850.00   B110
        2/20/2023          HK   Call with BlackBriar & attorney update                                                               0.30         150.00   B110
        2/20/2023          BS   Call - Haarman wire; update dropbox;                                                                 0.20         100.00   B210
        2/20/2023          BS   Call with BlackBriar & attorney update                                                               0.30         150.00   B110
        2/21/2023          HK   Worked on reconciling December MOR to SOFA                                                           2.00       1,000.00   B110
        2/21/2023          HK   At FSS meeting with A. Jones & worked on MOR                                                         6.00       3,000.00   B110
        2/21/2023          HK   Non working travel                                                                                   3.00         750.00   B195
        2/21/2023          HK   Amend Dec MOR; review/revise Jan 2023 MOR                                                            3.10       1,550.00   B110
        2/21/2023          BS   Non working travel                                                                                   3.00         750.00   B195
        2/21/2023          BS   Meeting with A. Jones, BlackBriar                                                                    2.00       1,000.00   B110
                                Banking issues; review disbursements comparing to forecast; accounting issues- classification of
        2/21/2023          BS   assets, liabilities and expenses; calls - Mountain Way re billings and amounts due Jones             1.10         550.00   B210
        2/21/2023          BS   Tax issues - bitcoin sales; call with tax attorney; tracing contributions to FSS                     1.80         900.00   B240
        2/22/2023          HK   At FSS working on updating SOFA & schedules                                                         12.70       6,350.00   B110
        2/22/2023          BS   Tax issues - bitcoin sales; call with tax accountant; tracing contributions to FSS                   2.00       1,000.00   B240
        2/22/2023          BS   Research asset values for SOFA and MOR; meet with D. Jones                                           1.30         650.00   B120
        2/22/2023          BS   Work on SOFA schedules; asset identification and valuations                                          4.00       2,000.00   B110
        2/23/2023          HK   At FSS - prep with A. Jones for telephonic Meeting of Creditors                                      1.00         500.00   B110
        2/23/2023          HK   Telephonic Meeting of Creditors                                                                      2.60       1,300.00   B110
        2/23/2023          HK   Meeting P. MaGill - FSS CRO                                                                          0.50         250.00   B210
        2/23/2023          HK   Worked revising SOFA & schedules                                                                     4.00       2,000.00   B110
        2/23/2023          HK   Non working travel                                                                                   3.00         750.00   B195
        2/23/2023          BS   Meeting P. MaGill - FSS CRO                                                                          0.50         250.00   B110
        2/23/2023          BS   At FSS - prep with A. Jones for telephonic Meeting of Creditors                                      1.00         500.00   B110
        2/23/2023          BS   Telephonic Meeting of Creditors                                                                      2.60       1,300.00   B210
        2/23/2023          BS   Non working travel                                                                                   3.00         750.00   B195
        2/24/2023          HK   Call with Jayson B. Ruff, USTP & follow-up call with BlackBriar & attorney's                         1.50         750.00   B110
        2/24/2023          HK   Call with J. Dalessio & V. Driver                                                                    1.00         500.00   B210
        2/24/2023          HK   Reviewed & started tracing crypto funds                                                              3.00       1,500.00   B120
        2/24/2023          BS   Call with Jayson B. Ruff, USTP & follow-up call with BlackBriar & attorney's                         1.50         750.00   B110
        2/25/2023          HK   Reviewed FSS final forecast & sent questions                                                         2.00       1,000.00   B110
        2/27/2023          HK   Worked on SOFA & schedules                                                                           4.20       2,100.00   B110
        2/28/2023          HK   At FSS; visited Ranch & storage units                                                                9.00       4,500.00   B120
        2/28/2023          HK   Non working travel                                                                                   3.00         750.00   B195
        2/28/2023          BS   At FSS; visited Ranch & storage units                                                                9.00       4,500.00   B120
                                                                                                                                   281.50   $ 128,425.00

                                             Total hours for Robert Schleizer (BS)                                                  80.80   $ 35,975.00
                                             Total hours for Harold Kessler (HK)                                                   166.70      78,850.00
                                             Total hours for Kathy Norderhaug (KN)                                                  34.00      13,600.00
                                                                                                                                   281.50   $ 128,425.00
                                 Expenses
                                    From attached expense breakdown                                                                         $ 6,114.96
                                           Total Invoice Amount                                                                             $ 134,539.96
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                  Re:   Alexander E. Jones, Debtor In Possession    Case No. 22-33553

Billing Period:         February 1 through February 28, 2023
Invoice No.             AJ0201-23


                        BlackBriar Advisors LLC
                        2626 Cole Ave., Suite 300
                        Dallas, TX 75204
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                               EXHIBIT “D”

                         Fourth Monthly Fee Statement




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

    FOURTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
        ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
         FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
                  MARCH 1, 2023 THROUGH MARCH 31, 2023

    Name of Applicant:             BlackBriar Advisors, LLC
    Applicant’s Role in Case:      Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                       Beginning of Period            End of Period
    Time Period Covered in         03/01/2023                 03/31/2023
    Statement:
                         Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $169,340.001
                                                              (80% of $211,675.00)
    Total Reimbursable Expenses Requested in this Statement: $8,307.852
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $211,675.00
    Total Actual Professional Hours Covered by this 473.0
    Statement:
    Average Hourly Rate for Professionals:                    $447.50

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.


1
  BlackBriar is holding $-0- funds as a retainer in its trust account..
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
FOURTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC – Page 1
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Fourth Monthly Fee Statement of BlackBriar Advisors, LLC.

for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for the

Period from March 1, 2023 through March 31, 2023 (the “Monthly Fee Statement”).

                                     RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $169,340.00 (80% of 211,675.00) as compensation for

professional services rendered to the Debtor during the period from March 1, 2023 through March

31, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in the amount

of $8,307.85, for a total amount of $177,647.85 to be paid upon expiration of the objection deadline

barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Legal Fees by Category

as Counsel for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as Financial

Advisor for the Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),




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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

        5.       Therefore, BlackBriar respectfully submits support for its fees in the amount of

$211,675.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $8,307.85 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $177,647.003

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: April 30, 2023

                                                             BLACKBRIAR ADVISORS, LLC

                                                             By: /s/ Robert Schleizer
                                                             Robert Schleizer
                                                             2626 Cole Ave., Suite 300
                                                             Dallas, TX 75201
                                                             Telephone: 214-599-8600
                                                             Email: bschleizer@blackbriaradvisors.com


                                                             FINANCIAL ADVISORS FOR DEBTOR
                                                             ALEXANDER E. JONES




3
 Such payment to be made first from any existing retainer funds held by BlackBriar for the Debtor.
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                                CERTIFICATE OF SERVICE

I certify that on April 30, 2023, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                              /s/ Christina W. Stephenson
                                                  Christina W. Stephenson




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                                 EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                         EXPENSE                                    TOTAL
Airfare/Train                                                        $1,488.66
Mileage                                                                 23.60
Meals                                                                  918.48
Auto                                                                  1,227.75
Hotel                                                                 5,128.22
Other                                                                   48.00




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                                   EXHIBIT “B”
              SUMMARY OF FEES AND EXPENSES BY CATEGORY
                         FOR THE FEE PERIOD
            CATEGORIES                             PROFESSIONAL
                                                       TIME
            B110 Case Administration                   308.58
            B120 Asset Analysis and Recovery            28.50
            B130 Asset Disposition                       0.00
            B140 Relief from Stay/Adequate
            Protection                                    .70
            B150 Meetings of & Communications
            with Creditors                               2.90
            B160 Fee/Employment Applications             3.60
            B170 Fee/Employment Objections               0.00
            B180 Avoidance Action Analysis               0.00
            B185 Assumption/Rejection of
            Executory Contracts                           0.00
            B190 Other Contested Matters                  0.00
            B195 Non-Working Travel                      44.80
            B210 Business Operations                     71.52
            B220 Employee Benefits/Pensions               0.00
            B230 Financing/Cash Collections               3.30
            B240 Tax Issues                               9.10
            B250 Real Estate                              0.00
            B260 Board of Directors Matters               0.00
            B310 Claims Administration and
            Objections                                   0.00
            B320 Plan and Disclosure Statement           0.00
            B410 General Bankruptcy
            Advice/Opinions                               0.00
            B420 Restructurings                           0.00
            TOTALS:                                      473.0




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                                 EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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March 31, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                          Re:         Alexander E. Jones, Debtor In Possession                Case No. 22‐33553

Billing Period:                       March 1 through March 31, 2023
Invoice No.                           AJ0301‐23
Professional Services
Rendered:
            Date          Professional                                             Description                                         Hours    Amount    Task Code
          3/1/2023             BS      BlackBriar & attorneys all day meeting to go over SOFA & schedules                                5.00    2,500.00   B110
          3/1/2023             BS      Fee App Preparation and Review                                                                    1.20      600.00   B160
          3/1/2023             BS      Call J.Haarman Mountain Way                                                                       0.20      100.00   B210
          3/1/2023             BS      Call R. Kennerley re: IRS claim ; correspondence IRS claim                                        0.30      150.00   B240
          3/1/2023             BS      Non‐working travel                                                                                3.00      750.00   B195
          3/1/2023             HK      BlackBriar & attorneys all day meeting to go over SOFA & schedules                                6.50    3,250.00   B110
          3/1/2023            KN       Meet with V Driver, B Schleizer, H Kessler;                                                       2.50    1,000.00   B110
          3/1/2023            KN       update QB financials                                                                              2.00      800.00   B210
          3/2/2023             BS      Fee App Preparation and Review                                                                    0.40      200.00   B160
          3/2/2023             HK      Worked on FSS settlement reconciliation & ESG settlement reconciliation and updated forecast      1.50      750.00   B230
          3/2/2023             HK      Worked on SOFA & schedules                                                                        3.08    1,540.00   B110
          3/3/2023             BS      Calls with BlackBriar & attorneys & S. Lemmon                                                     0.50      250.00   B110
          3/3/2023             BS      BlackBriar conference call with Teneo & Nardello                                                  1.00      500.00   B110
          3/3/2023             BS      Update call with BlackBriar & attorney                                                            0.50      250.00   B110
          3/3/2023             BS      Internal update call regarding C. Cicack                                                          0.30      150.00   B210
          3/3/2023             BS      Review FSS Bankruptcy plan                                                                        2.10    1,050.00   B110
          3/3/2023             BS      Personal Asset appraiser‐ Engage and pay                                                          0.80      400.00   B120
          3/3/2023             HK      Calls with BlackBriar & attorneys & S. Lemmon                                                     0.50      250.00   B110
          3/3/2023             HK      BlackBriar conference call with Teneo & Nardello                                                  1.00      500.00   B110
          3/3/2023             HK      Update call with BlackBriar & attorney                                                            0.50      250.00   B110
          3/3/2023             HK      Internal update call regarding C. Cicack                                                          0.30      150.00   B210
          3/3/2023             HK      Updated Task List                                                                                 0.70      350.00   B110
                                       Reviewed Akin Gump's Notice of The Official Committee of Unsecured Creditors Bankruptcy Rule
        3/3/2023               HK      2004 Examination of Alex Jones Re: Alex‐Jones‐Live, 1776coin or Patriot Collectibles              1.00      500.00   B110
        3/3/2023               HK      Worked on SOFA & schedules                                                                        1.70      850.00   B110
        3/3/2023              KN       Consult with QB regarding QB reconciliations; update QB                                           5.00    2,000.00   B210
        3/4/2023              KN       Update QB, reconcile bank account                                                                 6.50    2,600.00   B210
        3/5/2023              KN       Reconcile bank accounts                                                                           5.00    2,000.00   B210
        3/6/2023               BS      Accounts payable; custody attorney                                                                0.40      200.00   B210
        3/6/2023               HK      Updated ESG sales reconciliation                                                                  0.30      150.00   B230
        3/6/2023               HK      Worked on SOFA & schedules                                                                        6.00    3,000.00   B110
        3/6/2023              KN       Reconcile bank account; found bank error; updated QB                                              6.00    2,400.00   B210
        3/7/2023               BS      At FSS; meeting with A. Jones discuss ESG, operations of FSS; J. Haarman ; custody issues and     1.00      500.00   B210
        3/7/2023               BS      Storage unit inspections                                                                          3.00    1,500.00   B120
        3/7/2023               BS      Banking issues ‐ denied transactions DIP account; trip to PNC                                     0.50      250.00   B210
        3/7/2023               BS      Meeting with R. Reeves Re: Youngivity                                                             0.50      250.00   B210
        3/7/2023               BS      Bitcoin reconciliation and research                                                               1.50      750.00   B210
        3/7/2023               BS      Worked on SOFA & schedules                                                                        2.00    1,000.00   B110
        3/7/2023               BS      IRS Bk claim; call with R. Kennerly                                                               0.20      100.00   B240
        3/7/2023               BS      Information to UCC FA; update notes from meeting                                                  0.90      450.00   B150
        3/7/2023               BS      Non‐working travel                                                                                3.00      750.00   B195
        3/7/2023               HK      At FSS; meeting with A. Jones                                                                     1.00      500.00   B210
        3/7/2023               HK      Meeting with R. Reeves Re: Youngivity                                                             0.50      250.00   B120
        3/7/2023               HK      Worked on SOFA & schedules                                                                        6.00    3,000.00   B110
        3/7/2023               HK      Non‐working travel                                                                                3.00      750.00   B195
        3/7/2023              KN       QB; update transactions                                                                           3.50    1,400.00   B210
        3/8/2023               BS      Meeting with PQPR attorney                                                                        0.80      400.00   B120
        3/8/2023               BS      Banking issues ‐ denied transactions DIP account; research Tahoe ownership                        0.60      300.00   B210
        3/8/2023               BS      Calls/Email w R. Kennerly various tax issues                                                      0.90      450.00   B240
        3/8/2023               BS      Follow up ‐ Cicak re contracts                                                                    0.30      150.00   B120
        3/8/2023               BS      Calls/Email wt. Bennett re bitcoin basis                                                          0.30      150.00   B240
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                      Re:        Alexander E. Jones, Debtor In Possession                  Case No. 22‐33553

Billing Period:                  March 1 through March 31, 2023
Invoice No.                      AJ0301‐23
          3/8/2023          BS   Non‐working travel                                                                                3.00     750.00   B195
          3/8/2023          HK   At FSS ‐ worked on updating SOFA & schedules; research payments ‐ call w D. Jones                 5.50   2,750.00   B110
          3/8/2023          HK   Meeting with PQPR attorney                                                                        0.80     400.00   B120
          3/8/2023          HK   Call with Tyler Wolfe                                                                             0.30     150.00   B120
          3/8/2023          KN   QB; Banking issues                                                                                3.00   1,200.00   B210
          3/9/2023          HK   At FSS ‐ worked on updating SOFA & schedules                                                      4.00   2,000.00   B110
          3/9/2023          HK   Visited storage units with company appraising household goods                                     2.50   1,250.00   B120
          3/9/2023          HK   Meeting with Sub‐chapter 5 trustee and attorney                                                   2.10   1,050.00   B110
        3/9/2023            HK   Meeting with P. Magill of FSS                                                                     1.02     510.00   B210
        3/10/2023           BS   Engagement planning                                                                               0.50     250.00   B110
        3/10/2023           HK   Schedule agenda next week                                                                         0.50     250.00   B110
        3/10/2023           HK   Worked on SOFA & schedules                                                                        4.50   2,250.00   B110
        3/10/2023           HK   Non‐working travel                                                                                3.00     750.00   B195
                                 Worked on financial reconciliations from exhibit's 7 & 8 answer to Interrogatory Regarding Net
        3/12/2023           HK   Worth for AJ & FSS                                                                                1.50     750.00   B110
        3/13/2023           BS   Accounting issues; bitcoin research; accounts payable                                             3.50   1,750.00   B210
        3/13/2023           HK   Non‐working travel                                                                                3.00     750.00   B195
        3/13/2023           HK   At FSS working on SOFA and schedules                                                              8.50   4,250.00   B110
        3/13/2023           KN   QB bank reconciliations                                                                           5.00   2,000.00   B210
        3/14/2023           BS   Work with personal asset appraisal issues                                                         0.70     350.00   B120
        3/14/2023           BS   Calls/Email w T. Bennett re bitcoin basis; correspondence with R. Kennerly ‐ tax return status    0.50     250.00   B240
        3/14/2023           BS   Non‐working travel                                                                                3.00     750.00   B195
        3/14/2023           BS   At FSS working on SOFA and schedules                                                              5.00   2,500.00   B110
        3/14/2023           BS   Research and interview multiple asset search firms                                                2.60   1,300.00   B120
        3/14/2023           HK   At FSS working on SOFA and schedules                                                             10.00   5,000.00   B110
        3/14/2023           KN   QB‐ MOR reconciliation                                                                            4.00   1,600.00   B210
        3/15/2023           BS   Work with personal asset appraisal issues                                                         0.40     200.00   B120
        3/15/2023           BS   Communications with Asset Search firms; engage JSG. Provide information to initiate search        3.00   1,500.00   B120
        3/15/2023           BS   Inspect/research values ‐ personal assets located at FSS office; send information to appraiser    2.50   1,250.00   B120
        3/15/2023           BS   Non‐working travel                                                                                3.00     750.00   B195
        3/15/2023           BS   At FSS working on SOFA and schedules                                                              7.20   3,600.00   B110
        3/15/2023           HK   At FSS working on SOFA and schedules                                                             14.50   7,250.00   B110
        3/15/2023           KN   SOFA instructions with Elisa; QB entries                                                          4.00   1,600.00   B110
        3/16/2023           BS   Meet with A. Jones‐ operations and asset identification issues; discuss contracts/revenue         0.90     450.00   B210
        3/16/2023           BS   Cash flow management; accounting' accounts payable                                                2.30   1,150.00   B210
        3/16/2023           BS   call re: cryogenic valuation w manufacturer; information to appraiser                             1.50     750.00   B120
        3/16/2023           BS    SOFA and schedules                                                                               1.40     700.00   B110
        3/16/2023           BS   Non‐working travel                                                                                3.00     750.00   B195
        3/16/2023           HK   At FSS working on SOFA and schedules                                                              7.00   3,500.00   B110
        3/16/2023           HK   Non‐working travel                                                                                3.00     750.00   B195
        3/16/2023           KN   Discussions with QB regarding pre petition entries; bank recon; MOR                               4.50   1,800.00   B210
        3/17/2023           BS    SOFA and schedules; calls/emails research follow‐up                                              2.20   1,100.00   B110
        3/17/2023           BS   Calls/emails ‐ JSG Asset search information                                                       0.90     450.00   B120
        3/17/2023           BS    SOFA and schedules;                                                                              1.40     700.00   B110
        3/17/2023           BS    SOFA and schedules;                                                                              1.40     700.00   B110
        3/17/2023           HK   Conference ‐ attorney's office working on SOFA and schedules                                      6.50   3,250.00   B110
        3/17/2023           KN   MOR                                                                                               2.00     800.00   B110
        3/19/2023           BS   Follow up ‐ bitcoin/tax return status                                                             0.70     350.00   B140
        3/19/2023           BS   Review Feb financials                                                                             0.80     400.00   B210
        3/19/2023           BS   Emails/research assets for SOFA meeting                                                           1.50     750.00   B110
        3/20/2023           BS   Worked on SOFA schedules with attorney & BlackBriar                                               6.50   3,250.00   B110
        3/20/2023           BS   Research Mountain Way billings; reconcile to bank deposits                                        1.30     650.00   B120
        3/20/2023           BS   Calls/emails ‐ JSG Asset search information                                                       0.50     250.00   B120
        3/20/2023           HK   Worked on SOFA schedules with attorney & BlackBriar                                               8.00   4,000.00   B110
        3/20/2023           HK   FSS & ESG sales reconciliation                                                                    1.00     500.00   B230
        3/20/2023           KN   Meet with Bob, Harold, Vickie re SOFA                                                             7.50   3,000.00   B110
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                      Re:        Alexander E. Jones, Debtor In Possession                 Case No. 22‐33553

Billing Period:                  March 1 through March 31, 2023
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         3/21/2023          BS   Worked on SOFA schedules with attorney & BlackBriar                                           7.70       3,850.00   B110
         3/21/2023          BS   Conversation FSS, BlackBriar and attorneys                                                    0.50         250.00   B110
         3/21/2023          BS   Work with personal asset appraisal issues                                                     0.30         150.00   B120
         3/21/2023          BS   Research/Information to JSG‐ asset search firm                                                0.40         200.00   B120
         3/21/2023          HK   Worked on SOFA schedules with attorneys & BlackBriar                                         10.50       5,250.00   B110
         3/21/2023          HK   Conversation FSS, BlackBriar and attorneys                                                    0.50         250.00   B110
         3/21/2023          KN   Meet with Bob, Harold, Vickie re SOFA                                                         7.50       3,000.00   B110
         3/22/2023          BS   Non‐working travel ‐ drive to Lufkin                                                          2.80         700.00   B195
         3/22/2023          BS   Meeting with R. Kennerly ‐ AEJ 2021 taxes; calls w D. Jones; M Flores ‐ PQPR; M. Schwarz;     3.10         775.00   B240
         3/22/2023          HK   Worked on SOFA schedules                                                                      7.50       3,750.00   B110
         3/22/2023          HK   Worked on SOFA schedules                                                                      7.50       3,750.00   B110
         3/22/2023          KN   Update Feb MOR‐ QB entries; unclaimed property                                                5.00       2,000.00   B110
         3/23/2023          BS   Tax issue follow up; calls emails, research; review return draft                              2.00         500.00   B240
         3/23/2023          BS   Worked on SOFA schedules with attorneys & BlackBriar                                          5.50       2,750.00   B110
         3/23/2023          HK   Worked on FSS settlement reconciliation                                                       0.50         250.00   B230
         3/23/2023          HK   Worked on SOFA schedules with attorneys & BlackBriar                                          7.50       3,750.00   B110
         3/23/2023          KN   Update Feb accounting and MOR; Discussions with David regarding transfers                     3.50       1,400.00   B210
         3/24/2023          BS   Non‐working travel                                                                            6.00       1,500.00   B195
         3/24/2023          BS   Inspect Prosperity safe deposit box                                                           0.90         225.00   B120
         3/24/2023          BS   On‐site ‐ operations/accounting/cash management/pnc ‐ trip to PNC bank w AEJ                  2.00         500.00   B210
         3/24/2023          BS   Tax return information to R. Kennerly                                                         0.50         125.00   B240
         3/24/2023          BS   Worked on SOFA schedules with attorneys & BlackBriar                                          1.60         800.00   B110
         3/24/2023          HK   Worked on SOFA schedules with attorneys & BlackBriar                                         10.00       5,000.00   B110
         3/24/2023          HK   Call with UCC attorney                                                                        0.80         400.00   B150
         3/24/2023          KN   Discussions with David, Leslie, Sarah, update financials                                      5.50       2,200.00   B210
         3/25/2023          HK   Separated out household goods appraisal from Home & Lakehouse                                 0.70         350.00   B120
         3/25/2023          HK   Worked on SOFA schedules                                                                      1.40         700.00   B110
         3/27/2023          BS   Tax return information to R. Kennerly; Youngevity; emails/calls                               0.80         200.00   B240
         3/27/2023          BS   Calls/emails ‐ JSG Asset search information                                                   0.20          50.00   B120
         3/27/2023          BS   Work on Mountain Way payment to FSS; calls emails w J. Shulse‐FSS                             1.50         375.00   B120
         3/27/2023          BS   At attorney's office working on SOFA and schedules                                            7.00       3,500.00   B110
         3/27/2023          HK   At attorney's office working on SOFA and schedules                                           10.50       5,250.00   B110
         3/27/2023          KN   SOFA; meeting with Bob, Harold, Vickie                                                        7.00       2,800.00   B110
         3/28/2023          BS   At attorney's office working on SOFA and schedules                                            4.00       2,000.00   B110
         3/28/2023          BS   Tax return information to R. Kennerly; Youngevity; emails/calls                               0.50         125.00   B240
         3/28/2023          BS   Fee App and billing review                                                                    1.50         750.00   B160
         3/28/2023          BS   Calls/emails ‐ JSG Asset search information                                                   0.40         100.00   B120
         3/28/2023          HK   At attorney's office working on SOFA and schedules                                           11.00       5,500.00   B110
         3/28/2023          KN   MOR update; SOFA update                                                                       6.00       2,400.00   B110
         3/29/2023          BS   Non‐working travel                                                                            3.00         750.00   B195
         3/29/2023          BS   At attorney's office working on SOFA and schedules                                            3.00       1,500.00   B110
         3/29/2023          BS   Tax return to UST                                                                             0.20         100.00   B110
         3/29/2023          BS   Research assets on JSG report                                                                 1.50         750.00   B120
         3/29/2023          HK   At attorney's office working on SOFA and schedules                                            7.00       3,500.00   B110
         3/29/2023          KN   SOFA budget update; Feb MOR update                                                            7.50       3,000.00   B110
         3/30/2023          BS   At FSS‐ banking ‐ trip to pnc w A Jones; accounting/cash management                           1.20         600.00   B210
         3/30/2023          BS   FSS hearing                                                                                   1.10         550.00   B110
         3/30/2023          BS   Fee App and billing review                                                                    0.50         250.00   B160
         3/30/2023          BS   Research assets on JSG report                                                                 0.20         100.00   B120
         3/30/2023          BS   Review global notes ‐ SOFA                                                                    0.60         300.00   B110
         3/30/2023          BS   SOFA budget update; Feb MOR update                                                            1.00         500.00   B110
         3/30/2023          BS   Continued Telephonic Meeting of the Creditors                                                 0.60         300.00   B150
         3/30/2023          BS   Non‐working travel                                                                            3.00         750.00   B195
         3/30/2023          HK   Working on finalizing SOFA & schedules                                                        8.00       4,000.00   B110
         3/30/2023          HK   Continued Telephonic Meeting of the Creditors                                                 0.60         300.00   B150
         3/30/2023          KN   Compare SOFA/MOR; update March MOR; listen to hearing                                         4.00       1,600.00   B110
         3/31/2023          HK   Working on finalizing SOFA & schedules                                                        4.20       2,100.00   B110
                                                                                                                             473.00   $ 211,675.00
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                   Re:    Alexander E. Jones, Debtor In Possession             Case No. 22‐33553

Billing Period:           March 1 through March 31, 2023
Invoice No.               AJ0301‐23

                                       Total hours for Robert Schleizer (BS)                       157.50   $ 67,575.00
                                       Total hours for Harold Kessler (HK)                         209.00     101,500.00
                                       Total hours for Kathy Norderhaug (KN)                       106.50      42,600.00
                                                                                                   473.00   $ 211,675.00
                           Expenses
                              From attached expense breakdown                                               $   8,307.85
                           Total Expenses                                                                   $   8,307.85


                                       Total Invoice Amount                                                 $ 219,982.85


                          BlackBriar Advisors LLC
                          2626 Cole Ave., Suite 300
                          Dallas, TX 75204
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Alex E. Jones
Billing Period:               March 1 through March 31, 2023
Invoice:                      AJ0301‐23

   Date       Airfare/Train      Mileage          Meals         Auto         Hotel         Other          Total

    1‐Mar               ‐                ‐              ‐         369.79        226.98          ‐             596.77
    2‐Mar            337.80              ‐              ‐            ‐             ‐          24.00           361.80
    3‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
    4‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
    5‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
    6‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
    7‐Mar            129.00             5.90         146.43          ‐          347.49          ‐             628.82
    8‐Mar               ‐                ‐           222.63          ‐             ‐            ‐             222.63
    9‐Mar            129.00             5.90          19.11        18.89      1,114.76          ‐           1,287.66
   10‐Mar               ‐                ‐              ‐         443.46           ‐            ‐             443.46
   11‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   12‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   13‐Mar            466.80             5.90         156.06        14.63           ‐            ‐             643.39
   14‐Mar               ‐                ‐            34.42          ‐             ‐            ‐              34.42
   15‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   16‐Mar            129.00             5.90          43.41          ‐        2,060.66          ‐           1,712.11
   17‐Mar               ‐                ‐              ‐            ‐        1,378.33        24.00         1,402.33
   18‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   19‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   20‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   21‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   22‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   23‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   24‐Mar               ‐                ‐              ‐         355.98           ‐            ‐             355.98
   25‐Mar               ‐                ‐            63.00          ‐             ‐            ‐              63.00
   26‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   27‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   28‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
   29‐Mar            297.06              ‐           233.42          ‐             ‐            ‐             530.48
   30‐Mar               ‐                ‐              ‐          25.00           ‐            ‐              25.00
   31‐Mar               ‐                ‐              ‐            ‐             ‐            ‐                ‐
Total     $        1,488.66 $          23.60 $       918.48 $   1,227.75 $    5,128.22 $      48.00   $     8,307.85
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                                EXHIBIT “E”

                         Invoices – April and May, 2023




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April 30, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                          Re:          Alexander E. Jones, Debtor In Possession               Case No. 22‐33553

Billing Period:                        April 1 through April 30, 2023
Invoice No.                            AJ0401‐23
Professional Services
Rendered:
            Date          Professional                                       Description                                   Hours   Amount    Task Code
          4/2/2023            KN       MOR; Professional Fees; QB                                                            5.50 $ 2,200.00   B110
          4/3/2023             BS      Revise SOFA & schedules                                                               2.00   1,000.00   B110
          4/3/2023             BS      Travel‐non working                                                                    3.00     750.00   B195
          4/3/2023            HK       Revise SOFA & schedules                                                               6.50   3,250.00   B110
          4/3/2023            HK       Travel‐non working                                                                    3.00     750.00   B195
          4/3/2023            KN       Professional Fees; QB                                                                 3.50   1,400.00   B210
          4/4/2023             BS      Onsite ‐ meetings with A. Jones; review MOR; discuss schedules;                       3.30   1,650.00   B110
          4/4/2023             BS      Reviewed Subchapter V Trustees Initial Finding Report                                 0.60     300.00   B110
          4/4/2023             BS      3rd continuation telephonic Meeting of Creditors                                      1.40     700.00   B150
          4/4/2023            HK       Revise SOFA & schedules                                                               4.50   2,250.00   B110
          4/4/2023            HK       Reviewed DRAFT Platinum Supplement Affiliate Program Agreement                        0.50     250.00   B210
          4/4/2023            HK       Review/revise DRAFT Employment Agreement                                              0.80     400.00   B220
          4/4/2023            HK       Reviewed Subchapter V Trustees Initial Finding Report                                 0.80     400.00   B110
         4/4/2023             HK       3rd continuation telephonic Meeting of Creditors (1.4)                                1.40     700.00   B150
         4/4/2023             KN       Update MOR, amend Dec, Jan                                                            5.50   2,200.00   B110
         4/5/2023              BS      Meeting w K. Norderhaug ‐ MOR with SOFA balances                                      0.80     400.00   B210
         4/5/2023              BS      Meetings with AEJ and FSS employees ‐ operations                                      5.50   2,750.00   B210
         4/5/2023              BS      Review/revise DRAFT Employment Agreement                                              1.00     500.00   B220
         4/5/2023              BS      Bitcoin research and follow up                                                        0.70     350.00   B220
         4/5/2023              BS      Meeting with FSS CRO                                                                  1.50     750.00   B210
         4/5/2023              BS      Travel‐non working                                                                    3.00     750.00   B195
         4/5/2023             HK       Meetings with AEJ and FSS employees ‐ operations                                     6.70     3,350.00   B210
         4/5/2023             HK       Meeting with FSS CRO                                                                 1.50       750.00   B210
         4/5/2023             HK       Travel‐non working                                                                   3.00       750.00   B195
         4/5/2023             KN       Update QB; compare MOR with SOFA balances                                            3.50     1,400.00   B210
         4/6/2023             HK       Calls with AEJ regarding email someone sent civil judge                              1.20       600.00   B210
         4/6/2023             KN       Review QB; update beginning balances; update MOR                                     7.00     2,800.00   B210
         4/7/2023              BS      Meeting w K. Norderhaug ‐ MOR with SOFA balances; email to counsel                   1.50       750.00   B110
         4/7/2023             HK       Conference call with UCC                                                             1.50       750.00   B150
         4/7/2023             KN       Update and revise MOR                                                                3.50     1,400.00   B110
         4/9/2023             KN       MOR; Professional Fees; QB                                                           2.50     1,000.00   B110
        4/10/2023             HK       Finalizing revised December & January MOR's and February MOR                         5.70     2,850.00   B110
        4/10/2023             KN       MOR; March QB                                                                        5.50     2,200.00   B110
        4/11/2023             HK       Travel‐non working                                                                   3.00       750.00   B195
        4/11/2023             HK       Onsite t FSS ‐ AEJ's employment contract, meeting with AEJ; meeting with T. Enlow    5.00     2,500.00   B210
        4/11/2023             KN       Dec‐Feb MOR restatements                                                             8.00     3,200.00   B110
        4/12/2023             HK       At FSS ‐ meeting with AEJ                                                            0.50       250.00   B210
        4/12/2023             HK       Call with SAG Re: AEJ's SAG checks                                                   0.50       250.00   B210
        4/12/2023             HK       Worked on revising certain spreadsheets for mediator such as Crypto, etc.            7.00     3,500.00   B120
        4/12/2023             KN       QB March ; bank reconciliations                                                      8.00     3,200.00   B210
        4/13/2023             HK       At FSS ‐ preparation & meeting with FSS CRO                                          2.20     1,100.00   B210
        4/13/2023             HK       Meeting with AEJ                                                                     1.30       650.00   B210
        4/13/2023             HK       AEJ executive compensation spreadsheet                                               2.30     1,150.00   B220
        4/13/2023             HK       Travel‐non working                                                                   3.00       750.00   B195
        4/13/2023             KN       QB March; expenses, payroll tax, reconciliations                                     6.00     2,400.00   B220
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                     Re:         Alexander E. Jones, Debtor In Possession                  Case No. 22‐33553

Billing Period:                  April 1 through April 30, 2023
Invoice No.                      AJ0401‐23
         4/14/2023         HK    Worked on SOFA schedules                                                        3.80       1,900.00   B110
        4/14/2023          KN    QB March ; bank reconciliations                                                 4.50     1,800.00     B220
        4/17/2023          HK    Revised SOFA schedules                                                          3.20     1,600.00     B110
        4/17/2023          HK    Revised AEJ's incentive bonus worksheet                                         2.50     1,250.00     B220
        4/17/2023          KN    March QB; March MOR                                                             7.50     3,000.00     B210
        4/18/2023          HK    Travel‐non working                                                              3.00       750.00     B195
        4/18/2023          HK    At FSS ‐ worked on property tax protests for all properties                     2.50     1,250.00     B240
        4/18/2023          HK    Revised SOFA schedules                                                          6.00     3,000.00     B110
        4/18/2023          KN    QB; Financials; discussions with Sarah                                          5.00     2,000.00     B210
        4/19/2023          BS    Bitcoin research and follow up                                                  0.50       250.00     B120
        4/19/2023          BS    March MOR review                                                                0.70       350.00     B110
        4/19/2023          BS    Analyze ESG A/r, inventory                                                      0.50       250.00     B210
        4/19/2023          HK    At FSS ‐ Worked on response to UCC's reservation of rights filing               9.00     4,500.00     B190
        4/19/2023          KN    March MOR; Bank Transfers                                                       7.50     3,000.00     B110
        4/20/2023          HK    A FSS ‐ preparation for & meeting with FSS CRO                                  1.30       650.00     B210
        4/20/2023          HK    Meeting AEJ                                                                     1.60       800.00     B210
        4/20/2023          HK    Meeting with Blake Re: new products                                             1.50       750.00     B210
        4/20/2023          HK    Worked on AEJ's reduction in expenses spreadsheet                               1.00       500.00     B210
        4/20/2023          HK    Travel‐non working                                                              3.00       750.00     B195
        4/20/2023          KN    Reconcile Sales and Receivables, make cumulative QB entries                     5.00     2,000.00     B210
        4/21/2023          BS    Calls with BlackBriar to finalize MORs                                          2.30     1,150.00     B110
        4/21/2023          BS    Call with UCC                                                                   1.50       750.00     B150
        4/21/2023          BS    Banking issues ‐ declined transactions                                          0.40       200.00     B210
        4/21/2023          BS    Review /revise March financial statements                                       1.00       500.00     B210
        4/21/2023          HK    Attorney's office, discussed employment contract                                0.60       300.00     B220
        4/21/2023          HK    Preparation for UCC call                                                        2.20     1,100.00     B150
        4/21/2023          HK    Call with UCC                                                                   1.50       750.00     B150
        4/21/2023          HK    Calls with BlackBriar to finalize MORs                                          2.30     1,150.00     B110
        4/21/2023          KN    Reconcile Sales and Receivables                                                 6.00     2,400.00     B210
        4/22/2023          HK    Worked on AEJ's reduction in expenses spreadsheet                               2.00     1,000.00     B210
        4/22/2023          KN    Update QB to restate monthly sales entries reconciled to worksheets             4.50     1,800.00     B210
        4/23/2023          HK    Updated FSS sales reconciliation & ESG sales reconciliation                     1.60       800.00     B210
        4/24/2023          HK    Travel‐non working                                                              3.00       750.00     B195
        4/24/2023          HK    Onsite at FSS ‐ review/revise budget                                            4.50     2,250.00     B210
        4/24/2023          HK    Call to discuss AEJ property protests                                           0.50       250.00     B120
        4/24/2023          KN    Revise MORs‐ Dec‐March                                                          7.00     2,800.00     B110
        4/25/2023          BS    Fee App                                                                         2.00     1,000.00     B160
        4/25/2023          BS    MOR revisions                                                                   1.20       600.00     B110
        4/25/2023          HK    At FSS ‐ worked on dischargeability with counsel                                9.00     4,500.00     B190
        4/25/2023          HK    Travel‐non working                                                              3.00       750.00     B195
        4/25/2023          KN    Redo MORs to add Prenup; meet with B. Schleizer                                 7.00     2,800.00     B110
        4/26/2023          KN    Create budget; talk with Leslie, Sarah; recap transfers to FSS                  7.50     3,000.00     B210
        4/27/2023          BS    Onsite ‐ FSS ‐ meet with A. Jones, P. Magill, operations, cash flow, budget     5.00     2,500.00     B210
        4/27/2023          BS    MOR revisions                                                                   2.00     1,000.00     B110
        4/27/2023          BS    Review/revise DRAFT Employment Agreement                                        0.80       400.00     B220
        4/27/2023          BS    Travel‐non working                                                              3.00       750.00     B195
        4/27/2023          KN    Budget review/ expense analysis/ discussions with Leslie and Sarah              6.50     2,600.00     B210
        4/28/2023          BS    FSS hearing                                                                     0.90       450.00     B110
        4/28/2023          BS    Review historical expenses/budget                                               2.40     1,200.00     B210
        4/28/2023          BS    Bank transfer research                                                          0.40       200.00     B210
        4/28/2023          KN    Expense analysis; budget                                                        7.50     3,000.00     B210
        4/29/2023          BS    Budget meeting ‐ Teams                                                          0.70       350.00     B210
        4/29/2023          KN    Budget analysis‐ meet with K. Norderhaug                                        2.00       800.00     B210
        4/29/2023          KN    Budget analysis/ discussion with B. Schleizer                                   2.00       800.00     B210
                                                                                                               318.10 $ 137,000.00

                                               Total hours for Robert Schleizer (BS)                            49.60 $ 22,550.00
                                               Total hours for H. Kessler (HK)                                 130.50    59,250.00
                                               Total hours for K. Norderhaug (KN)                              138.00    55,200.00
                                                                                                               318.10 $ 137,000.00
                                  Expenses
                           JSG   Due Diligence Case 22‐33553                                                            $ 11,002.00
                           VP    Personal Property Appraisal                                                              11,471.07
                                       From attached expense breakdown                                                  $ 6,955.42
                                 Total Expenses                                                                         $ 29,428.49

                                               Total Invoice Amount                                                     $ 166,428.49

                                 BlackBriar Advisors LLC
                                 2626 Cole Ave., Suite 300
                                 Dallas, TX 75204
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Alex E. Jones
Billing Period:                April 1 through April 30, 2023
Invoice:                       AJ0401-23

   Date        Airfare/Train       Mileage            Meals         Auto         Hotel         Other          Total

     1-Apr               -                 -                -            -             -            -                -
     2-Apr            168.90               -                -            -             -          29.63           198.53
     3-Apr            129.00              5.90           150.00          -             -            -             284.90
     4-Apr            129.00               -              24.74          -             -            -             153.74
     5-Apr            297.90              5.90            85.29          -          435.00          -             824.09
     6-Apr               -                 -                -            -             -            -                -
     7-Apr               -                 -                -         174.58           -          47.95           222.53
     8-Apr               -                 -                -            -             -            -                -
     9-Apr               -                 -                -            -             -            -                -
   10-Apr                -                 -                -            -             -            -                -
   11-Apr                -                5.90              -          45.58           -            -              51.48
   12-Apr                -                 -              40.27        34.85           -            -              75.12
   13-Apr             129.00              5.90             7.69        33.97        353.34          -             529.90
   14-Apr                -                 -                -            -             -            -                -
   15-Apr                -                 -                -            -             -            -                -
   16-Apr                -                 -                -            -             -            -                -
   17-Apr                -                 -                -            -             -            -                -
   18-Apr             174.00              6.16            17.30          -             -            -             197.46
   19-Apr                -                 -                -          44.10           -            -              44.10
   20-Apr             129.00              6.16            11.47        51.52        735.68       142.89         1,076.72
   21-Apr                -                 -                -            -             -            -                -
   22-Apr                -                 -                -            -             -            -                -
   23-Apr                -                 -                -            -             -            -                -
   24-Apr             179.00              6.16              -          36.91           -            -             222.07
   25-Apr             159.00              6.16              -          27.51        360.48        84.90           638.05
   26-Apr             168.90               -                -            -             -            -             168.90
   27-Apr             168.90             60.04            60.04          -          219.99        19.00           467.93
   28-Apr                -                 -                -            -             -            -                -
   29-Apr             168.90               -                -            -             -            -             168.90
   30-Apr             844.50               -             279.36       174.58        219.99       112.57         1,631.00
    1-May                -                 -                -            -             -            -                -
Total      $        2,846.00 $          108.28 $         676.16 $     623.60 $    2,324.48 $     436.94   $     6,955.42
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May 16, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                          Re:           Alexander E. Jones, Debtor In Possession               Case No. 22‐33553

Billing Period:                         May 1 through May 15, 2023
Invoice No.                             AJ0501‐23
Professional Services
Rendered:
            Date           Professional                                               Description                               Hours    Amount        Task Code
          5/1/2023             KN       Review Contini invoices, nanny charges; update budget                                     4.50 $  1,800.00       B210
          5/2/2023              BS      Worked on expenses & forecast                                                             4.50    2,250.00       B210
          5/2/2023              BS      Travel ‐ non working                                                                      3.00      750.00       B195
          5/2/2023             HK       Travel ‐ non working                                                                      3.00      750.00       B195
          5/2/2023             HK       Worked on expenses & forecast                                                            10.00    5,000.00       B210
          5/3/2023              BS      Expenses & forecast review historical and backround                                       6.50    3,250.00       B210
          5/3/2023              BS      At FSS ‐ Call Teneo Re: MOR's                                                             1.00      500.00       B150
          5/3/2023              BS      Meeting with AEJ expenses & forecast                                                      2.70    1,350.00       B210
          5/3/2023              BS      Expenses & forecast review historical and backround ‐ conference with BlackBriar team     6.50    3,250.00       B210
          5/3/2023             HK       At FSS ‐ Call Teneo Re: MOR's                                                             1.00      500.00       B150
          5/3/2023             HK       Expenses & forecast review historical and backround ‐ conference with BlackBriar team     6.50    3,250.00       B210
          5/3/2023             HK       Meeting with AEJ expenses & forecast                                                      2.70    1,350.00       B210
          5/3/2023             KN       Update budget, review with Vickie, Bob, Harold                                            8.00    3,200.00       B210
          5/4/2023              BS      At FSS ‐ meeting with AEJ to discuss expenses & forecast                                  2.30    1,150.00       B210
          5/4/2023              BS      At FSS ‐ follow up information for UCC FA                                                 0.60      300.00       B210
          5/4/2023              BS      Meet with CRO ‐ FSS operation update; accounting, payroll changes                         1.10      550.00       B210
          5/4/2023              BS      Travel ‐ non working                                                                      3.00      750.00       B210
          5/4/2023             HK       At FSS ‐ meeting with AEJ to discuss expenses & forecast                                  2.30    1,150.00       B210
                                        Meeting with FSS CRO & attorney & Subchapter V Trustee & attorney to discuss crypto,
        5/4/2023               HK       compensation, etc.                                                                        2.10      1,050.00     B120
        5/4/2023               HK       Travel ‐ non working                                                                      3.00        750.00     B195
        5/4/2023               KN       April QB; expenses paid by D Jones                                                        4.00      1,600.00     B210
        5/5/2023               HK       Preparation for & reviewed expense and forecast with committee & committee advisors       2.80      1,400.00     B210
        5/5/2023               KN       April QB; review expenses to be cut                                                       3.50      1,400.00     B210
        5/8/2023                BS      Preparation and call with UCC et al; follow up information                                3.20      1,600.00     B150
        5/8/2023               HK       Call with B. Schleizer ‐ budget questions                                                 0.70        350.00     B210
        5/8/2023               KN       Budget; discussions with Sarah; QB accounting; review invoices                            5.00      2,000.00     B210
        5/9/2023                BS      Calls with P. Magill; V. Driver FS plan and UCC offer                                     0.60        300.00     B110
        5/9/2023               KN       April Accounting in QB                                                                    4.00      1,600.00     B210
        5/10/2023              KN       April Accounting in QB; accruals                                                          4.00      1,600.00     B210
        5/11/2023              KN       Accounting; MOR                                                                           4.50      1,800.00     B210
        5/12/2023              KN       Accounting; MOR                                                                           5.50      2,200.00     B210
        5/15/2023              HK       At attorney's office                                                                      3.50      1,750.00     B210
        5/15/2023              HK       Call with Committee & advisors                                                            1.10        550.00     B210
        5/15/2023              KN       Accounting Issues                                                                         3.00      1,200.00     B210
        5/15/2023               BS      Banking issues DIP Account                                                                0.50        250.00     B210
                                                                                                                                120.20   $ 52,500.00

                                                     Total hours for Robert Schleizer (BS)                                       35.50   $ 16,250.00
                                                     Total hours for Harold Kessler (HK)                                         38.70     17,850.00
                                                     Total hours for Kathy Norderhaug (KN)                                       46.00     18,400.00
                                                                                                                                120.20   $ 52,500.00
                                         Expenses
                                DM      Digital Mountain, Inc ‐ iPhone Collection Retainer                                                  2,400.00
                                AT      Assessment Technologies ‐ Tax Saving Services 2023 Base Fees                                        1,250.00
                                              From attached expense breakdown                                                               2,066.73
                                        Total Expenses                                                                                      5,716.73
                                                     Total Invoice Amount                                                                $ 58,216.73

                                        BlackBriar Advisors LLC
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                                        Dallas, TX 75204
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Alex E. Jones
Billing Period:               May 1 through May 15, 2023
Invoice:                      AJ0501‐23

   Date       Airfare/Train      Mileage         Meals         Auto         Hotel         Other           Total

    1‐May               ‐                ‐             ‐            ‐             ‐               ‐              ‐
    2‐May            387.00             6.16        116.30        14.97        239.85             ‐           764.28
    3‐May               ‐                ‐           37.35          ‐             ‐               ‐            37.35
    4‐May            129.00             6.16           ‐            ‐          881.80             ‐         1,016.96
    5‐May               ‐                ‐             ‐            ‐             ‐               ‐              ‐
    6‐May               ‐                ‐             ‐            ‐             ‐               ‐              ‐
    7‐May               ‐                ‐             ‐         248.14           ‐               ‐           248.14
    8‐May               ‐                ‐             ‐            ‐             ‐               ‐              ‐
    9‐May               ‐                ‐             ‐            ‐             ‐               ‐              ‐
  10‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  11‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  12‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  13‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  14‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  15‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  16‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  17‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  18‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  19‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  20‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  21‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  22‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  23‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  24‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  25‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  26‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  27‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  28‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  29‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  30‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
  31‐May                ‐                ‐             ‐            ‐             ‐               ‐              ‐
Total     $          516.00 $          12.32 $      153.65 $     263.11 $    1,121.65 $           ‐   $     2,066.73
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

      FIFTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
          ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
          FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
                     MAY 16, 2023 THROUGH MAY 31, 2023

    Name of Applicant:             BlackBriar Advisors, LLC
    Applicant’s Role in Case:      Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                       Beginning of Period            End of Period
    Time Period Covered in         05//16/2023                05//31/2023
    Statement:
                         Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $38,225.001
                                                              (80% of $30,580.00)
    Total Reimbursable Expenses Requested in this Statement: $1,899.372
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $38,225.00
    Total Actual Professional Hours Covered by this 91.10
    Statement:
    Average Hourly Rate for Professionals:                    $419.59

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.


1
  BlackBriar is holding $0.00 as a retainer in its Trust Account.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Fifth Monthly Fee Statement of BlackBriar Advisors, LLC.

for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for the

Period from May 16, 2023 through May 30, 2023 (the “Monthly Fee Statement”).

                                    RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $30,580.00 (80% of 38,225.00) as compensation for

professional services rendered to the Debtor during the period from May 16, 2023 through May

31, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in the amount

of $1,899.37, for a total amount of $32,479.37 to be paid upon expiration of the objection deadline

barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Fees by Category as

Financial Advisor for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as

Financial Advisor for the Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),




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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

       5.      Therefore, BlackBriar respectfully submits support for its fees in the amount of

$38,225.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $1,899.37 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $30,580.00

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: August 31, 2023

                                                      BLACKBRIAR ADVISORS, LLC

                                                      By: /s/ Robert Schleizer
                                                      Robert Schleizer
                                                      2626 Cole Ave., Suite 300
                                                      Dallas, TX 75201
                                                      Telephone: 214-599-8600
                                                      Email: bschleizer@blackbriaradvisors.com


                                                      FINANCIAL ADVISORS FOR DEBTOR
                                                      ALEXANDER E. JONES




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                               CERTIFICATE OF SERVICE

I certify that on August 31, 2023, a true and correct copy of the foregoing pleading was served
upon the parties listed on the attached service list via the Court’s ECF system and pursuant to
Local Rule 9003-1, via e mail or U.S. mail as follows:

              a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                     Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                     sjordan@jhwclaw.com)

              b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                     United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                     ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

              c.     Proposed Counsel to the Official Committee of Unsecured
                     Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                     New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                     Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                     dzensky@akingump.com, mbrimmage@akingump.com,
                     sbrauner@akingump.com, melanie.miller@akingump.com

              d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                     PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                     Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                     Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                     York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                     kkimpler@paulweiss.com,
                     msalvucci@paulweiss.com)

              e.     Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                     Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                     Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                     Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                     1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                     Jarrod.Martin@chamberlainlaw.com)

              f.     Any other parties that the Court may designate.


                                            /s/ Christina W. Stephenson
                                                Christina W. Stephenson




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                                EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                         EXPENSE                                    TOTAL
Airfare/Train                                                       $706.60
Mileage                                                               12.32
Meals                                                                177.29
Auto                                                                 223.21
Hotel                                                                909.90
Other                                                                 28.00




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                                  EXHIBIT “B”
              SUMMARY OF FEES AND EXPENSES BY CATEGORY
                         FOR THE FEE PERIOD
           CATEGORIES                             PROFESSIONAL
                                                      TIME
           B110 Case Administration                   27.80
           B120 Asset Analysis and Recovery            1.60
           B130 Asset Disposition                      0.00
           B140 Relief from Stay/Adequate
           Protection                                    0.00
           B150 Meetings of & Communications
           with Creditors                                0.20
           B160 Fee/Employment Applications              1.20
           B170 Fee/Employment Objections                2.20
           B180 Avoidance Action Analysis                0.00
           B185 Assumption/Rejection of
           Executory Contracts                           0.00
           B190 Other Contested Matters                  0.00
           B195 Non-Working Travel                      14.40
           B210 Business Operations                     43.00
           B220 Employee Benefits/Pensions               0.00
           B230 Financing/Cash Collections               0.00
           B240 Tax Issues                               0.70
           B250 Real Estate                              0.00
           B260 Board of Directors Matters               0.00
           B310 Claims Administration and
           Objections                                    0.00
           B320 Plan and Disclosure Statement            0.00
           B410 General Bankruptcy
           Advice/Opinions                               0.00
           B420 Restructurings                           0.00
           TOTALS:                                      91.10




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                                EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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May 31, 2022

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                        Re:          Alexander E. Jones, Debtor In Possession                Case No. 22‐33553

Billing Period:                      May 16 through May 31, 2023
Invoice No.                          AJ0502‐23
Professional Services
Rendered:
          Date          Professional                                           Description                                        Hours   Amount       Task Code
       5/16/2023             BS      Non‐working travel                                                                             3.00 $ 750.00        B195
       5/16/2023             BS      MOR                                                                                            1.20     600.00      B110
       5/16/2023             HK      Non‐working travel                                                                             3.00 $ 750.00        B195
       5/16/2023             HK      At FSS office ‐ operations; employment contract. Meet w A.Jones                                4.50   2,250.00      B210
       5/16/2023            KN       Accounting issues; financials                                                                  2.00     800.00      B210
       5/16/2023            KN       MOR                                                                                            2.00     800.00      B110
       5/17/2023             BS      Non‐working travel ‐ Drive to Houston                                                          2.40 $ 600.00        B195
                                     At FSS office ‐ meet w A. Jones; operations; staff issues; platinum inventory replacement,
      5/17/2023              BS      cash flow; accounts payable                                                                   6.40     3,200.00     B210
      5/17/2023              BS      Research ‐ Youngevity, recap historical payments; review contract terms; book contract        1.20       600.00     B120
      5/17/2023              HK      At FSS office ‐ meet w A. Jones; operations                                                   6.80     3,400.00     B210
                                     Operations ‐ meeting with FSS CRO; A. Jones; BlackBriar revenue forecast; plan update for
      5/17/2023              HK      FSS; operations constraints                                                                   1.30     650.00       B210
      5/17/2023              HK      Non‐working travel                                                                            3.00 $ 750.00         B195
      5/17/2023             KN       Accounting issues; monthly financials                                                         6.50   2,600.00       B210
      5/18/2023              BS      Give send go recovery; follow up w Ortiz office                                               0.40     200.00       B120
      5/18/2023              BS      Digital Mt. data recovery;MOR                                                                 2.00   1,000.00       B110
      5/18/2023              BS      T: R. Kennerly ‐ tax issues; notice from IRS; email re refund                                 0.30     150.00       B240
      5/18/2023              BS      Emails ‐ UCC atty response to budget                                                          0.20     100.00       B150
      5/18/2023              HK      Worked on sales reconciliation & month end entries for April                                  2.10   1,050.00       B210
      5/18/2023             KN       Revenue entries; QB; MOR                                                                      7.00   2,800.00       B110
      5/19/2023              BS      Review expenses w K. Norderhaug; follow up                                                    0.60     300.00       B210
      5/19/2023              BS      Attend status conference‐ AEJ;FSS; follow on meetings w CRO; counsel;                         2.50   1,250.00       B110
      5/19/2023              BS      Non‐working travel                                                                            3.00     750.00       B195
      5/19/2023              HK      Status Conference Hearing                                                                     1.10     550.00       B210
      5/19/2023             KN       Discussions with D Jones; Sarah re invoices; May accounting; Review B.Schleizer               4.00   1,600.00       B110
      5/22/2023              BS      MOR review and finalize for filing                                                            1.10     550.00       B110
      5/22/2023             KN       MOR; accounting                                                                               4.50   1,800.00       B110
      5/23/2023             KN       Accounting; invoices‐ boat issues                                                             4.00   1,600.00       B210
      5/24/2023              BS      Book contract analysis; review commission due AEJ                                             0.70     350.00       B210
      5/24/2023              BS      Tax issues; EIN research; outstanding entity filing                                           0.40     200.00       B240
      5/24/2023              BS      Teneo fee analysis; BBA fee analysis                                                          2.20   1,100.00       B170
      5/24/2023              HK      Updated FSS Sales Reconciliation                                                              0.75     375.00       B210
      5/24/2023             KN       MOR; accounting; review                                                                       3.50   1,400.00       B110
      5/25/2023              BS      Update call with CRO ‐ FSS re sales; inventory; ESG settlement; operations                    0.70     350.00       B210
      5/25/2023              HK      Update call with CRO ‐ FSS re sales; inventory; ESG settlement; operations                    0.70     350.00       B210
      5/26/2023              BS      Fee app                                                                                       1.20     600.00       B160
      5/26/2023              BS      Cryto agreement;                                                                              0.50     250.00       B210
      5/31/2023              BS      FSS/AEJ platinum product sales agreement review; call ‐ P. Magill                             0.80     400.00       B210
      5/31/2023             KN       Update accounting; discussion with HomePay, D Jones, L Muniz                                  3.50   1,400.00       B210
                                                                                                                                  91.05 $38,225.00

                                                  Total hours for Robert Schleizer (BS)                                           30.80   $13,300.00
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                      Re:     Alexander E. Jones, Debtor In Possession            Case No. 22‐33553

Billing Period:               May 16 through May 31, 2023
Invoice No.                   AJ0502‐23
                                          Total hours for Harold Kessler (HK)                         23.25    10,125.00
                                          Total hours for Kathy Norderhaug (KN)                       37.00    14,800.00
                                                                                                      91.05   $38,225.00
                               Expenses
                                  From attached expense breakdown                                             $ 1,899.37
                                         Total Invoice Amount                                                 $40,124.37



                              BlackBriar Advisors LLC
                              2626 Cole Ave., Suite 300
                              Dallas, TX 75204
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Alex E. Jones
Billing Period:               May 16 through May 31, 2023
Invoice:                      AJ0502‐23

   Date       Airfare/Train      Mileage         Meals         Auto         Hotel         Other          Total

    1‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
    2‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
    3‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
    4‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
    5‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
    6‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
    7‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
    8‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
    9‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
  10‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  11‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  12‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  13‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  14‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  15‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  16‐May             129.00             6.16           ‐          15.80        157.95          ‐             150.96
  17‐May             577.60             6.16         35.29          ‐          353.90          ‐             972.95
  18‐May                ‐                ‐          142.00          ‐             ‐          28.00           170.00
  19‐May                ‐                ‐             ‐         207.41        398.05          ‐             605.46
  20‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  21‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  22‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  23‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  24‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  25‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  26‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  27‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  28‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  29‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  30‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  31‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
Total     $          706.60 $          12.32 $      177.29 $     223.21 $      909.90 $      28.00   $     1,899.37
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

      SIXTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
          ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
          FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
                     JUNE 1, 2023 THROUGH JUNE 30, 2023

    Name of Applicant:         BlackBriar Advisors, LLC
    Applicant’s Role in Case:  Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                    Beginning of Period             End of Period
    Time Period Covered in     06/01/2023                    06/30/2023
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $44,480.001
                                                              (80% of $55,600.00)
    Total Reimbursable Expenses Requested in this Statement: $2,147.752
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $55,600.00
    Total Actual Professional Hours Covered by this 140.05
    Statement:
    Average Hourly Rate for Professionals:                    $397.00

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.

1
  BlackBriar is holding $0.00 as a retainer in its Trust Account.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Sixth Monthly Fee Statement of BlackBriar Advisors, LLC.

for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for the

Period from June 1, 2023 through June 30, 2023 (the “Monthly Fee Statement”).

                                   RELIEF REQUESTED

       1.     By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $44,480.00 (80% of $55,600.00) as compensation for

professional services rendered to the Debtor during the period from June 1, 2023 through June 30,

2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in the amount of

$2,147.75, for a total amount of $46,627.75 to be paid upon expiration of the objection deadline

barring any objections, pursuant to the Interim Compensation Order.

       2.     In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Fees by Category as

Financial Advisor for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as

Financial Advisor for the Fee Period, attached hereto as Exhibit C.

       3.     Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),



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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

       5.      Therefore, BlackBriar respectfully submits support for its fees in the amount of

$55,575.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $2,147.75 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $46,627.75

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: August 31, 2023

                                                      BLACKBRIAR ADVISORS, LLC

                                                      By: /s/ Robert Schleizer
                                                      Robert Schleizer
                                                      2626 Cole Ave., Suite 300
                                                      Dallas, TX 75201
                                                      Telephone: 214-599-8600
                                                      Email: bschleizer@blackbriaradvisors.com


                                                      FINANCIAL ADVISORS FOR DEBTOR
                                                      ALEXANDER E. JONES




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                                CERTIFICATE OF SERVICE

I certify that on March 31, 2023, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                              /s/ Christina W. Stephenson
                                                  Christina W. Stephenson




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                                EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                         EXPENSE                                    TOTAL
Airfare/Train                                                       $1,155.20
Mileage                                                               12.32
Meals                                                                206.16
Auto                                                                  15.80
Hotel                                                                445.77
Other                                                                312.50




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                                  EXHIBIT “B”
              SUMMARY OF FEES AND EXPENSES BY CATEGORY
                         FOR THE FEE PERIOD
           CATEGORIES                             PROFESSIONAL
                                                      TIME
           B110 Case Administration                   34.10
           B120 Asset Analysis and Recovery            1.20
           B130 Asset Disposition                      0.00
           B140 Relief from Stay/Adequate
           Protection                                    0.00
           B150 Meetings of & Communications
           with Creditors                                0.00
           B160 Fee/Employment Applications              0.00
           B170 Fee/Employment Objections                2.50
           B180 Avoidance Action Analysis                0.00
           B185 Assumption/Rejection of
           Executory Contracts                           0.00
           B190 Other Contested Matters                  0.00
           B195 Non-Working Travel                      18.00
           B210 Business Operations                     77.60
           B220 Employee Benefits/Pensions                .60
           B230 Financing/Cash Collections               0.00
           B240 Tax Issues                               3.50
           B250 Real Estate                              0.00
           B260 Board of Directors Matters               0.00
           B310 Claims Administration and
           Objections                                    0.00
           B320 Plan and Disclosure Statement            2.60
           B410 General Bankruptcy
           Advice/Opinions                               0.00
           B420 Restructurings                           0.00
           TOTALS:                                      140.10




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                                EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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June 30, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                                Re:          Alexander E. Jones, Debtor In Possession                  Case No. 22‐33553

Billing Period:                              June 1 through June 30, 2023
Invoice No.                                  AJ0601‐23
Professional Services
Rendered:
             Date               Professional                                        Description                                      Hours    Amount      Task Code
           6/1/2023                 HK       Updated FSS Sales Reconciliation                                                          0.80      400.00     B210
           6/1/2023                 HK       Status update call with FSS CRO                                                           0.80      400.00     B210
           6/1/2023                 KN       Match invoices to bank activity                                                           2.50    1,000.00     B210
           6/5/2023                  BS      Counter proposal review and revisions to UCC offer                                        1.00      500.00     B320
           6/5/2023                 HK       Reviewed & sent comments regarding certain aspects of plan                                0.80      400.00     B320
           6/5/2023                 KN       Update accounting; bank statements                                                        4.00    1,600.00     B210
                                             Correspondence with counsel re Employment contract proposal re additional
          6/6/2023                   BS      compensation                                                                              0.60     300.00      B220
          6/6/2023                   BS      Teneo fee app review and objections                                                       2.50   1,250.00      B170
          6/6/2023                  KN       May accounting; accruals; meet with Bob; issues with invoices                             5.50   2,200.00      B210
          6/7/2023                   BS      Non‐working travel                                                                        3.00     750.00      B195
          6/7/2023                   BS      Plan review FSS and AEJ counter proposal tax issues;                                      0.80     200.00      B240
          6/7/2023                   BS      Review AEJ affidavit ‐ re Texas plaintiffs; discuss w AEJ                                 0.50     125.00      B110
          6/7/2023                   BS      On site ‐ operations; discussion with AEJ; review payables                                3.40     850.00      B210
          6/7/2023                   BS      Non‐working travel                                                                        3.00     750.00      B195
          6/7/2023                  KN       May bank reconciliations; invoices                                                        4.50   1,800.00      B210
          6/8/2023                   BS      ESG Hearing Emergency Motion for Protective Order                                         0.70     350.00      B110
          6/8/2023                   BS      On site ‐ operations; discussion with AEJ; review payables                                2.00     500.00      B210
          6/8/2023                   BS      Research Youngevity; email demand                                                         1.20     300.00      B120
                                             Research unresolved tax issues; other income; travel expenses; call R. Kennerly; POA
         6/8/2023                    BS      for Kennerly for additional research.                                                     0.90     225.00      B240
         6/8/2023                   HK       Updated FSS Sales Reconciliation                                                          0.80     400.00      B210
         6/8/2023                   HK       ESG Hearing Emergency Motion for Protective Order                                         0.70     350.00      B110
         6/8/2023                   HK       Reviewed counter Plan Proposal                                                            0.80     400.00      B320
         6/8/2023                   KN       Cash Flow; financials                                                                     4.50   1,800.00      B210
         6/9/2023                    BS      Update exempt assets and schedules for settlement offer to creditors                      0.90     450.00      B210
         6/9/2023                   KN       May MOR; Cash Flow                                                                        6.00   2,400.00      B110
         6/11/2023                   BS      Update professional fees for MOR                                                          0.70     350.00      B110
         6/12/2023                   BS      Research and call w N. Allred; R. Kennerly re: settlement structure tax issues            0.60     300.00      B240
         6/12/2023                  KN       MOR                                                                                       6.00   2,400.00      B110
         6/13/2023                   BS      Non‐working travel                                                                        3.00     750.00      B195
         6/13/2023                   BS      BBA call ‐ FSS/Platinum sales reconciliation; review ESG contract; calculate reserves     1.10     550.00      B210
         6/13/2023                   BS      BBA call ‐ FSS/Platinum sales reconciliation                                              0.50     250.00      B210
         6/13/2023                   BS      IRS proof of claim research; tax id no. issues re: FSS payroll and claim                  0.80     400.00      B240
         6/13/2023                  HK       Call with BlackBriar to go over sales reconciliation for MOR                              0.70     350.00      B210
         6/13/2023                  KN       MOR; AR reconciliation                                                                    4.50   1,800.00      B210
         6/14/2023                   BS      Additional POA's related entities to access tax records                                   0.40     200.00      B240
                                             Onsite ‐ Operations and accounting; employment contract; open issues ‐ ESG,
         6/14/2023                   BS      Crypto; follow up Youngevity;                                                             6.50   3,250.00      B210
         6/14/2023                   BS      Non‐working travel                                                                        3.00     750.00      B195
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                            Re:        Alexander E. Jones, Debtor In Possession                 Case No. 22‐33553

Billing Period:                        June 1 through June 30, 2023
Invoice No.                            AJ0601‐23
           6/14/2023              HK   Call with BlackBriar to go over sales reconciliation & AR owed AEJ                       0.50       250.00   B210
           6/15/2023              BS   Domestic pay issues and policies; accounting and payables                                1.20       600.00   B210
           6/15/2023              BS   Provide missing bank information for counsel for UCC                                     0.50       250.00   B110
           6/15/2023              HK   Updated FSS Sales Reconciliation                                                         0.70       350.00   B210
           6/15/2023              KN   June accounting, revenue reconciliation ‐ product sales and other income                 4.00     1,600.00   B210
           6/16/2023              KN   MOR , finalize sales recon                                                               2.00       800.00   B210
           6/20/2023              KN   Budget; Accounting; Financials                                                           4.50     1,800.00   B210
                                       Review SOFA schedules; revise and prepare support ‐ call with counsel; calculate AEJ
         6/21/2023                BS   admin claim                                                                              2.90     1,450.00   B110
         6/21/2023                BS   Call w Teneo re: fee app                                                                 0.40       200.00   B110
         6/21/2023                KN   SOFA Recon, budget, accounting                                                           6.50     2,600.00   B110
         6/22/2023                BS   Meeting w P. Magill re operations; follow up sales and plan budget; insurance review     2.20     1,100.00   B210
         6/23/2023                BS   Follow up‐ insurance analysis                                                            0.50       250.00   B210
         6/23/2023                KN   Budget                                                                                   4.00     1,600.00   B210
         6/24/2023                KN   Budget                                                                                   3.50     1,400.00   B210
         6/25/2023                KN   QB accounting                                                                            2.50     1,000.00   B210
         6/26/2023                HK   Updated FSS Sales Reconciliation                                                         0.70       350.00   B210
         6/26/2023                KN   Accounting; discussion with Leslie                                                       3.50     1,400.00   B210
         6/27/2023                KN   Review SOFA' review invoices and charges to bank                                         2.50     1,000.00   B110
         6/28/2023                BS   Non‐working travel                                                                       3.00       750.00   B195
         6/28/2023                KN   Review SOFA; accounting                                                                  3.50     1,400.00   B110
         6/29/2023                BS   Attend Status conference; follow on meetings ‐ Houston                                   2.50     1,250.00   B110
         6/29/2023                BS   ESG/FSS analysis                                                                         0.60       300.00   B210
         6/29/2023                BS   Non‐working travel                                                                       3.00       750.00   B195
         6/29/2023                HK   Updated FSS Sales Reconciliation                                                         0.70       350.00   B210
         6/29/2023                HK   In Person or Remote Final Cash Collateral Hearing                                        0.70       350.00   B110
         6/29/2023                KN   Update accounting; review entries                                                        3.50     1,400.00   B210
                                                                                                                              140.10   $55,600.00

                                                     Total hours for Robert Schleizer (BS)                                     53.90   $20,250.00
                                                     Total hours for Harold Kessler (HK)                                        8.70     4,350.00
                                                     Total hours for Kathy Norderhaug (KN)                                     77.50    31,000.00
                                                                                                                              140.10   $55,600.00
                                        Other Expenses




                                        Expenses
                                           From attached expense breakdown                                                             $ 2,147.75
                                                  Total Invoice Amount                                                                 $57,747.75



                                       BlackBriar Advisors LLC
                                       2626 Cole Ave., Suite 300
                                       Dallas, TX 75204
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Alex E. Jones
Billing Period:                 June 1 through June 30, 2023
Invoice:                        AJ0601‐23

   Date         Airfare/Train       Mileage          Meals         Auto         Hotel         Other          Total

     1‐Jun             129.00             6.16             ‐          15.80           ‐            ‐             150.96
     2‐Jun             129.00             6.16           35.29          ‐          157.95          ‐             328.40
     3‐Jun                ‐                ‐               ‐            ‐             ‐            ‐                ‐
     4‐Jun                ‐                ‐               ‐            ‐             ‐            ‐                ‐
     5‐Jun                ‐                ‐               ‐            ‐             ‐            ‐                ‐
     6‐Jun                ‐                ‐               ‐            ‐             ‐            ‐                ‐
     7‐Jun             448.60              ‐               ‐            ‐          148.59          ‐             597.19
     8‐Jun                ‐                ‐             76.00          ‐             ‐         100.00           176.00
     9‐Jun                ‐                ‐               ‐            ‐             ‐          42.70            42.70
   10‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   11‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   12‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   13‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   14‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   15‐Jun                 ‐                ‐             65.00          ‐          139.23        55.00           259.23
   16‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   17‐Jun              448.60              ‐               ‐            ‐             ‐            ‐             448.60
   18‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   19‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   20‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   21‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   22‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   23‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   24‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   25‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   26‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   27‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   28‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   29‐Jun                 ‐                ‐             29.87          ‐             ‐         114.80           144.67
   30‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
      1‐Jul               ‐                ‐               ‐            ‐             ‐            ‐                ‐
Total       $        1,155.20 $          12.32 $        206.16 $      15.80 $      445.77 $     312.50   $     2,147.75
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

    SEVENTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
         ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
         FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
                   JULY 1, 2023 THROUGH AUGUST 31, 2023

    Name of Applicant:         BlackBriar Advisors, LLC
    Applicant’s Role in Case:  Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                    Beginning of Period             End of Period
    Time Period Covered in     07/01/2023                    08/31/2023
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $107,680.001
                                                              (80% of $134,600.00)
    Total Reimbursable Expenses Requested in this Statement: $8,534.842
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $134,600
    Total Actual Professional Hours Covered by this 327.90
    Statement:
    Average Hourly Rate for Professionals:                    $410.49

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.

1
  BlackBriar is holding $0.00 as a retainer in its Trust Account.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Seventh Monthly Fee Statement of BlackBriar/ Advisors,

LLC. for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor

for the Period from July 1, 2023 through August 31, 2023 (the “Monthly Fee Statement”).

                                     RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $107,680.00 (80% of $134,600.00) as compensation for

professional services rendered to the Debtor during the period from July 1, 2023 through August

31, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in the amount

of $8,534.84, for a total amount of $116,214.84 to be paid upon expiration of the objection deadline

barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Fees by Category as

Financial Advisor for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as

Financial Advisor for the Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),



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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

       5.      Therefore, BlackBriar respectfully submits support for its fees in the amount of

$134,600.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $8,534.84 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $116,214.84

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: September 15, 2023

                                                      BLACKBRIAR ADVISORS, LLC

                                                      By: /s/ Robert Schleizer
                                                      Robert Schleizer
                                                      2626 Cole Ave., Suite 300
                                                      Dallas, TX 75201
                                                      Telephone: 214-599-8600
                                                      Email: bschleizer@blackbriaradvisors.com


                                                      FINANCIAL ADVISORS FOR DEBTOR
                                                      ALEXANDER E. JONES




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                                CERTIFICATE OF SERVICE

I certify that on September 15, 2023, a true and correct copy of the foregoing pleading was served
upon the parties listed on the attached service list via the Court’s ECF system and pursuant to
Local Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                             /s/ Christina W. Stephenson
                                                 Christina W. Stephenson




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                                EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                         EXPENSE                                    TOTAL
Airfare/Train                                                       $5,710.71
Mileage                                                              485.77
Meals                                                                983.03
Auto                                                                 439.82
Hotel                                                                843.51
Other                                                                 72.00




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                                  EXHIBIT “B”
              SUMMARY OF FEES AND EXPENSES BY CATEGORY
                         FOR THE FEE PERIOD
           CATEGORIES                             PROFESSIONAL
                                                      TIME
           B110 Case Administration                    31.6
           B120 Asset Analysis and Recovery             5.2
           B130 Asset Disposition                      0.00
           B140 Relief from Stay/Adequate
           Protection                                    0.00
           B150 Meetings of & Communications
           with Creditors                                0.00
           B160 Fee/Employment Applications               3,5
           B170 Fee/Employment Objections                0.00
           B180 Avoidance Action Analysis                0.00
           B185 Assumption/Rejection of
           Executory Contracts                            0.00
           B190 Other Contested Matters                   0.00
           B195 Non-Working Travel                       50.00
           B210 Business Operations                     234.10
           B220 Employee Benefits/Pensions                0.00
           B230 Financing/Cash Collections                0.00
           B240 Tax Issues                                3.50
           B250 Real Estate                               0.00
           B260 Board of Directors Matters                0.00
           B310 Claims Administration and
           Objections                                    0.00
           B320 Plan and Disclosure Statement            0.00
           B410 General Bankruptcy
           Advice/Opinions                               0.00
           B420 Restructurings                           0.00
           TOTALS:                                      327.90




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                                EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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July 31, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                          Re:           Alexander E. Jones, Debtor In Possession                 Case No. 22‐33553

Billing Period:                         July 1 through July 31, 2023
Invoice No.                             AJ0701‐23
Professional Services
Rendered:
            Date           Professional                                               Description                                             Hours    Amount       Task Code
          7/3/2023             KN       Reconcile bank accounts                                                                                 5.00 $  2,000.00      B210
          7/4/2023             KN       Property Tax Accrual; June Financials                                                                   3.00    1,200.00      B210
          7/5/2023             KN       June ‐ Cash account reconciliations; financial review                                                   5.00    2,000.00      B210
          7/5/2023              BS      June Financials; Accounting issues                                                                      0.70      350.00      B210
          7/6/2023             KN       June Accounting; issues regarding invoices                                                              6.00    2,400.00      B210
          7/7/2023             HK       Updated FSS Sales Reconciliation                                                                        0.70      350.00      B210
          7/7/2023             KN       June Accounting                                                                                         7.00    2,800.00      B210
          7/7/2023              BS      Operational issues and cash flow; ESG reconciliation review and responses; domestic help hours          2.20    1,100.00      B210
         7/10/2023             KN       Update July accounting                                                                                  3.50    1,400.00      B210
         7/10/2023              BS      Professional fee analysis and accrual                                                                   1.00      500.00      B210
         7/11/2023             KN       Update July accounting                                                                                  2.50    1,000.00      B210
         7/12/2023             HK       Internal discussions FSS settlement reconciliations & calculating AR                                    0.80      400.00      B210
         7/12/2023              BS      Operational issues and cash flow; ESG reconciliation; calls with counsel                                1.10      550.00      B210
         7/13/2023             HK       Call with FSS to discuss AR reconciliation                                                              0.20      100.00      B210
         7/13/2023              BS      Meeting ‐‐ FSS re ESG reconciliation;                                                                   0.50      250.00      B210
         7/13/2023             HK       Review ESG data; call re outstanding information;                                                       1.50      750.00      B210
         7/18/2023             KN       July accounting                                                                                         3.50    1,400.00      B210
                                        ESG reconciliation; mails to counsel; FSS; professional fee recap; communication Security Bank/ FSS
        7/18/2023               BS      re motorhome                                                                                           3.00      1,500.00     B210
        7/19/2023              HK       Review UCC Response to Jones Proposal                                                                  0.50        250.00     B210
        7/19/2023              KN       Update June MOR                                                                                        4.00      1,600.00     B110
        7/19/2023               BS      Review MOR; corrections                                                                                0.60        300.00     B110
        7/19/2023               BS      Operations; bitcoin reconciliation; cash and product sales update                                      0.80        400.00     B210
        7/20/2023              HK       Updated FSS Sales Reconciliation                                                                       0.70        350.00     B210
        7/20/2023              KN       Update June MOR‐ professional fees                                                                     3.50      1,400.00     B110
        7/20/2023               BS      Banking issues; domestic help schedule/hours                                                           0.70        350.00     B210
        7/21/2023              KN       Review MOR; corrections                                                                                3.50      1,400.00     B210
        7/21/2023               BS      Review MOR; corrections                                                                                0.40        200.00     B110
        7/23/2023              KN       Transfers to Erika ‐ re; attorney request                                                              2.50      1,000.00     B110
        7/24/2023              KN       Update accounting                                                                                      3.50      1,400.00     B210
        7/25/2023              HK       Non‐working travel                                                                                     3.00        750.00     B195
        7/25/2023              HK       At FSS office; operations meetings; meeting with CRO‐ FSS; meeting with AEJ;                           8.00      4,000.00     B210
        7/25/2023               BS      Call with E. Jones counsel re: transfers                                                               0.90        450.00     B110
        7/25/2023              KN       Meet in Austin; review transfers and budget                                                            5.10      2,040.00     B210
        7/25/2023              KN       Call with E. Jones counsel re: transfers                                                               0.90        360.00     B110
        7/25/2023              KN       Non‐working travel                                                                                     3.00        600.00     B195
        7/25/2023               BS      Non‐working travel                                                                                     3.00        750.00     B195
        7/25/2023               BS      At FSS office; operations meetings; meeting with CRO‐ FSS; meeting with AEJ                            5.20      2,600.00     B210
        7/26/2023              HK       At FSS office; operations meetings;                                                                    4.00      2,000.00     B210
        7/26/2023              HK       Non‐working travel                                                                                     3.00        750.00     B195
        7/26/2023              KN       Austin; review accounting; pending items                                                               6.00      2,400.00     B210
        7/26/2023              KN       Non‐working travel                                                                                     3.00        600.00     B195
        7/26/2023               BS      At FSS office; operations meetings;                                                                    4.60      2,300.00     B210
        7/26/2023               BS      TWC tax issues ‐ coordinate with FSS; Call to TWC (.8)                                                 0.80        400.00     B240
        7/26/2023               BS      Non‐working travel ‐ to Houston                                                                        2.00        500.00     B195
        7/27/2023              HK       FSS Cont'd Cash Collateral Hearing                                                                     0.50        250.00     B110
        7/27/2023              KN       Update accounting                                                                                      4.00      1,600.00     B210
        7/27/2023              HK       Attend Cash Collateral Hearing; follow on meetings with counsel re: settlement; ESG                    3.10      1,550.00     B110
        7/27/2023               BS      Non‐working travel                                                                                     3.00        750.00     B195
        7/28/2023              HK       Updated FSS Sales Reconciliation                                                                       1.70        850.00     B210
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                       Re:        Alexander E. Jones, Debtor In Possession             Case No. 22‐33553

Billing Period:                   July 1 through July 31, 2023
Invoice No.                       AJ0701‐23
         7/28/2023           KN   Update accounting                                                          4.00      1,600.00    B210
         7/28/2023           BS   Review revise May & June fee app                                           3.50      1,750.00    B160
         7/30/2023           KN   Update accounting                                                          2.50      1,000.00    B210
         7/31/2023           KN   Reconcile Bank Accounts; accruals                                          5.00      2,000.00    B210
                                                                                                           147.70   $ 60,550.00

                                               Total hours for Robert Schleizer (BS)                        34.00   $ 15,000.00
                                               Total hours for Harold Kessler (HK)                          27.70     12,350.00
                                               Total hours for Kathy Norderhaug (KN)                        86.00     33,200.00
                                                                                                           147.70   $ 60,550.00
                                   Other Expenses

                                   Expenses
                                      From attached expense breakdown                                               $   1,728.43

                                               Total Invoice Amount                                                 $ 62,278.43

                                  BlackBriar Advisors LLC
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                                  Dallas, TX 75204
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Alex E. Jones
Billing Period:                 July 1 through July 31, 2023
Invoice:                        AJ0701‐23

   Date         Airfare/Train       Mileage           Meals         Auto         Hotel         Other          Total

      1‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
      2‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
      3‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
      4‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
      5‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
      6‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
      7‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
      8‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
      9‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    10‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    11‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    12‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    13‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    14‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    15‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    16‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    17‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    18‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    19‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    20‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    21‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    22‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    23‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    24‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    25‐Jul             567.40              6.16          260.48        16.26           ‐            ‐             850.30
    26‐Jul             129.00              6.16          211.08        45.36        321.78          ‐             713.38
    27‐Jul                ‐                 ‐            129.53        11.22           ‐          24.00           164.75
    28‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    29‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    30‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    31‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
Total       $          696.40 $           12.32 $        601.09 $      72.84 $      321.78 $      24.00   $     1,728.43
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August 31, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                           Re:          Alexander E. Jones, Debtor In Possession                  Case No. 22-33553

Billing Period:                         August 1 through August 31, 2023
Invoice No.                             AJ0801-23
Professional Services
Rendered:
             Date          Professional                                                Description                                            Hours    Amount       Task Code
          8/1/2023             KN       Update July accounting                                                                                  5.50 $  2,200.00      B210
          8/2/2023              BS      Non-working travel                                                                                      3.00      750.00      B195
          8/2/2023             KN       Update July accounting; review transactions for Trustee                                                 7.00    2,800.00      B210
                                        On-site - meetings with A.Jones and FSS CRO - operational issues 3.0; accounting and operational
         8/3/2023               BS      issues, cash flow, contract review (personal services) (4.2)                                           7.20      3,600.00     B210
         8/3/2023               BS      Call with A. Jones and TWC domestic                                                                    0.60        300.00     B240
         8/3/2023               BS      Non-working travel                                                                                     3.00        750.00     B195
         8/3/2023               HK      Reviewed emails regarding Wednesday's meeting with FSS, FSS CRO, AEJ & BlackBriar                      0.50        250.00     B210
         8/3/2023              KN       Budget comparison; July accounting; review invoices; begin MOR                                         7.00      2,800.00     B210
         8/7/2023               BS      Personnel issues - Domestic staff; emails; calls re: transfer of responsibility                        2.30      1,150.00     B210
         8/7/2023               HK      Updated FSS Sales Reconciliation for week of 07/30/23                                                  0.70        350.00     B210
         8/7/2023               HK      Reviewed Teneo April fee application                                                                   0.30        150.00     B210
         8/7/2023               HK      Status Conference                                                                                      0.30        150.00     B110
         8/7/2023              KN       July Accounting; budget comparison                                                                     7.00      2,800.00     B210
         8/8/2023               BS      Responses to Teneo questions                                                                           2.90      1,450.00     B110
         8/8/2023               HK      Reviewed response to Teneo                                                                             0.50        250.00     B110
         8/8/2023              KN       July accounting, budget, get supporting invoices                                                       6.50      2,600.00     B210
         8/9/2023               BS      Property tax exemption denial, call with E. Jones and appraisal district; Conversation with counsel    0.70        350.00     B110
         8/9/2023               BS      Responses to Teneo questions revisions                                                                 0.30        150.00     B110
         8/9/2023               BS      Non-working travel                                                                                     3.00        750.00     B195
         8/9/2023               HK      Conversation with counsel and B. Schleizer - open issues                                               0.40        200.00     B210
         8/9/2023              KN       July accounting issues;                                                                                7.00      2,800.00     B210
        8/10/2023               BS      On-site - meetings with A.Jones and FSS CRO - operational issues and accounting issues, cash flow      6.50      3,250.00     B210
        8/10/2023               BS      Non-working travel                                                                                     3.00        750.00     B195
        8/10/2023               HK      Conversation with Attorney & BlackBriar                                                                0.30        150.00     B210
        8/10/2023              KN       Budget comparison; accounting issues                                                                   3.50      1,400.00     B210
        8/10/2023              KN       July MOR                                                                                               1.50        600.00     B110
        8/11/2023               HK      Reviewed MOR                                                                                           0.50        250.00     B210
        8/11/2023              KN       Budget; boat issues                                                                                    4.50      1,800.00     B210
        8/14/2023               BS      Non-working travel                                                                                     3.00        750.00     B195
        8/14/2023              KN       Accounting issues; invoice support' homepay issues                                                     7.00      2,800.00     B210
        8/15/2023               BS      In Houston; meetings with counsel; attend hearing; follow on meetings with counsel                     5.70      2,850.00     B110
        8/15/2023               BS      Non-working travel                                                                                     3.00        750.00     B195
        8/15/2023               HK      Attend hearing                                                                                         3.30      1,650.00     B110
        8/15/2023              KN       August accounting; invoices,                                                                           4.00      1,600.00     B210
        8/16/2023               BS      Conference call with FSS, counsel and tax professionals                                                1.20        600.00     B240
        8/16/2023              KN       Discussions with boat broker; accounting, budget                                                       4.50      1,800.00     B210
                                        Conference call with tax professionals follow up to call with FSS re: deductibility of settlement
        8/17/2023               BS      payments                                                                                               0.90        450.00     B240
        8/17/2023               HK      Updated FSS Sales Reconciliation                                                                       0.70        350.00     B210
        8/17/2023              KN       MOR revisions                                                                                          0.70        280.00     B210
        8/17/2023              KN       Homepay, invoices, budget                                                                              2.80      1,120.00     B210
        8/18/2023               HK      Call with counsel admin claim                                                                          0.60        300.00     B120
        8/18/2023               HK      Call with counsel admin claim; follow up analysis                                                      1.60        800.00     B120
        8/18/2023              KN       Accounting, review entries, invoices                                                                   3.50      1,400.00     B210
        8/21/2023               BS      Accounting; cash flow                                                                                  0.60        300.00     B120
        8/21/2023               BS      Admin claim analysis - wages; recovery timing                                                          0.90        450.00     B120
        8/21/2023              KN       Accounting issues; invoice support' homepay issues                                                     4.50      1,800.00     B210
        8/22/2023               BS      Call with counsel, Crowder rep re: COO sourcing; bitcoin/Coinbase residual balances                    0.70        350.00     B210
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                        Re:        Alexander E. Jones, Debtor In Possession                Case No. 22-33553

Billing Period:                    August 1 through August 31, 2023
Invoice No.                        AJ0801-23
          8/22/2023           KN   Accounting issues; budget; invoices                                                4.50      1,800.00    B210
          8/23/2023           BS   Non-working travel                                                                 3.00        750.00    B195
          8/23/2023           BS   On-site - meetings with A.Jones and FSS CRO - operational issues: COO sourcing     6.70      3,350.00    B210
          8/23/2023           HK   Non-working travel                                                                 3.00        750.00    B195
          8/23/2023           HK   On-site - meetings with A.Jones and FSS CRO - operational issues                   8.00      4,000.00    B210
          8/23/2023           KN   Accounting issues; budget; invoices                                                4.50      1,800.00    B210
          8/24/2023           HK   On-site at FSS; Operational issues                                                 2.00      1,000.00    B210
          8/24/2023           HK   Non-working travel                                                                 3.00        750.00    B195
          8/24/2023           HK   Updated FSS Sales Reconciliation                                                   0.70        350.00    B210
          8/25/2023           HK   Reviewed FSS spreadsheet for ESG Sales Analysis as of Aug 13, 2023                 0.30        150.00    B210
          8/25/2023           HK   Reviewed ESG's analysis                                                            1.00        500.00    B210
          8/29/2023           BS   ESG conference call re: disagreement on claim                                      1.00        500.00    B210
          8/29/2023           HK   Review ESG's calculations in conference call                                       1.00        500.00    B210
          8/30/2023           BS   GiveSendGo account analysis and set up new account;                                1.50        750.00    B120
          8/31/2023           HK   2004 Examination - David Jones                                                     2.30      1,150.00    B210
          8/31/2023           HK   Non-working travel                                                                 3.00        750.00    B195
                                                                                                                    180.20   $ 74,050.00

                                                 Total hours for Robert Schleizer (BS)                               60.70   $ 25,100.00
                                                 Total hours for Harold Kessler (HK)                                 34.00     14,750.00
                                                 Total hours for Kathy Norderhaug (KN)                               85.50     34,200.00
                                                                                                                    180.20   $ 74,050.00
                                    Other Expenses

                                    Expenses
                                       From attached expense breakdown                                                       $   6,806.41

                                                Total Invoice Amount                                                         $ 80,856.41

                                   BlackBriar Advisors LLC
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                                   Dallas, TX 75204
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Alex E. Jones
Billing Period:               August 1 through August 31, 2023
Invoice:                      AJ0801‐23

   Date       Airfare/Train       Mileage         Meals          Auto         Hotel         Other          Total

    1‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
    2‐Aug          1,627.00           188.87            ‐             ‐             ‐            ‐           1,815.87
    3‐Aug            409.40              ‐            35.00         36.05           ‐          16.00           496.45
    4‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
    5‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
    6‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
    7‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
    8‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
    9‐Aug            783.81              ‐            13.56           ‐             ‐            ‐             797.37
   10‐Aug               ‐             129.87          70.00         60.00           ‐          16.00           275.87
   11‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   12‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   13‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   14‐Aug            638.40              ‐              ‐             ‐             ‐            ‐             638.40
   15‐Aug            188.90              ‐              ‐           43.00        129.53          ‐             361.43
   16‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   17‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   18‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   19‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   20‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   21‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   22‐Aug            710.80           142.39            ‐           22.00           ‐            ‐             875.19
   23‐Aug            134.00             6.16          53.87         65.84           ‐          16.00           275.87
   24‐Aug            134.00             6.16            ‐           29.84        208.26          ‐             378.26
   25‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   26‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   27‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   28‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   29‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   30‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   31‐Aug            388.00              ‐           209.51        110.25        183.94          ‐             891.70
Total     $        5,014.31 $         473.45 $       381.94 $      366.98 $      521.73 $      48.00   $     6,806.41
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

    EIGHTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
        ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
         FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
              SEPTEMBER 1, 2023 THROUGH SEPTEMBER 30, 2023

    Name of Applicant:         BlackBriar Advisors, LLC
    Applicant’s Role in Case:  Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                    Beginning of Period             End of Period
    Time Period Covered in     09/01/2023                    09/30/2023
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $51,192.001
                                                              (80% of $63,990.00)
    Total Reimbursable Expenses Requested in this Statement: $2,472.672
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $63,990.00
    Total Actual Professional Hours Covered by this 151.00
    Statement:
    Average Hourly Rate for Professionals:                    $423.77

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.

1
  BlackBriar is holding $0.00 as a retainer in its Trust Account.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Eighth Monthly Fee Statement of BlackBriar Advisors, LLC.

for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for the

Period from September 1, 2023 through September 30, 2023 (the “Monthly Fee Statement”).

                                   RELIEF REQUESTED

       1.     By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $51,192.00 (80% of $63,990.00) as compensation for

professional services rendered to the Debtor during the period from September 1, 2023 through

September 30, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in

the amount of $2,472.67, for a total amount of $53,664.67 to be paid upon expiration of the

objection deadline barring any objections, pursuant to the Interim Compensation Order.

       2.     In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Fees by Category as

Financial Advisor for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as

Financial Advisor for the Fee Period, attached hereto as Exhibit C.

       3.     Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),



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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Counsel to the Official Committee of Unsecured Creditors, Akin
                       Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                       10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                       Brauner and Melanie A. Miller; dzensky@akingump.com,
                       mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

       5.      Therefore, BlackBriar respectfully submits support for its fees in the amount of

$63,99000 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $2,472.67 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $53,664.67

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: November 15, 2023

                                                      BLACKBRIAR ADVISORS, LLC

                                                      By: /s/ Robert Schleizer
                                                      Robert Schleizer
                                                      2626 Cole Ave., Suite 300
                                                      Dallas, TX 75201
                                                      Telephone: 214-599-8600
                                                      Email: bschleizer@blackbriaradvisors.com


                                                      FINANCIAL ADVISORS FOR DEBTOR
                                                      ALEXANDER E. JONES




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                               CERTIFICATE OF SERVICE

I certify that on November 15, 2023, a true and correct copy of the foregoing pleading was served
upon the parties listed on the attached service list via the Court’s ECF system and pursuant to
Local Rule 9003-1, via e mail or U.S. mail as follows:

              a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

              b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

              c.      Counsel to the Official Committee of Unsecured Creditors, Akin
                      Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                      10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                      Brauner and Melanie A. Miller; dzensky@akingump.com,
                      mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

              d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

              e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

              f.      Any other parties that the Court may designate.


                                             /s/ Christina W. Stephenson
                                                 Christina W. Stephenson




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                                EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                         EXPENSE                                    TOTAL
Airfare/Train                                                       $1,421.60
Mileage                                                               0.00
Meals                                                                195.15
Auto                                                                  0.00
Hotel                                                                602.41
Other                                                                253.51




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                                  EXHIBIT “B”
              SUMMARY OF FEES AND EXPENSES BY CATEGORY
                         FOR THE FEE PERIOD
           CATEGORIES                             PROFESSIONAL
                                                      TIME
           B110 Case Administration                    15.2
           B120 Asset Analysis and Recovery             4.8
           B130 Asset Disposition                       2.5
           B140 Relief from Stay/Adequate
           Protection                                    0.00
           B150 Meetings of & Communications
           with Creditors                                0.00
           B160 Fee/Employment Applications               1.8
           B170 Fee/Employment Objections                0.00
           B180 Avoidance Action Analysis                0.00
           B185 Assumption/Rejection of
           Executory Contracts                           0.00
           B190 Other Contested Matters                  0.00
           B195 Non-Working Travel                        12
           B210 Business Operations                     101.8
           B220 Employee Benefits/Pensions               0.00
           B230 Financing/Cash Collections               0.00
           B240 Tax Issues                               12.9
           B250 Real Estate                              0.00
           B260 Board of Directors Matters               0.00
           B310 Claims Administration and
           Objections                                    0.00
           B320 Plan and Disclosure Statement            0.00
           B410 General Bankruptcy
           Advice/Opinions                               0.00
           B420 Restructurings                           0.00
           TOTALS:                                      151.00




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                                EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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September 30, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                     Re:           Alexander E. Jones, Debtor In Possession                   Case No. 22-33553

Billing Period:                    September 1 through September 30, 2023
Invoice No.                        AJ0901-23
Professional
Services Rendered:
         Date        Professional                                      Description                                Hours    Amount      Task Code
       9/1/2023           BS      GiveSendGo analysis - teams call                                                  0.60      300.00     B210
       9/1/2023           BS      Call AEJ re: operations                                                           0.20      100.00     B210
       9/6/2023           BS      ESG reconciliation to FSS; with counsel, FSS                                      0.90      450.00     B210
       9/6/2023          KN       Update Aug Accounting                                                             6.00    2,400.00     B210
       9/7/2023           BS      Operations; sales review ; accounting updates                                     0.70      350.00     B210
       9/7/2023          HK       Update call with FSS CRO & BlackBriar                                             0.50      250.00     B210
       9/7/2023          KN       Bank Accounts; reconcile, update accounting                                       3.30    1,320.00     B210
       9/8/2023          HK       Updated FSS Sales Reconciliation for two weeks                                    1.40      700.00     B210
       9/8/2023          KN       Update Aug accounting; invoices                                                   2.80    1,120.00     B210
      9/11/2023           BS      UCC demands and requests;                                                         1.30      650.00     B110
      9/11/2023           BS      Fee app preparation                                                               1.80      900.00     B160
      9/11/2023           BS      Non-working travel                                                                3.00      750.00     B195
      9/11/2023           BS      Accounting issues, cash management, GiveSendGo                                    2.10    1,050.00     B210
      9/11/2023          KN       Financial Statements, accounting issues                                           5.00    2,000.00     B210
      9/12/2023           BS      AEJ deposition                                                                    4.50    2,250.00     B110
                                  On-site meetings w A. Jones, sales, accounting, cash management; tax
    9/12/2023             BS      support                                                                           3.70   1,850.00      B210
    9/13/2023             BS      AEJ deposition                                                                    3.80   1,900.00      B110
    9/13/2023             BS      Non-working travel                                                                3.00     750.00      B195
                                  On-site meetings w A. Jones, sales, accounting, cash management;
    9/13/2023             BS      subscription agreement; revenue; platinum analysis                                4.80   2,400.00      B210
    9/13/2023            KN       Accounting; bank statements                                                       4.00   1,600.00      B210
    9/13/2023            KN       Review Aug entries                                                                3.50   1,400.00      B210
                                  ESG Sales reconciliation .7; call J. Delassio - ESG .2; call email Crowder re
    9/14/2023             BS      subscriptions .2;                                                                 1.10     550.00      B210
    9/14/2023            KN       Aug and Sept accounting; gather support                                           5.00   2,000.00      B210
    9/15/2023             BS      Responses to UCC ROR                                                              0.30     150.00      B110
    9/15/2023             BS      Update Professional fee accruals .6;                                              0.60     300.00      B210
    9/15/2023            KN       Review all QB entries; gather support' MOR                                        7.50   3,000.00      B210
    9/16/2023            KN       Update MOR                                                                        2.00     800.00      B110
    9/17/2023            KN       Update Accounting; enter all payees; Update MOR                                   5.00   2,000.00      B210
    9/18/2023             BS      Additional revisions to UCC ROR response                                          0.50     250.00      B110
    9/18/2023             BS      Review MOR draft; revisions                                                       0.80     400.00      B110
    9/18/2023             BS      Accounting issues, cash management                                                1.30     650.00      B210
    9/18/2023             BS      ESG emails/Calls to finalize                                                      0.40     200.00      B210
    9/18/2023            KN       Update Accounting; enter all payees;                                              7.00   2,800.00      B210
    9/19/2023             BS      Review MOR draft; revisions                                                       0.50     250.00      B110
    9/19/2023             BS      Cash management; disbursements                                                    0.50     250.00      B110
    9/20/2023            KN       Review all invoices and support; update Dropbox                                   4.50   1,800.00      B210
    9/21/2023            KN       Review all disbursements and match invoice documentation                          7.50   3,000.00      B210
    9/22/2023             BS      Tax information - AEJ; meeting K. Norderhaug                                      0.90     450.00      B240
    9/22/2023            KN       QB analysis; FSS AMEX analysis; meet w. B. Schleizer                              5.50   2,200.00      B240
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                    Re:        Alexander E. Jones, Debtor In Possession                 Case No. 22-33553

Billing Period:                September 1 through September 30, 2023
Invoice No.                    AJ0901-23
      9/23/2023           KN   AMEX analysis - tax coding                                                     3.00     1,200.00   B240
      9/24/2023           KN   AMEX analysis - tax coding                                                     2.50     1,000.00   B240
      9/25/2023           BS   Tax information - AEJ; crypto basis                                            1.00       500.00   B240
      9/25/2023           KN   Accounting; reconciliation; tax analysis                                       4.30     1,720.00   B210
      9/26/2023           BS   Attend hearing - FSS & AEJ - via telephone                                     0.50       250.00   B110
      9/26/2023           BS   Accounting/ Financial statement adjustments                                    0.40       200.00   B210
      9/26/2023           HK   FSS Cash Collateral Hearing                                                    0.50       250.00   B110
      9/26/2023           KN   Accounting; reconciliation                                                     4.20     1,680.00   B210
      9/27/2023           BS   on-site - management meetings; financial statements; cash management           4.80     2,400.00   B120
      9/27/2023           BS   Non-working travel                                                             3.00       750.00   B195
      9/27/2023           KN   Accounting; reconciliation                                                     5.00     2,000.00   B210
      9/28/2023           BS   on-site - inspection of boats, meet with Marina (1.7); inspect lake house      2.50     1,250.00   B130
      9/28/2023           BS   Non-working travel                                                             3.00     1,500.00   B195
      9/28/2023           BS   Cash management - bank wires; meetings - operations on site                    3.50     1,750.00   B210
      9/28/2023           KN   Accounting; reconciliation                                                     5.00     2,000.00   B210

                                                                                                            151.00   $63,990.00

                                            Total hours for Robert Schleizer (BS)                            56.00   $25,750.00
                                            Total hours for Harold Kessler (HK)                               2.40     1,200.00
                                            Total hours for Kathy Norderhaug (KN)                            92.60    37,040.00
                                                                                                            151.00   $63,990.00
                                Expenses
                                   From attached expense breakdown                                                   $ 2,472.67
                                          Total Invoice Amount                                                       $66,462.67

                               BlackBriar Advisors LLC
                               2626 Cole Ave., Suite 300
                               Dallas, TX 75204
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Alex E. Jones
Billing Period:               September 1 through September 30, 2023
Invoice:                      AJ0901-23

   Date       Airfare/Train       Mileage           Meals         Auto           Hotel         Other          Total

    1-Sep                -                  -            -               -             -            -                -
    2-Sep                -                  -            -               -             -            -                -
    3-Sep                -                  -            -               -             -            -                -
    4-Sep                -                  -            -               -             -            -                -
    5-Sep                -                  -            -               -             -            -                -
    6-Sep                -                  -            -               -             -            -                -
    7-Sep                -                  -            -               -             -            -                -
    8-Sep                -                  -            -               -             -            -                -
    9-Sep                -                  -            -               -             -            -                -
   10-Sep                -                  -            -               -             -            -                -
   11-Sep             710.80                -            -               -             -          23.00           733.80
   12-Sep                -                  -            -               -             -          22.14            22.14
   13-Sep                -                  -            -               -          393.12        52.26           445.38
   14-Sep                -                  -            -               -             -            -                -
   15-Sep                -                  -            -               -             -            -                -
   16-Sep                -                  -            -               -             -            -                -
   17-Sep                -                  -            -               -             -            -                -
   18-Sep                -                  -            -               -             -            -                -
   19-Sep                -                  -            -               -             -            -                -
   20-Sep                -                  -            -               -             -            -                -
   21-Sep                -                  -            -               -             -            -                -
   22-Sep                -                  -            -               -             -            -                -
   23-Sep                -                  -            -               -             -            -                -
   24-Sep                -                  -            -               -             -            -                -
   25-Sep                -                  -            -               -             -            -                -
   26-Sep                -                  -            -               -             -            -                -
   27-Sep             710.80                -         159.75             -          209.29        60.00         1,139.84
   28-Sep                -                  -          35.40             -             -          96.11           131.51
   29-Sep                -                  -            -               -             -            -                -
   30-Sep                -                  -            -               -             -            -                -
    1-Oct                -                  -            -               -             -            -                -
Total     $         1,421.60 $              -   $     195.15 $           -   $      602.41 $     253.51   $     2,472.67
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

     NINTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
    ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS FINANCIAL
             ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
               OCTOBER 1, 2023 THROUGH NOVEMBER 30, 2023

    Name of Applicant:         BlackBriar Advisors, LLC
    Applicant’s Role in Case:  Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                    Beginning of Period             End of Period
    Time Period Covered in     10/01/2023                    11/30/2023
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $105,192.001
                                                              (80% of $131,490.00)
    Total Reimbursable Expenses Requested in this Statement: $5,162.222
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $131,490.00
    Total Actual Professional Hours Covered by this 302.50
    Statement:
    Average Hourly Rate for Professionals:                    $435.67

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.

1
  BlackBriar is holding $0.00 as a retainer in its Trust Account.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
NINTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC – Page 1
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Ninth Monthly Fee Statement of BlackBriar Advisors, LLC.

for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for the

Period from October 1, 2023 through November 30, 2023 (the “Monthly Fee Statement”).

                                   RELIEF REQUESTED

       1.     By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $105,192.00.00 (80% of $131,490.00) as compensation for

professional services rendered to the Debtor during the period from October 1, 2023 through

November 30, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in

the amount of $5,162.22, for a total amount of $110,354.22 to be paid upon expiration of the

objection deadline barring any objections, pursuant to the Interim Compensation Order.

       2.     In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Fees by Category as

Financial Advisor for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as

Financial Advisor for the Fee Period, attached hereto as Exhibit C.

       3.     Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),




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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Counsel to the Official Committee of Unsecured Creditors, Akin
                       Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                       10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                       Brauner and Melanie A. Miller; dzensky@akingump.com,
                       mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

       5.      Therefore, BlackBriar respectfully submits support for its fees in the amount of

$131,490.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $5,162.22 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $110,354.22

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: December 15, 2023

                                                      BLACKBRIAR ADVISORS, LLC

                                                      By: /s/ Robert Schleizer
                                                      Robert Schleizer
                                                      2626 Cole Ave., Suite 300
                                                      Dallas, TX 75201
                                                      Telephone: 214-599-8600
                                                      Email: bschleizer@blackbriaradvisors.com


                                                      FINANCIAL ADVISORS FOR DEBTOR
                                                      ALEXANDER E. JONES




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                               CERTIFICATE OF SERVICE

I certify that on December 15, 2023, a true and correct copy of the foregoing pleading was served
upon the parties listed on the attached service list via the Court’s ECF system and pursuant to
Local Rule 9003-1, via e mail or U.S. mail as follows:

              a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

              b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

              c.      Counsel to the Official Committee of Unsecured Creditors, Akin
                      Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                      10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                      Brauner and Melanie A. Miller; dzensky@akingump.com,
                      mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

              d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

              e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

              f.      Any other parties that the Court may designate.


                                             /s/ Christina W. Stephenson
                                                 Christina W. Stephenson




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                                EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                         EXPENSE                                    TOTAL
Airfare/Train                                                       $3,291.60
Mileage                                                              627.10
Meals                                                                373.56
Auto                                                                 278.29
Hotel                                                                358.02
Other                                                                233.65




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                                  EXHIBIT “B”
              SUMMARY OF FEES AND EXPENSES BY CATEGORY
                         FOR THE FEE PERIOD
           CATEGORIES                             PROFESSIONAL
                                                      TIME
           B110 Case Administration                   70.80
           B120 Asset Analysis and Recovery            4.2
           B130 Asset Disposition                      4.4
           B140 Relief from Stay/Adequate
           Protection                                    0.00
           B150 Meetings of & Communications
           with Creditors                                0.00
           B160 Fee/Employment Applications               3.2
           B170 Fee/Employment Objections                0.00
           B180 Avoidance Action Analysis                0.00
           B185 Assumption/Rejection of
           Executory Contracts                            0.00
           B190 Other Contested Matters                   28.5
           B195 Non-Working Travel                       26.00
           B210 Business Operations                     147.40
           B220 Employee Benefits/Pensions                0.00
           B230 Financing/Cash Collections                0.00
           B240 Tax Issues                                 7.5
           B250 Real Estate                               0.00
           B260 Board of Directors Matters                0.00
           B310 Claims Administration and
           Objections                                    0.00
           B320 Plan and Disclosure Statement            10.5
           B410 General Bankruptcy
           Advice/Opinions                               0.00
           B420 Restructurings                           0.00
           TOTALS:                                      302.5




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                                EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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October 31, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                           Re:          Alexander E. Jones, Debtor In Possession                 Case No. 22-33553

Billing Period:                         October 1 through October 31, 2023
Invoice No.                             AJ1001-23
Professional Services
Rendered:
             Date          Professional                                                Description                                             Hours    Amount       Task Code
          10/1/2023            KN       Bank reconciliations                                                                                     2.50 $  1,000.00      B210
          10/2/2023             BS      Banking (.3); Book sales (.5); crowder follow up(.2)                                                     1.00      500.00      B210
          10/2/2023             BS      Donations tax issues (.4);                                                                               0.40      200.00      B240
          10/2/2023            KN       Sept accounting; reconciliations                                                                         4.00    1,600.00      B210
          10/3/2023             BS      Cash management; sales                                                                                   0.50      250.00      B210
          10/3/2023             BS      Non- exempt asset analysis; prepare summary for Teneo                                                    0.60      300.00      B210
          10/3/2023            KN       MOR setup; discussion with Teneo; gather backup for Teneo;                                               3.50    1,400.00      B110
          10/3/2023            KN       Personnel/nanny issues                                                                                   1.00      400.00      B210
          10/4/2023             BS      Conference call - FSS Sub V trustee; counsel; follow up call                                             0.50      250.00      B110
          10/4/2023             BS      Asset sales - research current values - update asset list and exempt assets                              0.90      450.00      B120
          10/4/2023             BS      Recap outstanding operation issues for FSS meeting; call w counsel                                       0.40      200.00      B210
          10/4/2023             BS      Staffing firm interview and follow up for COO/Controller - Red Ballon                                    0.70      350.00      B210
          10/4/2023            KN       Asset listings; SOFA reconciliation, update; MOR                                                         4.00    1,600.00      B110
          10/5/2023             BS      Asset sales - research current values - update asset list and exempt assets                              0.60      300.00      B210
          10/5/2023            KN       Appraisals, MOR, SOFA updates                                                                            3.00    1,200.00      B110
          10/5/2023            KN       Accounting, nanny issues                                                                                 2.00      800.00      B210
          10/6/2023             BS      Asset sales - research current values - update asset list and exempt assets                              0.50      250.00      B210
          10/6/2023            KN       Research on checks; boat issues, accounting                                                              5.00    2,000.00      B210
          10/8/2023             HK      Updated FSS Sales Reconciliation for 5 weeks                                                             2.00    1,000.00      B210
          10/9/2023            KN       Professional fees; childcare issues; accounting issues                                                   4.50    1,800.00      B210
         10/10/2023             BS      Other income review - outstanding tax issues for tax accountant                                          1.10      550.00      B210
         10/10/2023             HK      Reviewed FSS forecast & budget                                                                           1.50      750.00      B210
         10/10/2023            KN       Household bills to split; accounting                                                                     4.50    1,800.00      B210
         10/11/2023             BS      Non working travel                                                                                       3.00      750.00      B195
         10/11/2023            KN       Household invoice reconciliation; accounting; MOR setup                                                  3.50    1,400.00      B210
                                        On site FSS office - operations; meeting with FSS employees, CRO; A. Jones; financial statement
        10/12/2023              BS      support; budget update                                                                                  6.00      3,000.00     B210
        10/12/2023              BS      Open tax issues to complete A. Jones 2022 tax return                                                    1.20        600.00     B240
        10/12/2023             KN       Accounting; reconciliations, Professional fees;                                                         4.00      1,600.00     B210
        10/13/2023              BS      On site FSS office - operations; meeting with A. Jones; professional fee recap; budget review           2.40      1,200.00     B210
        10/13/2023              BS      Non working travel                                                                                      3.00        750.00     B195
        10/13/2023              HK      Updated FSS Sales Reconciliation & added book sales to spreadsheet                                      1.50        750.00     B210
        10/13/2023             KN       Reconciliations; review sales entries                                                                   3.50      1,400.00     B210
        10/14/2023              BS      Cash flow - GivesendGo update; disbursement review; financial statement review                          1.70        850.00     B210
        10/16/2023              BS      Tax return review and analysis                                                                          1.50        750.00     B240
        10/16/2023              BS      Cash management; accounts payable review; budget update                                                 2.00      1,000.00     B210
        10/16/2023              BS      MOR/financial review                                                                                    0.80        400.00     B110
        10/16/2023             KN       Boat issue; childcare time sheets;Oct accounting,                                                       2.50      1,000.00     B210
        10/16/2023             KN       Sept MOR                                                                                                2.00        800.00     B110
        10/17/2023             KN       Budget; invoice collection;                                                                             2.00        800.00     B210
        10/17/2023             KN       Revised MOR - Sept                                                                                      1.50        600.00     B110
                                        Calls w V. Driver & A. & E. Jones - disbursements; budget; budget updates (1.3); correspondence - E.
        10/18/2023              BS      Jones re expenses (.3)                                                                                  1.60        800.00     B210
        10/18/2023              BS      Calls/mails re Lake Property sale - prospective brokers                                                 0.60        300.00     B120
        10/18/2023              BS      Correspondence - R. Kennerly re GiveSendGo contributions; follow up on 2022 tax returns                 0.50        250.00     B240
        10/18/2023              BS      Liquidation - storage units - call with appraiser; liquidators                                          0.30        150.00     B120
        10/19/2023              BS      Discussion w V. Driver re MOR changes and schedule adjustments; revise per SOFA changes                 0.50        250.00     B110
        10/19/2023              HK      Updated FSS Sales Reconciliation                                                                        0.70        350.00     B210
        10/19/2023             KN       Bank accounts; discussions with D Jones; Homepay issues; review bills to be paid                        2.50      1,000.00     B210
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                        Re:        Alexander E. Jones, Debtor In Possession                 Case No. 22-33553

Billing Period:                    October 1 through October 31, 2023
Invoice No.                        AJ1001-23
         10/20/2023           BS   Review/finalize MOR                                                                                     0.80          400.00   B110
         10/20/2023           KN   Oct accounting                                                                                          3.50        1,400.00   B210
         10/22/2023           BS   Professional fee recap                                                                                  1.10          550.00   B110
         10/23/2023           BS   Non working travel                                                                                      3.00          750.00   B195
         10/23/2023           BS   On site - meetings w FSS; A. Jones - operations; cash flow; accounting                                  4.50        2,250.00   B210
         10/23/2023           KN   October accounting;                                                                                     2.00          800.00   B210
         10/23/2023           KN   Revised amended SOFA                                                                                    1.50          600.00   B110
         10/24/2023           BS   On site - meetings w FSS; A. Jones - operations; cash flow; accounting                                  5.50        2,750.00   B210
         10/24/2023           BS   Meet with RE brokers re Ranch and Lake properties; follow up documentation requests                     2.30        1,150.00   B210
         10/24/2023           BS   Non working travel                                                                                      3.00          750.00   B195
         10/24/2023           HK   Updated FSS Sales Reconciliation                                                                        0.70          350.00   B210
         10/24/2023           HK   Reconciling payment received from book sales with Jeff                                                  0.40          200.00   B210
         10/24/2023           KN   Review amended SOFA- update transfers to insiders;                                                      2.50        1,000.00   B110
         10/25/2023           KN   Bank transfers; October accounting                                                                      4.00        1,600.00   B210
         10/26/2023           BS   Respond to Teneo questions                                                                              0.50          250.00   B110
         10/26/2023           BS   Cash management; follow up with Crowder re sales; Platinum sales                                        0.80          400.00   B210
         10/26/2023           KN   Bill payment; invoice entry; accounting; reconciliations                                                2.50        1,000.00   B210
         10/27/2023           BS   Cash management; follow up sales; forecast                                                              1.50          750.00   B210
         10/27/2023           BS   Correspondence re real estate listings                                                                  0.60          300.00   B210
         10/30/2023           BS   Non working travel                                                                                      3.00          750.00   B195
         10/30/2023           KN   Invoices; issues with lawn care, nanny payroll, banking, accounting                                     3.50        1,400.00   B210
         10/31/2023           BS   On site - meetings w FSS; A. Jones - operations; cash flow; accounting; meeting w E Jones re budget     4.20        2,100.00   B210
         10/31/2023           BS   Meet broker at Lake House                                                                               1.70          850.00   B120
         10/31/2023           KN   Meeting in Austin w/ AEJ, Erika re household expenses; lake house sale; plan                            5.00        2,000.00   B210

                                                                                                                                         151.60       64,050.00

                                                 Total hours for Robert Schleizer (BS)                                                    64.80   $ 28,650.00
                                                 Total hours for Harold Kessler (HK)                                                       6.80      3,400.00
                                                 Total hours for Kathy Norderhaug (KN)                                                    80.00     32,000.00
                                                                                                                                         151.60   $ 64,050.00
                                    Other Expenses

                                    Expenses
                                       From attached expense breakdown                                                                            $    2,842.91

                                                Total Invoice Amount                                                                              $ 66,892.91

                                   BlackBriar Advisors LLC
                                   2626 Cole Ave., Suite 300
                                   Dallas, TX 75204
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Alex E. Jones
Billing Period:               October 1 through October 31, 2023
Invoice:                      AJ1001‐23

   Date       Airfare/Train       Mileage           Meals          Auto         Hotel         Other          Total

     1‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
     2‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
     3‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
     4‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
     5‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
     6‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
     7‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
     8‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
     9‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   10‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   11‐Oct            790.80                 ‐            ‐              ‐             ‐            ‐             790.80
   12‐Oct               ‐                   ‐          17.81            ‐             ‐            ‐              17.81
   13‐Oct               ‐                   ‐          22.00          20.00           ‐          18.00            60.00
   14‐Oct               ‐                   ‐            ‐              ‐             ‐          42.69            42.69
   15‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   16‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   17‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   18‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   19‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   20‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   21‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   22‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   23‐Oct         #REF!                     ‐            ‐              ‐             ‐            ‐             790.80
   24‐Oct            790.80                 ‐            ‐              ‐             ‐          16.00            16.00
   25‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   26‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   27‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   28‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   29‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   30‐Oct            681.80                 ‐          29.00            ‐          358.02          ‐           1,068.82
   31‐Oct               ‐                   ‐          55.99            ‐             ‐            ‐              55.99
Total             #REF!     $               ‐   $     124.80 $        20.00 $      358.02 $      76.69   $     2,842.91
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November 30, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                           Re:          Alexander E. Jones, Debtor In Possession                   Case No. 22-33553

Billing Period:                         November 1 through November 30, 2023
Invoice No.                             AJ1101-23
Professional Services
Rendered:
             Date          Professional Calls/emails with prospective real estate brokers;
                                                                                      Description
                                                                                           discussions with counsel re: sales process and      Hours     Amount      Task Code
        11/1/2023               BS      order                                                                                                   1.60        800.00     B130
        11/1/2023                BS     Accounting/financial statement issues                                                                   0.40        200.00     B210
        11/1/2023                BS     Tax issues - 2023 estimate/issues; calls/emails - R. Kennerly                                           0.20        100.00     B240
        11/1/2023                BS     Work on income forecast for plan; emails/calls with V. Driver                                           1.10        550.00     B320
        11/1/2023                KN     Accounting; household issues; reconciliations                                                           3.00 $    1,200.00     B210
        11/2/2023                KN     Bank reconciliations; month end accounting                                                              2.50      1,000.00     B210
        11/3/2023                BS     Forecast update for 408 meeting; review FSS forecast ; pre call w Akin et al                            2.40      1,200.00     B190
        11/3/2023                HK     Updated FSS Sales Reconciliation                                                                        0.80        400.00     B210
        11/6/2023                BS     Research Ranch property for broker; title; restrictions; water/mineral rights                           0.70        350.00     B120
        11/6/2023                BS     Meeting with BlackBriar & attorney - case issues                                                        3.50      1,750.00     B110
        11/6/2023                BS     Update forecast for settlement negotiations; calls emails w V. Driver                                   0.80        400.00     B190
        11/6/2023                BS     Operations - sales research-Crowder; accounting issues                                                  0.50        250.00     B210
        11/6/2023                HK     Meeting with BlackBriar & attorney - case issues                                                        3.50      1,750.00     B110
        11/7/2023                BS     Deposition preparation - review AEJ depo; review documents                                              3.20      1,600.00     B190
        11/7/2023                KN     October Accounting; MOR; Household issues                                                               2.50      1,000.00     B210
        11/8/2023                BS     Deposition preparation - review AEJ depo; review documents                                              1.70        850.00     B190
        11/8/2023                BS     Attend teleconference with UCC attorneys; V. Driver; FSS and PQPR counsel                               2.90      1,450.00     B190
        11/8/2023                BS     Professional fee forecast and recap                                                                     0.80        400.00     B210
        11/8/2023                KN     Update MOR; reconciliations                                                                             3.00      1,200.00     B110
        11/9/2023                BS     Deposition preparation - review AEJ depo; review documents                                              2.00      1,000.00     B190
        11/9/2023                BS     Review revise SOFA and amended schedules                                                                1.90        950.00     B110
         11/9/2023               KN     Bank statements grouping                                                                                3.00      1,200.00     B210
        11/10/2023               BS     Review revise SOFA and amended schedules                                                                0.50        250.00     B110
        11/10/2023               BS     Fee statement preparation/review                                                                        2.90      1,450.00     B160
        11/10/2023               BS     Sales order review                                                                                      0.50        250.00     B210
        11/10/2023               BS     Call with A. Jones - forecast; plan status; cash position                                               0.50        250.00     B210
        11/10/2023               BS     Meeting with Counsel & K. Norderhaug regarding SOFA; case admin and scheduling                          2.60      1,300.00     B110
        11/10/2023               HK     Updated FSS Sales Reconciliation                                                                        0.80        400.00     B210
        11/10/2023               KN     Meeting with Vickie and Bob regarding SOFA; case admin and scheduling                                   2.60      1,040.00     B110
        11/11/2023               BS     Review revise SOFA and amended schedules                                                                0.50        250.00     B110
        11/11/2023               BS     Insider payments - Descendant trust                                                                     1.30        650.00     B110
        11/13/2023               BS     Meeting w counsel; B. Roe meeting; Deposition preparation                                               2.50      1,250.00     B110
        11/13/2023               BS     Insider payments - Descendant trust; correspondence w counsel                                           1.30        650.00     B110
                                        Operations- Cash flow; sales - calls emails with FSS; meet w K. Norderhaug - banking, expenses, cash
        11/13/2023               BS     flow                                                                                                    2.40      1,200.00     B210
        11/13/2023               BS     Accounting - update professional fees; review disbursements                                             1.50        750.00     B210
        11/13/2023               BS     Call w P. Story - IRS re claim                                                                          0.60        300.00     B240
        11/13/2023               KN     Household issues, invoices, update MOR; follow-up re boats; professional fees                           2.50      1,000.00     B210
        11/14/2023               BS     Real Estate - Ranch Property listing agreement                                                          0.40        200.00     B130
        11/14/2023               BS     Fee statement preparation/review                                                                        0.30        150.00     B160
        11/14/2023               BS     Non-working travel                                                                                      5.00      1,250.00     B195
        11/14/2023               BS     Onsite - operations; meet w FSS; sales; accounting, forecast; bank issues                               4.20      2,100.00     B210
        11/14/2023               BS     Tax issues - domestic pay                                                                               2.00      1,000.00     B240
        11/14/2023               KN     Property tax issue; Petty cash issue; accounting; boat issue;                                           3.50      1,400.00     B210
        11/15/2023               BS     Review revise SOFA and amended schedules                                                                0.60        300.00     B110
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                        Re:        Alexander E. Jones, Debtor In Possession              Case No. 22-33553

Billing Period:                    November 1 through November 30, 2023
Invoice No.                        AJ1101-23
         11/15/2023           BS   Accounting - disbursements; cash management                                              0.30        150.00    B210
         11/15/2023           BS   IRS tax claim; domestic payroll                                                          1.10        550.00    B240
         11/16/2023           BS   Review revise SOFA and amended schedules                                                 0.50        250.00    B110
         11/16/2023           BS   Review/revise counter offer to plaintiffs                                                0.80        400.00    B190
         11/16/2023           BS   Operations - sales review; call FSS                                                      0.30        150.00    B210
         11/17/2023           HK   Updated FSS Sales Reconciliation                                                         0.80        400.00    B210
         11/17/2023           KN   Household issues; reconciliations                                                        2.50      1,000.00    B110
         11/17/2023           KN   Update MOR; bank accounts for UST                                                        1.00        400.00    B110
         11/19/2023           BS   Review revise SOFA and amended schedules                                                 0.50        250.00    B110
         11/19/2023           BS   Review revise SOFA and amended schedules w A. Jones                                      0.70        350.00    B110
         11/19/2023           BS   Real Estate - Ranch Property listing agreement                                           0.50        250.00    B130
         11/19/2023           BS   Real Estate -Lake house listing agreement                                                0.60        300.00    B130
         11/20/2023           BS   Review revise SOFA and amended schedules - trusts                                        0.50        250.00    B110
         11/20/2023           BS   MOR review/revisions                                                                     0.20        100.00    B110
         11/20/2023           BS   Plan preparation, call w counsel; liquidation analysis; forecast                         2.20      1,100.00    B320
         11/20/2023           HK   Conversations with appraiser Re: fire arms value & disposal                              0.30        150.00    B130
         11/20/2023           KN   Update MOR to remove trusts; book sales                                                  3.00      1,200.00    B110
         11/21/2023           BS   Review revise SOFA and amended schedules - insider payments                              0.60        300.00    B110
         11/21/2023           BS   MOR review/revisions                                                                     0.20        100.00    B110
         11/21/2023           BS   Plan of reorganization; liquidation analysis                                             1.70        850.00    B320
         11/23/2023           KN   Payments on behalf of Condos                                                             4.50      1,800.00    B110
         11/24/2023           BS   Review revise SOFA and amended schedules; global notes                                   0.50        250.00    B110
         11/24/2023           KN   Update transfers to insiders; UST fee recon                                              2.50      1,000.00    B110
         11/26/2023           BS   Deposition preparation - review AEJ depo; review documents                               3.50      1,750.00    B190
         11/26/2023           BS   Non-working travel                                                                       3.00        750.00    B195
         11/26/2023           KN   Update Nov accounting; set up Nov MOR spreadsheet                                        2.50      1,000.00    B110
         11/27/2023           BS   Deposition preparation - review AEJ depo; review documents                               2.80      1,400.00    B190
         11/27/2023           BS   Work on descendant trust receivable. Call with trustee re past and upcoming payments     0.60        300.00    B110
         11/27/2023           BS   Meetings with counsel - hearing preparation and attendance                               4.50      2,250.00    B110
         11/27/2023           HK   Conversations with appraiser Re: fire arms value & disposal; updated spreadsheet         0.40        200.00    B130
         11/27/2023           KN   Vehicle values; cash disbursements Jan-Oct;                                              5.50      2,200.00    B320
         11/28/2023           BS   Deposition - preparation and attendance                                                  8.40      4,200.00    B190
         11/28/2023           BS   Real Estate -Lake house listing agreement                                                0.60        300.00    B130
         11/28/2023           BS   Non-working travel                                                                       3.00        750.00    B195
         11/28/2023           KN   payroll; household invoices; discussion with Erika                                       2.00        800.00    B210
         11/29/2023           HK   Updated FSS Sales Reconciliation                                                         0.80        400.00    B210
         11/29/2023           KN   November accounting; sales entries; PayPal statements                                    4.00      1,600.00    B210
         11/30/2023           KN   Bank reconciliations; payables;                                                          2.50      1,000.00    B210
                                                                                                                          150.90   $ 67,440.00

                                                Total hours for Robert Schleizer (BS)                                      90.90   $ 42,700.00
                                                Total hours for Harold Kessler (HK)                                         7.40      3,700.00
                                                Total hours for Kathy Norderhaug (KN)                                      52.60     21,040.00
                                                                                                                          150.90   $ 67,440.00
                                    Other Expenses

                                    Expenses
                                       From attached expense breakdown                                                             $   2,319.31

                                                Total Invoice Amount                                                               $ 69,759.31

                                   BlackBriar Advisors LLC
                                   2626 Cole Ave., Suite 300
                                   Dallas, TX 75204
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Alex E. Jones
Billing Period:               November 1 through November 30, 2023
Invoice:                      AJ1101‐23

   Date       Airfare/Train      Mileage         Meals          Auto            Hotel           Other          Total

    1‐Nov            258.00             ‐            67.76           258.29             ‐          64.05           648.10
    2‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
    3‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
    4‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
    5‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
    6‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
    7‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
    8‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
    9‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   10‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   11‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   12‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   13‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   14‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   15‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   16‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   17‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   18‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   19‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   20‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   21‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   22‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   23‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   24‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   25‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   26‐Nov            770.20          627.10            ‐                ‐               ‐            ‐           1,397.30
   27‐Nov               ‐               ‐           181.00              ‐               ‐          92.91           273.91
   28‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   29‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   30‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
    1‐Dec               ‐               ‐              ‐                ‐               ‐            ‐                ‐
Total     $        1,028.20 $        627.10 $       248.76 $         258.29 $           ‐   $     156.96   $     2,319.31
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )      CASE NO. 22-33553
                                                           )
                    DEBTOR.                                )      (CHAPTER 11)
                                                           )
                                                           )      JUDGE CHRISTOPHER M. LOPEZ

     SUMMARY COVER SHEET TO THE SECOND INTERIM FEE APPLICATION OF
    BLACKBRIAR ADVISORS, LLC AS FINANCIAL ADVISOR TO THE DEBTOR FOR
        THE FEE PERIOD FROM MAY 16, 2023 THROUGH NOVEMBER 30, 2023

    Name of Applicant:                                  BlackBriar Advisors, LLC
    Applicant’s Role in Case:           Financial Advisor to Debtor
    Docket No. of Employment Docket No. 112
    Order(s):
    Interim Application (X) No. 2       Second Interim
    Final Application ( )
                                           Beginning of Period               End of Period
    Time period covered by this         05/16/2023                   11/30/2023
    Interim Fee Application for
    which interim compensation has
    not previously been awarded:
    Were the services provided necessary to the administration of or beneficial at the time rendered
    toward the completion of the case? Yes
    Were the services performed in a reasonable amount of time commensurate with the complexity,
    importance and nature of the issues addressed? Yes
    Is the requested compensation reasonable based on the customary compensation charged by
    comparably skilled practitioners in other non-bankruptcy cases? Yes
    Do expense reimbursements represent actual and necessary expenses incurred? Yes
    Total fees requested in this Application: $423,905.00
    Total expense reimbursements requested in this Application: $20,216.85
    Total professional hours covered by this Application: 1,012.55
    Average hourly rate for professionals: $418.65
    Total fees and expenses requested in this Application: $444,121.85
    Total fees and expenses awarded in all prior Application: $813,793.861




1
 The total amount of fees and expenses awarded during the Fee Period is $248,986.63 which is 80% of the fees and
100% of the expenses requested in the Fifth - Eighth Monthly Fee Statements. As of the date of this filing, the objection
deadline for the Ninth Monthly Fee Statement has not passed.

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Plan Status: Debtor filed its chapter 11 plan of reorganization on December 15, 2023.
Primary Benefits: During the Fee Period, BlackBriar advised the client on various financial
matters, assisting with the drafting and filing of schedules and statements of financial affairs, as
well as monthly operating reports. BlackBriar also assisted Debtor in creating budgets and
reviewing expenses and business operations. BlackBriar has developed projections and provided
financial analysis for plan preparation. BlackBriar has provided financial oversight and analysis
and advice to Debtor throughout the case including monitoring and procuring revenue from
multiple sources. BlackBriar has also initiated the process to sell non-exempt assets through
various third parties subject to the sales order approved on December 7, 2023.




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           If you object to the relief requested, you must respond in writing.
           Unless otherwise directed by the Court, you must file your response
           electronically at https://ecf.txsb.uscourts.gov/ within twenty-one days
           from the date this motion was filed. If you do not have electronic filing
           privileges, you must file a written objection that is actually received
           by the clerk within twenty-one days from the date this application was
           filed. Otherwise, the Court may treat the pleading as unopposed and
           grant the relief requested.

       BlackBriar Advisors, LLC (“BlackBriar”), financial advisor to the debtor and debtor-in-

possession Alexander E. Jones (“Jones” or “Debtor”), hereby submits its Second Interim Fee

Application for Allowance and Payment of Fees and Expenses as Financial Advisor to the Debtor

for the Period From May 16, 2023 Through November 30, 2023 (the “Application”) for interim

allowance of (a) compensation in the amount of $423,905.00 for professional services BlackBriar

rendered to the Debtor from May 16, 2023 through November 30, 2023 (the “Fee Period”) and (b)

reimbursement of actual and necessary expenses in the amount of $20,216.85 that BlackBriar

incurred during the Fee Period.

                  Itemization of Services Rendered and Expenses Incurred

   1. In support of this Application, BlackBriar attaches the following exhibits:

      EXHIBIT                                      DESCRIPTION

          A.            Notice of BlackBriar Advisors LLC’s Fifth Monthly Fee Statement for
                        Compensation of Services Rendered and Reimbursement of Expenses as
                        Financial Advisor to the Debtor for the Period from May 16, 2023
                        Through May 31, 2022 [Docket No. 430]
          B.            Notice of BlackBriar Advisors LLC’s Sixth Monthly Fee Statement for
                        Compensation of Services Rendered and Reimbursement of Expenses
                        as Financial Advisor to the Debtor for the Period from June 1, 2023
                        Through June 30, 2023 [Docket No. 431]
          C.            Notice of BlackBriar Advisors LLC’s Seventh Monthly Fee Statement
                        for Compensation of Services Rendered and Reimbursement of
                        Expenses as Financial Advisor to the Debtor for the Period from July 1,
                        2023 Through August 31, 2023 [Docket No. 442]
          D.            Notice of BlackBriar Advisors, LLC’s Eighth Monthly Fee Statement
                        for Compensation of Services Rendered and Reimbursement of


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                         Expenses as Financial Advisor to the Debtor for the Period from
                         September 1, 2023 Through September 30, 2023 [Docket No. 487]
           E.            Notice of BlackBriar Advisors LLC’s Ninth Monthly Fee Statement for
                         Compensation of Services Rendered and Reimbursement of Expenses as
                         Financial Advisor to the Debtor for the Period from October 1, 2023
                         Through November 30, 2023 [Docket No. 522]

   2. Although every effort has been made to include all fees and expenses incurred during the

Fee Period, some fees and expenses might not be included in this Application due to delays caused

by accounting and processing during the Fee Period. BlackBriar reserves the right to make further

application to this Court for allowance of such fees and expenses not included herein. Subsequent

fee applications will be filed in accordance with title 11 of the United States Code, the Federal

Rules of Bankruptcy Procedure, the Bankruptcy Local Rules for the Southern District of Texas,

and the Interim Compensation Order.

   3. BlackBriar requests that this Court enter an order (a) granting interim allowance of

compensation for professional services rendered by BlackBriar during the Fee Period in the

amount of $423,905.00, (b) granting reimbursement of actual and necessary expenses incurred by

BlackBriar during the Fee Period in the amount of $20,216.85, (c) authorizing and directing the

Debtor to pay the fees and expenses to BlackBriar as requested, less any fees and expenses

previously paid pursuant to the Interim Compensation Order, for the Fee Period, and (d) granting

such other and further relief as is just and proper.




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Houston, TX
Dated: December 15, 2023

                                           BLACKBRIAR ADVISORS, LLC

                                           By: /s/ Bob Schleizer
                                           Bob Schleizer
                                           2626 Cole Ave., Suite 300
                                           Dallas, TX 75201
                                           Telephone: 214-599-8600
                                           Email: bschleizer@blackbriaradvisors.com


                                           FINANCIAL ADVISORS FOR DEBTOR
                                           ALEXANDER E. JONES




SECOND INTERIM FEE APPLICATION OF BLACKBRIAR ADVISORS, LLC. – Page 5
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                               CERTIFICATE OF SERVICE

I certify that on December 15, 2023, a true and correct copy of the foregoing pleading was served
upon the parties listed on the attached service list via the Court’s ECF system and pursuant to
Local Rule 9003-1, via e mail or U.S. mail as follows:

              a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

              b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

              c.      Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

              d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

              e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

              f.      Any other parties that the Court may designate.


                                             /s/ Christina W. Stephenson
                                                 Christina W. Stephenson




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                                EXHIBIT “A”
                           Fifth Monthly Fee Statement




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

      FIFTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
          ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
          FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
                     MAY 16, 2023 THROUGH MAY 31, 2023

    Name of Applicant:             BlackBriar Advisors, LLC
    Applicant’s Role in Case:      Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                       Beginning of Period            End of Period
    Time Period Covered in         05//16/2023                05//31/2023
    Statement:
                         Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $38,225.001
                                                              (80% of $30,580.00)
    Total Reimbursable Expenses Requested in this Statement: $1,899.372
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $38,225.00
    Total Actual Professional Hours Covered by this 91.10
    Statement:
    Average Hourly Rate for Professionals:                    $419.59

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.


1
  BlackBriar is holding $0.00 as a retainer in its Trust Account.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
FIFTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC – Page 1
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Fifth Monthly Fee Statement of BlackBriar Advisors, LLC.

for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for the

Period from May 16, 2023 through May 30, 2023 (the “Monthly Fee Statement”).

                                    RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $30,580.00 (80% of 38,225.00) as compensation for

professional services rendered to the Debtor during the period from May 16, 2023 through May

31, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in the amount

of $1,899.37, for a total amount of $32,479.37 to be paid upon expiration of the objection deadline

barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Fees by Category as

Financial Advisor for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as

Financial Advisor for the Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),




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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

       5.      Therefore, BlackBriar respectfully submits support for its fees in the amount of

$38,225.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $1,899.37 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $30,580.00

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: August 31, 2023

                                                      BLACKBRIAR ADVISORS, LLC

                                                      By: /s/ Robert Schleizer
                                                      Robert Schleizer
                                                      2626 Cole Ave., Suite 300
                                                      Dallas, TX 75201
                                                      Telephone: 214-599-8600
                                                      Email: bschleizer@blackbriaradvisors.com


                                                      FINANCIAL ADVISORS FOR DEBTOR
                                                      ALEXANDER E. JONES




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                               CERTIFICATE OF SERVICE

I certify that on August 31, 2023, a true and correct copy of the foregoing pleading was served
upon the parties listed on the attached service list via the Court’s ECF system and pursuant to
Local Rule 9003-1, via e mail or U.S. mail as follows:

              a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                     Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                     sjordan@jhwclaw.com)

              b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                     United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                     ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

              c.     Proposed Counsel to the Official Committee of Unsecured
                     Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                     New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                     Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                     dzensky@akingump.com, mbrimmage@akingump.com,
                     sbrauner@akingump.com, melanie.miller@akingump.com

              d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                     PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                     Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                     Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                     York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                     kkimpler@paulweiss.com,
                     msalvucci@paulweiss.com)

              e.     Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                     Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                     Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                     Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                     1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                     Jarrod.Martin@chamberlainlaw.com)

              f.     Any other parties that the Court may designate.


                                            /s/ Christina W. Stephenson
                                                Christina W. Stephenson




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                                 EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                         EXPENSE                                    TOTAL
Airfare/Train                                                        $706.60
Mileage                                                                12.32
Meals                                                                 177.29
Auto                                                                  223.21
Hotel                                                                 909.90
Other                                                                  28.00




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                                   EXHIBIT “B”
              SUMMARY OF FEES AND EXPENSES BY CATEGORY
                         FOR THE FEE PERIOD
            CATEGORIES                             PROFESSIONAL
                                                       TIME
            B110 Case Administration                   27.80
            B120 Asset Analysis and Recovery            1.60
            B130 Asset Disposition                      0.00
            B140 Relief from Stay/Adequate
            Protection                                   0.00
            B150 Meetings of & Communications
            with Creditors                               0.20
            B160 Fee/Employment Applications             1.20
            B170 Fee/Employment Objections               2.20
            B180 Avoidance Action Analysis               0.00
            B185 Assumption/Rejection of
            Executory Contracts                           0.00
            B190 Other Contested Matters                  0.00
            B195 Non-Working Travel                      14.40
            B210 Business Operations                     43.00
            B220 Employee Benefits/Pensions               0.00
            B230 Financing/Cash Collections               0.00
            B240 Tax Issues                               0.70
            B250 Real Estate                              0.00
            B260 Board of Directors Matters               0.00
            B310 Claims Administration and
            Objections                                   0.00
            B320 Plan and Disclosure Statement           0.00
            B410 General Bankruptcy
            Advice/Opinions                               0.00
            B420 Restructurings                           0.00
            TOTALS:                                      91.10




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                                 EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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May 31, 2022

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                        Re:          Alexander E. Jones, Debtor In Possession                Case No. 22‐33553

Billing Period:                      May 16 through May 31, 2023
Invoice No.                          AJ0502‐23
Professional Services
Rendered:
          Date          Professional                                           Description                                        Hours   Amount       Task Code
       5/16/2023             BS      Non‐working travel                                                                             3.00 $ 750.00        B195
       5/16/2023             BS      MOR                                                                                            1.20     600.00      B110
       5/16/2023             HK      Non‐working travel                                                                             3.00 $ 750.00        B195
       5/16/2023             HK      At FSS office ‐ operations; employment contract. Meet w A.Jones                                4.50   2,250.00      B210
       5/16/2023            KN       Accounting issues; financials                                                                  2.00     800.00      B210
       5/16/2023            KN       MOR                                                                                            2.00     800.00      B110
       5/17/2023             BS      Non‐working travel ‐ Drive to Houston                                                          2.40 $ 600.00        B195
                                     At FSS office ‐ meet w A. Jones; operations; staff issues; platinum inventory replacement,
      5/17/2023              BS      cash flow; accounts payable                                                                   6.40     3,200.00     B210
      5/17/2023              BS      Research ‐ Youngevity, recap historical payments; review contract terms; book contract        1.20       600.00     B120
      5/17/2023              HK      At FSS office ‐ meet w A. Jones; operations                                                   6.80     3,400.00     B210
                                     Operations ‐ meeting with FSS CRO; A. Jones; BlackBriar revenue forecast; plan update for
      5/17/2023              HK      FSS; operations constraints                                                                   1.30     650.00       B210
      5/17/2023              HK      Non‐working travel                                                                            3.00 $ 750.00         B195
      5/17/2023             KN       Accounting issues; monthly financials                                                         6.50   2,600.00       B210
      5/18/2023              BS      Give send go recovery; follow up w Ortiz office                                               0.40     200.00       B120
      5/18/2023              BS      Digital Mt. data recovery;MOR                                                                 2.00   1,000.00       B110
      5/18/2023              BS      T: R. Kennerly ‐ tax issues; notice from IRS; email re refund                                 0.30     150.00       B240
      5/18/2023              BS      Emails ‐ UCC atty response to budget                                                          0.20     100.00       B150
      5/18/2023              HK      Worked on sales reconciliation & month end entries for April                                  2.10   1,050.00       B210
      5/18/2023             KN       Revenue entries; QB; MOR                                                                      7.00   2,800.00       B110
      5/19/2023              BS      Review expenses w K. Norderhaug; follow up                                                    0.60     300.00       B210
      5/19/2023              BS      Attend status conference‐ AEJ;FSS; follow on meetings w CRO; counsel;                         2.50   1,250.00       B110
      5/19/2023              BS      Non‐working travel                                                                            3.00     750.00       B195
      5/19/2023              HK      Status Conference Hearing                                                                     1.10     550.00       B210
      5/19/2023             KN       Discussions with D Jones; Sarah re invoices; May accounting; Review B.Schleizer               4.00   1,600.00       B110
      5/22/2023              BS      MOR review and finalize for filing                                                            1.10     550.00       B110
      5/22/2023             KN       MOR; accounting                                                                               4.50   1,800.00       B110
      5/23/2023             KN       Accounting; invoices‐ boat issues                                                             4.00   1,600.00       B210
      5/24/2023              BS      Book contract analysis; review commission due AEJ                                             0.70     350.00       B210
      5/24/2023              BS      Tax issues; EIN research; outstanding entity filing                                           0.40     200.00       B240
      5/24/2023              BS      Teneo fee analysis; BBA fee analysis                                                          2.20   1,100.00       B170
      5/24/2023              HK      Updated FSS Sales Reconciliation                                                              0.75     375.00       B210
      5/24/2023             KN       MOR; accounting; review                                                                       3.50   1,400.00       B110
      5/25/2023              BS      Update call with CRO ‐ FSS re sales; inventory; ESG settlement; operations                    0.70     350.00       B210
      5/25/2023              HK      Update call with CRO ‐ FSS re sales; inventory; ESG settlement; operations                    0.70     350.00       B210
      5/26/2023              BS      Fee app                                                                                       1.20     600.00       B160
      5/26/2023              BS      Cryto agreement;                                                                              0.50     250.00       B210
      5/31/2023              BS      FSS/AEJ platinum product sales agreement review; call ‐ P. Magill                             0.80     400.00       B210
      5/31/2023             KN       Update accounting; discussion with HomePay, D Jones, L Muniz                                  3.50   1,400.00       B210
                                                                                                                                  91.05 $38,225.00

                                                  Total hours for Robert Schleizer (BS)                                           30.80   $13,300.00
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                      Re:     Alexander E. Jones, Debtor In Possession            Case No. 22‐33553

Billing Period:               May 16 through May 31, 2023
Invoice No.                   AJ0502‐23
                                          Total hours for Harold Kessler (HK)                         23.25    10,125.00
                                          Total hours for Kathy Norderhaug (KN)                       37.00    14,800.00
                                                                                                      91.05   $38,225.00
                               Expenses
                                  From attached expense breakdown                                             $ 1,899.37
                                         Total Invoice Amount                                                 $40,124.37



                              BlackBriar Advisors LLC
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                              Dallas, TX 75204
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Alex E. Jones
Billing Period:               May 16 through May 31, 2023
Invoice:                      AJ0502‐23

   Date       Airfare/Train      Mileage         Meals         Auto         Hotel         Other          Total

    1‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
    2‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
    3‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
    4‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
    5‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
    6‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
    7‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
    8‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
    9‐May               ‐                ‐             ‐            ‐             ‐            ‐                ‐
  10‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  11‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  12‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  13‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  14‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  15‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  16‐May             129.00             6.16           ‐          15.80        157.95          ‐             150.96
  17‐May             577.60             6.16         35.29          ‐          353.90          ‐             972.95
  18‐May                ‐                ‐          142.00          ‐             ‐          28.00           170.00
  19‐May                ‐                ‐             ‐         207.41        398.05          ‐             605.46
  20‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  21‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  22‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  23‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  24‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  25‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  26‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  27‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  28‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  29‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  30‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
  31‐May                ‐                ‐             ‐            ‐             ‐            ‐                ‐
Total     $          706.60 $          12.32 $      177.29 $     223.21 $      909.90 $      28.00   $     1,899.37
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                                EXHIBIT “B”
                          Sixth Monthly Fee Statement




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

      SIXTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
          ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
          FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
                     JUNE 1, 2023 THROUGH JUNE 30, 2023

    Name of Applicant:         BlackBriar Advisors, LLC
    Applicant’s Role in Case:  Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                    Beginning of Period             End of Period
    Time Period Covered in     06/01/2023                    06/30/2023
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $44,480.001
                                                              (80% of $55,600.00)
    Total Reimbursable Expenses Requested in this Statement: $2,147.752
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $55,600.00
    Total Actual Professional Hours Covered by this 140.05
    Statement:
    Average Hourly Rate for Professionals:                    $397.00

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.

1
  BlackBriar is holding $0.00 as a retainer in its Trust Account.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Sixth Monthly Fee Statement of BlackBriar Advisors, LLC.

for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for the

Period from June 1, 2023 through June 30, 2023 (the “Monthly Fee Statement”).

                                   RELIEF REQUESTED

       1.     By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $44,480.00 (80% of $55,600.00) as compensation for

professional services rendered to the Debtor during the period from June 1, 2023 through June 30,

2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in the amount of

$2,147.75, for a total amount of $46,627.75 to be paid upon expiration of the objection deadline

barring any objections, pursuant to the Interim Compensation Order.

       2.     In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Fees by Category as

Financial Advisor for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as

Financial Advisor for the Fee Period, attached hereto as Exhibit C.

       3.     Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),



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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

       5.      Therefore, BlackBriar respectfully submits support for its fees in the amount of

$55,575.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $2,147.75 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $46,627.75

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: August 31, 2023

                                                      BLACKBRIAR ADVISORS, LLC

                                                      By: /s/ Robert Schleizer
                                                      Robert Schleizer
                                                      2626 Cole Ave., Suite 300
                                                      Dallas, TX 75201
                                                      Telephone: 214-599-8600
                                                      Email: bschleizer@blackbriaradvisors.com


                                                      FINANCIAL ADVISORS FOR DEBTOR
                                                      ALEXANDER E. JONES




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                                CERTIFICATE OF SERVICE

I certify that on March 31, 2023, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                              /s/ Christina W. Stephenson
                                                  Christina W. Stephenson




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                                 EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                         EXPENSE                                    TOTAL
Airfare/Train                                                        $1,155.20
Mileage                                                                12.32
Meals                                                                 206.16
Auto                                                                   15.80
Hotel                                                                 445.77
Other                                                                 312.50




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                                   EXHIBIT “B”
              SUMMARY OF FEES AND EXPENSES BY CATEGORY
                         FOR THE FEE PERIOD
            CATEGORIES                             PROFESSIONAL
                                                       TIME
            B110 Case Administration                   34.10
            B120 Asset Analysis and Recovery            1.20
            B130 Asset Disposition                      0.00
            B140 Relief from Stay/Adequate
            Protection                                   0.00
            B150 Meetings of & Communications
            with Creditors                               0.00
            B160 Fee/Employment Applications             0.00
            B170 Fee/Employment Objections               2.50
            B180 Avoidance Action Analysis               0.00
            B185 Assumption/Rejection of
            Executory Contracts                           0.00
            B190 Other Contested Matters                  0.00
            B195 Non-Working Travel                      18.00
            B210 Business Operations                     77.60
            B220 Employee Benefits/Pensions                .60
            B230 Financing/Cash Collections               0.00
            B240 Tax Issues                               3.50
            B250 Real Estate                              0.00
            B260 Board of Directors Matters               0.00
            B310 Claims Administration and
            Objections                                   0.00
            B320 Plan and Disclosure Statement           2.60
            B410 General Bankruptcy
            Advice/Opinions                              0.00
            B420 Restructurings                          0.00
            TOTALS:                                     140.10




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                                 EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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June 30, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                                Re:          Alexander E. Jones, Debtor In Possession                  Case No. 22‐33553

Billing Period:                              June 1 through June 30, 2023
Invoice No.                                  AJ0601‐23
Professional Services
Rendered:
             Date               Professional                                        Description                                      Hours    Amount      Task Code
           6/1/2023                 HK       Updated FSS Sales Reconciliation                                                          0.80      400.00     B210
           6/1/2023                 HK       Status update call with FSS CRO                                                           0.80      400.00     B210
           6/1/2023                 KN       Match invoices to bank activity                                                           2.50    1,000.00     B210
           6/5/2023                  BS      Counter proposal review and revisions to UCC offer                                        1.00      500.00     B320
           6/5/2023                 HK       Reviewed & sent comments regarding certain aspects of plan                                0.80      400.00     B320
           6/5/2023                 KN       Update accounting; bank statements                                                        4.00    1,600.00     B210
                                             Correspondence with counsel re Employment contract proposal re additional
          6/6/2023                   BS      compensation                                                                              0.60     300.00      B220
          6/6/2023                   BS      Teneo fee app review and objections                                                       2.50   1,250.00      B170
          6/6/2023                  KN       May accounting; accruals; meet with Bob; issues with invoices                             5.50   2,200.00      B210
          6/7/2023                   BS      Non‐working travel                                                                        3.00     750.00      B195
          6/7/2023                   BS      Plan review FSS and AEJ counter proposal tax issues;                                      0.80     200.00      B240
          6/7/2023                   BS      Review AEJ affidavit ‐ re Texas plaintiffs; discuss w AEJ                                 0.50     125.00      B110
          6/7/2023                   BS      On site ‐ operations; discussion with AEJ; review payables                                3.40     850.00      B210
          6/7/2023                   BS      Non‐working travel                                                                        3.00     750.00      B195
          6/7/2023                  KN       May bank reconciliations; invoices                                                        4.50   1,800.00      B210
          6/8/2023                   BS      ESG Hearing Emergency Motion for Protective Order                                         0.70     350.00      B110
          6/8/2023                   BS      On site ‐ operations; discussion with AEJ; review payables                                2.00     500.00      B210
          6/8/2023                   BS      Research Youngevity; email demand                                                         1.20     300.00      B120
                                             Research unresolved tax issues; other income; travel expenses; call R. Kennerly; POA
         6/8/2023                    BS      for Kennerly for additional research.                                                     0.90     225.00      B240
         6/8/2023                   HK       Updated FSS Sales Reconciliation                                                          0.80     400.00      B210
         6/8/2023                   HK       ESG Hearing Emergency Motion for Protective Order                                         0.70     350.00      B110
         6/8/2023                   HK       Reviewed counter Plan Proposal                                                            0.80     400.00      B320
         6/8/2023                   KN       Cash Flow; financials                                                                     4.50   1,800.00      B210
         6/9/2023                    BS      Update exempt assets and schedules for settlement offer to creditors                      0.90     450.00      B210
         6/9/2023                   KN       May MOR; Cash Flow                                                                        6.00   2,400.00      B110
         6/11/2023                   BS      Update professional fees for MOR                                                          0.70     350.00      B110
         6/12/2023                   BS      Research and call w N. Allred; R. Kennerly re: settlement structure tax issues            0.60     300.00      B240
         6/12/2023                  KN       MOR                                                                                       6.00   2,400.00      B110
         6/13/2023                   BS      Non‐working travel                                                                        3.00     750.00      B195
         6/13/2023                   BS      BBA call ‐ FSS/Platinum sales reconciliation; review ESG contract; calculate reserves     1.10     550.00      B210
         6/13/2023                   BS      BBA call ‐ FSS/Platinum sales reconciliation                                              0.50     250.00      B210
         6/13/2023                   BS      IRS proof of claim research; tax id no. issues re: FSS payroll and claim                  0.80     400.00      B240
         6/13/2023                  HK       Call with BlackBriar to go over sales reconciliation for MOR                              0.70     350.00      B210
         6/13/2023                  KN       MOR; AR reconciliation                                                                    4.50   1,800.00      B210
         6/14/2023                   BS      Additional POA's related entities to access tax records                                   0.40     200.00      B240
                                             Onsite ‐ Operations and accounting; employment contract; open issues ‐ ESG,
         6/14/2023                   BS      Crypto; follow up Youngevity;                                                             6.50   3,250.00      B210
         6/14/2023                   BS      Non‐working travel                                                                        3.00     750.00      B195
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                            Re:        Alexander E. Jones, Debtor In Possession                 Case No. 22‐33553

Billing Period:                        June 1 through June 30, 2023
Invoice No.                            AJ0601‐23
           6/14/2023              HK   Call with BlackBriar to go over sales reconciliation & AR owed AEJ                       0.50       250.00   B210
           6/15/2023              BS   Domestic pay issues and policies; accounting and payables                                1.20       600.00   B210
           6/15/2023              BS   Provide missing bank information for counsel for UCC                                     0.50       250.00   B110
           6/15/2023              HK   Updated FSS Sales Reconciliation                                                         0.70       350.00   B210
           6/15/2023              KN   June accounting, revenue reconciliation ‐ product sales and other income                 4.00     1,600.00   B210
           6/16/2023              KN   MOR , finalize sales recon                                                               2.00       800.00   B210
           6/20/2023              KN   Budget; Accounting; Financials                                                           4.50     1,800.00   B210
                                       Review SOFA schedules; revise and prepare support ‐ call with counsel; calculate AEJ
         6/21/2023                BS   admin claim                                                                              2.90     1,450.00   B110
         6/21/2023                BS   Call w Teneo re: fee app                                                                 0.40       200.00   B110
         6/21/2023                KN   SOFA Recon, budget, accounting                                                           6.50     2,600.00   B110
         6/22/2023                BS   Meeting w P. Magill re operations; follow up sales and plan budget; insurance review     2.20     1,100.00   B210
         6/23/2023                BS   Follow up‐ insurance analysis                                                            0.50       250.00   B210
         6/23/2023                KN   Budget                                                                                   4.00     1,600.00   B210
         6/24/2023                KN   Budget                                                                                   3.50     1,400.00   B210
         6/25/2023                KN   QB accounting                                                                            2.50     1,000.00   B210
         6/26/2023                HK   Updated FSS Sales Reconciliation                                                         0.70       350.00   B210
         6/26/2023                KN   Accounting; discussion with Leslie                                                       3.50     1,400.00   B210
         6/27/2023                KN   Review SOFA' review invoices and charges to bank                                         2.50     1,000.00   B110
         6/28/2023                BS   Non‐working travel                                                                       3.00       750.00   B195
         6/28/2023                KN   Review SOFA; accounting                                                                  3.50     1,400.00   B110
         6/29/2023                BS   Attend Status conference; follow on meetings ‐ Houston                                   2.50     1,250.00   B110
         6/29/2023                BS   ESG/FSS analysis                                                                         0.60       300.00   B210
         6/29/2023                BS   Non‐working travel                                                                       3.00       750.00   B195
         6/29/2023                HK   Updated FSS Sales Reconciliation                                                         0.70       350.00   B210
         6/29/2023                HK   In Person or Remote Final Cash Collateral Hearing                                        0.70       350.00   B110
         6/29/2023                KN   Update accounting; review entries                                                        3.50     1,400.00   B210
                                                                                                                              140.10   $55,600.00

                                                     Total hours for Robert Schleizer (BS)                                     53.90   $20,250.00
                                                     Total hours for Harold Kessler (HK)                                        8.70     4,350.00
                                                     Total hours for Kathy Norderhaug (KN)                                     77.50    31,000.00
                                                                                                                              140.10   $55,600.00
                                        Other Expenses




                                        Expenses
                                           From attached expense breakdown                                                             $ 2,147.75
                                                  Total Invoice Amount                                                                 $57,747.75



                                       BlackBriar Advisors LLC
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Alex E. Jones
Billing Period:                 June 1 through June 30, 2023
Invoice:                        AJ0601‐23

   Date         Airfare/Train       Mileage          Meals         Auto         Hotel         Other          Total

     1‐Jun             129.00             6.16             ‐          15.80           ‐            ‐             150.96
     2‐Jun             129.00             6.16           35.29          ‐          157.95          ‐             328.40
     3‐Jun                ‐                ‐               ‐            ‐             ‐            ‐                ‐
     4‐Jun                ‐                ‐               ‐            ‐             ‐            ‐                ‐
     5‐Jun                ‐                ‐               ‐            ‐             ‐            ‐                ‐
     6‐Jun                ‐                ‐               ‐            ‐             ‐            ‐                ‐
     7‐Jun             448.60              ‐               ‐            ‐          148.59          ‐             597.19
     8‐Jun                ‐                ‐             76.00          ‐             ‐         100.00           176.00
     9‐Jun                ‐                ‐               ‐            ‐             ‐          42.70            42.70
   10‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   11‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   12‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   13‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   14‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   15‐Jun                 ‐                ‐             65.00          ‐          139.23        55.00           259.23
   16‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   17‐Jun              448.60              ‐               ‐            ‐             ‐            ‐             448.60
   18‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   19‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   20‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   21‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   22‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   23‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   24‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   25‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   26‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   27‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   28‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
   29‐Jun                 ‐                ‐             29.87          ‐             ‐         114.80           144.67
   30‐Jun                 ‐                ‐               ‐            ‐             ‐            ‐                ‐
      1‐Jul               ‐                ‐               ‐            ‐             ‐            ‐                ‐
Total       $        1,155.20 $          12.32 $        206.16 $      15.80 $      445.77 $     312.50   $     2,147.75
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                                EXHIBIT “C”

                         Seventh Monthly Fee Statement




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

    SEVENTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
         ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
         FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
                   JULY 1, 2023 THROUGH AUGUST 31, 2023

    Name of Applicant:         BlackBriar Advisors, LLC
    Applicant’s Role in Case:  Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                    Beginning of Period             End of Period
    Time Period Covered in     07/01/2023                    08/31/2023
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $107,680.001
                                                              (80% of $134,600.00)
    Total Reimbursable Expenses Requested in this Statement: $8,534.842
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $134,600
    Total Actual Professional Hours Covered by this 327.90
    Statement:
    Average Hourly Rate for Professionals:                    $410.49

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.

1
  BlackBriar is holding $0.00 as a retainer in its Trust Account.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Seventh Monthly Fee Statement of BlackBriar/ Advisors,

LLC. for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor

for the Period from July 1, 2023 through August 31, 2023 (the “Monthly Fee Statement”).

                                     RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $107,680.00 (80% of $134,600.00) as compensation for

professional services rendered to the Debtor during the period from July 1, 2023 through August

31, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in the amount

of $8,534.84, for a total amount of $116,214.84 to be paid upon expiration of the objection deadline

barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Fees by Category as

Financial Advisor for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as

Financial Advisor for the Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),



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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

       5.      Therefore, BlackBriar respectfully submits support for its fees in the amount of

$134,600.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $8,534.84 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $116,214.84

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: September 15, 2023

                                                      BLACKBRIAR ADVISORS, LLC

                                                      By: /s/ Robert Schleizer
                                                      Robert Schleizer
                                                      2626 Cole Ave., Suite 300
                                                      Dallas, TX 75201
                                                      Telephone: 214-599-8600
                                                      Email: bschleizer@blackbriaradvisors.com


                                                      FINANCIAL ADVISORS FOR DEBTOR
                                                      ALEXANDER E. JONES




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                                CERTIFICATE OF SERVICE

I certify that on September 15, 2023, a true and correct copy of the foregoing pleading was served
upon the parties listed on the attached service list via the Court’s ECF system and pursuant to
Local Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                             /s/ Christina W. Stephenson
                                                 Christina W. Stephenson




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                                 EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                         EXPENSE                                    TOTAL
Airfare/Train                                                        $5,710.71
Mileage                                                               485.77
Meals                                                                 983.03
Auto                                                                  439.82
Hotel                                                                 843.51
Other                                                                  72.00




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                                   EXHIBIT “B”
              SUMMARY OF FEES AND EXPENSES BY CATEGORY
                         FOR THE FEE PERIOD
            CATEGORIES                             PROFESSIONAL
                                                       TIME
            B110 Case Administration                    31.6
            B120 Asset Analysis and Recovery             5.2
            B130 Asset Disposition                      0.00
            B140 Relief from Stay/Adequate
            Protection                                   0.00
            B150 Meetings of & Communications
            with Creditors                               0.00
            B160 Fee/Employment Applications              3,5
            B170 Fee/Employment Objections               0.00
            B180 Avoidance Action Analysis               0.00
            B185 Assumption/Rejection of
            Executory Contracts                           0.00
            B190 Other Contested Matters                  0.00
            B195 Non-Working Travel                      50.00
            B210 Business Operations                    234.10
            B220 Employee Benefits/Pensions               0.00
            B230 Financing/Cash Collections               0.00
            B240 Tax Issues                               3.50
            B250 Real Estate                              0.00
            B260 Board of Directors Matters               0.00
            B310 Claims Administration and
            Objections                                   0.00
            B320 Plan and Disclosure Statement           0.00
            B410 General Bankruptcy
            Advice/Opinions                              0.00
            B420 Restructurings                          0.00
            TOTALS:                                     327.90




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                                 EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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July 31, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                          Re:           Alexander E. Jones, Debtor In Possession                 Case No. 22‐33553

Billing Period:                         July 1 through July 31, 2023
Invoice No.                             AJ0701‐23
Professional Services
Rendered:
            Date           Professional                                               Description                                             Hours    Amount       Task Code
          7/3/2023             KN       Reconcile bank accounts                                                                                 5.00 $  2,000.00      B210
          7/4/2023             KN       Property Tax Accrual; June Financials                                                                   3.00    1,200.00      B210
          7/5/2023             KN       June ‐ Cash account reconciliations; financial review                                                   5.00    2,000.00      B210
          7/5/2023              BS      June Financials; Accounting issues                                                                      0.70      350.00      B210
          7/6/2023             KN       June Accounting; issues regarding invoices                                                              6.00    2,400.00      B210
          7/7/2023             HK       Updated FSS Sales Reconciliation                                                                        0.70      350.00      B210
          7/7/2023             KN       June Accounting                                                                                         7.00    2,800.00      B210
          7/7/2023              BS      Operational issues and cash flow; ESG reconciliation review and responses; domestic help hours          2.20    1,100.00      B210
         7/10/2023             KN       Update July accounting                                                                                  3.50    1,400.00      B210
         7/10/2023              BS      Professional fee analysis and accrual                                                                   1.00      500.00      B210
         7/11/2023             KN       Update July accounting                                                                                  2.50    1,000.00      B210
         7/12/2023             HK       Internal discussions FSS settlement reconciliations & calculating AR                                    0.80      400.00      B210
         7/12/2023              BS      Operational issues and cash flow; ESG reconciliation; calls with counsel                                1.10      550.00      B210
         7/13/2023             HK       Call with FSS to discuss AR reconciliation                                                              0.20      100.00      B210
         7/13/2023              BS      Meeting ‐‐ FSS re ESG reconciliation;                                                                   0.50      250.00      B210
         7/13/2023             HK       Review ESG data; call re outstanding information;                                                       1.50      750.00      B210
         7/18/2023             KN       July accounting                                                                                         3.50    1,400.00      B210
                                        ESG reconciliation; mails to counsel; FSS; professional fee recap; communication Security Bank/ FSS
        7/18/2023               BS      re motorhome                                                                                           3.00      1,500.00     B210
        7/19/2023              HK       Review UCC Response to Jones Proposal                                                                  0.50        250.00     B210
        7/19/2023              KN       Update June MOR                                                                                        4.00      1,600.00     B110
        7/19/2023               BS      Review MOR; corrections                                                                                0.60        300.00     B110
        7/19/2023               BS      Operations; bitcoin reconciliation; cash and product sales update                                      0.80        400.00     B210
        7/20/2023              HK       Updated FSS Sales Reconciliation                                                                       0.70        350.00     B210
        7/20/2023              KN       Update June MOR‐ professional fees                                                                     3.50      1,400.00     B110
        7/20/2023               BS      Banking issues; domestic help schedule/hours                                                           0.70        350.00     B210
        7/21/2023              KN       Review MOR; corrections                                                                                3.50      1,400.00     B210
        7/21/2023               BS      Review MOR; corrections                                                                                0.40        200.00     B110
        7/23/2023              KN       Transfers to Erika ‐ re; attorney request                                                              2.50      1,000.00     B110
        7/24/2023              KN       Update accounting                                                                                      3.50      1,400.00     B210
        7/25/2023              HK       Non‐working travel                                                                                     3.00        750.00     B195
        7/25/2023              HK       At FSS office; operations meetings; meeting with CRO‐ FSS; meeting with AEJ;                           8.00      4,000.00     B210
        7/25/2023               BS      Call with E. Jones counsel re: transfers                                                               0.90        450.00     B110
        7/25/2023              KN       Meet in Austin; review transfers and budget                                                            5.10      2,040.00     B210
        7/25/2023              KN       Call with E. Jones counsel re: transfers                                                               0.90        360.00     B110
        7/25/2023              KN       Non‐working travel                                                                                     3.00        600.00     B195
        7/25/2023               BS      Non‐working travel                                                                                     3.00        750.00     B195
        7/25/2023               BS      At FSS office; operations meetings; meeting with CRO‐ FSS; meeting with AEJ                            5.20      2,600.00     B210
        7/26/2023              HK       At FSS office; operations meetings;                                                                    4.00      2,000.00     B210
        7/26/2023              HK       Non‐working travel                                                                                     3.00        750.00     B195
        7/26/2023              KN       Austin; review accounting; pending items                                                               6.00      2,400.00     B210
        7/26/2023              KN       Non‐working travel                                                                                     3.00        600.00     B195
        7/26/2023               BS      At FSS office; operations meetings;                                                                    4.60      2,300.00     B210
        7/26/2023               BS      TWC tax issues ‐ coordinate with FSS; Call to TWC (.8)                                                 0.80        400.00     B240
        7/26/2023               BS      Non‐working travel ‐ to Houston                                                                        2.00        500.00     B195
        7/27/2023              HK       FSS Cont'd Cash Collateral Hearing                                                                     0.50        250.00     B110
        7/27/2023              KN       Update accounting                                                                                      4.00      1,600.00     B210
        7/27/2023              HK       Attend Cash Collateral Hearing; follow on meetings with counsel re: settlement; ESG                    3.10      1,550.00     B110
        7/27/2023               BS      Non‐working travel                                                                                     3.00        750.00     B195
        7/28/2023              HK       Updated FSS Sales Reconciliation                                                                       1.70        850.00     B210
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                       Re:        Alexander E. Jones, Debtor In Possession             Case No. 22‐33553

Billing Period:                   July 1 through July 31, 2023
Invoice No.                       AJ0701‐23
         7/28/2023           KN   Update accounting                                                          4.00      1,600.00    B210
         7/28/2023           BS   Review revise May & June fee app                                           3.50      1,750.00    B160
         7/30/2023           KN   Update accounting                                                          2.50      1,000.00    B210
         7/31/2023           KN   Reconcile Bank Accounts; accruals                                          5.00      2,000.00    B210
                                                                                                           147.70   $ 60,550.00

                                               Total hours for Robert Schleizer (BS)                        34.00   $ 15,000.00
                                               Total hours for Harold Kessler (HK)                          27.70     12,350.00
                                               Total hours for Kathy Norderhaug (KN)                        86.00     33,200.00
                                                                                                           147.70   $ 60,550.00
                                   Other Expenses

                                   Expenses
                                      From attached expense breakdown                                               $   1,728.43

                                               Total Invoice Amount                                                 $ 62,278.43

                                  BlackBriar Advisors LLC
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                                  Dallas, TX 75204
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Alex E. Jones
Billing Period:                 July 1 through July 31, 2023
Invoice:                        AJ0701‐23

   Date         Airfare/Train       Mileage           Meals         Auto         Hotel         Other          Total

      1‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
      2‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
      3‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
      4‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
      5‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
      6‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
      7‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
      8‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
      9‐Jul               ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    10‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    11‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    12‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    13‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    14‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    15‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    16‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    17‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    18‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    19‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    20‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    21‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    22‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    23‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    24‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    25‐Jul             567.40              6.16          260.48        16.26           ‐            ‐             850.30
    26‐Jul             129.00              6.16          211.08        45.36        321.78          ‐             713.38
    27‐Jul                ‐                 ‐            129.53        11.22           ‐          24.00           164.75
    28‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    29‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    30‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
    31‐Jul                ‐                 ‐               ‐            ‐             ‐            ‐                ‐
Total       $          696.40 $           12.32 $        601.09 $      72.84 $      321.78 $      24.00   $     1,728.43
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August 31, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                           Re:          Alexander E. Jones, Debtor In Possession                  Case No. 22-33553

Billing Period:                         August 1 through August 31, 2023
Invoice No.                             AJ0801-23
Professional Services
Rendered:
             Date          Professional                                                Description                                            Hours    Amount       Task Code
          8/1/2023             KN       Update July accounting                                                                                  5.50 $  2,200.00      B210
          8/2/2023              BS      Non-working travel                                                                                      3.00      750.00      B195
          8/2/2023             KN       Update July accounting; review transactions for Trustee                                                 7.00    2,800.00      B210
                                        On-site - meetings with A.Jones and FSS CRO - operational issues 3.0; accounting and operational
         8/3/2023               BS      issues, cash flow, contract review (personal services) (4.2)                                           7.20      3,600.00     B210
         8/3/2023               BS      Call with A. Jones and TWC domestic                                                                    0.60        300.00     B240
         8/3/2023               BS      Non-working travel                                                                                     3.00        750.00     B195
         8/3/2023               HK      Reviewed emails regarding Wednesday's meeting with FSS, FSS CRO, AEJ & BlackBriar                      0.50        250.00     B210
         8/3/2023              KN       Budget comparison; July accounting; review invoices; begin MOR                                         7.00      2,800.00     B210
         8/7/2023               BS      Personnel issues - Domestic staff; emails; calls re: transfer of responsibility                        2.30      1,150.00     B210
         8/7/2023               HK      Updated FSS Sales Reconciliation for week of 07/30/23                                                  0.70        350.00     B210
         8/7/2023               HK      Reviewed Teneo April fee application                                                                   0.30        150.00     B210
         8/7/2023               HK      Status Conference                                                                                      0.30        150.00     B110
         8/7/2023              KN       July Accounting; budget comparison                                                                     7.00      2,800.00     B210
         8/8/2023               BS      Responses to Teneo questions                                                                           2.90      1,450.00     B110
         8/8/2023               HK      Reviewed response to Teneo                                                                             0.50        250.00     B110
         8/8/2023              KN       July accounting, budget, get supporting invoices                                                       6.50      2,600.00     B210
         8/9/2023               BS      Property tax exemption denial, call with E. Jones and appraisal district; Conversation with counsel    0.70        350.00     B110
         8/9/2023               BS      Responses to Teneo questions revisions                                                                 0.30        150.00     B110
         8/9/2023               BS      Non-working travel                                                                                     3.00        750.00     B195
         8/9/2023               HK      Conversation with counsel and B. Schleizer - open issues                                               0.40        200.00     B210
         8/9/2023              KN       July accounting issues;                                                                                7.00      2,800.00     B210
        8/10/2023               BS      On-site - meetings with A.Jones and FSS CRO - operational issues and accounting issues, cash flow      6.50      3,250.00     B210
        8/10/2023               BS      Non-working travel                                                                                     3.00        750.00     B195
        8/10/2023               HK      Conversation with Attorney & BlackBriar                                                                0.30        150.00     B210
        8/10/2023              KN       Budget comparison; accounting issues                                                                   3.50      1,400.00     B210
        8/10/2023              KN       July MOR                                                                                               1.50        600.00     B110
        8/11/2023               HK      Reviewed MOR                                                                                           0.50        250.00     B210
        8/11/2023              KN       Budget; boat issues                                                                                    4.50      1,800.00     B210
        8/14/2023               BS      Non-working travel                                                                                     3.00        750.00     B195
        8/14/2023              KN       Accounting issues; invoice support' homepay issues                                                     7.00      2,800.00     B210
        8/15/2023               BS      In Houston; meetings with counsel; attend hearing; follow on meetings with counsel                     5.70      2,850.00     B110
        8/15/2023               BS      Non-working travel                                                                                     3.00        750.00     B195
        8/15/2023               HK      Attend hearing                                                                                         3.30      1,650.00     B110
        8/15/2023              KN       August accounting; invoices,                                                                           4.00      1,600.00     B210
        8/16/2023               BS      Conference call with FSS, counsel and tax professionals                                                1.20        600.00     B240
        8/16/2023              KN       Discussions with boat broker; accounting, budget                                                       4.50      1,800.00     B210
                                        Conference call with tax professionals follow up to call with FSS re: deductibility of settlement
        8/17/2023               BS      payments                                                                                               0.90        450.00     B240
        8/17/2023               HK      Updated FSS Sales Reconciliation                                                                       0.70        350.00     B210
        8/17/2023              KN       MOR revisions                                                                                          0.70        280.00     B210
        8/17/2023              KN       Homepay, invoices, budget                                                                              2.80      1,120.00     B210
        8/18/2023               HK      Call with counsel admin claim                                                                          0.60        300.00     B120
        8/18/2023               HK      Call with counsel admin claim; follow up analysis                                                      1.60        800.00     B120
        8/18/2023              KN       Accounting, review entries, invoices                                                                   3.50      1,400.00     B210
        8/21/2023               BS      Accounting; cash flow                                                                                  0.60        300.00     B120
        8/21/2023               BS      Admin claim analysis - wages; recovery timing                                                          0.90        450.00     B120
        8/21/2023              KN       Accounting issues; invoice support' homepay issues                                                     4.50      1,800.00     B210
        8/22/2023               BS      Call with counsel, Crowder rep re: COO sourcing; bitcoin/Coinbase residual balances                    0.70        350.00     B210
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                        Re:        Alexander E. Jones, Debtor In Possession                Case No. 22-33553

Billing Period:                    August 1 through August 31, 2023
Invoice No.                        AJ0801-23
          8/22/2023           KN   Accounting issues; budget; invoices                                                4.50      1,800.00    B210
          8/23/2023           BS   Non-working travel                                                                 3.00        750.00    B195
          8/23/2023           BS   On-site - meetings with A.Jones and FSS CRO - operational issues: COO sourcing     6.70      3,350.00    B210
          8/23/2023           HK   Non-working travel                                                                 3.00        750.00    B195
          8/23/2023           HK   On-site - meetings with A.Jones and FSS CRO - operational issues                   8.00      4,000.00    B210
          8/23/2023           KN   Accounting issues; budget; invoices                                                4.50      1,800.00    B210
          8/24/2023           HK   On-site at FSS; Operational issues                                                 2.00      1,000.00    B210
          8/24/2023           HK   Non-working travel                                                                 3.00        750.00    B195
          8/24/2023           HK   Updated FSS Sales Reconciliation                                                   0.70        350.00    B210
          8/25/2023           HK   Reviewed FSS spreadsheet for ESG Sales Analysis as of Aug 13, 2023                 0.30        150.00    B210
          8/25/2023           HK   Reviewed ESG's analysis                                                            1.00        500.00    B210
          8/29/2023           BS   ESG conference call re: disagreement on claim                                      1.00        500.00    B210
          8/29/2023           HK   Review ESG's calculations in conference call                                       1.00        500.00    B210
          8/30/2023           BS   GiveSendGo account analysis and set up new account;                                1.50        750.00    B120
          8/31/2023           HK   2004 Examination - David Jones                                                     2.30      1,150.00    B210
          8/31/2023           HK   Non-working travel                                                                 3.00        750.00    B195
                                                                                                                    180.20   $ 74,050.00

                                                 Total hours for Robert Schleizer (BS)                               60.70   $ 25,100.00
                                                 Total hours for Harold Kessler (HK)                                 34.00     14,750.00
                                                 Total hours for Kathy Norderhaug (KN)                               85.50     34,200.00
                                                                                                                    180.20   $ 74,050.00
                                    Other Expenses

                                    Expenses
                                       From attached expense breakdown                                                       $   6,806.41

                                                Total Invoice Amount                                                         $ 80,856.41

                                   BlackBriar Advisors LLC
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                                   Dallas, TX 75204
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Alex E. Jones
Billing Period:               August 1 through August 31, 2023
Invoice:                      AJ0801‐23

   Date       Airfare/Train       Mileage         Meals          Auto         Hotel         Other          Total

    1‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
    2‐Aug          1,627.00           188.87            ‐             ‐             ‐            ‐           1,815.87
    3‐Aug            409.40              ‐            35.00         36.05           ‐          16.00           496.45
    4‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
    5‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
    6‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
    7‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
    8‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
    9‐Aug            783.81              ‐            13.56           ‐             ‐            ‐             797.37
   10‐Aug               ‐             129.87          70.00         60.00           ‐          16.00           275.87
   11‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   12‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   13‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   14‐Aug            638.40              ‐              ‐             ‐             ‐            ‐             638.40
   15‐Aug            188.90              ‐              ‐           43.00        129.53          ‐             361.43
   16‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   17‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   18‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   19‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   20‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   21‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   22‐Aug            710.80           142.39            ‐           22.00           ‐            ‐             875.19
   23‐Aug            134.00             6.16          53.87         65.84           ‐          16.00           275.87
   24‐Aug            134.00             6.16            ‐           29.84        208.26          ‐             378.26
   25‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   26‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   27‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   28‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   29‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   30‐Aug               ‐                ‐              ‐             ‐             ‐            ‐                ‐
   31‐Aug            388.00              ‐           209.51        110.25        183.94          ‐             891.70
Total     $        5,014.31 $         473.45 $       381.94 $      366.98 $      521.73 $      48.00   $     6,806.41
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                                EXHIBIT “D”

                          Eighth Monthly Fee Statement




SECOND INTERIM FEE APPLICATION OF BLACKBRIAR ADVISORS, LLC. – Page 10
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

    EIGHTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
        ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
         FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
              SEPTEMBER 1, 2023 THROUGH SEPTEMBER 30, 2023

    Name of Applicant:         BlackBriar Advisors, LLC
    Applicant’s Role in Case:  Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                    Beginning of Period             End of Period
    Time Period Covered in     09/01/2023                    09/30/2023
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $51,192.001
                                                              (80% of $63,990.00)
    Total Reimbursable Expenses Requested in this Statement: $2,472.672
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $63,990.00
    Total Actual Professional Hours Covered by this 151.00
    Statement:
    Average Hourly Rate for Professionals:                    $423.77

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.

1
  BlackBriar is holding $0.00 as a retainer in its Trust Account.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
EIGHTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC – Page 1
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Eighth Monthly Fee Statement of BlackBriar Advisors, LLC.

for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for the

Period from September 1, 2023 through September 30, 2023 (the “Monthly Fee Statement”).

                                   RELIEF REQUESTED

       1.     By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $51,192.00 (80% of $63,990.00) as compensation for

professional services rendered to the Debtor during the period from September 1, 2023 through

September 30, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in

the amount of $2,472.67, for a total amount of $53,664.67 to be paid upon expiration of the

objection deadline barring any objections, pursuant to the Interim Compensation Order.

       2.     In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Fees by Category as

Financial Advisor for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as

Financial Advisor for the Fee Period, attached hereto as Exhibit C.

       3.     Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),



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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Counsel to the Official Committee of Unsecured Creditors, Akin
                       Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                       10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                       Brauner and Melanie A. Miller; dzensky@akingump.com,
                       mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

       5.      Therefore, BlackBriar respectfully submits support for its fees in the amount of

$63,99000 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $2,472.67 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $53,664.67

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: November 15, 2023

                                                      BLACKBRIAR ADVISORS, LLC

                                                      By: /s/ Robert Schleizer
                                                      Robert Schleizer
                                                      2626 Cole Ave., Suite 300
                                                      Dallas, TX 75201
                                                      Telephone: 214-599-8600
                                                      Email: bschleizer@blackbriaradvisors.com


                                                      FINANCIAL ADVISORS FOR DEBTOR
                                                      ALEXANDER E. JONES




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                               CERTIFICATE OF SERVICE

I certify that on November 15, 2023, a true and correct copy of the foregoing pleading was served
upon the parties listed on the attached service list via the Court’s ECF system and pursuant to
Local Rule 9003-1, via e mail or U.S. mail as follows:

              a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

              b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

              c.      Counsel to the Official Committee of Unsecured Creditors, Akin
                      Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                      10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                      Brauner and Melanie A. Miller; dzensky@akingump.com,
                      mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

              d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

              e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

              f.      Any other parties that the Court may designate.


                                             /s/ Christina W. Stephenson
                                                 Christina W. Stephenson




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                                 EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                         EXPENSE                                    TOTAL
Airfare/Train                                                        $1,421.60
Mileage                                                                0.00
Meals                                                                 195.15
Auto                                                                   0.00
Hotel                                                                 602.41
Other                                                                 253.51




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                                   EXHIBIT “B”
              SUMMARY OF FEES AND EXPENSES BY CATEGORY
                         FOR THE FEE PERIOD
            CATEGORIES                             PROFESSIONAL
                                                       TIME
            B110 Case Administration                    15.2
            B120 Asset Analysis and Recovery             4.8
            B130 Asset Disposition                       2.5
            B140 Relief from Stay/Adequate
            Protection                                   0.00
            B150 Meetings of & Communications
            with Creditors                               0.00
            B160 Fee/Employment Applications              1.8
            B170 Fee/Employment Objections               0.00
            B180 Avoidance Action Analysis               0.00
            B185 Assumption/Rejection of
            Executory Contracts                           0.00
            B190 Other Contested Matters                  0.00
            B195 Non-Working Travel                        12
            B210 Business Operations                     101.8
            B220 Employee Benefits/Pensions               0.00
            B230 Financing/Cash Collections               0.00
            B240 Tax Issues                               12.9
            B250 Real Estate                              0.00
            B260 Board of Directors Matters               0.00
            B310 Claims Administration and
            Objections                                   0.00
            B320 Plan and Disclosure Statement           0.00
            B410 General Bankruptcy
            Advice/Opinions                              0.00
            B420 Restructurings                          0.00
            TOTALS:                                     151.00




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                                 EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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September 30, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                     Re:           Alexander E. Jones, Debtor In Possession                   Case No. 22-33553

Billing Period:                    September 1 through September 30, 2023
Invoice No.                        AJ0901-23
Professional
Services Rendered:
         Date        Professional                                      Description                                Hours    Amount      Task Code
       9/1/2023           BS      GiveSendGo analysis - teams call                                                  0.60      300.00     B210
       9/1/2023           BS      Call AEJ re: operations                                                           0.20      100.00     B210
       9/6/2023           BS      ESG reconciliation to FSS; with counsel, FSS                                      0.90      450.00     B210
       9/6/2023          KN       Update Aug Accounting                                                             6.00    2,400.00     B210
       9/7/2023           BS      Operations; sales review ; accounting updates                                     0.70      350.00     B210
       9/7/2023          HK       Update call with FSS CRO & BlackBriar                                             0.50      250.00     B210
       9/7/2023          KN       Bank Accounts; reconcile, update accounting                                       3.30    1,320.00     B210
       9/8/2023          HK       Updated FSS Sales Reconciliation for two weeks                                    1.40      700.00     B210
       9/8/2023          KN       Update Aug accounting; invoices                                                   2.80    1,120.00     B210
      9/11/2023           BS      UCC demands and requests;                                                         1.30      650.00     B110
      9/11/2023           BS      Fee app preparation                                                               1.80      900.00     B160
      9/11/2023           BS      Non-working travel                                                                3.00      750.00     B195
      9/11/2023           BS      Accounting issues, cash management, GiveSendGo                                    2.10    1,050.00     B210
      9/11/2023          KN       Financial Statements, accounting issues                                           5.00    2,000.00     B210
      9/12/2023           BS      AEJ deposition                                                                    4.50    2,250.00     B110
                                  On-site meetings w A. Jones, sales, accounting, cash management; tax
    9/12/2023             BS      support                                                                           3.70   1,850.00      B210
    9/13/2023             BS      AEJ deposition                                                                    3.80   1,900.00      B110
    9/13/2023             BS      Non-working travel                                                                3.00     750.00      B195
                                  On-site meetings w A. Jones, sales, accounting, cash management;
    9/13/2023             BS      subscription agreement; revenue; platinum analysis                                4.80   2,400.00      B210
    9/13/2023            KN       Accounting; bank statements                                                       4.00   1,600.00      B210
    9/13/2023            KN       Review Aug entries                                                                3.50   1,400.00      B210
                                  ESG Sales reconciliation .7; call J. Delassio - ESG .2; call email Crowder re
    9/14/2023             BS      subscriptions .2;                                                                 1.10     550.00      B210
    9/14/2023            KN       Aug and Sept accounting; gather support                                           5.00   2,000.00      B210
    9/15/2023             BS      Responses to UCC ROR                                                              0.30     150.00      B110
    9/15/2023             BS      Update Professional fee accruals .6;                                              0.60     300.00      B210
    9/15/2023            KN       Review all QB entries; gather support' MOR                                        7.50   3,000.00      B210
    9/16/2023            KN       Update MOR                                                                        2.00     800.00      B110
    9/17/2023            KN       Update Accounting; enter all payees; Update MOR                                   5.00   2,000.00      B210
    9/18/2023             BS      Additional revisions to UCC ROR response                                          0.50     250.00      B110
    9/18/2023             BS      Review MOR draft; revisions                                                       0.80     400.00      B110
    9/18/2023             BS      Accounting issues, cash management                                                1.30     650.00      B210
    9/18/2023             BS      ESG emails/Calls to finalize                                                      0.40     200.00      B210
    9/18/2023            KN       Update Accounting; enter all payees;                                              7.00   2,800.00      B210
    9/19/2023             BS      Review MOR draft; revisions                                                       0.50     250.00      B110
    9/19/2023             BS      Cash management; disbursements                                                    0.50     250.00      B110
    9/20/2023            KN       Review all invoices and support; update Dropbox                                   4.50   1,800.00      B210
    9/21/2023            KN       Review all disbursements and match invoice documentation                          7.50   3,000.00      B210
    9/22/2023             BS      Tax information - AEJ; meeting K. Norderhaug                                      0.90     450.00      B240
    9/22/2023            KN       QB analysis; FSS AMEX analysis; meet w. B. Schleizer                              5.50   2,200.00      B240
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                    Re:        Alexander E. Jones, Debtor In Possession                 Case No. 22-33553

Billing Period:                September 1 through September 30, 2023
Invoice No.                    AJ0901-23
      9/23/2023           KN   AMEX analysis - tax coding                                                     3.00     1,200.00   B240
      9/24/2023           KN   AMEX analysis - tax coding                                                     2.50     1,000.00   B240
      9/25/2023           BS   Tax information - AEJ; crypto basis                                            1.00       500.00   B240
      9/25/2023           KN   Accounting; reconciliation; tax analysis                                       4.30     1,720.00   B210
      9/26/2023           BS   Attend hearing - FSS & AEJ - via telephone                                     0.50       250.00   B110
      9/26/2023           BS   Accounting/ Financial statement adjustments                                    0.40       200.00   B210
      9/26/2023           HK   FSS Cash Collateral Hearing                                                    0.50       250.00   B110
      9/26/2023           KN   Accounting; reconciliation                                                     4.20     1,680.00   B210
      9/27/2023           BS   on-site - management meetings; financial statements; cash management           4.80     2,400.00   B120
      9/27/2023           BS   Non-working travel                                                             3.00       750.00   B195
      9/27/2023           KN   Accounting; reconciliation                                                     5.00     2,000.00   B210
      9/28/2023           BS   on-site - inspection of boats, meet with Marina (1.7); inspect lake house      2.50     1,250.00   B130
      9/28/2023           BS   Non-working travel                                                             3.00     1,500.00   B195
      9/28/2023           BS   Cash management - bank wires; meetings - operations on site                    3.50     1,750.00   B210
      9/28/2023           KN   Accounting; reconciliation                                                     5.00     2,000.00   B210

                                                                                                            151.00   $63,990.00

                                            Total hours for Robert Schleizer (BS)                            56.00   $25,750.00
                                            Total hours for Harold Kessler (HK)                               2.40     1,200.00
                                            Total hours for Kathy Norderhaug (KN)                            92.60    37,040.00
                                                                                                            151.00   $63,990.00
                                Expenses
                                   From attached expense breakdown                                                   $ 2,472.67
                                          Total Invoice Amount                                                       $66,462.67

                               BlackBriar Advisors LLC
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                               Dallas, TX 75204
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Alex E. Jones
Billing Period:               September 1 through September 30, 2023
Invoice:                      AJ0901-23

   Date       Airfare/Train       Mileage           Meals         Auto           Hotel         Other          Total

    1-Sep                -                  -            -               -             -            -                -
    2-Sep                -                  -            -               -             -            -                -
    3-Sep                -                  -            -               -             -            -                -
    4-Sep                -                  -            -               -             -            -                -
    5-Sep                -                  -            -               -             -            -                -
    6-Sep                -                  -            -               -             -            -                -
    7-Sep                -                  -            -               -             -            -                -
    8-Sep                -                  -            -               -             -            -                -
    9-Sep                -                  -            -               -             -            -                -
   10-Sep                -                  -            -               -             -            -                -
   11-Sep             710.80                -            -               -             -          23.00           733.80
   12-Sep                -                  -            -               -             -          22.14            22.14
   13-Sep                -                  -            -               -          393.12        52.26           445.38
   14-Sep                -                  -            -               -             -            -                -
   15-Sep                -                  -            -               -             -            -                -
   16-Sep                -                  -            -               -             -            -                -
   17-Sep                -                  -            -               -             -            -                -
   18-Sep                -                  -            -               -             -            -                -
   19-Sep                -                  -            -               -             -            -                -
   20-Sep                -                  -            -               -             -            -                -
   21-Sep                -                  -            -               -             -            -                -
   22-Sep                -                  -            -               -             -            -                -
   23-Sep                -                  -            -               -             -            -                -
   24-Sep                -                  -            -               -             -            -                -
   25-Sep                -                  -            -               -             -            -                -
   26-Sep                -                  -            -               -             -            -                -
   27-Sep             710.80                -         159.75             -          209.29        60.00         1,139.84
   28-Sep                -                  -          35.40             -             -          96.11           131.51
   29-Sep                -                  -            -               -             -            -                -
   30-Sep                -                  -            -               -             -            -                -
    1-Oct                -                  -            -               -             -            -                -
Total     $         1,421.60 $              -   $     195.15 $           -   $      602.41 $     253.51   $     2,472.67
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                                EXHIBIT “E”

                          Ninth Monthly Fee Statement




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

     NINTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
    ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS FINANCIAL
             ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
               OCTOBER 1, 2023 THROUGH NOVEMBER 30, 2023

    Name of Applicant:         BlackBriar Advisors, LLC
    Applicant’s Role in Case:  Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                    Beginning of Period             End of Period
    Time Period Covered in     10/01/2023                    11/30/2023
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $105,192.001
                                                              (80% of $131,490.00)
    Total Reimbursable Expenses Requested in this Statement: $5,162.222
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $131,490.00
    Total Actual Professional Hours Covered by this 302.50
    Statement:
    Average Hourly Rate for Professionals:                    $435.67

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.

1
  BlackBriar is holding $0.00 as a retainer in its Trust Account.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
NINTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC – Page 1
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Ninth Monthly Fee Statement of BlackBriar Advisors, LLC.

for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for the

Period from October 1, 2023 through November 30, 2023 (the “Monthly Fee Statement”).

                                   RELIEF REQUESTED

       1.     By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $105,192.00.00 (80% of $131,490.00) as compensation for

professional services rendered to the Debtor during the period from October 1, 2023 through

November 30, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in

the amount of $5,162.22, for a total amount of $110,354.22 to be paid upon expiration of the

objection deadline barring any objections, pursuant to the Interim Compensation Order.

       2.     In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Fees by Category as

Financial Advisor for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as

Financial Advisor for the Fee Period, attached hereto as Exhibit C.

       3.     Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),




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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Counsel to the Official Committee of Unsecured Creditors, Akin
                       Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                       10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                       Brauner and Melanie A. Miller; dzensky@akingump.com,
                       mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

       5.      Therefore, BlackBriar respectfully submits support for its fees in the amount of

$131,490.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $5,162.22 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $110,354.22

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: December 15, 2023

                                                      BLACKBRIAR ADVISORS, LLC

                                                      By: /s/ Robert Schleizer
                                                      Robert Schleizer
                                                      2626 Cole Ave., Suite 300
                                                      Dallas, TX 75201
                                                      Telephone: 214-599-8600
                                                      Email: bschleizer@blackbriaradvisors.com


                                                      FINANCIAL ADVISORS FOR DEBTOR
                                                      ALEXANDER E. JONES




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                               CERTIFICATE OF SERVICE

I certify that on December 15, 2023, a true and correct copy of the foregoing pleading was served
upon the parties listed on the attached service list via the Court’s ECF system and pursuant to
Local Rule 9003-1, via e mail or U.S. mail as follows:

              a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

              b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

              c.      Counsel to the Official Committee of Unsecured Creditors, Akin
                      Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                      10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                      Brauner and Melanie A. Miller; dzensky@akingump.com,
                      mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

              d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

              e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

              f.      Any other parties that the Court may designate.


                                             /s/ Christina W. Stephenson
                                                 Christina W. Stephenson




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                                EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                        EXPENSE                                    TOTAL
Airfare/Train                                                      $3,291.60
Mileage                                                             627.10
Meals                                                               373.56
Auto                                                                278.29
Hotel                                                               358.02
Other                                                               233.65




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                                  EXHIBIT “B”
             SUMMARY OF FEES AND EXPENSES BY CATEGORY
                        FOR THE FEE PERIOD
           CATEGORIES                            PROFESSIONAL
                                                     TIME
           B110 Case Administration                  70.80
           B120 Asset Analysis and Recovery           4.2
           B130 Asset Disposition                     4.4
           B140 Relief from Stay/Adequate
           Protection                                  0.00
           B150 Meetings of & Communications
           with Creditors                              0.00
           B160 Fee/Employment Applications             3.2
           B170 Fee/Employment Objections              0.00
           B180 Avoidance Action Analysis              0.00
           B185 Assumption/Rejection of
           Executory Contracts                          0.00
           B190 Other Contested Matters                 28.5
           B195 Non-Working Travel                     26.00
           B210 Business Operations                   147.40
           B220 Employee Benefits/Pensions              0.00
           B230 Financing/Cash Collections              0.00
           B240 Tax Issues                               7.5
           B250 Real Estate                             0.00
           B260 Board of Directors Matters              0.00
           B310 Claims Administration and
           Objections                                  0.00
           B320 Plan and Disclosure Statement          10.5
           B410 General Bankruptcy
           Advice/Opinions                              0.00
           B420 Restructurings                          0.00
           TOTALS:                                     302.5




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                                EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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October 31, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                           Re:          Alexander E. Jones, Debtor In Possession                 Case No. 22-33553

Billing Period:                         October 1 through October 31, 2023
Invoice No.                             AJ1001-23
Professional Services
Rendered:
             Date          Professional                                                Description                                             Hours    Amount       Task Code
          10/1/2023            KN       Bank reconciliations                                                                                     2.50 $  1,000.00      B210
          10/2/2023             BS      Banking (.3); Book sales (.5); crowder follow up(.2)                                                     1.00      500.00      B210
          10/2/2023             BS      Donations tax issues (.4);                                                                               0.40      200.00      B240
          10/2/2023            KN       Sept accounting; reconciliations                                                                         4.00    1,600.00      B210
          10/3/2023             BS      Cash management; sales                                                                                   0.50      250.00      B210
          10/3/2023             BS      Non- exempt asset analysis; prepare summary for Teneo                                                    0.60      300.00      B210
          10/3/2023            KN       MOR setup; discussion with Teneo; gather backup for Teneo;                                               3.50    1,400.00      B110
          10/3/2023            KN       Personnel/nanny issues                                                                                   1.00      400.00      B210
          10/4/2023             BS      Conference call - FSS Sub V trustee; counsel; follow up call                                             0.50      250.00      B110
          10/4/2023             BS      Asset sales - research current values - update asset list and exempt assets                              0.90      450.00      B120
          10/4/2023             BS      Recap outstanding operation issues for FSS meeting; call w counsel                                       0.40      200.00      B210
          10/4/2023             BS      Staffing firm interview and follow up for COO/Controller - Red Ballon                                    0.70      350.00      B210
          10/4/2023            KN       Asset listings; SOFA reconciliation, update; MOR                                                         4.00    1,600.00      B110
          10/5/2023             BS      Asset sales - research current values - update asset list and exempt assets                              0.60      300.00      B210
          10/5/2023            KN       Appraisals, MOR, SOFA updates                                                                            3.00    1,200.00      B110
          10/5/2023            KN       Accounting, nanny issues                                                                                 2.00      800.00      B210
          10/6/2023             BS      Asset sales - research current values - update asset list and exempt assets                              0.50      250.00      B210
          10/6/2023            KN       Research on checks; boat issues, accounting                                                              5.00    2,000.00      B210
          10/8/2023             HK      Updated FSS Sales Reconciliation for 5 weeks                                                             2.00    1,000.00      B210
          10/9/2023            KN       Professional fees; childcare issues; accounting issues                                                   4.50    1,800.00      B210
         10/10/2023             BS      Other income review - outstanding tax issues for tax accountant                                          1.10      550.00      B210
         10/10/2023             HK      Reviewed FSS forecast & budget                                                                           1.50      750.00      B210
         10/10/2023            KN       Household bills to split; accounting                                                                     4.50    1,800.00      B210
         10/11/2023             BS      Non working travel                                                                                       3.00      750.00      B195
         10/11/2023            KN       Household invoice reconciliation; accounting; MOR setup                                                  3.50    1,400.00      B210
                                        On site FSS office - operations; meeting with FSS employees, CRO; A. Jones; financial statement
        10/12/2023              BS      support; budget update                                                                                  6.00      3,000.00     B210
        10/12/2023              BS      Open tax issues to complete A. Jones 2022 tax return                                                    1.20        600.00     B240
        10/12/2023             KN       Accounting; reconciliations, Professional fees;                                                         4.00      1,600.00     B210
        10/13/2023              BS      On site FSS office - operations; meeting with A. Jones; professional fee recap; budget review           2.40      1,200.00     B210
        10/13/2023              BS      Non working travel                                                                                      3.00        750.00     B195
        10/13/2023              HK      Updated FSS Sales Reconciliation & added book sales to spreadsheet                                      1.50        750.00     B210
        10/13/2023             KN       Reconciliations; review sales entries                                                                   3.50      1,400.00     B210
        10/14/2023              BS      Cash flow - GivesendGo update; disbursement review; financial statement review                          1.70        850.00     B210
        10/16/2023              BS      Tax return review and analysis                                                                          1.50        750.00     B240
        10/16/2023              BS      Cash management; accounts payable review; budget update                                                 2.00      1,000.00     B210
        10/16/2023              BS      MOR/financial review                                                                                    0.80        400.00     B110
        10/16/2023             KN       Boat issue; childcare time sheets;Oct accounting,                                                       2.50      1,000.00     B210
        10/16/2023             KN       Sept MOR                                                                                                2.00        800.00     B110
        10/17/2023             KN       Budget; invoice collection;                                                                             2.00        800.00     B210
        10/17/2023             KN       Revised MOR - Sept                                                                                      1.50        600.00     B110
                                        Calls w V. Driver & A. & E. Jones - disbursements; budget; budget updates (1.3); correspondence - E.
        10/18/2023              BS      Jones re expenses (.3)                                                                                  1.60        800.00     B210
        10/18/2023              BS      Calls/mails re Lake Property sale - prospective brokers                                                 0.60        300.00     B120
        10/18/2023              BS      Correspondence - R. Kennerly re GiveSendGo contributions; follow up on 2022 tax returns                 0.50        250.00     B240
        10/18/2023              BS      Liquidation - storage units - call with appraiser; liquidators                                          0.30        150.00     B120
        10/19/2023              BS      Discussion w V. Driver re MOR changes and schedule adjustments; revise per SOFA changes                 0.50        250.00     B110
        10/19/2023              HK      Updated FSS Sales Reconciliation                                                                        0.70        350.00     B210
        10/19/2023             KN       Bank accounts; discussions with D Jones; Homepay issues; review bills to be paid                        2.50      1,000.00     B210
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                        Re:        Alexander E. Jones, Debtor In Possession                 Case No. 22-33553

Billing Period:                    October 1 through October 31, 2023
Invoice No.                        AJ1001-23
         10/20/2023           BS   Review/finalize MOR                                                                                     0.80          400.00   B110
         10/20/2023           KN   Oct accounting                                                                                          3.50        1,400.00   B210
         10/22/2023           BS   Professional fee recap                                                                                  1.10          550.00   B110
         10/23/2023           BS   Non working travel                                                                                      3.00          750.00   B195
         10/23/2023           BS   On site - meetings w FSS; A. Jones - operations; cash flow; accounting                                  4.50        2,250.00   B210
         10/23/2023           KN   October accounting;                                                                                     2.00          800.00   B210
         10/23/2023           KN   Revised amended SOFA                                                                                    1.50          600.00   B110
         10/24/2023           BS   On site - meetings w FSS; A. Jones - operations; cash flow; accounting                                  5.50        2,750.00   B210
         10/24/2023           BS   Meet with RE brokers re Ranch and Lake properties; follow up documentation requests                     2.30        1,150.00   B210
         10/24/2023           BS   Non working travel                                                                                      3.00          750.00   B195
         10/24/2023           HK   Updated FSS Sales Reconciliation                                                                        0.70          350.00   B210
         10/24/2023           HK   Reconciling payment received from book sales with Jeff                                                  0.40          200.00   B210
         10/24/2023           KN   Review amended SOFA- update transfers to insiders;                                                      2.50        1,000.00   B110
         10/25/2023           KN   Bank transfers; October accounting                                                                      4.00        1,600.00   B210
         10/26/2023           BS   Respond to Teneo questions                                                                              0.50          250.00   B110
         10/26/2023           BS   Cash management; follow up with Crowder re sales; Platinum sales                                        0.80          400.00   B210
         10/26/2023           KN   Bill payment; invoice entry; accounting; reconciliations                                                2.50        1,000.00   B210
         10/27/2023           BS   Cash management; follow up sales; forecast                                                              1.50          750.00   B210
         10/27/2023           BS   Correspondence re real estate listings                                                                  0.60          300.00   B210
         10/30/2023           BS   Non working travel                                                                                      3.00          750.00   B195
         10/30/2023           KN   Invoices; issues with lawn care, nanny payroll, banking, accounting                                     3.50        1,400.00   B210
         10/31/2023           BS   On site - meetings w FSS; A. Jones - operations; cash flow; accounting; meeting w E Jones re budget     4.20        2,100.00   B210
         10/31/2023           BS   Meet broker at Lake House                                                                               1.70          850.00   B120
         10/31/2023           KN   Meeting in Austin w/ AEJ, Erika re household expenses; lake house sale; plan                            5.00        2,000.00   B210

                                                                                                                                         151.60       64,050.00

                                                 Total hours for Robert Schleizer (BS)                                                    64.80   $ 28,650.00
                                                 Total hours for Harold Kessler (HK)                                                       6.80      3,400.00
                                                 Total hours for Kathy Norderhaug (KN)                                                    80.00     32,000.00
                                                                                                                                         151.60   $ 64,050.00
                                    Other Expenses

                                    Expenses
                                       From attached expense breakdown                                                                            $    2,842.91

                                                Total Invoice Amount                                                                              $ 66,892.91

                                   BlackBriar Advisors LLC
                                   2626 Cole Ave., Suite 300
                                   Dallas, TX 75204
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Alex E. Jones
Billing Period:               October 1 through October 31, 2023
Invoice:                      AJ1001‐23

   Date       Airfare/Train       Mileage           Meals          Auto         Hotel         Other          Total

     1‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
     2‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
     3‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
     4‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
     5‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
     6‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
     7‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
     8‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
     9‐Oct              ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   10‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   11‐Oct            790.80                 ‐            ‐              ‐             ‐            ‐             790.80
   12‐Oct               ‐                   ‐          17.81            ‐             ‐            ‐              17.81
   13‐Oct               ‐                   ‐          22.00          20.00           ‐          18.00            60.00
   14‐Oct               ‐                   ‐            ‐              ‐             ‐          42.69            42.69
   15‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   16‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   17‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   18‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   19‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   20‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   21‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   22‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   23‐Oct         #REF!                     ‐            ‐              ‐             ‐            ‐             790.80
   24‐Oct            790.80                 ‐            ‐              ‐             ‐          16.00            16.00
   25‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   26‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   27‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   28‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   29‐Oct               ‐                   ‐            ‐              ‐             ‐            ‐                ‐
   30‐Oct            681.80                 ‐          29.00            ‐          358.02          ‐           1,068.82
   31‐Oct               ‐                   ‐          55.99            ‐             ‐            ‐              55.99
Total             #REF!     $               ‐   $     124.80 $        20.00 $      358.02 $      76.69   $     2,842.91
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November 30, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                           Re:          Alexander E. Jones, Debtor In Possession                   Case No. 22-33553

Billing Period:                         November 1 through November 30, 2023
Invoice No.                             AJ1101-23
Professional Services
Rendered:
             Date          Professional Calls/emails with prospective real estate brokers;
                                                                                      Description
                                                                                           discussions with counsel re: sales process and      Hours     Amount      Task Code
        11/1/2023               BS      order                                                                                                   1.60        800.00     B130
        11/1/2023                BS     Accounting/financial statement issues                                                                   0.40        200.00     B210
        11/1/2023                BS     Tax issues - 2023 estimate/issues; calls/emails - R. Kennerly                                           0.20        100.00     B240
        11/1/2023                BS     Work on income forecast for plan; emails/calls with V. Driver                                           1.10        550.00     B320
        11/1/2023                KN     Accounting; household issues; reconciliations                                                           3.00 $    1,200.00     B210
        11/2/2023                KN     Bank reconciliations; month end accounting                                                              2.50      1,000.00     B210
        11/3/2023                BS     Forecast update for 408 meeting; review FSS forecast ; pre call w Akin et al                            2.40      1,200.00     B190
        11/3/2023                HK     Updated FSS Sales Reconciliation                                                                        0.80        400.00     B210
        11/6/2023                BS     Research Ranch property for broker; title; restrictions; water/mineral rights                           0.70        350.00     B120
        11/6/2023                BS     Meeting with BlackBriar & attorney - case issues                                                        3.50      1,750.00     B110
        11/6/2023                BS     Update forecast for settlement negotiations; calls emails w V. Driver                                   0.80        400.00     B190
        11/6/2023                BS     Operations - sales research-Crowder; accounting issues                                                  0.50        250.00     B210
        11/6/2023                HK     Meeting with BlackBriar & attorney - case issues                                                        3.50      1,750.00     B110
        11/7/2023                BS     Deposition preparation - review AEJ depo; review documents                                              3.20      1,600.00     B190
        11/7/2023                KN     October Accounting; MOR; Household issues                                                               2.50      1,000.00     B210
        11/8/2023                BS     Deposition preparation - review AEJ depo; review documents                                              1.70        850.00     B190
        11/8/2023                BS     Attend teleconference with UCC attorneys; V. Driver; FSS and PQPR counsel                               2.90      1,450.00     B190
        11/8/2023                BS     Professional fee forecast and recap                                                                     0.80        400.00     B210
        11/8/2023                KN     Update MOR; reconciliations                                                                             3.00      1,200.00     B110
        11/9/2023                BS     Deposition preparation - review AEJ depo; review documents                                              2.00      1,000.00     B190
        11/9/2023                BS     Review revise SOFA and amended schedules                                                                1.90        950.00     B110
         11/9/2023               KN     Bank statements grouping                                                                                3.00      1,200.00     B210
        11/10/2023               BS     Review revise SOFA and amended schedules                                                                0.50        250.00     B110
        11/10/2023               BS     Fee statement preparation/review                                                                        2.90      1,450.00     B160
        11/10/2023               BS     Sales order review                                                                                      0.50        250.00     B210
        11/10/2023               BS     Call with A. Jones - forecast; plan status; cash position                                               0.50        250.00     B210
        11/10/2023               BS     Meeting with Counsel & K. Norderhaug regarding SOFA; case admin and scheduling                          2.60      1,300.00     B110
        11/10/2023               HK     Updated FSS Sales Reconciliation                                                                        0.80        400.00     B210
        11/10/2023               KN     Meeting with Vickie and Bob regarding SOFA; case admin and scheduling                                   2.60      1,040.00     B110
        11/11/2023               BS     Review revise SOFA and amended schedules                                                                0.50        250.00     B110
        11/11/2023               BS     Insider payments - Descendant trust                                                                     1.30        650.00     B110
        11/13/2023               BS     Meeting w counsel; B. Roe meeting; Deposition preparation                                               2.50      1,250.00     B110
        11/13/2023               BS     Insider payments - Descendant trust; correspondence w counsel                                           1.30        650.00     B110
                                        Operations- Cash flow; sales - calls emails with FSS; meet w K. Norderhaug - banking, expenses, cash
        11/13/2023               BS     flow                                                                                                    2.40      1,200.00     B210
        11/13/2023               BS     Accounting - update professional fees; review disbursements                                             1.50        750.00     B210
        11/13/2023               BS     Call w P. Story - IRS re claim                                                                          0.60        300.00     B240
        11/13/2023               KN     Household issues, invoices, update MOR; follow-up re boats; professional fees                           2.50      1,000.00     B210
        11/14/2023               BS     Real Estate - Ranch Property listing agreement                                                          0.40        200.00     B130
        11/14/2023               BS     Fee statement preparation/review                                                                        0.30        150.00     B160
        11/14/2023               BS     Non-working travel                                                                                      5.00      1,250.00     B195
        11/14/2023               BS     Onsite - operations; meet w FSS; sales; accounting, forecast; bank issues                               4.20      2,100.00     B210
        11/14/2023               BS     Tax issues - domestic pay                                                                               2.00      1,000.00     B240
        11/14/2023               KN     Property tax issue; Petty cash issue; accounting; boat issue;                                           3.50      1,400.00     B210
        11/15/2023               BS     Review revise SOFA and amended schedules                                                                0.60        300.00     B110
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                        Re:        Alexander E. Jones, Debtor In Possession              Case No. 22-33553

Billing Period:                    November 1 through November 30, 2023
Invoice No.                        AJ1101-23
         11/15/2023           BS   Accounting - disbursements; cash management                                              0.30        150.00    B210
         11/15/2023           BS   IRS tax claim; domestic payroll                                                          1.10        550.00    B240
         11/16/2023           BS   Review revise SOFA and amended schedules                                                 0.50        250.00    B110
         11/16/2023           BS   Review/revise counter offer to plaintiffs                                                0.80        400.00    B190
         11/16/2023           BS   Operations - sales review; call FSS                                                      0.30        150.00    B210
         11/17/2023           HK   Updated FSS Sales Reconciliation                                                         0.80        400.00    B210
         11/17/2023           KN   Household issues; reconciliations                                                        2.50      1,000.00    B110
         11/17/2023           KN   Update MOR; bank accounts for UST                                                        1.00        400.00    B110
         11/19/2023           BS   Review revise SOFA and amended schedules                                                 0.50        250.00    B110
         11/19/2023           BS   Review revise SOFA and amended schedules w A. Jones                                      0.70        350.00    B110
         11/19/2023           BS   Real Estate - Ranch Property listing agreement                                           0.50        250.00    B130
         11/19/2023           BS   Real Estate -Lake house listing agreement                                                0.60        300.00    B130
         11/20/2023           BS   Review revise SOFA and amended schedules - trusts                                        0.50        250.00    B110
         11/20/2023           BS   MOR review/revisions                                                                     0.20        100.00    B110
         11/20/2023           BS   Plan preparation, call w counsel; liquidation analysis; forecast                         2.20      1,100.00    B320
         11/20/2023           HK   Conversations with appraiser Re: fire arms value & disposal                              0.30        150.00    B130
         11/20/2023           KN   Update MOR to remove trusts; book sales                                                  3.00      1,200.00    B110
         11/21/2023           BS   Review revise SOFA and amended schedules - insider payments                              0.60        300.00    B110
         11/21/2023           BS   MOR review/revisions                                                                     0.20        100.00    B110
         11/21/2023           BS   Plan of reorganization; liquidation analysis                                             1.70        850.00    B320
         11/23/2023           KN   Payments on behalf of Condos                                                             4.50      1,800.00    B110
         11/24/2023           BS   Review revise SOFA and amended schedules; global notes                                   0.50        250.00    B110
         11/24/2023           KN   Update transfers to insiders; UST fee recon                                              2.50      1,000.00    B110
         11/26/2023           BS   Deposition preparation - review AEJ depo; review documents                               3.50      1,750.00    B190
         11/26/2023           BS   Non-working travel                                                                       3.00        750.00    B195
         11/26/2023           KN   Update Nov accounting; set up Nov MOR spreadsheet                                        2.50      1,000.00    B110
         11/27/2023           BS   Deposition preparation - review AEJ depo; review documents                               2.80      1,400.00    B190
         11/27/2023           BS   Work on descendant trust receivable. Call with trustee re past and upcoming payments     0.60        300.00    B110
         11/27/2023           BS   Meetings with counsel - hearing preparation and attendance                               4.50      2,250.00    B110
         11/27/2023           HK   Conversations with appraiser Re: fire arms value & disposal; updated spreadsheet         0.40        200.00    B130
         11/27/2023           KN   Vehicle values; cash disbursements Jan-Oct;                                              5.50      2,200.00    B320
         11/28/2023           BS   Deposition - preparation and attendance                                                  8.40      4,200.00    B190
         11/28/2023           BS   Real Estate -Lake house listing agreement                                                0.60        300.00    B130
         11/28/2023           BS   Non-working travel                                                                       3.00        750.00    B195
         11/28/2023           KN   payroll; household invoices; discussion with Erika                                       2.00        800.00    B210
         11/29/2023           HK   Updated FSS Sales Reconciliation                                                         0.80        400.00    B210
         11/29/2023           KN   November accounting; sales entries; PayPal statements                                    4.00      1,600.00    B210
         11/30/2023           KN   Bank reconciliations; payables;                                                          2.50      1,000.00    B210
                                                                                                                          150.90   $ 67,440.00

                                                Total hours for Robert Schleizer (BS)                                      90.90   $ 42,700.00
                                                Total hours for Harold Kessler (HK)                                         7.40      3,700.00
                                                Total hours for Kathy Norderhaug (KN)                                      52.60     21,040.00
                                                                                                                          150.90   $ 67,440.00
                                    Other Expenses

                                    Expenses
                                       From attached expense breakdown                                                             $   2,319.31

                                                Total Invoice Amount                                                               $ 69,759.31

                                   BlackBriar Advisors LLC
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                                   Dallas, TX 75204
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Alex E. Jones
Billing Period:               November 1 through November 30, 2023
Invoice:                      AJ1101‐23

   Date       Airfare/Train      Mileage         Meals          Auto            Hotel           Other          Total

    1‐Nov            258.00             ‐            67.76           258.29             ‐          64.05           648.10
    2‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
    3‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
    4‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
    5‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
    6‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
    7‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
    8‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
    9‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   10‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   11‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   12‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   13‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   14‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   15‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   16‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   17‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   18‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   19‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   20‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   21‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   22‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   23‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   24‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   25‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   26‐Nov            770.20          627.10            ‐                ‐               ‐            ‐           1,397.30
   27‐Nov               ‐               ‐           181.00              ‐               ‐          92.91           273.91
   28‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   29‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
   30‐Nov               ‐               ‐              ‐                ‐               ‐            ‐                ‐
    1‐Dec               ‐               ‐              ‐                ‐               ‐            ‐                ‐
Total     $        1,028.20 $        627.10 $       248.76 $         258.29 $           ‐   $     156.96   $     2,319.31
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                 )
                                                          )
    ALEXANDER E. JONES                                    )     CASE NO. 22-33553
                                                          )
                   DEBTOR.                                )     (CHAPTER 11)
                                                          )
                                                          )     JUDGE CHRISTOPHER M. LOPEZ

     TENTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
    ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS FINANCIAL
             ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
               DECEMBER 1, 2023 THROUGH JANUARY 31, 2024

    Name of Applicant:         BlackBriar Advisors, LLC
    Applicant’s Role in Case:  Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                    Beginning of Period             End of Period
    Time Period Covered in     12/01/2023                    01/31/2024
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $92,220.001
                                                              (80% of $115,275.00)
    Total Reimbursable Expenses Requested in this Statement: $7,598.562
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $115,275.00
    Total Actual Professional Hours Covered by this 260.10
    Statement:
    Average Hourly Rate for Professionals:                    $443.19

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.


1
 BlackBriar is holding $0.00 as a retainer in its Trust Account.
2
 The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Tenth Monthly Fee Statement of BlackBriar Advisors LLC.

for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for the

Period from December 1, 2023 through January 31, 2024 (the “Monthly Fee Statement”).

                                   RELIEF REQUESTED

       1.     By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $92,220.00 (80% of $115,275.00) as compensation for

professional services rendered to the Debtor during the period from December 1, 2023 through

January 31, 2024 (the “Fee Period”); and reimbursement of actual and necessary expenses in the

amount of $7,598.56, for a total amount of $99,818.56 to be paid upon expiration of the objection

deadline barring any objections, pursuant to the Interim Compensation Order.

       2.     In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Fees by Category as

Financial Advisor for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as

Financial Advisor for the Fee Period, attached hereto as Exhibit C.

       3.     Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),




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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Counsel to the Official Committee of Unsecured Creditors, Akin
                       Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                       10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                       Brauner and Melanie A. Miller; dzensky@akingump.com,
                       mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

       5.      Therefore, BlackBriar respectfully submits support for its fees in the amount of

$115,275.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $7,598.56 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $99,818.56

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: March 15, 2024.

                                                      BLACKBRIAR ADVISORS LLC

                                                      By: /s/ Robert Schleizer
                                                      Robert Schleizer
                                                      2626 Cole Ave., Suite 300
                                                      Dallas, TX 75201
                                                      Telephone: 214-599-8600
                                                      Email: bschleizer@blackbriaradvisors.com


                                                      FINANCIAL ADVISORS FOR DEBTOR
                                                      ALEXANDER E. JONES




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                                CERTIFICATE OF SERVICE

I certify that on March 15, 2024, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Counsel to the Official Committee of Unsecured Creditors, Akin
                      Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                      10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                      Brauner and Melanie A. Miller; dzensky@akingump.com,
                      mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                              /s/ Christina W. Stephenson
                                                  Christina W. Stephenson




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                                EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                         EXPENSE                                    TOTAL
Airfare/Train                                                       $4,146.80
Mileage                                                               460.23
Meals                                                                 637.26
Auto                                                                  872.02
Hotel                                                                1,378.52
Other                                                                 837.76




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                                  EXHIBIT “B”
              SUMMARY OF FEES AND EXPENSES BY CATEGORY
                         FOR THE FEE PERIOD
           CATEGORIES                             PROFESSIONAL
                                                      TIME
           B110 Case Administration                   46.60
           B120 Asset Analysis and Recovery            1.3
           B130 Asset Disposition                     23.50
           B140 Relief from Stay/Adequate
           Protection                                    0.00
           B150 Meetings of & Communications
           with Creditors                                0.00
           B160 Fee/Employment Applications               7.0
           B170 Fee/Employment Objections                0.00
           B180 Avoidance Action Analysis                0.00
           B185 Assumption/Rejection of
           Executory Contracts                           0.00
           B190 Other Contested Matters                  11.2
           B195 Non-Working Travel                      26.50
           B210 Business Operations                      0.00
           B220 Employee Benefits/Pensions               88.3
           B230 Financing/Cash Collections                .3
           B240 Tax Issues                               11.3
           B250 Real Estate                              0.00
           B260 Board of Directors Matters               0.00
           B310 Claims Administration and
           Objections                                     .5
           B320 Plan and Disclosure Statement            43.8
           B410 General Bankruptcy
           Advice/Opinions                               0.00
           B420 Restructurings                           0.00
           TOTALS:                                      260.30




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                                EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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December 31, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                          Re:             Alexander E. Jones, Debtor In Possession                       Case No. 22‐33553

Billing Period:                           December 1 through December 31, 2023
Invoice No.                               AJ1201‐23
Professional Services
Rendered:
            Date           Professional                                                    Description                                         Hours     Amount     Task Code
        12/1/2023               BS        US Trustee fee review                                                                                 0.60       300.00     B110
        12/1/2023               KN        November accounting                                                                                   1.50 $     600.00     B210
        12/4/2023               BS        Review UCC FA billings                                                                                2.40     1,200.00     B190
        12/5/2023               BS        Sales order support documents for real estate and storage units                                       3.00     1,500.00     B130
        12/5/2023               BS        Personnel issues; communication with counsel; email to employee                                       5.90     2,950.00     B130
        12/6/2023               BS        Non‐working travel                                                                                    3.00       750.00     B195
        12/6/2023               BS        Storage unit application support and review; call with L. Davis ‐ auctioneer                          0.50       250.00     B210
        12/7/2023               BS        Onsite ‐ operations ‐ meeting w FSS CRO; personnel recruitment; meeting with A. Jones and FSS;        3.50     1,750.00     B110
        12/7/2023               BS        Realtor and storage unit auctioneer contracts and applications                                        2.00     1,000.00     B130
        12/7/2023               HK        Created Exhibit A for Storage Unit auction contract                                                   0.30       150.00     B130
        12/8/2023               BS        Call with counsel and UCC counsel re: FA fee application                                              0.60       300.00     B190
        12/8/2023               BS        Non‐working travel                                                                                    3.00       750.00     B195
        12/8/2023               BS        Operations; cash management; payables review                                                          1.00       500.00     B210
        12/8/2023               BS        Tax issues ‐ refund and claim; fax to IRS; call with counsel and P. Story IRS                         1.40       700.00     B240
        12/8/2023               BS        Call w UCC and counsel re Teneo fees                                                                  1.40       700.00     B240
        12/8/2023               BS        Meeting at C&D office; plan discussion; liquidation analysis and forecast                             4.30     2,150.00     B320
        12/8/2023               HK        Attorney's office Re: Plan preparation and review; revenue forecast                                   7.50     3,750.00     B320
       12/11/2023               BS        Fee app preparation                                                                                   4.20     2,100.00     B160
       12/11/2023               BS        Call w FSS CRO operations                                                                             0.40       200.00     B210
       12/11/2023               HK        Updated FSS Sales Reconciliation                                                                      0.80       400.00     B210
       12/11/2023               KN        Nov MOR                                                                                               1.50       600.00     B110
       12/12/2023               BS        Non‐working travel                                                                                    3.00       750.00     B195
       12/12/2023               BS        Onsite ‐ operations ‐ cash management; crypto research financial review                               7.40     3,700.00     B210
       12/12/2023               KN        Nov MOR                                                                                               4.00     1,600.00     B110
       12/13/2023               BS        Research ‐ car sales; call dealers; Autotrader                                                        1.30       650.00     B130
       12/13/2023               BS        Onsite ‐ operations ‐ meeting with A. Jones; cash management; crypto liquidation; financial review    4.50     2,250.00     B210
       12/13/2023               BS        Plan review and revisions; calls and correspondence with counsel                                      1.90       950.00     B320
       12/14/2023               BS        Onsite ‐ operations ‐ meeting with A. Jones and FSS; cash management; crypto follow up and            3.10     1,550.00     B130
       12/14/2023               BS        Fee app review revisions                                                                              0.40       200.00     B160
       12/14/2023               BS        Non‐working travel                                                                                    3.00       750.00     B195
       12/14/2023               BS        Plan review and revisions; calls and correspondence with counsel                                      1.60       800.00     B320
       12/14/2023               HK        Review of Plan of Reorganization                                                                      2.30     1,150.00     B320
       12/14/2023               KN        November MOR                                                                                          2.50     1,000.00     B110
       12/15/2023               BS        Research ‐ firearms; follow up on car information for sale;                                           1.50       750.00     B130
       12/15/2023               HK        Updated FSS Sales Reconciliation; reviewed Plan                                                       1.40       700.00     B210
       12/15/2023               KN        Nov MOR‐ update                                                                                       2.00       800.00     B110
       12/18/2023               BS        MOR schedule and support preparation; review and revise;                                              0.90       450.00     B110
       12/18/2023               BS        Review/revise storage unit auctioneer application; follow up on realtor information                   0.80       400.00     B130
       12/18/2023               BS        List Challenger for sale; emails w prospective buyers                                                 1.20       600.00     B320
       12/18/2023               BS        Review Disclosure Statement; correspondence w counsel re information/schedules                        2.00     1,000.00     B320
       12/18/2023               HK        Review Disclosure Statement                                                                           1.00       500.00     B320
       12/18/2023               KN        Update Nov MOR                                                                                        2.00       800.00     B110
       12/19/2023               BS        Finalize MOR for filing                                                                               0.60       300.00     B110
       12/19/2023               BS        Review Disclosure Statement revisions; calls/correspondence w counsel; H. Kessler                     0.80       400.00     B320
       12/19/2023               HK        Discussed firearm sales and commissions with dealers                                                  0.20       100.00     B130
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                        Re:        Alexander E. Jones, Debtor In Possession              Case No. 22‐33553

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Invoice No.                        AJ1201‐23
         12/19/2023           HK   Sent support for storage units to be auctioned                                               0.20        100.00   B130
         12/19/2023           HK   Review Disclosure Statement; call w B. Schleizer re revisions/questions                      1.70        850.00   B320
         12/20/2023           BS   Emails w prospective buyers of Challenger                                                    0.20        100.00   B130
         12/20/2023           BS   Review UCC Chapter 11 Plan of Reorganization; calls/comments to counsel                      1.50        750.00   B320
         12/20/2023           HK   Call with firearms dealer                                                                    0.20        100.00   B130
         12/20/2023           HK   Call with attorneys Re: Disclosure Statement                                                 1.10        550.00   B320
         12/20/2023           HK   Review UCC Chapter 11 Plan of Reorganization                                                 1.30        650.00   B320
         12/21/2023           BS   Documentation for car sale; emails with prospective buyers                                   0.50        250.00   B130
         12/26/2023           BS   Documentation for car sale; emails with prospective buyers                                   0.30        150.00   B130
         12/27/2023           BS   Operations; cash management; follow up on bourbon revenue; financial statement questions     1.30        650.00   B130
         12/27/2023           BS   Youngevity response review re: receivable                                                    0.40        200.00   B130
         12/27/2023           KN   December Accounting                                                                          3.00      1,200.00   B210
         12/28/2023           BS   Car sale communication w l. Muniz; buyer                                                     0.50        250.00   B130
         12/28/2023           BS   IRS refund research; correspondence w counsel and R. Kennerly                                1.00        500.00   B240
         12/28/2023           KN   December Accounting                                                                          2.00        800.00   B210
         12/29/2023           BS   IRS refund research; correspondence w counsel                                                0.30        150.00   B130
         12/29/2023           BS   Teneo fee analysis detail ‐objection                                                         1.50        750.00   B190
                                                                                                                              115.20   $ 52,750.00

                                                Total hours for Robert Schleizer (BS)                                          78.70   $ 36,350.00
                                                Total hours for Harold Kessler (HK)                                            18.00      9,000.00
                                                Total hours for Kathy Norderhaug (KN)                                          18.50      7,400.00
                                                                                                                              115.20   $ 52,750.00
                                    Expenses
                                       From attached expense breakdown                                                                 $ 3,313.44

                                                Total Invoice Amount                                                                   $ 56,063.44

                                   BlackBriar Advisors LLC
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                                   Dallas, TX 75204
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January 31, 2024

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                          Re:             Alexander E. Jones, Debtor In Possession                 Case No. 22-33553

Billing Period:                           January 1 through January 31, 2024
Invoice No.                               AJ0101-24
Professional Services
Rendered:
            Date           Professional                                             Description                                           Hours     Amount      Task Code
         1/3/2024               BS        Banking; cash management; sales update; Jones payroll;                                           1.00       500.00      B210
         1/3/2024               BS        IRS refunds; call with counsel; tax accountant                                                   0.40       200.00      B240
         1/3/2024               BS        Real Estate broker listing agreements                                                            0.30       150.00      B130
         1/3/2024               BS        Banking; cash management; sales update                                                           0.60       300.00      B210
         1/3/2024               HK        Updated FSS Sales Reconciliation                                                                 0.80 $     400.00      B210
         1/3/2024               KN        December accounting; bank accounts                                                               3.00      1,200.00     B210
         1/4/2024               BS        IRS refund follow up: interest income 2018 Trust                                                 0.50       250.00      B240
         1/4/2024               BS        UCC request follow up;                                                                           2.20      1,100.00     B190
         1/4/2024               KN        December accounting; bank accounts                                                               2.00       800.00      B210
         1/5/2024               BS        Storage units motion; research; correspondence with counsel; Youngevity research                 1.30       650.00      B120
         1/5/2024               BS        Gun sales; email to broker; re offers/marketing                                                  0.40       200.00      B130
         1/5/2024               KN        December accounting; bank accounts                                                               3.00      1,200.00     B210
         1/7/2024               KN        Reconcile bank account/ December accruals/sales entries/ payables                                3.50      1,400.00     B210
         1/8/2024               BS        Accounting; sales follow up; year end inventory                                                  1.20       600.00      B210
         1/8/2024               KN        Youngevity/ inventory reconcilation to year end                                                  3.00      1,200.00     B210
         1/9/2024               BS        Accounting; sales follow up;                                                                     0.50       250.00      B210
         1/9/2024               BS        Non-working travel                                                                               3.00       750.00      B195
         1/9/2024               KN        Reconcile inventory                                                                              3.50      1,400.00     B210
        1/10/2024               BS        On-site. Cash management; operations                                                             6.50      3,250.00     B210
        1/10/2024               HK        Reviewed Amended Plan                                                                            0.40       200.00      B320
        1/10/2024               KN        Discuss Condo bills with Marleigh Jones; discussion with Sarah; Dec accounting                   3.00      1,200.00     B210
        1/11/2024               BS        On-site. Cash management; operations                                                             2.00      1,000.00     B210
        1/11/2024               BS        Plan forecast update.                                                                            2.20      1,100.00     B320
        1/11/2024               BS        Non-working travel                                                                               3.00       750.00      B195
        1/11/2024               HK        Reviewed DRAFT Liquidation Analysis                                                              0.80        400.00     B320
        1/12/2024               HK        Updated FSS Sales Reconciliation                                                                 0.80        400.00     B210
        1/12/2024               KN        Reconcile cumulative MOR to Accounting                                                           4.00      1,600.00     B210
        1/13/2024               KN        Reconcile UST fees; estimate 4th qtr; accrue                                                     2.50      1,000.00     B210
        1/14/2024               KN        Reconcile Cumulative balances to MOR                                                             4.50      1,800.00     B210
        1/15/2024               BS        Game revenue/collections                                                                         0.30        150.00     B230
        1/15/2024               BS        Accounting/cash management                                                                       0.40        200.00     B210
        1/15/2024               BS        Gun sales; documentation requirements for transfer to sell                                       0.50        250.00     B130
        1/15/2024               BS        Liquidation analysis update; forecast revisions                                                  1.50        750.00     B320
        1/15/2024               HK        Reviewed Liquidation Analysis                                                                    0.70        350.00     B320
        1/15/2024               KN        MOR update and reconciliations                                                                   2.50      1,000.00     B110
        1/16/2024               BS        Liquidation analysis update; forecast revisions                                                  1.10        550.00     B320
        1/16/2024               BS        SOFA updates: additional assets                                                                  0.60        300.00     B110
        1/16/2024               HK        Reviewed Liquidation Analysis & discussed with BlackBriar; firearms spreadsheet & discussions    0.80        400.00     B320
        1/16/2024               KN        UST fee reconciliation; changes to MOR                                                           3.50      1,400.00     B110
        1/17/2024               BS        Accounting/UST fees                                                                              0.30        150.00     B210
        1/17/2024               BS        Feer app review/revisions                                                                        2.40      1,200.00     B160
        1/17/2024               HK        Call with BlackBriar & attorney's Re: status update: plasn issues                                1.00        500.00     B320
        1/17/2024               HK        SOFA updates                                                                                     0.30        150.00     B110
        1/17/2024               HK        Updated Sales Reconciliation to add cummulative Net Revenue PQPR & DJN                           2.50      1,250.00     B210
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                     Re:        Alexander E. Jones, Debtor In Possession               Case No. 22-33553

Billing Period:                 January 1 through January 31, 2024
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         1/17/2024         KN   MOR revisions; schedule preparation                                                             3.50      1,400.00    B110
         1/18/2024         BS   IRS claim; follow up on Amex CLAIM                                                              0.50        250.00    B310
         1/18/2024         BS   Work on 2023 tax estimate - AEJ                                                                 1.10        550.00    B240
         1/18/2024         KN   Dec MOR                                                                                         4.50      1,800.00    B110
         1/19/2024         BS   Dec MOR- review financials                                                                      1.50        750.00    B110
         1/19/2024         BS   Liquidation analysis update; forecast revisions; correspondence with counsel                    0.70        350.00    B320
         1/19/2024         KN   Dec MOR- update; finalize schedules                                                             4.00      1,600.00    B110
         1/20/2024         BS   Liquidation analysis update; forecast revisions; correspondence with counsel                    2.50      1,250.00    B320
         1/21/2024         BS   Liquidation analysis update; forecast revisions; correspondence with counsel                    0.30        150.00    B320
         1/22/2024         BS   Non-working travel                                                                              3.00        750.00    B195
         1/22/2024         BS   Dec MOR- update; review/revise and prepare for filing                                           0.60        300.00    B110
         1/22/2024         BS   On-site. Cash management; operations                                                            3.50      1,750.00    B210
         1/22/2024         BS   Hearing preparation; meeting with counsel; A. Jones                                             2.20      1,100.00    B110
         1/22/2024         BS   Personnel - Controller/CFO interview                                                            0.50        250.00    B210
         1/22/2024         KN   Jan Accounting; 1099; Homepay                                                                   4.00      1,600.00    B210
         1/23/2024         BS   On-site. Cash management; operations                                                            2.50      1,250.00    B210
         1/23/2024         BS   Prepare real estate sales recap for C. Regens; counsel. Meeting to discuss                      1.40        700.00    B210
         1/23/2024         BS   Hearing preparation; meeting with counsel;                                                      2.20      1,100.00    B110
         1/23/2024         BS   Non-working travel                                                                              2.50        625.00    B195
         1/23/2024         HK   Updated FSS Sales Reconciliation                                                                0.80        400.00    B210
         1/23/2024         KN   1099s                                                                                           2.50      1,000.00    B240
         1/24/2024         BS   Disclosure Statement Hearing; post hearing meetings                                             2.90      1,450.00    B110
         1/24/2024         HK   Disclosure Statement Hearing                                                                    0.70        350.00    B110
         1/24/2024         KN   Contractor payment reconciliation; accounting                                                   3.00      1,200.00    B240
         1/25/2024         BS   Asset sales; firearm transfers                                                                  0.30        150.00    B130
         1/25/2024         BS   Non-working travel                                                                              3.00        750.00    B195
         1/26/2024         KN   Personnel/payroll issues                                                                        2.00        800.00    B210
         1/30/2024         BS   Meeting with BlackBriarBriar & Attorney's; Everlaw walk through re supporting documentation     2.30      1,150.00    B320
         1/30/2024         HK   Meeting with BlackBriarBriar & Attorney's; Everlaw walk through re supporting documentation     1.30        650.00    B320
         1/31/2024         BS   Deposition review; prepare responses for UCC; follow up information for responses               4.50      2,250.00    B190
         1/31/2024         KN   Month end accounting                                                                            2.50      1,000.00    B210
                                                                                                                              145.10   $ 62,525.00

                                             Total hours for Robert Schleizer (BS)                                             70.20   $ 31,475.00
                                             Total hours for Harold Kessler (HK)                                               10.90      5,450.00
                                             Total hours for Kathy Norderhaug (KN)                                             64.00     25,600.00
                                                                                                                              145.10   $ 62,525.00
                                 Other Expenses

                                 Expenses
                                    From attached expense breakdown                                                                    $   4,285.12

                                             Total Invoice Amount                                                                      $ 66,810.12

                                BlackBriar Advisors LLC
                                2626 Cole Ave., Suite 300
                                Dallas, TX 75204
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Alex E. Jones
Billing Period:               December 1 through December 31, 2023
Invoice:                      AJ1201‐23

   Date       Airfare/Train      Mileage           Meals        Auto            Hotel         Other          Total

    1‐Dec               ‐                  ‐            ‐            210.02           ‐            ‐             210.02
    2‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
    3‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
    4‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
    5‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
    6‐Dec            380.10                ‐            ‐               ‐             ‐          26.00           406.10
    7‐Dec               ‐                  ‐            ‐               ‐             ‐          33.00            33.00
    8‐Dec            395.40                ‐            ‐            161.69        185.87        24.00           766.96
    9‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   10‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   11‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   12‐Dec            823.40                ‐            ‐               ‐             ‐          20.00           843.40
   13‐Dec               ‐                  ‐            ‐               ‐          320.58       537.00           857.58
   14‐Dec               ‐                  ‐          63.49             ‐             ‐          34.89            98.38
   15‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   16‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   17‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   18‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   19‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   20‐Dec               ‐                  ‐            ‐               ‐             ‐          98.00            98.00
   21‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   22‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   23‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   24‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   25‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   26‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   27‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   28‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   29‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   30‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
   31‐Dec               ‐                  ‐            ‐               ‐             ‐            ‐                ‐
Total     $        1,598.90 $              ‐   $      63.49 $        371.71 $      506.45 $     772.89   $     3,313.44
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Alex E. Jones
Billing Period:                January 1 through January 31, 2024
Invoice:                       AJ0101-24

   Date        Airfare/Train       Mileage           Meals          Auto         Hotel         Other          Total

     1-Jan               -                   -            -              -             -            -                -
     2-Jan               -                   -            -              -             -            -                -
     3-Jan               -                   -            -              -             -            -                -
     4-Jan               -                   -            -              -             -            -                -
     5-Jan               -                   -            -              -             -            -                -
     6-Jan               -                   -            -              -             -            -                -
     7-Jan               -                   -            -              -             -            -                -
     8-Jan               -                   -            -              -             -            -                -
     9-Jan            708.20                 -         110.78         198.47        411.84        15.87         1,445.16
   10-Jan                -                   -            -              -             -            -                -
   11-Jan                -                   -            -              -             -            -                -
   12-Jan                -                   -            -              -             -            -                -
   13-Jan                -                   -            -              -             -            -                -
   14-Jan                -                   -            -              -             -            -                -
   15-Jan                -                   -            -              -             -            -                -
   16-Jan                -                   -            -              -             -            -                -
   17-Jan                -                   -            -              -             -            -                -
   18-Jan                -                   -            -              -             -            -                -
   19-Jan                -                   -            -              -             -            -                -
   20-Jan                -                   -            -              -             -            -                -
   21-Jan                -                   -            -              -             -            -                -
   22-Jan             385.61                 -          98.15            -          198.90          -             682.66
   23-Jan                -                   -            -              -             -            -                -
   24-Jan             385.61                 -          28.04         301.84        261.33        49.00         1,025.82
   25-Jan             219.28                 -          36.00            -             -            -             255.28
   26-Jan                -                   -            -              -             -            -                -
   27-Jan                -                   -            -              -             -            -                -
   28-Jan                -                   -            -              -             -            -                -
   29-Jan                -                   -            -              -             -            -                -
   30-Jan                -                   -            -              -             -            -                -
   31-Jan             849.20                 -          27.00            -             -            -             876.20
Total      $        2,547.90 $               -   $     299.97 $       500.31 $      872.07 $      64.87   $     4,285.12
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                 )
                                                          )
    ALEXANDER E. JONES                                    )     CASE NO. 22-33553
                                                          )
                   DEBTOR.                                )     (CHAPTER 11)
                                                          )
                                                          )     JUDGE CHRISTOPHER M. LOPEZ

     ELEVENTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS FOR
    ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS FINANCIAL
           ADVISOR, LLC TO THE DEBTOR FOR THE PERIOD FROM
                FEBRUARY 1, 2024 THROUGH MARCH 31, 2024

    Name of Applicant:         BlackBriar Advisors, LLC
    Applicant’s Role in Case:  Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                    Beginning of Period             End of Period
    Time Period Covered in     02/01/2024                    03/31/2024
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $85,420.001
                                                              (80% of $106,775.00)
    Total Reimbursable Expenses Requested in this Statement: $7,019.202
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $106,775.00
    Total Actual Professional Hours Covered by this 264.90
    Statement:
    Average Hourly Rate for Professionals:                    $403.07

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.


1
 BlackBriar is holding $0.00 as a retainer in its Trust Account.
2
 The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Eleventh Monthly Fee Statement of BlackBriar Advisors,

LLC for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for

the Period from February 1, 2024 through March 31, 2024 (the “Monthly Fee Statement”).

                                   RELIEF REQUESTED

       1.     By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $85,420.00 (80% of $106,775.00) as compensation for

professional services rendered to the Debtor during the period from February 1, 2024 through

March 31, 2024 (the “Fee Period”); and reimbursement of actual and necessary expenses in the

amount of $7,019.20, for a total amount of $92,439.20 to be paid upon expiration of the objection

deadline barring any objections, pursuant to the Interim Compensation Order.

       2.     In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Fees by Category as

Financial Advisor for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as

Financial Advisor for the Fee Period, attached hereto as Exhibit C.

       3.     Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),




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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Counsel to the Official Committee of Unsecured Creditors, Akin
                       Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                       10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                       Brauner and Melanie A. Miller; dzensky@akingump.com,
                       mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com, msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) Avi Moshenberg,
                       avi.moshenberg@Imbusinesslaw.com and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included




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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

       5.      Therefore, BlackBriar respectfully submits support for its fees in the amount of

$106,775.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $7,019.20 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $92,439.20

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: May 7, 2024.

                                                      BLACKBRIAR ADVISORS, LLC

                                                      By: /s/ Robert Schleizer
                                                      Robert Schleizer
                                                      2626 Cole Ave., Suite 300
                                                      Dallas, TX 75201
                                                      Telephone: 214-599-8600
                                                      Email: bschleizer@blackbriaradvisors.com


                                                      FINANCIAL ADVISORS FOR DEBTOR
                                                      ALEXANDER E. JONES




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                                CERTIFICATE OF SERVICE

I certify that on May 7th, 2024, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Counsel to the Official Committee of Unsecured Creditors, Akin
                      Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                      10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                      Brauner and Melanie A. Miller; dzensky@akingump.com,
                      mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com, msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) Avi Moshenberg,
                      avi.moshenberg@Imbusinesslaw.com and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                             /s/ Christina W. Stephenson
                                                 Christina W. Stephenson




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                                  EXHIBIT “A”
                 SUMMARY OF EXPENSES FOR THE FEE PERIOD


                              EXPENSE                               TOTAL
Airfare/Train                                                       $3167.39
Mileage                                                                0.00
Meals                                                                111.75
Auto                                                                 385.57
Hotel                                                               1,181.49
Other                                                                 48.00
Personal Property Appraisal                                          625.00
Crypto Currency Research                                            1,500.00




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                                  EXHIBIT “B”
              SUMMARY OF FEES AND EXPENSES BY CATEGORY
                         FOR THE FEE PERIOD
           CATEGORIES                             PROFESSIONAL
                                                      TIME
           B110 Case Administration                    22.4
           B120 Asset Analysis and Recovery             0.0
           B130 Asset Disposition                      16.8
           B140 Relief from Stay/Adequate
           Protection                                    0.0
           B150 Meetings of & Communications
           with Creditors                                6.1
           B160 Fee/Employment Applications              4.4
           B170 Fee/Employment Objections                0.0
           B180 Avoidance Action Analysis                0.0
           B185 Assumption/Rejection of
           Executory Contracts                            0.0
           B190 Other Contested Matters                   0.0
           B195 Non-Working Travel                       23.0
           B210 Business Operations                     171.6
           B220 Employee Benefits/Pensions                0.0
           B230 Financing/Cash Collections                0.0
           B240 Tax Issues                                2.2
           B250 Real Estate                               0.0
           B260 Board of Directors Matters                0.0
           B310 Claims Administration and
           Objections                                     0.0
           B320 Plan and Disclosure Statement            18.4
           B410 General Bankruptcy
           Advice/Opinions                                0.0
           B420 Restructurings                            0.0
           TOTALS:                                      264.90




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                                EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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February 29, 2024

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                          Re:           Alexander E. Jones, Debtor In Possession                   Case No. 22‐33553

Billing Period:                         February 1 through February 29, 2024
Invoice No.                             AJ0201‐24
Professional Services
Rendered:
            Date           Professional                                               Description                                                 Hours    Amount      Task Code
         2/1/2024               BS      Follow up on storage unit content sale .2; Riley boat transfer documents .3; follow up on bitcoin .2;       0.70 $   350.00      B130
         2/1/2024               HK      Review AEJ forecast                                                                                        1.00      500.00      B210
         2/1/2024               KN      Discussions with D Jones; reconciliations                                                                  2.50     1,000.00     B210
         2/2/2024               BS      Call with appraiser re additional assets                                                                   0.20      100.00      B110
                                BS      Operation issues ‐ sales stats; accounts payable; cash management; financial statements                    1.20      600.00      B210
         2/2/2024
         2/2/2024               BS      Call with C. Stephenson; V. Driver ‐ plan issues and structure re coordination with FSS plan .9; revise    3.90     1,950.00     B320
         2/2/2024               HK      Updated FSS Sales Reconciliation as of 01.28.24                                                            1.60      800.00      B210
         2/2/2024               KN      Month end accounting; bank recon; accruals                                                                 3.00     1,200.00     B210
         2/5/2024               BS      Send appraiser information re additional assets                                                            0.30      150.00      B110
         2/5/2024               BS      car sale information ‐ Expedition; challenger proceeds to escrow                                           0.40      200.00      B130
         2/5/2024               BS      Operation issues ‐ financial statements; call with C. Geiser ‐ X account;                                  0.50      250.00      B210
         2/6/2024               BS      Amend revise schedules                                                                                     1.20      600.00      B110
         2/6/2024               BS      Non‐working travel                                                                                         3.00      750.00      B195
         2/6/2024               BS      On‐site ‐ operations issues; meetings with FSS personnel; A. Jones re operations; follow up game           5.50     1,375.00     B210
         2/6/2024               KN      Jan Accounting‐ bank recs; accruals                                                                        3.00     1,200.00     B210
         2/7/2024               BS      Non‐working travel                                                                                         3.00      750.00      B195
         2/7/2024               BS      On‐site ‐ operations issues; cash management; financial statements                                         3.00      750.00      B210
         2/7/2024               BS      IRS follow up; claim and refund                                                                            0.30       75.00      B240
         2/7/2024               BS      Call with H. May; P. Magill; C. Stephenson re plan issues; contract structures                             0.90      225.00      B320
         2/7/2024               KN      Review SOFA/Amendments/Accounting                                                                          2.00      800.00      B210
         2/8/2024               BS      Firearm sale ‐ arrange sale and pickup of guns                                                             0.50      250.00      B130
         2/8/2024               BS      sales discrepancy ‐ FSS; payroll; storage unit motion;                                                     1.10      550.00      B210
         2/8/2024               KN      Accounting/ Jan Bills/ review Public Storage bills                                                         2.00      800.00      B210
         2/9/2024               HK      Updated FSS Sales Reconciliation                                                                           0.80      400.00      B210
        2/12/2024               BS      Review schedule amendments                                                                                 0.40      200.00      B110
        2/12/2024               BS      IRS refund research; call with R. Kennerly; emails/follow up                                               0.30      150.00      B240
        2/12/2024               BS      Call with A. Jones and V. Driver; plan issues                                                              0.80      400.00      B320
        2/12/2024               BS      Call with Crowe Dunlevy ‐ expert topics and allocations                                                    1.40      700.00      B320
        2/12/2024               BS      Plan voting issues‐ calls/emails with attorneys                                                            0.30       150.00     B320
        2/12/2024               KN      Sales Reconciliation/Accounting                                                                            4.50     1,800.00     B210
        2/13/2024               BS      Call with Jones/FSS teams re plan issues; meeting with counsel re: plan modifications                      3.40     1,700.00     B210
        2/13/2024               HK      Call with UCC attorneys & financial advisors                                                               0.80       400.00     B150
        2/13/2024               HK      Meeting BlackBriar & attorneys Re: next steps                                                              2.80     1,400.00     B210
        2/14/2024               BS      Storage unit access; insurance‐ calls emails                                                               0.40       200.00     B130
        2/14/2024               BS      Call with UCC attorneys & financial advisors                                                               0.80       400.00     B150
        2/14/2024               KN      Review SOFA /Appraisals/ Accounting                                                                        3.00     1,200.00     B110
        2/15/2024               BS      Firearm sales ‐ calls/emails with Cargill; consignment agreement                                           0.70       350.00     B130
        2/15/2024               BS      AEJ information ‐ 2023 tax estimates; call R. Kennerly                                                     1.20       600.00     B210
        2/15/2024               BS      Information for financial statements                                                                       0.60       300.00     B210
        2/15/2024               BS      Call w P. Magill re operations issues                                                                      0.70       350.00     B210
        2/15/2024               BS      Call with R. Kennerly re: 2024 tax events                                                                  0.40       200.00     B240
        2/15/2024               BS      Accumulate information for expert report                                                                   2.50     1,250.00     B320
        2/15/2024               KN      Update accounting/Coinbase/ reconcile                                                                      3.00     1,200.00     B210
        2/16/2024               BS      Finalize fire arm sales agreement                                                                          0.30      150.00      B130
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                       Re:        Alexander E. Jones, Debtor In Possession                Case No. 22‐33553

Billing Period:                   February 1 through February 29, 2024
Invoice No.                       AJ0201‐24
         2/16/2024           BS   Professional fee reconciliation                                                                        1.50        750.00   B210
         2/16/2024           BS   Call with Crowe Dunlevy and D. Payne ‐ expert information                                              0.60        300.00   B320
         2/16/2024           HK   Updated FSS Sales Reconciliation                                                                       0.80        400.00   B210
         2/16/2024           KN   Update MOR                                                                                             2.50      1,000.00   B110
         2/17/2024           KN   Professional Fees/ reconcile with last month/ MOR                                                      2.50      1,000.00   B210
         2/18/2024           KN   Jan MOR, update Professional fees                                                                      3.00      1,200.00   B210
         2/19/2024           BS   Prepare agenda for FSS meeting: calls with counsel re: operation discussion w FSS                      0.80        400.00   B210
         2/19/2024           BS   Update information for expert report                                                                   0.50        250.00   B320
         2/19/2024           KN   Update MOR                                                                                             5.00      2,000.00   B110
         2/20/2024           BS   Finalize MOR                                                                                           1.80        900.00   B110
         2/20/2024           BS   On‐site‐ operations sales, cash management and accounting; meeting with A. Jones; FSS personnel        7.00      3,500.00   B210
                                  re: X account, advertising programs; platinum inventory/sales
        2/20/2024            KN   Revised Jan accounting for changes in Professional Fees; update MOR                                    4.50      1,800.00   B210
        2/21/2024            BS   On‐site‐ operations ‐ meeting with FSS teams and counsel: meetings with A. Jones; update financial     6.10      3,050.00   B210
                                  information
        2/22/2024            KN   Feb accounting; bills                                                                                  2.50      1,000.00   B210
        2/23/2024            BS   Follow up on game sales and platinum inventory with manufacturer                                       0.20        100.00   B210
        2/26/2024            BS   Storage access coordination;                                                                           0.20        100.00   B130
        2/26/2024            BS   UCC request follow up; emails/calls to obtain information                                              0.90        450.00   B150
        2/27/2024            BS   Fee billing ‐ January                                                                                  2.10      1,050.00   B160
        2/27/2024            BS   Non‐working travel                                                                                     3.00        750.00   B195
        2/28/2024            BS   Meeting with counsel; D. Jones & team re: PQPR                                                         2.00      1,000.00   B150
        2/28/2024            BS   Non‐working travel                                                                                     3.00        750.00   B195
        2/28/2024            BS   On‐site‐ operations ‐ meeting with FSS team and counsel: meetings with A. Jones; V. Driver;            5.50      2,750.00   B210
                                  accounting and cash management
        2/28/2024            BS   23024 & 205 tax events and projections. Call with R. Kennerly                                          0.60        300.00   B210
        2/28/2024            KN   Unemployment filing; accounting; auto Kelly book values                                                3.00      1,200.00   B210
        2/29/2024            BS   Storage content sale issues; coordination                                                              0.60        300.00   B130
        2/29/2024            BS   Information for expert report; load Dropbox                                                            1.50        750.00   B320
        2/29/2024            BS   Information for expert report; load Dropbox                                                            1.50        750.00   B320
        2/29/2024            HK   Calls/conversations regarding Bee Cave Public Storage auction                                          1.10        550.00   B130
        2/29/2024            KN   Accounting, pay bills                                                                                  2.50      1,000.00   B210
                                                                                                                                       136.70   $ 58,075.00

                                               Total hours for Robert Schleizer (BS)                                                    79.30   $ 34,225.00
                                               Total hours for Harold Kessler (HK)                                                       8.90      4,450.00
                                               Total hours for Kathy Norderhaug (KN)                                                    48.50     19,400.00
                                                                                                                                       136.70   $ 58,075.00
                                   Other Expenses
                                   Personal Property Appraisal                                                                                       625.00
                                   Crypto Currency Research                                                                                        1,500.00

                                   Expenses
                                      From attached expense breakdown                                                                              1,608.26

                                               Total Invoice Amount                                                                             $ 61,808.26

                                  BlackBriar Advisors LLC
                                  2626 Cole Ave., Suite 300
                                  Dallas, TX 75204
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Alex E. Jones
Billing Period:                 February 1 through February 29, 2024
Invoice:                        AJ0201‐24

   Date         Airfare/Train       Mileage           Meals            Auto         Hotel         Other          Total

    1‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
    2‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
    3‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
    4‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
    5‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
    6‐Feb                 ‐                   ‐          30.00            41.60           ‐            ‐              71.60
    7‐Feb                 ‐                   ‐            ‐                ‐             ‐          21.00            21.00
    8‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
    9‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   10‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   11‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   12‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   13‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   14‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   15‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   16‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   17‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   18‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   19‐Feb                 ‐                   ‐          55.00              ‐          386.10          ‐             441.10
   20‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   21‐Feb                 ‐                   ‐            ‐             115.77           ‐            ‐             115.77
   22‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   23‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   24‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   25‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   26‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   27‐Feb              664.19                 ‐            ‐              26.00           ‐            ‐             690.19
   28‐Feb                 ‐                   ‐            ‐              37.99        230.61          ‐             268.60
   29‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
                          ‐                   ‐            ‐                ‐             ‐            ‐                ‐
                          ‐                   ‐            ‐                ‐             ‐            ‐                ‐
Total       $          664.19 $               ‐   $      85.00 $         221.36 $      616.71 $      21.00   $     1,608.26
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March 31, 2024

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                          Re:             Alexander E. Jones, Debtor In Possession                    Case No. 22‐33553

Billing Period:                           March 1 through March 31, 2024
Invoice No.                               AJ0301‐24
Professional Services
Rendered:
            Date           Professional                                                 Description                                     Hours     Amount      Task Code
         3/1/2024               BS        Banking ‐ wire transfers                                                                       0.80 $     400.00      B210
         3/1/2024               HK        Call with Bee Cave Public Storage                                                              0.20       100.00      B130
         3/1/2024               KN        Review SOFA revisions                                                                          2.00       800.00      B110
         3/1/2024               KN        Reconcile Storage Unit issues                                                                  1.50       600.00      B210
         3/2/2024               HK        Updated FSS Sales Reconciliation                                                               1.20       600.00      B210
         3/4/2024               BS        Documentation to Payne ‐ expert research                                                       1.30       650.00      B320
         3/4/2024               KN        Feb Accounting; accruals; bank account recon; sales entries                                    5.50      2,200.00     B210
         3/5/2024               BS        Documentation to Payne ‐ expert research                                                       1.40       700.00      B210
         3/6/2024               BS        Banking ‐ wire transfers                                                                       0.50       250.00      B210
         3/6/2024               KN        Update accounting; pay bills                                                                   3.00      1,200.00     B210
         3/7/2024               BS        Accounting ‐ supporting schedules                                                              0.50       250.00      B210
         3/7/2024               BS        Ranch offer; call with counsel re open issues on offer                                         0.90       450.00      B210
         3/8/2024               BS        Calls/emails with broker re offer; call surveyor                                               0.60       300.00      B210
         3/8/2024               BS        Calls with UCC/Crowe Dunlevy re open items on requests; plan issues                            1.70       850.00      B210
        3/10/2024               BS        Non‐working travel                                                                             3.00       750.00      B210
        3/10/2024               BS        Calls A. Jones ‐ re UCC meeting and response                                                   0.80       200.00      B210

        3/11/2024               BS        Non‐working travel                                                                             2.00       500.00      B195
        3/11/2024               BS        hearing & meetings                                                                             6.20      1,550.00     B210
        3/11/2024               BS        Storage unit access ‐ FSS unit                                                                 0.30        75.00      B210
        3/11/2024               BS        Title and survey research; emails; call with ranch broker re additional offers                 1.10       275.00      B210
        3/11/2024               HK        Updated FSS Sales Reconciliation                                                               0.80       400.00      B210
        3/11/2024               KN        Bank recs, Feb MOR, accruals, pay bills                                                        5.50      2,200.00     B210
        3/12/2024               BS        Ranch contract ‐ sellers invitation                                                            0.30       150.00      B130

        3/12/2024               BS        Meet with boat broker; inspect lake house re: sale preparation                                 1.80       900.00      B130
        3/12/2024               BS        Non‐working travel                                                                             3.00       750.00      B195
        3/12/2024               BS        On site ‐ Operations; cash management; calls with FSS ‐ P Magill; Mg Haselton and A. Jones;    3.50      1,750.00     B210
        3/12/2024               BS        Shulse                                                                                         1.50        750.00     B210
        3/12/2024               BS        Expert documentation for report                                                                1.50        750.00     B320
        3/12/2024               HK        Calls Re: update ‐ plan issues; SOFA updates                                                   0.40        200.00     B110
        3/12/2024               HK        Calls Re: storage units                                                                        0.50        250.00     B130
        3/12/2024               KN        Lakehouse issues, boat issue, update accounting                                                4.00      1,600.00     B210
        3/13/2024               BS        Ranch contract ‐ survey follow up; seller proof of funds                                       0.30        150.00     B130
        3/13/2024               BS        Operations‐ emails FSS trustee; Call A. Jones                                                  0.90        450.00     B210
        3/13/2024               BS        Tax refund analysis; discussion with K. Norderhaug ‐ accounting                                0.80        400.00     B210
        3/13/2024               BS        Tax estimate research                                                                          1.20        600.00     B240
        3/13/2024               BS        Expert documentation for report                                                                0.60        300.00     B320
        3/13/2024               HK        Calls & emails Re: storage units                                                               1.50        750.00     B130
        3/13/2024               KN        Income Tax refund allocation, storage issues, accounting, book sale reconciliation             2.50      1,000.00     B210
        3/14/2024               BS        Fee analysis ‐ Teneo                                                                           0.50        250.00     B150
        3/14/2024               BS        Review/revise fee app                                                                          2.30      1,150.00     B160
        3/14/2024               BS        Weekly call ‐ FSS                                                                              1.00        500.00     B210
        3/14/2024               HK        Calls & emails Re: storage units                                                               1.50        750.00     B130
        3/15/2024               BS        Operations follow up; call with P. Magill; emails                                              0.30        150.00     B210
        3/15/2024               HK        Calls & emails Re: storage units                                                               0.80        400.00     B130
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                       Re:        Alexander E. Jones, Debtor In Possession                   Case No. 22‐33553

Billing Period:                   March 1 through March 31, 2024
Invoice No.                       AJ0301‐24
         3/18/2024           BS   Call with V. Driver‐ asset sales ‐ real estate                                                           0.50        250.00   B130
         3/18/2024           BS   Emails with M. Haselden re PQPR information; follow up with D. Jones & A. Jones                          0.60        300.00   B210
         3/18/2024           BS   Update professional fees                                                                                 1.10        550.00   B210
         3/18/2024           BS   Call with V. Driver‐ plan issues and timing                                                              0.50        250.00   B320
         3/18/2024           HK   Updated FSS Sales Reconciliation                                                                         0.80        400.00   B210
                                  Review Ranch property offer final docs and send to attorney; requests to broker for additional
        3/19/2024            BS   information                                                                                              0.60        300.00   B130
        3/19/2024            BS   Call with M. Haselden/L. Freeman re PQPR missing information                                             0.70        350.00   B150
        3/19/2024            BS   Call with V. Driver update on FSS discussion                                                             0.40        200.00   B150
        3/19/2024            KN   Update March accounting                                                                                  2.50      1,000.00   B210
        3/21/2024            BS   Finalize and file MOR                                                                                    0.80        200.00   B110
        3/21/2024            BS   Non‐working travel                                                                                       3.00        750.00   B195
        3/21/2024            BS   On‐site ‐ FSS operations; cash management; sales analysis                                                7.00      1,750.00   B210
        3/22/2024            BS   Review draft second amended plan; email to counsel                                                       0.90        450.00   B210
        3/22/2024            BS   Meet with counsel re update SOFA and schedules                                                           2.30      1,150.00   B210
        3/22/2024            BS   Review plan changes and revise                                                                           0.60        300.00   B320
        3/22/2024            HK   Calls & emails Re: storage units                                                                         1.50        750.00   B130
        3/22/2024            HK   Meeting BlackBriar & Attorney's update & Plan                                                            4.00      2,000.00   B210
        3/22/2024            KN   SOFA review                                                                                              3.00      1,200.00   B110
        3/23/2024            BS   Property disclosure ranch                                                                                0.50        250.00   B130
        3/23/2024            KN   2022 charges for Condos                                                                                  1.50        600.00   B110
        3/24/2024            HK   Calls & emails Re: storage units                                                                         0.60        300.00   B210
        3/25/2024            BS   Review flood plain re ranch property disclosure                                                          0.20        100.00   B130
        3/25/2024            HK   Calls & emails Re: storage units                                                                         0.50        250.00   B130
        3/26/2024            BS   Non‐working travel                                                                                       3.00        750.00   B195
        3/26/2024            BS   On‐site ‐ FSS operations; cash management; meeting with FSS staff; meeting with A. Jones                 7.00      1,750.00   B210
        3/26/2024            HK   Calls & emails Re: storage units                                                                         0.40        200.00   B130
        3/27/2024            BS   Update condo payments re SOFA                                                                            0.30         75.00   B110
        3/27/2024            BS   Review seller invitation for best offer; send to broker; review and sign revised offer with A. Jones     0.80        200.00   B130
        3/27/2024            BS   On‐site ‐ FSS operations; cash management; meeting with FSS staff; meeting with A. Jones                 6.00      1,500.00   B210
        3/27/2024            HK   Property protests 2024                                                                                   0.20        100.00   B210
        3/28/2024            BS   Weekly call ‐ FSS                                                                                        1.10        275.00   B210
        3/28/2024            BS   Non‐working travel                                                                                       3.00        750.00   B210
        3/29/2024            BS   Calls ‐ counsel; case update; planning ‐ open issues                                                     0.80        200.00   B210
                                                                                                                                         128.20   $ 48,700.00

                                                Total hours for Robert Schleizer (BS)                                                     82.30   $ 28,850.00
                                                Total hours for Harold Kessler (HK)                                                       14.90      7,450.00
                                                Total hours for Kathy Norderhaug (KN)                                                     31.00     12,400.00
                                                                                                                                         128.20   $ 48,700.00
                                   Other Expenses




                                   Expenses
                                      From attached expense breakdown                                                                                3,285.94

                                                Total Invoice Amount                                                                              $ 51,985.94

                                  BlackBriar Advisors LLC
                                  2626 Cole Ave., Suite 300
                                  Dallas, TX 75204
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Alex E. Jones
Billing Period:               March 1 through March 31, 2024
Invoice:                      AJ0301‐24

   Date       Airfare/Train      Mileage           Meals        Auto         Hotel         Other          Total

    1‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
    2‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
    3‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
    4‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
    5‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
    6‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
    7‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
    8‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
    9‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
   10‐Mar            974.20                ‐            ‐            ‐             ‐            ‐             974.20
   11‐Mar               ‐                  ‐            ‐          45.00        159.96          ‐             204.96
   12‐Mar               ‐                  ‐          26.75        90.21        221.13          ‐             338.09
   13‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
   14‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
   15‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
   16‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
   17‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
   18‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
   19‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
   20‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
   21‐Mar            460.20                ‐            ‐            ‐             ‐            ‐             460.20
   22‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
   23‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
   24‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
   25‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
   26‐Mar            395.60                ‐            ‐            ‐             ‐            ‐             395.60
   27‐Mar            673.20                ‐            ‐          29.00        183.69        27.00           912.89
   28‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
   29‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
   30‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
   31‐Mar               ‐                  ‐            ‐            ‐             ‐            ‐                ‐
Total     $        2,503.20 $              ‐   $      26.75 $     164.21 $      564.78 $      27.00   $     3,285.94
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                 )
                                                          )
    ALEXANDER E. JONES                                    )     CASE NO. 22-33553
                                                          )
                   DEBTOR.                                )     (CHAPTER 11)
                                                          )
                                                          )     JUDGE CHRISTOPHER M. LOPEZ

    TWELFTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
    ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS FINANCIAL
             ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
                  APRIL 1, 2024 THROUGH APRIL 30, 2024

    Name of Applicant:         BlackBriar Advisors, LLC
    Applicant’s Role in Case:  Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                    Beginning of Period             End of Period
    Time Period Covered in     04/01/2024                    04/30/2024
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $56,680.001
                                                              (80% of $70,850.00)
    Total Reimbursable Expenses Requested in this Statement: $4,978.452
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $70,850.00
    Total Actual Professional Hours Covered by this 154.60
    Statement:
    Average Hourly Rate for Professionals:                    $458.28

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.


1
 BlackBriar is holding $0.00 as a retainer in its Trust Account.
2
 The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Twelfth Monthly Fee Statement of BlackBriar Advisors, LLC

for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for the

Period from April 1, 2024 through April 30, 2024 (the “Monthly Fee Statement”).

                                    RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $56,680.00 (80% of $70,850.00) as compensation for

professional services rendered to the Debtor during the period from April 1, 2024 through April

30, 2024 (the “Fee Period”); and reimbursement of actual and necessary expenses in the amount

of $4,978.45, for a total amount of $75,828.45 to be paid upon expiration of the objection deadline

barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Fees by Category as

Financial Advisor for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as

Financial Advisor for the Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),




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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Counsel to the Official Committee of Unsecured Creditors, Akin
                       Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                       10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                       Brauner and Melanie A. Miller; dzensky@akingump.com,
                       mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com, msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) Avi Moshenberg,
                       avi.moshenberg@Imbusinesslaw.com and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included




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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

       5.      Therefore, BlackBriar respectfully submits support for its fees in the amount of

$70,850.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $4,978.45 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $61,658.45

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: May 15, 2024.

                                                      BLACKBRIAR ADVISORS, LLC

                                                      By: /s/ Robert Schleizer
                                                      Robert Schleizer
                                                      2626 Cole Ave., Suite 300
                                                      Dallas, TX 75201
                                                      Telephone: 214-599-8600
                                                      Email: bschleizer@blackbriaradvisors.com


                                                      FINANCIAL ADVISORS FOR DEBTOR
                                                      ALEXANDER E. JONES




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                                CERTIFICATE OF SERVICE

I certify that on May 15th, 2024, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Counsel to the Official Committee of Unsecured Creditors, Akin
                      Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                      10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                      Brauner and Melanie A. Miller; dzensky@akingump.com,
                      mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com, msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) Avi Moshenberg,
                      avi.moshenberg@Imbusinesslaw.com and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                              /s/ Christina W. Stephenson
                                                  Christina W. Stephenson




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                                EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                         EXPENSE                                    TOTAL
Airfare/Train                                                       $3229.30
Mileage                                                               0.00
Meals                                                                360.95
Auto                                                                  0.00
Hotel                                                               1,049.82
Other                                                                338.38




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                                  EXHIBIT “B”
              SUMMARY OF FEES AND EXPENSES BY CATEGORY
                         FOR THE FEE PERIOD
           CATEGORIES                             PROFESSIONAL
                                                      TIME
           B110 Case Administration                    8.9
           B120 Asset Analysis and Recovery            0.0
           B130 Asset Disposition                      8.3
           B140 Relief from Stay/Adequate
           Protection                                    0.0
           B150 Meetings of & Communications
           with Creditors                                21.0
           B160 Fee/Employment Applications               0.0
           B170 Fee/Employment Objections                 0.0
           B180 Avoidance Action Analysis                 0.0
           B185 Assumption/Rejection of
           Executory Contracts                            0.0
           B190 Other Contested Matters                  16.1
           B195 Non-Working Travel                       15.0
           B210 Business Operations                      50.1
           B220 Employee Benefits/Pensions                0.0
           B230 Financing/Cash Collections                0.0
           B240 Tax Issues                                1.1
           B250 Real Estate                               0.0
           B260 Board of Directors Matters                0.0
           B310 Claims Administration and
           Objections                                     0.0
           B320 Plan and Disclosure Statement            34.1
           B410 General Bankruptcy
           Advice/Opinions                               0.0
           B420 Restructurings                           0.0
           TOTALS:                                      154.6




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                                EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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April 30, 2024

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                        Re:            Alexander E. Jones, Debtor In Possession                  Case No. 22-33553

Billing Period:                        April 1 through April 30, 2024
Invoice No.                            AJ0401-24
Professional Services
Rendered:
         Date           Professional                                       Description                                  Hours     Amount      Task Code
      4/1/2024                BS       Firearm sales - interview brokers                                                 0.90 $     450.00      B130
      4/1/2024                BS       Information for Expert report                                                     0.80       400.00      B320
      4/1/2024                HK       Calls & emails Re: storage units                                                  0.50       250.00      B130
      4/1/2024                HK       Conversation regarding sale of Firearms                                           0.20       100.00      B130
      4/2/2024                BS       Attend J. Shulse deposition                                                       3.90      1,950.00     B190
      4/2/2024                BS       Call with counsel and Payne re: expert report status and information needs        1.40       700.00      B320
      4/2/2024                BS       Follow up - documents for ranch sale                                              0.50       250.00      B130
      4/2/2024                BS       Call with counsel re Teneo fees (1.1); follow up analysis to Teneo 1.2            2.30      1,150.00     B190
      4/2/2024                HK       Put together storage facility spreadsheet for counsel; broker                     0.50       250.00      B130
      4/3/2024                BS       Calls/Emails re lake house repairs; pictures for broker                           1.00       500.00      B130
      4/3/2024                BS       Information for Expert report                                                     1.80       900.00      B320
      4/3/2024                BS       Follow up - documents for ranch sale                                              0.40       200.00      B130
      4/3/2024                HK       Calls & emails Re: storage units                                                  0.30       150.00      B130
      4/4/2024                BS       Call with M. Haselden; P. Magill re FSS operations                                1.00       500.00      B210
      4/4/2024                BS       Information for Expert report                                                     0.70       350.00      B320
      4/4/2024                BS       Asset sales - real estate and boats                                               0.40       200.00      B130
      4/4/2024                HK       Calls & emails Re: storage units                                                  0.30       150.00      B210
      4/5/2024                BS       Review draft expert report                                                        2.50      1,250.00     B320
      4/5/2024                BS       Review plaintiff award claims re allocation for plan                              2.00      1,000.00     B190
      4/5/2024                BS       Update liquidation analysis - Amended plan                                        1.40       700.00      B320
      4/5/2024                HK       Calls & emails Re: storage units                                                  0.50       250.00      B130
      4/6/2024                BS       Update liquidation analysis - Amended plan; calls - counsel                       2.50      1,250.00     B320
      4/6/2024                BS       Accounting ; cash management                                                      1.30       650.00      B210
      4/6/2024                HK       Calls & emails Re: storage units                                                  0.30       150.00      B130
      4/7/2024                BS       Update liquidation analysis - Amended plan                                        0.80       400.00      B320
      4/7/2024                HK       Review of Liquidation Analysis                                                    1.00       500.00      B320
      4/8/2024                BS       Calls with D. Payne re report; & R. Kennerly                                      2.00      1,000.00     B320
      4/8/2024                BS       Recap legal fees for counsel meeting with plaintiffs                              0.60       300.00      B150
      4/8/2024                BS       Correspondence w R. Kennerly re tax returns various entities                      0.20       100.00      B240
      4/8/2024                HK       Review of Liquidation
                                       Additional informationAnalysis
                                                              to Payne et al re updated liquidation analysis, emails;    0.20       100.00      B320
      4/9/2024                BS       call                                                                              1.70       850.00      B320
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                    Re:        Alexander E. Jones, Debtor In Possession                     Case No. 22-33553

Billing Period:                April 1 through April 30, 2024
Invoice No.                    AJ0401-24
       4/9/2024           BS   Call with counsel re updated liquidation a re revised plan                       1.00    500.00    B320
       4/9/2024           HK   Updated FSS Sales Reconciliation                                                 1.00    500.00    B210
       4/9/2024           KN   March Accounting; reconcile bank accounts                                        4.50   1,800.00   B210
      4/10/2024           BS   Non-working travel                                                               3.00    750.00    B195
      4/10/2024           BS   On site- Operations; cash management; meetings with FSS; A. Jones                6.50   3,250.00   B210
      4/11/2024           BS   On site- Operations; cash management; meetings with FSS; A. Jones                2.30   1,150.00   B210
      4/11/2024           BS   Work on revised plan forecast; calls emails with counsel                         2.00   1,000.00   B320
      4/11/2024           BS   Asset sales; lake house repairs; boat title search                               1.80    900.00    B130
      4/11/2024           BS   Meeting w A. Jones; taxes; calls emails to R. Kennerly                           0.60    300.00    B240
      4/11/2024           BS   Meeting with M. Jackson (Payne) - M. Fruge (FSS)                                 1.00    500.00    B320
      4/11/2024           BS   Meeting with P. Magill/M. Haselden re FSS operations and issues                  0.80    400.00    B210
      4/11/2024           BS   Non-working travel                                                               3.00    750.00    B195
      4/11/2024           KN   March MOR                                                                        4.00   1,600.00   B210
      4/12/2024           HK   Review of Liquidation Analysis                                                   1.10    550.00    B320
      4/12/2024           KN   March MOR; review accounting                                                     2.50   1,000.00   B210
      4/14/2024           BS   Review draft expert report with counsel/Payne                                    1.20    600.00    B320
      4/15/2024           BS   Non-working travel                                                               3.00    750.00    B195
      4/15/2024           BS   A. Jones deposition                                                              4.60   2,300.00   B190
      4/15/2024           BS   Review Plaintiffs expert report                                                  0.70    350.00    B320
      4/15/2024           BS   Revised forecast based on plan                                                   1.50    750.00    B320
      4/15/2024           HK   Reviewed forecast                                                                2.00   1,000.00   B320
      4/15/2024           KN   Update March MOR                                                                 3.00   1,200.00   B110
      4/16/2024           BS   Research claimed renovation costs                                                2.00   1,000.00   B210
      4/16/2024           BS   Property tax protest information to consultant                                   0.30    150.00    B240
      4/16/2024           BS   Asset sales - follow up on firearms; ranch & lake house; boats                   0.40    200.00    B130
      4/16/2024           BS   Review MOR                                                                       0.50    250.00    B110
      4/16/2024           BS   Review/Revise Forecast forecast with BlackBriar                                  0.90    450.00    B320
      4/16/2024           BS   Operations, cash management; accounting                                          2.20   1,100.00   B210
      4/16/2024           BS   Review MOR                                                                       0.40    200.00    B110
      4/16/2024           HK   Reviewed forecast                                                                2.00   1,000.00   B320
      4/16/2024           HK   Reviewed forecast with BlackBriar                                                0.90     450.00   B320
      4/16/2024           HK   Reviewed Expert Report of David W. Prager                                        0.80     400.00   B190
      4/16/2024           KN   Update April Accounting                                                          2.50   1,000.00   B210
      4/17/2024           BS   Global Mediation - Ft. Worth; follow up meetings are counter offer               9.20   4,600.00   B150
      4/17/2024           HK   Reviewed Expert Report of David W. Prager                                        2.50   1,250.00   B190
      4/17/2024           HK   Reviewed Expert Report David Payne                                               3.00   1,500.00   B320
      4/18/2024           BS   Global Mediation - Ft. Worth;                                                    7.00   3,500.00   B150
      4/19/2024           KN   Update accounting, trustee fee calc, insurance issue                             3.50   1,400.00   B210
      4/22/2024           BS   Hybrid Status Conference - A. Jones team and FSS team; follow up call with       0.80     400.00   B110
      4/22/2024           BS   Accounting and cash management                                                   1.00     500.00   B210
      4/22/2024           HK   Hybrid Status Conference - A. Jones team and FSS team                            0.50     250.00   B110
      4/23/2024           BS   Finalize and file MOR                                                            0.70     350.00   B110
      4/24/2024           BS   Accounting and cash management                                                   1.10     550.00   B210
      4/25/2024           BS   Call with P. Magill; follow up call with counsel                                 0.50     250.00   B210
      4/25/2024           BS   Calls/emails re sales; email to Crowder                                          0.70     350.00   B210
      4/26/2024           BS   Follow up asset sales                                                            0.60    300.00    B130
      4/29/2024           BS   Non-working travel                                                               3.00    750.00    B195
      4/29/2024           BS   On site- Operations; cash management; meetings with FSS; A. Jones                4.50   2,250.00   B210
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                    Re:        Alexander E. Jones, Debtor In Possession                Case No. 22-33553

Billing Period:                April 1 through April 30, 2024
Invoice No.                    AJ0401-24
      4/29/2024           BS   Meetings - counsel & Jones re plan strategy post mediation                    3.00      1,500.00   B110
      4/29/2024           KN   April Accounting                                                              4.00      1,600.00   B210
      4/30/2024           BS   Research - Double Horn & Blair                                                4.20      2,100.00   B150
      4/30/2024           BS   Calls with counsel; Meeting w A. Jones re; strategy                           0.90        450.00   B210
      4/30/2024           BS   Non-working travel                                                            3.00        750.00   B195
      4/30/2024           KN   April Accounting                                                              3.00      1,200.00   B210

                                                                                                           154.60   $ 70,850.00

                                             Total hours for Robert Schleizer (BS)                         110.00   $ 51,250.00
                                             Total hours for Harold Kessler (HK)                            17.60      8,800.00
                                             Total hours for Kathy Norderhaug (KN)                          27.00     10,800.00
                                                                                                           154.60   $ 70,850.00
                                Expenses
                                   From attached expense breakdown                                                     4,978.45

                                            Total Invoice Amount                                                    $ 75,828.45

                               BlackBriar Advisors LLC
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                               Dallas, TX 75204
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Alex E. Jones
Billing Period:                  April 1 through April 30, 2024
Invoice:                         AJ0401-24

   Date          Airfare/Train       Mileage            Meals         Auto           Hotel         Other          Total

     1-Apr                 -                   -              -              -             -            -                -
     2-Apr                 -                   -              -              -             -            -                -
     3-Apr                 -                   -              -              -             -            -                -
     4-Apr                 -                   -              -              -             -            -                -
     5-Apr                 -                   -              -              -             -            -                -
     6-Apr                 -                   -              -              -             -            -                -
     7-Apr                 -                   -              -              -             -            -                -
     8-Apr                 -                   -              -              -             -            -                -
     9-Apr              905.20                 -              -              -          214.22        26.05         1,145.47
    10-Apr                 -                   -              -              -             -            -                -
    11-Apr              399.10                 -            26.00            -             -          45.88           470.98
    12-Apr                 -                   -              -              -             -            -                -
    13-Apr                 -                   -              -              -             -            -                -
    14-Apr              395.60                 -              -              -             -            -             395.60
    15-Apr                 -                   -            83.00            -             -            -              83.00
    16-Apr                 -                   -            42.00            -          230.49          -             272.49
    17-Apr                 -                   -              -              -          237.17          -             237.17
    18-Apr              399.10                 -            17.20            -          184.25       147.45           748.00
    19-Apr              339.10                 -            83.00            -             -          36.00           458.10
    20-Apr                 -                   -              -              -             -            -                -
    21-Apr                 -                   -              -              -             -            -                -
    22-Apr                 -                   -              -              -             -            -                -
    23-Apr                 -                   -              -              -             -            -                -
    24-Apr                 -                   -              -              -             -            -                -
    25-Apr                 -                   -              -              -             -            -                -
    26-Apr                 -                   -              -              -             -            -                -
    27-Apr                 -                   -              -              -             -            -                -
    28-Apr                 -                   -              -              -             -            -                -
    29-Apr              395.60                 -           100.00            -          183.69        83.00           762.29
    30-Apr              395.60                 -             9.75            -             -            -             405.35

Total        $        3,229.30 $               -   $       360.95 $          -   $    1,049.82 $     338.38   $     4,978.45
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                 )
                                                          )
    ALEXANDER E. JONES                                    )     CASE NO. 22-33553
                                                          )
                   DEBTOR.                                )     (CHAPTER 11)
                                                          )
                                                          )     JUDGE CHRISTOPHER M. LOPEZ

    THIRTEENTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS FOR
    ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS FINANCIAL
           ADVISOR, LLC TO THE DEBTOR FOR THE PERIOD FROM
                    MAY 1, 2024 THROUGH MAY 31, 2024

    Name of Applicant:         BlackBriar Advisors, LLC
    Applicant’s Role in Case:  Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                    Beginning of Period             End of Period
    Time Period Covered in     05/01/2024                    05/31/2024
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $52,200.001
                                                              (80% of $65,250.00)
    Total Reimbursable Expenses Requested in this Statement: $5,658.842
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $65,250.00
    Total Actual Professional Hours Covered by this 153.50
    Statement:
    Average Hourly Rate for Professionals:                    $425.08

              In accordance with the Order Granting Motion for Entry of an Order
              Establishing Procedures for Interim Compensation and Reimbursement
              of Expenses for Chapter 11 Professionals [Docket No. #106], each party
              receiving notice of the monthly fee statement will have 14 days after
              service of the monthly fee statement to object to the requested fees and
              expenses. Upon the expiration of such 14 day period, the Debtor is
              authorized to pay the Professional an amount of 80% of the fees and
              100% of the expenses requested in the applicable monthly fee
              statement.


1
 BlackBriar is holding $0.00 as a retainer in its Trust Account.
2
 The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Thirteenth Monthly Fee Statement of BlackBriar Advisors,

LLC for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for

the Period from May 1, 2024 through May 31, 2024 (the “Monthly Fee Statement”).

                                   RELIEF REQUESTED

       1.     By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $52,200.00 (80% of $65,250.00) as compensation for

professional services rendered to the Debtor during the period from May 1, 2024 through May 31,

2024 (the “Fee Period”); and reimbursement of actual and necessary expenses in the amount of

$5,658.84, for a total amount of $57,858.84 to be paid upon expiration of the objection deadline

barring any objections, pursuant to the Interim Compensation Order.

       2.     In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Fees by Category as

Financial Advisor for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as

Financial Advisor for the Fee Period, attached hereto as Exhibit C.

       3.     Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),




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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Counsel to the Official Committee of Unsecured Creditors, Akin
                       Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                       10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                       Brauner and Melanie A. Miller; dzensky@akingump.com,
                       mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com, msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) Avi Moshenberg,
                       avi.moshenberg@Imbusinesslaw.com and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included




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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

       5.      Therefore, BlackBriar respectfully submits support for its fees in the amount of

$65,250.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $5,658.84 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $57,858.84

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: May 31, 2024.

                                                      BLACKBRIAR ADVISORS, LLC

                                                      By: /s/ Robert Schleizer
                                                      Robert Schleizer
                                                      2626 Cole Ave., Suite 300
                                                      Dallas, TX 75201
                                                      Telephone: 214-599-8600
                                                      Email: bschleizer@blackbriaradvisors.com


                                                      FINANCIAL ADVISORS FOR DEBTOR
                                                      ALEXANDER E. JONES




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                                CERTIFICATE OF SERVICE

I certify that on May 31th, 2024, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Counsel to the Official Committee of Unsecured Creditors, Akin
                      Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                      10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                      Brauner and Melanie A. Miller; dzensky@akingump.com,
                      mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com, msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) Avi Moshenberg,
                      avi.moshenberg@Imbusinesslaw.com and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                              /s/ Christina W. Stephenson
                                                  Christina W. Stephenson




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                                EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                         EXPENSE                                    TOTAL
Airfare/Train                                                       $3,279.54
Mileage                                                                0.00
Meals                                                                 262.00
Auto                                                                   0.00
Hotel                                                                 767.96
Other                                                                1,349.34




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                                  EXHIBIT “B”
              SUMMARY OF FEES AND EXPENSES BY CATEGORY
                         FOR THE FEE PERIOD
           CATEGORIES                             PROFESSIONAL
                                                      TIME
           B110 Case Administration                    13.2
           B120 Asset Analysis and Recovery             0.0
           B130 Asset Disposition                       2.2
           B140 Relief from Stay/Adequate
           Protection                                    0.0
           B150 Meetings of & Communications
           with Creditors                                28.2
           B160 Fee/Employment Applications               1.9
           B170 Fee/Employment Objections                 0.0
           B180 Avoidance Action Analysis                 0.0
           B185 Assumption/Rejection of
           Executory Contracts                            0.0
           B190 Other Contested Matters                   0.0
           B195 Non-Working Travel                       21.0
           B210 Business Operations                      74.3
           B220 Employee Benefits/Pensions                0.0
           B230 Financing/Cash Collections                0.0
           B240 Tax Issues                                0.0
           B250 Real Estate                               0.0
           B260 Board of Directors Matters                0.0
           B310 Claims Administration and
           Objections                                     0.0
           B320 Plan and Disclosure Statement            12.7
           B410 General Bankruptcy
           Advice/Opinions                               0.0
           B420 Restructurings                           0.0
           TOTALS:                                      153.5




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                                EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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May 31, 2024

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                      Re:           Alexander E. Jones, Debtor In Possession                Case No. 22‐33553

Billing Period:                    May 1 through May 31, 2024
Invoice No.                        AJ0501‐24
Professional Services
Rendered:
          Date        Professional                                               Description                                     Hours    Amount    Task Code
        5/1/2024           BS      Cash management; operations‐ calls with FSS; AJ                                                 2.30 $  1,150.00   B210
        5/1/2024          KN       April Accounting; Bank Reconciliations                                                          4.00    1,600.00   B210
        5/2/2024           BS      Month end close issues; calls with K. Norderhaug                                                1.10      550.00   B210
        5/2/2024           BS      Real estate sale ‐ ag exemption; call with broker                                               0.70      350.00   B130
        5/2/2024           BS      Cash management; operations‐ calls with AJ; follow up Crowder                                   0.80      400.00   B210
        5/6/2024           BS      Calls with AJ re plan issues; calls/emails with V. Driver;‐ plan; FSS discussion                0.90      450.00   B320
        5/7/2024           BS      Call ‐ P. Magill ‐ operations                                                                   0.50      250.00   B210
        5/7/2024           BS      Fee application                                                                                 1.10      550.00   B160
        5/7/2024          KN       April Accounting; Bank Reconciliations                                                          4.00    1,600.00   B210
        5/8/2024           BS      Accounting; homestead improvements analysis                                                     2.00    1,000.00   B210
        5/8/2024          KN       Bank Reconciliations; Entries; MOR                                                              4.50    1,800.00   B210
        5/9/2024           BS      Operations ‐ calls FSS; AJ; sales analysis                                                      1.50      750.00   B210
       5/10/2024           BS      Liquidating plan discussion; research key items                                                 1.10      550.00   B320
       5/10/2024           BS      Operations ‐ calls FSS; A. Jones                                                                0.50      250.00   B210
       5/10/2024           BS      Fee application                                                                                 0.80      400.00   B160
       5/13/2024           BS      calls ‐ A. Jones ‐ plan issues/alternatives                                                     0.60      300.00   B320
       5/14/2024           BS      Non‐working travel                                                                              3.00      750.00   B195
       5/14/2024           BS      Meetings with counsel, A. Jones re plan alternatives and strategies; FSS office                 4.20    2,100.00   B320
       5/14/2024           BS      On site ‐Operations ‐ Crowder; book contract; FSS                                               3.00    1,500.00   B210
       5/15/2024           BS      On site ‐Operations, accounting; cash management; meetings with A. Jones                        8.50    4,250.00   B210
       5/15/2024           BS      Non‐working travel                                                                              3.00      750.00   B195
       5/15/2024          KN       April Accounting, Reconciliations, Payments                                                     4.00    1,600.00   B210
       5/16/2024           BS      Review/revise response to UCC plan proposal                                                     0.90      450.00   B320
       5/16/2024           BS      Review financials; accounting adjustments; emails ‐ K. Norderhaug; update professional fees     2.80    1,400.00   B210
       5/16/2024           BS      Operations ‐ calls FSS; A. Jones                                                                1.40      700.00   B210
       5/16/2024          KN       April MOR; reconcile accounts                                                                   4.50    1,800.00   B110
       5/17/2024           BS      Review/revise MOR; research transactions                                                        1.50      750.00   B110
       5/17/2024           BS      Review response to UCC plan proposal; calls with counsel; A. Jones                              0.60      300.00   B320
       5/21/2024           BS      Non‐working travel                                                                              3.00      750.00   B195
       5/21/2024           BS      Status conference; pre hearing meetings; calls A. Jones                                         4.20    2,100.00   B110
       5/21/2024           BS      Non‐working travel                                                                              6.00    1,500.00   B195
       5/21/2024          HK       Updated FSS Sales Reconciliation                                                                2.00    1,000.00   B210
       5/21/2024          HK       Status Conference and follow up discussion                                                      0.70      350.00   B110
       5/22/2024           BS      On ‐site ‐ FSS office; operations; meetings with P. Magill; A. Jones                            5.70    2,850.00   B210
       5/22/2024           BS      Calls/emails ‐ Lake house market analysis. Open items ‐ listing                                 1.00      500.00   B130
       5/22/2024           BS      Review MOR with A. Jones; prepare to file                                                       0.80      400.00   B110
       5/22/2024           BS      Meetings with counsel; A. Jones re: plan strategy discussions                                   2.00    1,000.00   B320
       5/22/2024          KN       Update MOR; May accounting                                                                      3.50    1,400.00   B210
       5/23/2024           BS      Calls/emails with counsel/ A. Jones re: UCC plan impact/alternatives                            1.50      750.00   B320
       5/24/2024           BS      Operations ‐ calls A. Jones; FSS issues; sales                                                  0.60      300.00   B210
       5/24/2024           BS      Ranch sale title transfer issues; emails‐ calls                                                 0.50      250.00   B130
       5/24/2024           BS      Research ‐ FSS distributions ‐ renovation transactions                                          2.20    1,100.00   B150
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                   Re:        Alexander E. Jones, Debtor In Possession                Case No. 22‐33553

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       5/24/2024         BS   Calls/emails with counsel/ A. Jones re: UCC plan impact/alternatives                             0.50        250.00   B320
       5/24/2024         KN   Review MOR                                                                                       1.50        600.00   B110
       5/25/2024         KN   Research/Analysis ‐ construction and maintenance transactions ‐ homestead 2019‐2021              5.00      2,000.00   B150
       5/27/2024         KN   Research/Analysis ‐ construction and maintenance transactions ‐ homestead 2019‐2021              4.00      1,600.00   B150
       5/28/2024         BS   Cash collateral issues ‐ FSS; call with J. Shulse; counsel                                       0.80        400.00   B210
       5/28/2024         KN   Research/Analysis ‐ construction and maintenance transactions ‐ homestead 2019‐2021              4.50      1,800.00   B210
       5/29/2024         BS   Calls/emails with counsel/ A. Jones re: UCC plan impact/alternatives                             1.50        750.00   B210
       5/29/2024         BS   Non‐working travel                                                                               3.00        750.00   B195
       5/29/2024         KN   May accounting                                                                                   2.00        800.00   B210
       5/30/2024         KN   Research/Analysis ‐ construction and maintenance transactions ‐ homestead 2019‐2021              5.50      2,200.00   B150
       5/30/2024         BS   On ‐site ‐ call with P. Magill;, trustee; counsel for FSS; C. Stephenson ‐ cash collateral       1.30        650.00   B210
                              Asset sales‐ meet with G. Spirt ‐ boat sales; meet CTGW ‐ firearms; correspondence‐ research
     5/30/2024           BS   supporting documents for lake house sale                                                         1.50        750.00   B210
                              On ‐site ‐ FSS office; operations; meetings with A. Jones operations winddown issues; cash
     5/30/2024           BS   management; credit card processor ‐ FSS                                                          5.50      2,750.00   B210
     5/30/2024           KN   Research/Analysis ‐ construction and maintenance transactions ‐ homestead 2019‐2021              5.50      2,200.00   B150
     5/30/2024           KN   May accounting                                                                                   2.50      1,000.00   B210
     5/31/2024           BS   Calls ‐ P. Magill; C. Stephenson ‐ FSS cash collateral                                           0.50        250.00   B210
     5/31/2024           BS   Calls ‐ A. Jones; counsel re: plan/conversion issues                                             0.40        200.00   B320
     5/31/2024           KN   Research/Analysis ‐ construction and maintenance transactions ‐ homestead 2019‐2021              6.00      2,400.00   B150
     5/31/2024           KN   May accounting                                                                                   1.50        600.00   B210
     5/31/2024           BS   Non‐working travel                                                                               3.00        750.00   B195

                                                                                                                             153.50   $ 65,250.00

                                           Total hours for Robert Schleizer (BS)                                              88.30   $ 38,900.00
                                           Total hours for Harold Kessler (HK)                                                 2.70      1,350.00
                                           Total hours for Kathy Norderhaug (KN)                                              62.50     25,000.00
                                                                                                                             153.50   $ 65,250.00
                               Other Expenses

                               Expenses
                                  From attached expense breakdown                                                                        5,658.84

                                           Total Invoice Amount                                                                       $ 70,908.84

                              BlackBriar Advisors LLC
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                              Dallas, TX 75204
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Alex E. Jones
Billing Period:               May 1 through May 31, 2024
Invoice:                      AJ0501‐24

   Date       Airfare/Train      Mileage           Meals        Auto           Hotel         Other           Total

    1‐May               ‐                  ‐            ‐              ‐             ‐             ‐                ‐
    2‐May               ‐                  ‐            ‐              ‐             ‐             ‐                ‐
    3‐May               ‐                  ‐            ‐              ‐             ‐             ‐                ‐
    4‐May               ‐                  ‐            ‐              ‐             ‐             ‐                ‐
    5‐May               ‐                  ‐            ‐              ‐             ‐             ‐                ‐
    6‐May               ‐                  ‐            ‐              ‐             ‐             ‐                ‐
    7‐May               ‐                  ‐            ‐              ‐             ‐             ‐                ‐
    8‐May               ‐                  ‐            ‐              ‐             ‐          188.40           188.40
    9‐May               ‐                  ‐            ‐              ‐             ‐             ‐                ‐
  10‐May                ‐                  ‐            ‐              ‐             ‐             ‐                ‐
  11‐May                ‐                  ‐            ‐              ‐             ‐             ‐                ‐
  12‐May                ‐                  ‐            ‐              ‐             ‐             ‐                ‐
  13‐May                ‐                  ‐            ‐              ‐             ‐             ‐                ‐
  14‐May             903.21                ‐          45.00            ‐             ‐             ‐             948.21
  15‐May             126.63                ‐          24.00            ‐             ‐           16.83           167.46
  16‐May                ‐                  ‐            ‐              ‐             ‐             ‐                ‐
  17‐May                ‐                  ‐            ‐              ‐             ‐             ‐                ‐
  18‐May                ‐                  ‐            ‐              ‐             ‐             ‐                ‐
  19‐May                ‐                  ‐            ‐              ‐             ‐             ‐                ‐
  20‐May                ‐                  ‐            ‐              ‐             ‐             ‐                ‐
  21‐May             208.95                ‐            ‐              ‐             ‐          144.44           353.39
  22‐May                ‐                  ‐            ‐              ‐             ‐          239.00           239.00
  23‐May                ‐                  ‐            ‐              ‐             ‐             ‐                ‐
  24‐May                ‐                  ‐            ‐              ‐             ‐           45.00            45.00
  25‐May                ‐                  ‐            ‐              ‐             ‐             ‐                ‐
  26‐May                ‐                  ‐            ‐              ‐             ‐             ‐                ‐
  27‐May                ‐                  ‐            ‐              ‐             ‐             ‐                ‐
  28‐May                ‐                  ‐            ‐              ‐             ‐             ‐                ‐
  29‐May             400.98                ‐          22.00            ‐          153.26         29.00           605.24
  30‐May                ‐                  ‐          40.00            ‐          230.72         12.00           282.72
  31‐May           1,639.77                ‐         131.00            ‐          383.98        674.67         2,829.42
Total     $        3,279.54 $              ‐   $     262.00 $          ‐   $      767.96 $    1,349.34   $     5,658.84
